                   Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 1 of 198




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 16874512
Notice of Service of Process                                                                            Date Processed: 07/12/2017

Primary Contact:           Bruce Buttaro
                           Liberty Mutual Insurance Company
                           175 Berkeley Street
                           Boston, MA 02116

Entity:                                       Liberty Mutual Group Inc.
                                              Entity ID Number 2541558
Entity Served:                                Liberty Mutual Group Inc., d/b/a Liberty Mutual Insurance
Title of Action:                              Mitchell Woodall vs. Liberty Mutual Group Inc., d/b/a Liberty Mutual Insurance
Document(s) Type:                             Summons and Amended Complaint
Nature of Action:                             Contract
Court/Agency:                                 Santa Fe County District Court, New Mexico
Case/Reference No:                            D-101-CV-2017-01727
Jurisdiction Served:                          New Mexico
Date Served on CSC:                           07/12/2017
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Robert C. Gutierrez
                                              505-243-5566

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                               EXHIBIT A
    .~
               Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 2 of 198FILED IN MY OFFICE
t                                                                                                     DISTRICT COURT CLERK
                                                                                                          6/21/2017 4:09:01 PM
                                                                                                        STEPHEN T. PACHECO
                                                                                                                  Ginger Sloan


                                                      SUMMONS
          District Court: FIRST JUDICIAL                 Case Number: D-101-CV-2017-01727
          Santa Fe County, New Mexico
          Court Address:
          Post Office Box 2268                           Judge: Case assigned to Ortiz, Raymond Z.
          Albuquerque, NM 87504-2268
          Court Telephone: 505-455-8250

          Plaintiff(s): Mitchell Woodall                 Defendant Name:
          V.                                             LIBERTY MUTUAL GROUP INC., D/B/A
          Defendant(s): Liberty Mutual Group, Inc.,      LIBERTY MUTUAL INSURANCE
          d/b/a Liberty Mutual Insurance                 Address:                                     G
                                                         c7~ Office of the Superintendent o
                                                         Attn:    vice of Proce       nsurance Companies
                                                         PO Box 16
                                                         S      e, NM 8       -1689

                         TO THE ABOVE NAMED DEFENDANT(S): Take notice that

                 1.      A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court
         issued this Summons.
                 2.      You must respond to this lawsuit in writing. You must file your written response
         with the Court no later than thirty (30) days from the date you are served with this Summons.
         (The date you are considered served with the Summons is determined by Rule 1-004 NMRA)
         The Court's address is listed above.
                 3.      You must file (in person or by mail) your written response with the Court. When
         you file your response, you must give or mail a copy to the person who signed the lawsuit.
                 4.      If you do not respond in writing, the Court may enter judgment against you as
         requested in the lawsuit.
                 5.      You are entitled to a jury trial in most types of lawsuits. To ask for a jury trial, you
         must request one in writing and pay a jury fee.
                 6.      If you need an interpreter, you must ask for one in writing.
                 7.      You may wish to consult a lawyer. You may contact the State Bar of New Mexico
         for help finding a lawyer at www.nmbar.org; 1-800-876-6227; or 1-505-797-6066.
                 Dated at Sant;a Fo                       , New Mexico, this 21 st day of June           , 2017.
         Ste ~--_ T M--1----
         CL)~

         LOW
                                                                 ROBERT C. GUTIERREZ
                                                                 10090 Coors Blvd NW Ste A
                                                                 Albuquerque, NM 87114

         THIS SUMMONS IS ISSUED PUR3%&&7oClRULE 1-004 NMRA OF THE NEW MEXICO RULES
         OF CIVIL PROCEDURE FOR DISTRICT COURTS.
     '..
               Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 3 of 198
i'




                                                        RETURN'

           STATE OF NEW MEXICO                    )
                                                  )ss
           COUNTY OF                              )

           I, being duly sworn, on oath, state that I am over the age of eighteen (18) years and not a party to
           this lawsuit, and that I served this summons in                     county on the        day of
                              ,       , by delivering a copy of this summons, with a copy of complaint
           attached, in the following manner:

           (check one box and fill in appropriate blanks)

           []   to the defendant                           (used when defendant accepts a copy of
           summons and complaint or refuses to accept the summons and complaint)

           []     to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA (used
           when service is by mail or commercial courier service).

           After attempting to serve the summons and complaint on the defendant by personal service or by
           mail or commercial courier service, by delivering a copy of this summons, with a copy of
           complaint attached, in the following manner:

           []     to                                  , a person over fifteen (15) years of age and residing at
           the usual place of abode of defendant                         ,(used when the defendant is not
           presently at place of abode) and by mailing by first class mail to the defendant at
                                   (insert defendant's last known mailing address) a copy of the summons
           and complaint.

           []      to                             , the person apparently in charge at the actual place of
           business or employment of the defendant and by mailing by first class mail to the defendant at
                                      (insert defendant's business address) and by mailing the summons
           and complaint by first class mail to the defendant at                         (insert defendant's
           last known mailing address).

           []     to                               , an agent authorized to receive service of process for
           defendant

           []      to                         [parent] [guardian] [custodian] [conservator] [guardian ad
           litem] of defendant _                           (used when defendant is a minor or an
           incompetent person).

           []       to                                  (name of person),                               ,
           (title of person authorized to receive service. Use this alternative when the defendant is a
           corporation or an association subject to a suit under a common name, a land grant board of
~
        Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 4 of 198




    trustees, the State of New Mexico or any political subdivision).

    Fees:


            Signature of person making service


            Title (if any)

    Subscribed and sworn to before me this               day of                ,


    Judge, notary or other officer
    authorized to administer oaths

    Official title

                                                USE NOTE

            1.      Unless otherwise ordered by the court, this return is not to be filed with the court
    prior to service of the summons and complaint on the defendant.
            2.      If service is made by the sheriff or a deputy sheriff of a New Mexico county, the
    signature of the sheriff or deputy sheriff need not be notarized.

    [Adopted effective August 1, 1988; as amended by Supreme Court Order 05-8300-01, effective
    March 1, 2005; by Supreme Court Order 07-8300-16, effective August 1, 2007; by Supreme
    Court Order No. 12-8300-026, effective for all cases filed or pending on or after January 7, 2013;
    as amended by Supreme Court Order No. 13-8300-022, effective for all cases pending or filed on
    or after December 31, 2013; as amended by Supreme Court Order No. 14-8300-017, effective for
    all cases pending or filed on or after December 31, 2014.]
        Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 5 of 198FILED IN MY OFFICE
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                                                                                                 6/23/2017 1:21:06 PM
                                                                                               STEPHEN T. PACHECO
                                                                                                         Gloria Landin

  STATE OF NEW MEXI&_
  COUNTY OF SANTA FE
  FIRST JUDICIAL DISTRICT COURT

  MITCHELL WOODALL,

                  Plaintiff,

  vs.                                                    No. D-101-CV-2017-01727

 LIBERTY MUTUAL GROUP, INC.,
 d/b/a LIBERTY MUTUAL INSURANCE,

                  Defendant.

                           AMENDED COMPLAINT FOR UNINSURED/
                            UNDERINSURED MOTORIST BENEFITS

                 S NOW the Plaintiff, Mitchell Woodall, by and through his attorneys of record, Will

 Fergusonl& Associates (Robert C. Gutierrez) and for his Complaint for Uninsured/Underinsured

 Motorist Penefits against Defendant Liberty Mutual Group, Inc., states as follows:

                                   JURISDICTION AND VENUE

 1.       P               11 Woodall is a resident of Edgewood, New Mexico, Santa Fe County and is

 an adult i     18 years of age and is otherwise competent to bring this lawsuit.

 2.       I;          Liberty Mutual Group, Inc., doing business as "Liberty Mutual Insurance"

 (hereinaf     "Defendant Liberty Mutual") is a foreign insurance company incorporated in

 Massach,        doing business throughout the State of New Mexico and is otherwise subject to the

 jurisdiction of this Court pursuant to § 38-3-1 (A), (F) NMSA 1978 (2005).

' 3.      The automobile accident that is the subj ect of this complaint occurred on August 6, 2016, on

NM Statq Road 22 at approximately Milepost # 5.5 in New Mexico.

4.        This Court has jurisdiction to hear these claims and venue is properly before this Court.
     Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 6 of 198




                          GENERAL ALLEGATIONS COMMON TO
                           ALL COUNTS OF THIS COMPLAINT

        On August 6, 2016, a motorist hit Plaintiff while he was riding his 2015 Harley motorcycle,

Vin # 1HD1PXN13FB958247. The impact knocked him off his motorcycle and he sustained

significant injuries as a result of being struck by the underinsured driver.

6.      As a direct and proximate result of the underinsured motorist's negligence, Plaintiff suffered

personal injuries, damage and loss, including but not limited to, past and future medical expenses,

permanent loss of function, emotional distress, loss of ability to enjoy life and participate in hobbies

and recreational activities, pain and suffering, discomfort, inconvenience and other damages.

       At the time of the subj ect accident the underinsured motorist was driving at a recklessly high

rate of speed calculated to be 102 MPH in a 55 MPH zone, when she lost control of her car sliding

into Plaintiff's motorcycle. On February 17`h, 2017 the Sandoval County Grand Jury of the State of

New Mexico returned a nine count criminal indictment against said underinsured motorist including

Count#2 being a 3rd degree felony for great bodily injury by vehicle in the unlawful operation of a

motor vehicle while under the influence of intoxicating liquor or any drug or in a reckless manner

because of the underinsured motorist's outrageous reckless behavior that directly caused Plaintiff's

injuries. Under New Mexico law Liberty Mutual is also legally responsible for punitive damages,

based upon said underinsured motorist's outrageous and reckless conduct.

       At the time of the subject motor vehicle crash, the underinsured motorist did have liability

insurance coverage but it was inadequate to fully compensate Plaintif£

                   COUNT I: UNDERINSURED MOTORIST CLAIM
                AGAINST DEFENDANT LIBERTY MUTUAL INSURANCE

       Plaintiffre-alleges all preceditig paragraphs of this complaint as th,ough set forth fully herein.

                                             Page 2 of 5
      Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 7 of 198




10.     Defendant Liberty Mutual is properly joined as a party by its insured, the Plaintiff, and is

otherwise subject to the jurisdiction of this Court pursuant to § 38-3-1 (A), (F) NMSA 1978 (2004). .

11.     At all times material hereto, Defendant Liberty Mutual was the insurance company that

provided uninsured/underinsured motorist coverage to its insured, Plaintiff Woodall, under policy

number #A02-298-021072-60 6 8 issuedpursuant to § 66-5-301 et seq NMSA (1978). The certified

copy of said policy was emailed on September 13, 2016 to Plaintiff's counsel's office by Ms. Luann

Mueller of Liberty Mutual's "Policy Copy Support" and is Attachment #1 attached hereto.

12.     Said Policy #A02-298-021072-60 6 8 provides liability coverage at "100,000 each person

/ 300,000 each accident" on both of Plaintiff's cars with liability coverage billed separately for each

car. On the same "Policy Declaration" page the certified policy also state the insured has Uninsured

Motorists coverage of "$25,000 each person/$50,000 each accident" with a separate premium for

such UM coverage charged/billed separately for each car.

13.     However, this certified Liberty Mutual Policy #A02-298-021072-60 6 8 also does NOT

contain any written and knowing signed rejection/waiver of UM/UIM coverage equal to the liability

limits of"100,000 each person / 300,000 each accident", which is required underNew Mexico law.

Accordingly, Plaintiff requests the Court reform said Policy's UM/UIM limits to match the liability

coverage limits of"100,000 each person / 300,000 each accident" AND such UM coverage of both

cars also stacks. Thus, the Plaintiff has $200;000 of UM/UIM coverage under his cars Policy #A02-

298-021072-60 6 8, Attachment #1.

14.     At all times material hereto, Defendant Liberty Mutual was the insurance company that

provided uninsured/underinsured motorist coverage to its insured, Plaintiff Woodall, under policy#

A-02-298-251148-10 6 2 issued pursuant to § 66-5-301 et seq NMSA (1978). The certified copy


                                             Page 3 of 5
      Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 8 of 198




of said policy was emailed on September 13, 2016 to Plaintiff's counsel's office by Ms. Luann

Mueller of Liberty Mutual's "Policy Copy Support" and is Attachment #2 attached hereto.

15.     Said Policy #A02-298-251148-10 6 2 provides for liability coverage at"100,000 each person

/ 300,000 each accident" on both of Plaintiff's motorcycles with liability coverage charged separately

to each bike. The "Policy Declarations" of the Liberty Mutual certified policy also simply states

that: "Uninsured Motorists has Been Reject".

46.     However, there is NO valid signed rejection/waiver of UM coverage form attached to said

certified Policy as required by New Mexico law. Accordingly, New Mexico's UM/UIM law requires

the Court reform said motorcycle policy #A-02-298-251148-10 6 2 so that the UM limits of

coverage match the $100,000 per person liability limits AND the UM coverage of both motorcycles

stack, resulting in $200,000 of UM/UIM coverage for Mr. Woodall under Policy #A02-298-251148-

1062.

17.     The above described policies were effective on August 6, 2016, the date of the subject motor

vehicle crash when a car negligently crashed into Plaintiff's motorcycle.

18.     Plaintiff was a first party insured. There were two vehicles insured under the subject policy

#A-02-298-021072-60 6 8 and two motorcycles insured under the subject policy #A-02-298-251148-

10 6 2 on August 6, 2016, carrying liability and uninsured/underinsured motorist coverage of

$100,000 each vehicle for a total combined "stacked" coverage of $400,000 in

uninsured/underinsured motorist coverage for the subject motor vehicle crash.

19.     On the date of the subject motor vehicle crash, the underinsured motorist had liability

insurance coverage of $25,000 available to compensate Plaintiff and other injured parties for injuries

and damages. The amount of $4,100 was recovered with the permission of Liberty Mutual.


                                             Page 4 of 5
          Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 9 of 198

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    20.     Underinsured motorist is an uninsured motorist as described and defined in the

    uninsured/underinsured motorist policies issued by Defendant Liberty Mutual to Plaintiff Woodall.

    21.     Under the terms of the subject insurance policies, Defendant Liberty Mutual is liable to pay

    Plaintiff's damages, which Plaintiff is legally entitled to recover from the underinsured motorist

    because Plaintiff sustained bodily injuries caused by an accident, said accident having been caused

    by the underinsured motorist.

    22.     Defendant Liberty Mutual has failed to tender the undisputed value of the case in violation

    of New Mexico law.

            WHEREFORE, Plaintiff prays for an Order of the Court giving judgment against Defendant

    Liberty Mutual in an amount reasonable to compensate Plaintiff for his injuries, damage and loss,

    for punitive damages and awarding Plaintiff the costs of this litigation, pre and post judgment

    interest and granting such further relief as may be deemed just and proper.

                                                         Respectfully submitted;

                                                         WILL FERGUSON & ASSOCIATES

                                                         /s/Robert C. Gutierrez
                                                         ROBERT C. GUTIERREZ
                                                         10090 Coors Blvd NW Ste A
                                                         Albuquerque, NM 87114
                                                         Phone: (505)243-5566
                                                         Fax: (505)897-2279
                                                         bob (a-), fergusonlaw. com




                                               Page 5 of 5
                    Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 10 of 198


            Liberty Mutual.                                                                            Liberty Mutual Insurance
                        INSURANCE                                                                      350 E 96'h Street
                                                                                                       Indianapolis, IN 46240
                                                                                                       Tel ephone: 317-581-6804




               September 13, 2416

                Zach Weichman
                PO Box 7230
                London, KY 40742


               Insured Name:             VIVIAN L WOODALL
                                         MITCHELL F WOODALL
               Policy Number:            A0229802107260
               Claim Number:             034189020
               Effective Date:           5/26/2016

               I hereby certify that the attached is a true and accurate copy of the documents requested for the policy
               listed above as maintained by the Liberty Mutual Insurance Group Inc. in the usual and customary course
               of its business.



               Sincerely,




               Luann Mueller
               Policy Copy
               Support


              LM
              Enclosures




PL Policy/Dec Request




                                                      Attachment # 1
                   Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 11 of 198

 ~                                                                                                                                                                                                                          ~ Liberty.
            Policy Declarations                                                                                                                                                                                                Mal.
                                                                                                                                                                                                                                 utu
                                                                                                                                                                                                                                 INSURANCE

            A summary of your auto insurance coverage
            Reason for your new declarations page: Policy Change 01
            • Eliminate Vehicle 2

            Effective date of this change: 05/26/2016                                                                                                                                                                       , g ~ ACTION

     a       INSURANCE INFORMATION
            Named Insured:                                            Vivian L Woodall
                                                                      Mitchell F Woodall
                                                                                                                                                                                                                                REQUIRED:
                                                                                                                                                                                                                                Please review and
                                                                                                                                                                                                                                keep for your records.

            Policy Number:                                            A02-298-021072 -60 6 8

            Policy Period:                                            05/09/2016-05/09/2017 12:01 AM
                                                                      standard time at the address of the                                                                                                                      QUESTIONS ABOUT
                                                                      Named Insured as stated below.                                                                                                                           YOUR POLICY?
                                                                                                                                                                                                                               By Phone
            Mailing Address:                                          22 Fire Lizard Lane
                                                                                                                                                                                                                               For Service:
                                                                      Edgewood NM 87015-8022
                                                                                                                                                                                                                               1-800-225-7014
            Affinity Affiliation:                                     Sandia Laboratory Federal Credit
                                                                                                                                                                                                                               Liberty Mutual
                                                                      Union
                                                                                                                                                                                                                               PO Box 970
                                                                                                                                                                                                                               Mishawaka, IN 46546
            Vehicles Covered by Your Policy
            VEH                YEAR                       MAKE                                                   MODEL                                         VEHICLE ID NUMBER
            1                  2006                       BUICK                                                  LACROSSE                                      2G4WD582761268859                                               To report a claim
           3                   2007                       VOLVO                                                 XC90                                           YV4CZ852771394013                                               By Phone
                                                                                                                                                                                                                               1-800-2CLAIMS
            Coverage Details                                                                                                                                                                                                   (1-800-225-2467)

           Your total annual policy premium for all covered vehicles is shown below. A premium
           is shown for each type of coverage you have purchased for each vehicle. Where no
           premium is shown, you have not purchased the indicated coverage for that vehicle.                                                                                                                                   THIS IS NOT YOUR
                                                                                                                                                                                                                               AUTO INSURANCE BILL.
            Coverage Information                                                                                                                                                                                               YOU WILL BE BILLED
                                                                                                                                                                                                                               SEPARATELY.
            Premium Adjustment from 05/26/2016 to 05/09/2017
                                   VEH 2
                                  $663 CR

           Total Adjustment: $663.00CR
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                 Property Damage                                $ 50,000 Each Accident
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AUTO 3079 10 09                                                                                                                                                                                                                                    Page 1 of 3


                                                                                                                                                                                                                                              .    --            ~
                       Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 12 of 198

     ~                                                                                                                                                                                                              Liberty
-                                                                                                                                                                                                                   Mutual.
                                                                                                                                                                                                                     INSURANCE

                Coverage Information (continued)
                COVERAGE                                               LIMITS                                                                    PREMIUM PER

                                                                                                                                            VEHICLE VEH 1                           VEH 3
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                      Uninsured Motorists                        $         25,000              Each Person                             $165                $165                                                     Declarations effective:
                      Bodily Injury                               $        50,000              Each Accident                                                                                                        05/26/2016

                      Property Damage                            $         25,000              Each Accident
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                                                                                                                                                              :<•~>^~~r:;a;>;:.:.:;.   .....................
                      Collision                                                                                                                            $250
                      Actual Cash Value Less Deductible Shown
                      Veh 3 $1000
                      Other Than Collision                                                                                             $117                $101
                     Actual Cash Value Less Deductible Shown
                      Veh 1 $250                                                   Veh 3 $1000


               Annual Premium Per Vehicle:                                                                                            $947 $1,038




               Discounts and Benefits
               Your discounts and benefits have been applied to your Total Annual Policy Premium.

               VEHICLE DISCOUNTS

                                                                                                                                   VEH 1              VEH 3
               Anti-Lock Braking System                                                                                                  Yes                 Yes
               Passive Restraint - Requires Med Pay (Motorized Seat                                                                      Yes                 Yes
               Belts and/or Air Bags)
               Anti-Theft Device(s)                                                                                                      Yes                 Yes

               POLICY DISCOUNTS

               . TruStageT"'Auto and Homeowners                                                                     . Preferred Auto Rating Plan (Preferred
                  Insurance Program                                                                                    Driver)
               . Multi-Car

               Driver Information

               DRIVER NAME                                                                       LICENSE NUMBER                                    DATE OF BIRTH                             STATE

               Vivian L Woodall                                                                  108730056                                         08/11 /1958                               NM
               Mitchell F Woodall                                                                107724257                                         03/03/1959                                NM

               To ensure proper coverage, please contact us to add drivers not listed above




    AUTO 3079 10 09                                                                                                                                                                                                                      Page 2 of 3
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                                                                                                            1
                                                                                                            0 Liberty
                                                                                                               M.
                                                                                                               utual
                                                                                                                INSURANCE

            Safe Driver Insurance Plan
            No Charges Apply - SCO


            Endorsements - Chanaes to Your Polic                                                               Policy Number:
            Amendment of Policy Provisions - New Mexico AS2162 06 07                                           A02-298-021072 -60 6 8
            Automobile Amendatory Endorsement AS2258 08 06                                                     Declarations effective:
            Amendment of Policy Definitions AS2344 04 08                                                       05 /26 /2016
            Uninsured Motorists Coverage - New Mexico AS3616 05 08
            Split Liability Limits PP 03 09 04 86
            Split Uninsured Motorists Limits - New Mexico PP 04 33 12 89
            Mexico Extension Endorsement AS1006 12 89
            Nuclear, Bio-Chemical & Mold Exclusion Endorsement AS2228 07 05
            Automatic Termination Endorsement AS1046 12 89
            Coverage For Damage To Your Auto Exclusion Endorsement PP 13 01 12 99
            Notice to Others if Cancellation Occurs AS1019 12 89
            Membership in Liberty Mutual Holding Company Inc. 2340e


            LibertyGuard Auto Policy Declarations provided and underwritten by
            Liberty Mutual Fire Insurance Company, Boston, MA.



                                                        This policy, including endorsements listed above,
                                                        is countersigned by:




                                                        Authorized Representative



           ,V~✓~                                    ,



            President




                            ~
           Secretary




AUTO 3079 10 09                                                                                                                     Page 3 of 3
              Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 14 of 198

                                                                                    Liberty
                                                                                    Mutual.
                                                                                     INSURANCE




          LibertyGuard Auto Policy
          Please read your policy and each endorsement carefully.




          To serve you best...


          Liberty Mutual has over 300 offices throughout the United States.
          Please contact your service office shown on your Declarations Page
          to report losses, or for any changes or questions about your
          insurance. Payments should be sent to the office indicated on your
          bill.




          THIS POLICY IS NONASSESSABLE                                         Liberty Mutual Insurance Group


AUTO 3422 Ed. 6-94 R1

                                                                                                 ...   ...,a~..
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    1                                                                                                                        _ Liberty
~       LIBERTYGUARD AUTO POLICY                                                                                                     Mutual.
                                                                                                                                        INSURANCE
        QUICK REFERENCE
        DECLARATIONS PAGE
        Your Name and Address
        Your Auto or Trailer
        Policy Period
        Coverages and Amounts of Insurance
                                                                                                              Beginning
                                                                                                              On Page
        Agreement.................... ........................                                                     1

        Definitions      .................... ........................ 1
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           *These conditions apply only if Liberty Mutual Fire Insurance Company is
           shown in the Declarations as the insurer.



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    :                                                                                           Liberty
•                                                                                               Mutual.
                                                                                                     INSURANCE



        AUTO POLICY
        AGREEMENT
        In return for payment of the premium and subject to all the terms of this policy, we agree with you
        as follows:
        DEFINITIONS

        A. Throughout this policy, "you" and "your"                  a. a private passenger auto; or
           refer to:                                                 b. a pickup or van that:
           1. The "named insured" shown in the                         (1) has a Gross Vehicle Weight of less
              Declarations; and                                            than 10,000 Ibs.; and
           2. The spouse if a resident of the same                     (2) is not used for the delivery or
              household.                                                   transportation of goods and
        B. "We," "us" and "our" refer to the Company                       materials unless such use is:
           providing this insurance.                                       (a) incidental to your "business" of
        C. For purposes of this policy, a private                              installing,    maintaining    or
          passenger type auto shall be deemed to be                            repairing     furnishings     or
          owned by a person if leased:                                         equipment; or

           1. Under a written agreement to that                            (b) for farming or ranching.
              person; and                                            This provision (J.2.) applies only if:
           2. For a continuous period of at least 6                  a. you acquire the vehicle during the
              months.                                                   policy period;
        Other words and phrases are defined. They are                b. you ask us to insure it within 30 days
        in quotation marks when used.                                   after you become the owner; and
        D. "Bodily injury" means bodily harm, sickness               c. with respect to a pickup or van, no
           or disease, including death that results.                    other insurance policy provides
        E. "Business" includes trade, profession or                     coverage for that vehicle.
           occupation.                                               If the vehicle you acquire replaces one
        F. "Family member" means a person related to                 shown in the Declarations, it will have
           you by blood, marriage or adoption who is a               the same coverage as the vehicle it
            resident of your household. This includes a              replaced. You must ask us to insure a
            ward or foster child.                                    replacement vehicle within 30 days only
                                                                     if you wish to add or continue Coverage
        G. "Occupying" means in, upon, getting in, on,               for Damage to Your Auto.
           out or off.
                                                                    If the vehicle you acquire is in addition to
        H. "Property damage" means physical injury to,              any shown in the Declarations, it will
           destruction of or loss of use of tangible                have the broadest coverage we now
           property.                                                provide for any vehicle shown in the
        I. "Trailer" means a vehicle designed to be                 Declarations.
            pulled by a:                                         3. Any "trailer" you own.
           1. Private passenger auto; or                         4. Any auto or "trailer" you do not own
          2. Pickup or van.                                         while used as a temporary substitute for
          It also means a farm wagon or farm                        any other vehicle described in this
          implement while towed by a. vehicle listed in             definition which is out of normal use
          1 . or 2. above.                                          because of its:
                                                                     a. breakdown;     d. loss; or
        J. "Your covered auto" means:                                b. repair;        e. destruction.
          1. Any vehicle shown in the Declarations.                  c. servicing;
          2. Any of the following types of vehicles on              This provision (J.4.) does not apply to
             the date you become the owner:                         Coverage for Damage to Your Auto.




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  ~                                                                                          - Liberty
                                                                                                 Mutual.
                                                                                                      INSURANCE



           PART A - LIABILITY COVERAGE
           INSURING AGREEMENT                                           attendance at hearings or trials at our
                                                                        request.
           A. We will pay damages for "bodily injury" or
              "property damage" for which any "insured"              5. Other reasonable expenses incurred at
              becomes legally responsible because of an                 our request.
              auto accident.          Damages include pre-        EXCLUSIONS
              judgment interest awarded against the
                                                                  A. We do not provide Liability Coverage for any
              "insured." We will settle or defend, as we
                                                                     "insured":
              consider appropriate, any claim or suit
              asking for these damages. In addition to our           1. Who intentionally causes "bodily injury"
              limit of liability, we will pay all defense costs         or "property damage."
              we incur. Our duty to settle or defend ends           2. For "property damage" to property
              when our limit of liability for this coverage            owned or being transported by that
              has been exhausted. We have no duty to                   "insured."
              defend any suit or settle any claim for               3. For "property damage" to property:
              "bodily injury" or "property damage" not                 a. rented to;
              covered under this policy.
                                                                        b. used by; or
           B. "Insured" as used in this Part means:                     c. in the care of;
              1. You or any "family member" for the                    that "insured."
                 ownership; maintenance or use of any
                                                                       This exclusion (A.3.) does not apply to
                 auto or "trailer."
                                                                        "property damage" to a residence or
              2. Any person using "your covered auto."                 private garage.
              3. For "your covered auto," any person or             4. For "bodily injury" to an employee of that
                 organization but only with respect to                  "insured" during the course of
                 legal responsibility for acts or omissions            employment. This exclusion (A.4.) does
                 of a person for whom coverage is                      not apply to "bodily injury" to a domestic
                 afforded under this Part.                             employee unless workers' compensation
              4. For any auto or "trailer," other than "your           benefits are required or available for that
                 covered auto," any other person or                    domestic employee.
                 organization but only with respect to              5. For that "insured's" liability arising out of
                 legal responsibility for acts or omissions            the ownership or operation of a vehicle
                 of you or any "family member" for whom                while it is being used as a public or livery
                 coverage is afforded under this Part.                 conveyance. This exclusion (A.5.) does
                 This provision (13.4.) applies only if the            not apply to a share-the-expense car
                 person or organization does not own or                pool.
                 hire the auto or "trailer."
                                                                    6. While employed or otherwise engaged in
          SUPPLEMENTARY PAYMENTS                                       the "business" of:
          In addition to our limit of liability, we will pay           a. selling;     d. storing; or
          on behalf of an "insured":                                   b. repairing;   e. parking;
             1. Up to $250 for the cost of bail bonds                  c. servicing;
                required because of an accident,                       vehicles designed for use mainly on
                including related traffic law violations.              public highways. This includes road
                The accident must result in "bodily                    testing and delivery. This exclusion (A.6.)
                injury" or "property damage" covered                   does not apply to the ownership,
                under this policy.                                     maintenance or use of "your covered
             2. Premiums on appeal bonds and bonds to                  auto" by:
                release attachments in any suit we                     a. you;
                defend.                                                b. any "family member;" or
             3. Interest accruing after a judgment is                  c. any partner, agent or employee of you
                entered in any suit we defend. Our duty                   or any "family member."
                to pay interest ends when we offer to
                                                                    7. Maintaining or using any vehicle while
                pay that part of the judgment which does
                                                                       that "insured" is employed or otherwise
                not exceed our limit of liability for this
                                                                       erigaged in any "business" (other than
                coverage.
                                                                       farming or ranching) not described in
             4. Up to $50 a day for loss of earnings,                  exclusion A.6.
                but not other income, because of
                                                                       This exclusion (A.7.) does not apply to
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                                                                                               i;;     ! '
                                                                                                 _.    ~ ..:~     a,
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                                                                                  0 Lib  erty
                                                                                       Mutual.
                                                                                           INSURANCE




      the maintenance or use of a:                            "occupying" any vehicle which is:
      a. Private passenger auto;                              a. owned by a"family member;" or
      b. Pickup or van that:                                  b. furnished or available for the regular
                                                                 use of a "family member."
         (1) You own; or
                                                           4. Any vehicle, located inside a facility
         (2) You do not own while used as a                   designed for racing, for the purpose of:
              temporary substitute for "your
                                                              a. Competing in; or
              covered auto" which is out of
              normal use because of its:                      b. Practicing or preparing for;
              a. breakdown;      d. loss; or                  any prearranged or organized racing or
              b. repair;         e. destruction; or           speed contest.
              c. servicing;                             LIMIT OF LIABILITY
       c. "Trailer" used with a vehicle described       A. The limit of liability shown in          the
          in a. or b. above.                               Declarations for this coverage is our
   8. Using a vehicle without a reasonable                 maximum limit of liability for all damages
      belief that that "insured" is entitled to do         resulting from any one auto accident. This is
      so.                                                  the most we will pay regardless of the
   9. For "bodily injury" or "property damage"             number of:
      for which that "insured:"                            1. "Insureds;"
      a. is an insured under a nuclear energy              2. Claims made;
          liability policy; or                             3. Vehicles or premiums shown in the
      b. would be an insured under a nuclear                  Declarations; or
          energy liability policy but for its              4. Vehicles involved in the auto accident.
          termination upon exhaustion of its
                                                        B. We will apply the limit of liability to provide
          limit of liability.
                                                           any separate limits required by law for bodily
      A nuclear energy liability policy is a policy        injury and property damage liability.
      issued by any of the following or their              However, this provision (B.) will not change
      successors:                                          our total limit of liability.
      a. American Nuclear Insurers;                     C. No one will be entitled to receive duplicate
      b. Mutual       Atomic    Energy      Liability      payments for the same elements of loss
          Underwriters; or                                 under this coverage and:
     c. Nuclear Insurance Association of                   1. Part B or Part C of this policy; or
        Canada.                                            2. Any Underinsured Motorists Coverage
B. We do not provide Liability Coverage for the               provided by this policy.
   ownership, maintenance or use of:
                                                        OUT OF STATE COVERAGE
   1. Any vehicle which:
                                                        If an auto accident to which this policy applies
      a. Has fewer than four wheels; or
                                                        occurs in any state or province other than the
      b. Is designed mainly for use off public          one in which "your covered auto" is principally
         roads.                                         garaged, we will interpret your policy for that
      This exclusion (B.1 .) does not apply:            accident as follows:
      a. While such vehicle is being used by an         A. If the state or province has:
         "insured" in a medical emergency; or
                                                           1. A financial responsibility or similar law
      b. To any "trailer."
                                                              specifying limits of liability for "bodily
   2. Any vehicle, other than "your covered                   injury" or "property damage" higher than
      auto," which is:                                        the limit shown in the Declarations, your
      a. owned by you; or                                     policy will provide the higher specified
      b. furnished or available for your regular              limit.
         use.                                              2. A compulsory insurance or similar law
   3. Any vehicle, other than "your covered                   requiring a nonresident to maintain
      auto," which is:                                        insurance whenever the nonresident uses
      a. owned by any "family member;" or                     a vehicle in that state or province, your
                                                              policy will provide at least the required
     b. furnished or available for the regular                minimum amounts and types of coverage.
        use of any "family member."
                                                        B. No one will be entitled to duplicate
     However, this exclusion (6.3.) does not               payments for the same elements of loss.
     apply to you while you are maintaining or
                                                                                                        Page 3 of 12
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                                                                                                 Liberty
-                                                                                                Mutual.
                                                                                                     INSURANCE




           FINANCIAL RESPONSIBILITY                              will pay only our share of the loss. Our share is
           When this policy is certified as future proof of      the proportion that our limit of liability bears to
           financial responsibility, this policy shall comply    the total of all applicable limits. However, any
           with the law to the extent required.                  insurance we provide for a vehicle you do not
                                                                 own shall be excess over any other collectible
           OTHER INSURANCE                                       insurance.
           If there is other applicable liability insurance we

           PART B- MEDICAL PAYMENTS COVERAGE
          INSURING AGREEMENT                                            a. owned by any "family member;" or
           A. We will pay reasonable expenses incurred                  b. furnished or available for the regular
              for necessary medical and funeral services                   use of any "family member."
              because of "bodily injury:"                               However, this exclusion (6.) does not
               1. Caused by accident; and                               apply to you.
               2. Sustained by an "insured."                         7. Sustained while "occupying" a vehicle
               We will pay only those expenses incurred for             without a reasonable belief that that
               services rendered within 3 years from the                "insured" is entitled to do so.
               date of the accident.                                8. Sustained while "occupying" a vehicle
          B. "Insured" as used in this Part means:                     when it is being used in the "business" of
                                                                       an "insured." This exclusion (8.) does
               1. You or any "family member:"                          not apply to "bodily injury" sustained
                  a. while "occupying;" or                             while "occupying" a:
                  b. as a pedestrian when struck by;                    a. private passenger auto;
                  a motor vehicle designed for use mainly               b. pickup or van that you own; or
                  on public roads or a trailer of any type.             c. "trailer" used with a vehicle described
               2. Any other person while "occupying"                       in a. or b. above.
                  "your covered auto."                              9. Caused by or as a consequence of:
          EXCLUSIONS                                                    a. discharge of a nuclear weapon (even if
          We do not provide Medical Payments Coverage                      accidental);
          for any "insured" for "bodily injury:"                        b. war (declared or undeclared);
               1. Sustained   while    "occupying"     any              c. civil war;
                  motorized vehicle having fewer than four              d. insurrection; or
                  wheels.
                                                                        e. rebellion or revolution.
               2. Sustained    while  "occupying"    "your
                                                                   10. From or as a consequence of the
                  covered auto" when it is being used as a
                                                                       following,    whether    controlled or
                  public or livery conveyance. This
                                                                       uncontrolled or however caused:
                  exclusion (2.) does not apply to a
                  share-the-expense car pool.                           a. nuclear reaction;
               3. Sustained while "occupying" any vehicle               b. radiation; or
                  located for use as a residence or                     c. radioactive contamination.
                  premises.                                        11. Sustained while "occupying" any vehicle
               4: Occurring     during  the    course      of          located inside a facility designed for
                  employment if workers' compensation                  racing, for the purpose of:
                  benefits are required or available for the            a. competing in; or
                  "bodily injury."
                                                                        b. practicing or preparing for;
               5. Sustained while "occupying," or when
                                                                        any prearranged or organized racing or
                  struck by, any vehicle (other than "your
                                                                        speed contest.
                  covered auto") which is:
                                                                 LIMIT OF LIABILITY
                  a. owned by you; or
                                                                 A. The limit of liability       shown in the
                  b. furnished or available for your regular
                                                                    Declarations for this coverage is our
                     use.
                                                                    maximum limit of liability for each person
               6. Sustained while "occupying," or when              injured in any one accident. This is the most
                  struck by, any vehicle (other than "your          we will pay regardless of the number of:
                  covered auto") which is:                          1. "Insureds;"
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                                                                                        Liberly
                                                                                        Mutual.
                                                                                        INSURANCE




   2. Claims made;                                     OTHER INSURANCE
   3. Vehicles or premiums shown in the                If there is other applicable auto medical
      Declarations; or                                 payments insurance we will pay only our share
   4. Vehicles involved in the accident.               of the loss. Our share is the proportion that our
                                                       limit of liability bears to the total of all
B. No one will be entitled to receive duplicate        applicable limits. However, any insurance we
   payments for the same elements of loss              provide with respect to a vehicle you do not
   under this coverage and:                            own shall be excess over any other collectible
   1. Part A or Part C of this policy; or              auto insurance providing payments for medical
   2. Any Underinsured Motorists Coverage              or funeral expenses.
      provided by this policy.

PART C- UNINSURED MOTORISTS COVERAGE
INSURING AGREEMENT                                            c. "your covered auto."
A. We will pay compensatory damages which                 4. To which a bodily injury liability bond or
   an "insured" is legally entitled to recover               policy applies at the time of the accident
   from the owner or operator of an "uninsured               but the bonding or insuring company:
   motor vehicle" because of "bodily injury:"
                                                              a. denies coverage; or
   1. Sustained by an "insured;" and
                                                             b. is or becomes insolvent.
   2. Caused by an accident.
                                                          However, "uninsured motor vehicle" does
   The owner's or operator's liability for these          not include any vehicle or equipment:
   damages must arise out of the ownership,
                                                          1. Owned by or furnished or available for
   maintenance or use of the "uninsured motor
                                                             the regular use of you or any "family
   vehicle."
                                                             member."
   Any judgment for damages arising out of a
                                                          2. Owned or operated by a self-insurer
   suit brought without our written consent is
                                                             under any applicable motor vehicle law,
   not binding on us.
                                                             except a self-insurer which is or becomes
B. "Insured" as used in this Part means:                     insolvent.
   1. You or any "family member."                         3. Owned by any governmental unit or
                                                             agency.
   2. Any other person "occupying" "your
      covered auto."                                      4. Operated on rails or crawler treads.

   3. Any person for damages that person is               5. Designed mainly for use off public roads
      entitled to recover because of "bodily                 while not on public roads.
      injury" to which this coverage applies              6. While located for use as a residence or
      sustained by a person described in 1. or               premises.
      2. above.
                                                       EXCLUSIONS
C. "Uninsured motor vehicle" means a land              A. We do not provide Uninsured Motorists
   motor vehicle or trailer of any type:                  Coverage for "bodily injury" sustained:
   1. To which no bodily injury liability bond or          1. By an "insured" while "occupying," or
      policy applies at the time of the accident.             when struck by, any motor vehicle
   2. To which a bodily injury liability bond or              owned by that "insured" which is not
      policy applies at the time of the accident.             insured for this coverage under this
      In this case its limit for bodily injury                policy. This includes a trailer of any type
      liability must be less than the minimum                 used with that vehicle.
      limit for bodily injury liability specified by      2. By     any     "family   member"       while
      the financial responsibility law of the                 "occupying," or when struck by, any
      state in which "your covered auto" is                  motor vehicle you own which is insured
      principally garaged.                                   for this coverage on a primary basis
   3. Which is a hit-and-run vehicle whose                   under any other policy.
      operator or owner cannot be identified           B. We do not provide Uninsured Motorists
      and which hits:                                     Coverage for "bodily injury" sustained by any
      a. you or any "family member;"                      "insured:"
      b. a vehicle which you or any "family               1. If that "insured" or the legal
         member" are "occupying;" or
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                     representative settles the "bodily injury"          applicable limit for any one vehicle under
                     claim without our consent.                          any insurance providing coverage on
               2. While "occupying" "your covered auto"                  either a primary or excess basis.
                  when it is being used as a public or livery        2. Any insurance we provide with respect to
                  conveyance. This exclusion (B.2.) does                a vehicle you do not own shall be excess
                  not apply to a share-the-expense car                  over any collectible insurance providing
                  pool.                                                 coverage on a primary basis.
               3. Using a vehicle without a reasonable               3. If the , coverage under this policy is
                  belief that that "insured" is entitled to do          provided:
                  so.                                                    a. On a primary basis, we will pay only
           C. This coverage shall not apply directly or                     our share of the loss that must be
              indirectly to benefit any insurer or                          paid under insurance providing
              self-insurer under any of the following or                    coverage on a primary basis. Our
              similar law:                                                  share is the proportion that our limit
              1. Workers' compensation law; or                              of liability bears to the total of all
              2. Disability benefits law.                                   applicable    limits of  liability for
                                                                            coverage provided on a primary basis.
           D. We do not provide Uninsured Motorists
              Coverage for punitive or exemplary                         b. On an excess basis, we will pay only
              damages.                                                      our share of the loss that must be
                                                                            paid under insurance providing
           LIMIT OF LIABILITY                                               coverage on an excess basis. Our
           A. The limit of liability     shown     in the                   share is the proportion that our limit
              Declarations for this coverage is our                         of liability bears to the total of all
              maximum limit of liability for all damages                    applicable limits of liability for
              resulting from any one accident. This is the                  coverage provided on an excess basis.
              most we will pay regardless of the number           ARBITRATION
               of:
                                                                  A. If we and an "insured" do not agree:
             1. "Insureds;" .
                                                                     1. Whether that "insured" is legally entitled
             2. Claims made;
                                                                        to recover damages; or
             3. Vehicles or premiums shown in the
                Declarations; or                                     2. As to the amount of damages which are
                                                                        recoverable by that "insured;"
             4. Vehicles involved in the accident.
          B. No one will be entitled to receive duplicate            from the owner or operator of an "uninsured
                                                                     motor vehicle," then the matter may be
             payments for the same elements of loss
             under this coverage and:                                arbitrated. However, disputes concerning
                                                                     coverage under this Part may not be
             1. Part A or Part B of this policy; or
                                                                     arbitrated.
             2. Any Underinsured Motorists Coverage
                                                                     Both parties must agree to arbitration. If so
                 provided by this policy.                            agreed, each party will select an arbitrator.
          C. We will not make a duplicate payment under              The two arbitrators will select a third. If they
             this coverage for any element of loss for               cannot agree within 30 days, either may
             which payment has been made by or on                    request that selection be made by a judge of
             behalf of persons or organizations who may              a court having jurisdiction.
             be legally responsible.                              B. Each party will:
          D. We will not pay for any element of loss if a            1. Pay the expenses it incurs; and
             person is entitled to receive payment for the           2. Bear the expenses of the third arbitrator
             same element of loss under any of the                      equally.
             following or similar law:
                                                                  C. Unless both        parties agree otherwise,
               1. Workers' compensation law; or                      arbitration will take place in the county in
               2. Disability benefits law.                           which the "insured" lives. Local rules of law
          OTHER INSURANCE                                            as to procedure and evidence will apply. A
                                                                     decision agreed to by two of the arbitrators
          If there is other applicable insurance available
                                                                     will be binding as to:
          under one or more policies or provisions of
                                                                      1. Whether the "insured" is legally entitled
          coverage:
                                                                           to recover damages; and
               1. Any recovery for damages under all such
                  policies or provisions of coverage may              2. The amount of damages. This applies
                  equal but not exceed the highest                         only if the amount does not exceed the

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   minimum limit for bodily injury liability             to a trial. This demand must be made within
   specified by the financial responsibility law         60 days of the arbitrators' decision. If this
   of the state in which "your covered auto" is          demand is not made, the amount of
   principally garaged. If the amount exceeds            damages agreed to by the arbitrators will be
   that limit, either party may demand the right         binding.

PART D- COVERAGE FOR DAMAGE TO YOUR AUTO
INSURING AGREEMENT                                          normal use because of its:
A. We will pay for direct and accidental loss to            a. breakdown;      d. loss; or
   "your covered auto" or any "non-owned                    b. repair;         e. destruction.
   auto," including their equipment, minus any              c. servicing;
   applicable deductible shown in the                 TRANSPORTATION EXPENSES
   Declarations. If loss to more than one "your
                                                      In addition, we will pay, without application of
   covered auto" or "non-owned auto" results
                                                      a deductible, up to $15 per day, to a maximum
   from the same "collision," only the highest
                                                      of $450, for:
   applicable deductible will apply. We will pay
   for loss to "your covered auto" caused by:            1. Temporary     transportation     expenses
                                                            incurred by you in the event of a loss to
   1. Other than "collision"        only if the
                                                            "your covered auto." We will pay for
       Declarations indicate that Other Than
                                                            such expenses if the loss is caused by:
       Collision Coverage is provided for that
       auto.                                                a. Other than "collision" only if the
   2. "Collision" only if the Declarations                     Declarations indicate that Other Than
       indicate that Collision Coverage is provide             Collision Coverage is provided for that
       d for that auto.                                        auto.
   If there is a loss to a"non-owned auto," we              b. "Collision" only if the Declarations
   will provide the broadest coverage applicable               indicate that Collision Coverage is
   to any "your covered auto" shown in the                     provided for that auto.
   Declarations.                                         2. Loss of use expenses for which you
B. "Collision" means the upset of "your                     become legally responsible in the event of
   covered auto" or a"non-owned auto" or                    loss to a"non-owned auto." We will pay
   their impact with another vehicle or object.             for loss of use expenses if the loss is
                                                            caused by:
   Loss caused by the following is considered
   other than "collision:"                                  a. Other than "collision" only if the
                                                               Delcarations indicate that Other Than
   1. Missiles or          6. Hail. Water or flood;
                                                               Collision Coverage is provided for any
      falling objects;      7. Malicious mischief
                                                               "your covered auto."
                               or vandalism
   2. Fire;                 8. Riot or civil commo-         b. "Collision" only if the Declarations
                               tion;                           indicate that Collision Coverage is
   3. Theft or larceny;     9. Contact with bird               provided for any "your covered auto."
   4. Explosion or earth-       or animal; or            If the loss is caused by a total theft of "your
       quake;                                            covered auto" or a"non-owned auto," we
                           10. Breakage of glass         will pay only expenses incurred during the
   5. Windstorm;                                         period:
   If breakage of glass is caused by a                   1. Beginning 48 hours after the theft; and
   "collision," you may elect to have it                2. Ending when "your covered auto" or the
   considered a loss caused by "collision."                "non-owned auto" is returned to use or
C. "Non-owned auto" means:                                 we pay for its loss.
   1. Any private passenger auto, pickup, van            If the loss is caused by other than theft of a
       or "trailer" not owned by or furnished or         "your covered auto" or a"non-owned auto,"
       available for the regular use of you or           we will pay only expenses beginning when
       any "family member" while in the                  the auto is withdrawn from use for more
       custody of or being operated by you or            than 24 hours.
       any "family member;" or                           Our payment will be limited to that period of
    2. Any auto or "trailer" you do not own               time reasonably required to repair or replace
       while used as a temporary substitute for           the "your covered auto" or the "non-owned
       "your covered auto" which is out of                auto."
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    .                                                                                          Liberty
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           EXCLUSIONS                                                   reproduction of sound and accessories
                                                                        used with such equipment, provided:
           We will not pay for:
               1. Loss to "your covered auto" or any                   (1) The equipment is permanently
                  "non-owned auto" which occurs while it                   installed in "your covered auto" or
                  is being used as a public or livery                      any "non-owned auto;" or
                  conveyance. This exclusion (1.) does not             (2) The equipment is:
                  apply to a share-the-expense car pool.                   (a) Removable from a housing unit
               2. Damage due and confined to:                                  which is permanently installed
                  a. wear and tear;                                            in the auto;
                  b. freezing;                                             (b) Designed to be solely operated
                  c. :mechanical or electrical breakdown or                    by use of the power from the
                      failure; or                                              auto's electrical system; and
                  d. road damage to tires.                                 (c) In or upon "your covered auto"
                                                                               or any "non-owned auto;"
                  This exclusion (2.) does not apply if the
                  damage results from the ' total theft of                 at the time of the loss.
                  "your covered auto" or any "non-owned             b. any other electronic equipment that is:
                  auto."
                                                                       (1) necessary for the normal operation
               3. Loss due to or as a consequence of:                      of the auto or the monitoring of
                  a. radioactive contamination;                            the auto's operating systems; or
                  b. discharge of any        nuclear    weapon         (2) an integral part of the same unit
                     (even if accidental);                                 housing any sound reproducing
                  c. war (declared or undeclared);                         equipment described in a. and
                  d. civil war;                                            permanently    installed   in    the
                                                                           opening of the dash or console of
                  e. insurrection; or
                                                                           "your covered      auto"   or   any
                  f. rebellion or revolution.                              "non-owned auto" normally used
               4. Loss to:                                                 by the manufacturer for installation
                  a. Any electronic equipment designed for                 of a radio.
                     the reproduction of sound, including,       5. A total loss to "your covered auto" or
                     but not limited to:                            any "non-owned auto" due to destruction
                    (1) radios and stereos;                         or confiscation by governmental or civil
                                                                    authorities.
                    (2) tape decks; or
                                                                    This exclusion (5.) does not apply to the
                    (3) compact disc players;
                                                                    interests of Loss Payees in "your covered
                  b. Any other electronic equipment that            auto."
                     receives or transmits audio, visual or
                     data signals, including, but not limited    6. Loss to a camper body or "trailer" you
                     to:                                            own which is not shown in the
                                                                    Declarations. This exclusion (6.) does not
                    (1) citizens band radios;
                                                                    apply to a camper body or "trailer" you:
                    (2) telephones;
                                                                    a. acquire during the policy period; and
                    (3) two-way mobile radios;
                                                                    b. asl< us to insure within 30 days after
                    (4) scanning monitor receivers;                    you become the owner.
                    (5) television monitor receivers;
                                                                 7. Loss to any "non-owned auto" when
                    (6) video cassette recorders;                   used by you or any "family member"
                    (7) audio cassette recorders; or                without a reasonable belief that you or
                    (8) personal computers;                         that "family member" are entitled to do
                                                                    so.
                  c. tapes, records, discs, or other media
                      used with equipment described in a.        8• Loss to:
                      or b.; or                                     a. awnings or cabanas; or
                 d. any other accessories used            with      b. equipment       designed      to     create
                    equipment described in a. or b.                    additional living facilities.
                 This exclusion (4.) does not apply to:          9. Loss to equipment designed or used for
                 a. equipment designed solely for the               the detection or location of radar or laser.
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      10. Loss . to any custom furnishings or                  However, the most we will pay for loss to
          equipment in or upon any pickup or van.              any "non-owned auto" which is a trailer is
          Custom furnishings or equipment include              $ 500.
          but are not limited to:
                                                            B. An adjustment for depreciation and physical
           a. special    carpeting    and     insulation,      condition will be made in determining actual
              furniture or bars;                               cash value in the event of a total loss.
           b. facilities for cooking and sleeping;          C. If a repair or replacement results in better
           c. height-extending roofs; or                       than like kind or quality, we will not pay for
                                                               the amount of the betterment.
           d. custom murals, paintings or other
              decals or graphics.                           PAYMENT OF LOSS
      11. Loss to any "non-owned auto" being                We may pay for loss in money or repair or
          maintained or used by any person while            replace the damaged or stolen property. We
          employed or otherwise engaged in the              may, at our expense, return any stolen property
          "business" of:                                    to:
           a. selling;          d. storing; or                 1. You; or
           b. repairing;        e. parking;                    2. The address shown in this policy.
           c. servicing;                                    If we return stolen property we will pay for any
           vehicles designed for use on public              damage resulting from the theft. We may keep
           highways. This includes road testing and         all or part of the property at an agreed or
           delivery.                                        appraised value.
      12. Loss to any "non-owned auto" being                If we pay for loss in money, our payment will
          maintained or used by any person while            include the applicable sales tax for the damaged
          employed or otherwise engaged in any              or stolen property.
          "business" not described in exclusion 11.         NO BENEFIT TO BAILEE
          This exclusion (12.) does not apply to the
          maintenance or use by you or any "family          This insurance shall not directly or indirectly
          member" of a"non-owned auto" which is             benefit any carrier or other bailee for hire.
          a private passenger auto or "trailer."            OTHER SOURCES OF RECOVERY
      13. Loss to "your covered auto" or any                If other sources of recovery also cover the loss,
          "non-owned auto," located inside a                we will pay only our share of the loss. Our
          facility designed for racing, for the             share is the proportion that our limit of liability
          purpose of:                                       bears to the total of all applicable limits.
           a. competing in; or                              However, any insurance we provide with
                                                            respect to a"non-owned auto" shall be excess
           b. practicing or preparing for;
                                                            over any other collectible source of recovery
           any prearranged or organized racing or           including, but not limited to:
           speed contest.
                                                               1. Any coverage provided by the owner of
      14. Loss to, or loss of use of, a"non-owned                 the "non-owned auto;"
          auto" rented by:
                                                               2. Any other applicable physical damage
           a. you; or
                                                                  insurance;
           b. any "family member;"
                                                               3. Any other source of recovery applicable
          if a rental vehicle company is precluded                to the loss.
          from recovering such loss or loss of use,
                                                            APPRAISAL
          from you or that "family member,"
          pursuant to the provisions of any                 A. If we and you do not agree on the amount of
          applicable rental agreement or state law.            loss, either may demand an appraisal of the
    LIMIT OF LIABILITY                                         loss. In this event, each party will select a
                                                               competent appraiser. The two appraisers will
    A. Our limit of liability for loss will be the lesser      select an umpire. The appraisers will state
       of the:                                                 separately the actual cash value and the
       1. Actual cash value of the stolen or                   amount of loss. If they fail to agree, they will
          damaged property;                                    submit their differences to the umpire. A
       2. Amount necessary to repair or replace the            decision agreed to by any two will be
          property with other property of like kind            binding. Each party will:
          and quality.
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                1. Pay its chosen appraiser; and                B. We do not waive any of our rights under this
                2. Bear the expenses of the appraisal and          policy by agreeing to an appraisal.
                   umpire equally.
          PART E- DUTIES AFTER AN ACCIDENT OR LOSS
          We have no duty to provide coverage under this              b. other pertinent records.
          policy unless there has been full compliance
                                                                   5. Submit a proof of loss when required by
          with the following duties:
                                                                      us.
          A. We must be notified promptly of how, when
                                                                C. A person seeking Uninsured Motorists
             and where the accident or loss happened.
                                                                   Coverage must also:
             Notice should also include the names and
             addresses of any injured persons and of any           1. Promptly notify the police if a hit-and-run
             witnesses.                                               driver is involved.
          B. A person seeking any coverage must:                   2. Promptly send us copies of the legal
                1. Cooperate with us in the investigation,            papers if a suit is brought.
                   settlement or defense of any claim or        D. A person seeking Coverage for Damage to
                   suit.                                           Your Auto must also:
                2. Promptly send us copies of any notices or       1. Take reasonable steps after loss to
                   legal papers received in connection with           protect "your covered auto" or any
                   the accident or loss.                              "non-owned auto" and their equipment
                3. Submit, as often as we reasonably                  from further loss. We will pay reasonable
                   require:                                           expenses incurred to do this.
                    a. to physical exams by physicians we          2. Promptly notify the police if "your
                       select. We will pay for these exams.           covered auto" or any "non-owned auto"
                   b. to examination under oath and                   is stolen.
                      subscribe the same.                          3. Permit us to inspect and appraise the
                4. Authorize us to obtain:                            damaged property before its repair or
                    a. medical reports; and                           disposal.

          PART F - GENERAL PROVISIONS
          BANKRUPTCY                                            adjustment in accordance with our manual
                                                                rules.
          Bankruptcy or insolvency of the "insured" shall
          not relieve us of any obligations under this          C. If we make a change which broadens
          policy.                                                 coverage under this edition of your policy
                                                                   without additional premium charge, that
          CHANGES
                                                                  change will automatically apply to your
          A. This policy contains all the agreements               policy as of the date we implement the
             between you and us. Its terms may not be             change in your state. This paragraph (C.)
              changed or waived except by endorsement              does not apply to changes implemented with
             issued by us.                                        a general program revision that includes both
          B. If there is a change to the information used          broadenings and restrictions in coverage,
               to develop the policy premium, we may               whether that general program revision is
               adjust your premium. Changes during the            implemented through introduction of:
             policy term that may result in a premium
                                                                  1. A subsequent edition of your policy; or
             increase or decrease include, but are not
             limited to, changes in:                              2. An Amendatory Endorsement.
                1. The number, type or use classification of    FRAUD
                   insured vehicles;                            We do not provide coverage for any "insured"
                                                                who has made fraudulent statements or
                2. Operators using insured vehicles;
                                                                engaged in fraudulent conduct in connection
                3. The place of principal garaging of insured   with any accident or loss for which coverage is
                   vehicles;                                    sought under this policy.
              4. Coverage, deductible or limits.                LEGAL ACTION AGAINST US
          If a change resulting from A. or B. requires a
                                                                A. No legal action may be brought against us
          premium adjustment, we will make the premium             until there has been full compliance with all
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   the terms of this policy. In addition, under            b. giving us advance written notice of
   Part A, no legal action may be brought                     the date cancellation is to take effect.
   against us until:                                   2. We may cancel by mailing to the named
   1. We agree in writing that the "insured"              insured shown in the Declarations at the
      has an obligation to pay; or                        address shown in this policy:

   2. The amount of that obligation has been               a. at least 10 days notice:
      finally determined by judgment after trial.            (1) if cancellation is for nonpayment of
B. No person or organization has any right                       premium; or
   under this policy to bring us into any action             (2) if notice is mailed during the first
   to determine the liability of an "insured."                   60 days this policy is in effect and
OUR RIGHT TO RECOVER PAYMENT                                     this is not a renewal or
                                                                 continuation policy; or
A. If we make a payment under this policy and
   the person to or for whom payment was                   b. at least 20 days notice in all other
   made has a right to recover damages from                   cases.
   another we shall be subrogated to that right.       3. After this policy is in effect for 60 days,
   That person shall do:                                  or if this is a renewal or continuation
   1. Whatever is necessary to enable us to               policy, we will cancel only:
      exercise our rights; and                             a. for nonpayment of premium; or
   2. Nothing after loss to prejudice them.                b. if your driver's license or that of:
   However, our rights in this paragraph (A.) do             (1) any driver who lives with you; or
   not apply under Part D, against any person
                                                             (2) any driver who customarily uses
   using "your covered auto" with a reasonable                   "your covered auto;"
   belief that that person is entitled to do so.
                                                           has been suspended or revoked. This
B. If we make a payment under this policy and
                                                           must have occurred:
   the person to or for whom payment is made
   recovers damages from another, that person                (1) during the policy period; or
   shall:                                                      (2) since the last anniversary of the
   1. Hold in trust for us the proceeds of the                      original effective date if the policy
      recovery; and                                                 period is other than 1 year; or
   2. Reimburse us to the extent of our                     c. if the policy was obtained through
      payment.                                                material misrepresentation.
POLICY PERIOD AND TERRITORY                         B. Nonrenewal. If we decide not to renew or
                                                       continue this policy, we will mail notice to
A. This policy applies only to accidents and
                                                       the named insured shown in the Declarations
   losses which occur:
                                                       at the address shown in this policy. Notice
   1. During the policy period as shown in the         will be mailed at least 20 days before the
      Declarations; and                                end of the policy period. If the policy period
   2. Within the policy territory.                     is:
                                                       1. Less than 6 months, we will have the
B. The policy territory is:
                                                            right not to renew or continue this policy
   1. The United States of America, its                     every 6 months, beginning 6 months
      territories or possessions;                           after its original effective date.
   2. Puerto Rico; or                                  2. 1 year or longer, we will have the right
   3. Canada.                                              not to renew or continue this policy at
                                                           each anniversary of its original effective
   This policy also applies to loss to, or                 date.
   accidents involving, "your covered auto"
   while being transported between their ports.     C. Automatic Termination. If we offer to renew
                                                        or continue and you or your representative
TERMINATION                                             do not accept, this policy will automatically
A. Cancellation. This policy may be cancelled           terminate at the end of the current policy
   during the policy period as follows:                 period. Failure to pay the required renewal or
                                                        continuation premium when due shall mean
   1. The named insured shown in the
                                                       that you have not accepted our offer.
      Declarations may cancel by:
                                                       If you obtain other insurance on "your cove-
      a. returning this policy to us; or.
                                                       red auto," any similar insurance provided by
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             this policy will terminate as to that auto on               1. The surviving spouse if resident in the
             the effective date of the other insurance.                     same household at the time of death.
         D. Other Termination Provisions.                                   Coverage applies to the spouse as if a
            1. We may. deliver any' notice instead of                       named insured shown in the Declarations;
                mailing it. Proof of mailing of any notice                  and
                shall be sufficient proof of notice.                     2. The legal representative of the deceased
            2. If this policy is cancelled, you may be                       person as if a named insured shown in
                 entitled to a premium refund. If so, we                     the Declarations. This applies only with
                 will send you the refund. The premium                       respect to the representative's legal
                refund, if any, will be computed                             responsibility to maintain or use "your
                according to our manuals. However,                           covered auto."
                making or offering to make the refund is             B. Coverage will only be provided until the end
                not a condition of cancellation.                         of the policy period.
            3. The effective date of cancellation stated             TWO OR MORE AUTO POLICIES
                 in the notice shall become the end of the           If this policy and any other auto insurance
                 policy period.                                      policy issued to you by us apply to the same
         TRANSFER OF YOUR INTEREST IN THIS                           accident, the maximum limit of our liability
         POLICY                                                      under all the policies shall not exceed the
         A. Your rights and duties under this policy may             highest applicable limit of liability under any one
            not be assigned without our written consent.             policy.
            However, if a named insured shown in the
            Declarations dies, coverage will be provided
            for:



         *MUTUAL POLICY CONDITIONS
         You are a member of the Liberty Mutual Fire Insurance Company while this policy is in force.
         Membership entitles you to vote in person or by proxy at meetings of the company. The Annual
         Meeting is in Boston, Massachusetts, on the second Wednesday in April each year at 11 o'clock in the
         morning.
         Also, as a member, you will receive any dividends declared on this policy by the Directors.
         This policy is classified in Dividend Class IV-Automobile.
         This policy has been signed by our President and Secretary at Boston, Massachusetts, and
         countersigned on the Declarations Page by an authorized representative.




         *These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as
         the insurer.




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                   PRESIDENT 7
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                                                                                                       SECRETARY




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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                                            AS 2162 06 07
AMENDMENT OF POLICY PROVISIONS - NEW MEXICO                                               (PP 01 96 06 94)
 Part A - Liability Coverage                                                "family member":
 A. Paragraph A. of the Insuring Agreement                                  (a) For use as a temporary
    is replaced by the following:                                                substitute while "your
     A. We will pay damages, other than                                          covered auto" is out of
        punitive or exemplary damages, for                                       normal use because of its
        "bodily injury" or "property damage"                                     breakdown,      repair   or
        for which any "insured" becomes                                          servicing;
        legally responsible because of an auto                              (b) To       demonstrate     the
        accident.            Damages       include                               vehicle; or
        prejudgment interest awarded against                                (c) As     a    promotional   or
        the "insured". We will settle or                                         courtesy vehicle; and
        defend, as we consider appropriate,                               The vehicle is provided under a
        any claim or suit asking for these                                 written statement, signed by
        damages. In addition to our limit of                              you or a "family member",
        liability, we will pay all defense costs                           which contains the following
        we incur. Our duty to settle or defend                            language:
        ends when our limit of liability for this                            PRIMARY LIABILITY ASSIGN-
        coverage has been exhausted. We                                      MENT
        have no duty to defend any suit or                                   In consideration of the vehicle
        settle any claim for "bodily injury" or                              owner entrusting the motor
        "property damage" not covered under                                  vehicle elsewhere described
        this policy.                                                         to me, I agree that my vehicle
 B. Exclusion A.3. is replaced by the                                        insurance or self-insurance
    following:                                                               coverage shall be primarily
    We do not provide Liability Coverage for                                 responsible for any loss or
    any "insured":                                                           damage caused by or to the
    3. For "property damage" to property:                                    motor vehicle.
        a. Rented to;                                        C. The Other Insurance Provision is replaced
        b. Used by; or                                          by the following:
        c. In the care of;                                      OTHER INSURANCE
        that "insured":                                         If there is other applicable liability
        This Exclusion (A.3.) does not apply                    insurance, we will pay only our share of
        to "property damage" to a:                              the loss. Our share is the proportion that
        a. Residence or private garage; or                      our limit of liability bears to the total of
        b. Vehicle you do not own if:                           all applicable limits. Any insurance we
            (1) A licensed automobile dealer                    provide for a vehicle you do not own
                  provides the vehicle without                  shall be excess over any other collectible
                  charge to you or a"family                     insurance.
                  member":                                      However, we will provide primary
                  (a) For use as a temporary                    insurance for a vehicle you do not own
                      substitute while "your                    if:
                      covered auto" is out of                   1. A licensed automobile dealer provides
                      normal use because of its                     the vehicle without charge to you or a
                      breakdown,      repair    or                  "family member":
                      servicing;                                     a. For use as a temporary substitute
                  (b) To      demonstrate      the                       while "your covered auto" is out
                      vehicle; or                                        of normal use because of its
                 (c) As     a    promotional    or                       breakdown, repair or servicing;
                      courtesy vehicle; or                           b. To demonstrate the vehicle; or
            (2) A licensed automobile dealer                         c. As a promotional or courtesy
                  provides the vehicle for a                             vehicle; or
                 charge, or someone other than                   2. A licensed automobile dealer provides
                 a licensed automobile dealer                       the vehicle for a charge, or someone
                 provides the vehicle with or                       other than a licensed automobile
                  without charge, to you or a                       dealer provides the vehicle with or
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                 without charge, to you or a"family                    2. A licensed automobile dealer provides
                 member":                                                  the vehicle for a charge, or someone
                 a. For use as a temporary substitute                       other than a licensed automobile dealer
                     while "your covered auto" is out                       provides the vehicle with or without
                     of normal use because of its                           charge, to you or a"family member":
                     breakdown, repair or servicing;                       a. For use as a temporary substitute
                 b. To demonstrate the vehicle; or                              while "your covered auto" is out of
                 c. As a promotional or courtesy                                normal     use    because     of    its
                     vehicle; and                                               breakdown, repair or servicing;
                The vehicle is provided under a                            b. To demonstrate the vehicle; or
                written statement, signed by you or a                      c. As a promotional or courtesy
                "family member", which contains the                             vehicle; and
                following language:                                        The vehicle is provided under a written
                     PRIMARY       LIABILITY    ASSIGN-                    statement, signed by you or a"family
                     MENT                                                  member", which contains the following
                     In consideration of the vehicle                       language:
                     owner     entrusting   the     motor                       PRIMARY LIABILITY ASSIGNMENT
                     vehicle elsewhere described to                             In consideration of the vehicle
                     me, I agree that my vehicle                                owner entrusting the motor vehicle
                     insurance      or , self-insurance                         elsewhere described to me, I agree
                     coverage     shall   be    primarily                       that    my   vehicle   insurance    or
                     responsible for any loss or damage                         self-insurance coverage shall be
                     caused by or to the motor vehicle.                         primarily responsible for any loss or
    II.   Part D- Coverage For Damage To Your                                   damage caused by or to the motor
          Auto                                                                  vehicle.
          Paragraph C. of the Insuring Agreement is              III. PART F- GENERAL PROVISIONS
          replaced by the following:                                   Part F is amended as follows:
          "Non-owned auto" means:                                      A. The Termination provision is amended
          1. Any private passenger auto, pickup, van                       as follows:
              or "trailer" not owned by or furnished or                    TERMINATION
              available for the regular use of you or                      The Nonrenewal section is replaced by
              any "family member" while in the                             the following:
              custody of or being operated by you or                       Nonrenewal. If we decide not to renew
              any "family member"; or                                      or continue this policy, we will mail
          2. Any auto or "trailer" you do not own                          notice to the named insured shown in
              while used as a temporary substitute for                     the Declarations at the address shown
              "your covered auto" which is out of                          in this policy. Notice will be mailed at
              normal use because of its:                                   least 30 days before the end of the
              a. Breakdown;                                                policy period. If the policy period is less
              b. Repair;                                                  than 6 months, we will have the right
              c. Servicing;                                               not to renew or continue every 6
              d. Loss; or                                                 months, beginning 6 months from its
              e. Destruction.                                             original effective date.
          However, "non-owned auto" does not
          include any vehicle you do not own if:                     B. The following is added to the Two Or
          1. A licensed automobile dealer provides                      More Auto Policies provision:
              the vehicle without charge to you or a                      TWO OR MORE AUTO POLICIES
              "family member":
              a. For use as a temporary substitute                        1. This provision does not apply to
                  while "your covered auto" is out of                        Uninsured Motorists Coverage.
                  normal      use    because     of   its                 2.   No one will be entitled to receive du-
                  breakdown, repair or servicing;                              plicate payments for the same elem-
              b. To demonstrate the vehicle; or                                ents of loss under Uninsured Motori-
              c. As a promotional or courtesy                                  sts Coverage.
                  vehicle; or



    This endorsement must be attached to the Change Endorsement when issued after the policy is written.


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        AUTOMOBILE AMENDATORY ENDORSEMENT                                                         AS 2258 08 06
        I.   DEFINITIONS                                                  a. For any coverage provided in this
             The Definitions section is revised as                           policy     except     Coverage      For
             follows:                                                        Damage To Your Auto, a newly
             A. The definition of Your Covered Auto is                       acquired auto         will have the
                  replaced with the following:                               broadest      coverage      we     now
                  "Your Covered Auto" means:                                 provide for any vehicle shown in
                  1. Any vehicle shown in the Declara-                       the Declarations. Coverage begins
                     tions.                                                  on the date you become the
                  2. A newly acquired auto.                                  owner.
                  3. Any trailer you own.                                    However, for this coverage to
                  4. Any auto or trailer you do not own                      apply to a newly acquired auto
                     while used as a temporary substitute                    that is in addition to any vehicle
                     for any other vehicle described in this                 shown in the Declarations, you
                     definition which is out of normal use                   must ask us to insure it within 30
                     because of its:                                         days after you become the owner.
                     a. Breakdown;                                           If a newly acquired auto replaces a
                      b. Repair;                                             vehicle shown in the Declarations,
                      c. Servicing;                                          coverage is provided for this
                      d. Loss; or                                            vehicle without your having to ask
                     e. Destruction.                                         us to insure it.
                  This provision (4.) does not apply to                   b. Collision Coverage for a newly
                  Coverage For Damage To Your Auto.                          acquired auto begins on the date
             B. The definition of Newly Acquired Auto                        you become the owner. However,
                  is added as follows:                                       for this coverage to apply, you
                  "Newly acquired auto":                                     must ask us to insure it within:
                  1. Newly acquired auto means any of                        (1) 30 days after you become the
                     the following types of vehicles you                          owner if the Declarations
                     become the owner of during the                               indicate      that       Collision
                     policy period:                                               Coverage applies to at least
                     a. A private passenger auto; or                              one auto. In this case, the
                     b. A pickup or van, for which no                             newly acquired auto will have
                         other insurance policy provides                          the broadest coverage we now
                         coverage, that:                                          provide for any auto shown in
                         (1) Has a Gross Vehicle Weight of                        the Declarations.
                             less than 10,000 Ibs.; and                      (2) Five days after you become
                         (2) Is not used for the delivery or                      the owner if the Declarations
                             transportation of goods and                          do not indicate that Collision
                             materials unless such use is:                        Coverage applies to at least
                                                                                  one auto. If you comply with
                             (a) Incidental to your business
                                                                                  the 5 day requirement and a
                                 of installing, maintaining or
                                                                                  loss    occurred     before   you
                                 repairing    furnishings   or
                                                                                  asked us to insure the newly
                                 equipment; or
                                                                                  acquired auto, a Collision
                             (b) For farming or ranching.                         deductible of 5500 will apply.
                     For this definition to apply to a newly              c. Other Than Collision Coverage for
                     acquired auto, which is in addition to                  a newly acquired auto begins on
                     the vehicles listed in the Declarations,                the     date    you     become      the
                     we must insure all other vehicles                       owner.However, for this coverage
                     owned by you.                                           to apply, you must ask us to
                 2. Coverage for a newly acquired auto                       insure it within:
                    is provided as described below. If                       (1) 30 days after you become the
                    you ask us to insure a newly                                  owner if the Declarations
                                                                                  indicate    that    Other   Than
                    acquired auto after a specified time
                    period described below has elapsed,                           Collision Coverage applies to
                    any coverage we provide for a newly                           at least one auto. In this case,
                    acquired auto will begin at the time                          the newly acquired auto will
                    you request the coverage.                                     have the broadest coverage


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                                                                                               AS 2258 08 06
                      we now provide for any auto                           condition for which its use is
                      shown in the Declarations.                             proposed.
                  (2) Five days after you become                         3.In patient services or supplies
                      the owner if the Declarations                         provided to the covered person when
                      do not indicate that Other                            these could safely have been
                      Than      Collision      Coverage                     provided to the covered person- as an
                      applies to at least one auto. If                      outpatient.
                      you comply with the 5 day                     D. "reasonable expenses" - when applied to
                      requirement and a loss                             medical services incurred by an insured
                      occurred before you asked us                       under PART B- MEDICAL PAYMENTS
                      to insure the newly acquired                       COVERAGE - means the least of:
                      auto, an Other Than Collision                      1. The actual charge;
                      deductible of $500 will apply.                     2. The charge negotiated with a
      C. "necessary medical" - when applied to                               provider; or
          services incurred by an insured under                          3. The charge determined by us based
          PART B - MEDICAL PAYMENTS                                         on a methodology using a database
          COVERAGE              means services or                           designed to reflect amounts charged
          supplies provided by a licensed hospital,                         by providers of inedical services or
          licensed physician, or other licensed                             supplies within the same or similar
          medical provider that, as determined by                           geographic region in which you
          us or someone on our behalf, are:                                 receive your rimedical services or
           1. Required to identify or treat an injury                       supplies. The database will reflect (a)
              caused by an accident covered by                              service charge data regardless of the
              this policy;                                                  provider's specialty and (b) in the
          2. Consistent         with         symptoms,                      case of new procedures, services or
              diagnosis, and treatment of the                               supplies, or existing procedures,
              covered      person's       injury    and                     services or supplies for which there
              appropriately documented in the                               is little or no charge data, a
              covered person's medical records;                             comparison . to commonly used
          3. Provided       in    accordance       with                     procedures, services or supplies.
              recognized standards of care for the                  PART A - LIABILITY COVERAGE
              covered person's 'injury at the time                  Exclusion 4. is under paragraph B. of the
              the charge is incurred;                               Exclusions section of Part A is replaced by
          4. Consistent with published practice                     the following:
              guidelines and technology, and                        4. Any vehicle, while being used for:
              assessment standards of national                           a. competing in; or
              organizations or multi-disciplinary                        b. practicing or preparing for
              medical groups;                                            any organized racing, speed, demolition,
          5. Not primarily for the convenience of                        stunt or performance contest or related
              the covered person, or his or her                          activity whether or not for pay.
              physician, hospital, or other health                  PART B- MEDICAL PAYMENTS COVERAGE
              care provider;                                        Exclusion 11. is under the Exclusions
          6. The most appropriate supply or level                   section of Part B is replaced by the
              of service that can be safely provided                following:
              to the covered person; and                            11. Sustained while occupying any vehicle
          7. Not excessive in terms of scope,                            while being used for:
              duration, or intensity of care needed                      a. competing in; or
              to provide safe, adequate, and                             b: practicing or preparing for
              appropriate diagnosis and treatment;                       any organized racing, speed, demolition,
      However, necessary medical services do not                         stunt or performance contest or related
      include expenses for any of the following:                         activity whether or not for pay.
          1. Nutritional        supplements          or         [1~J PART D- COVERAGE FOR DAMAGE TO
              over-the-counter drugs;                               YOUR AUTO
          2. Experimental services or a supply,                     A. Paragraph A. of the Insuring Agreement
              which means services or supplies                          of Part D is replaced by the following:
              that we determine have not been                          INSURING AGREEMENT
              accepted by the majority of the                          A.We will pay for direct and accidental
              relevant medical specialty as safe and                       loss to your covered auto or any
              effective for treatment of the
                                                      Page 2 of 5
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                                                                                                          AS 2258 08 06
           non-owned         auto,      including      their                       performance of the vehicle
           equipment,       subject      to    Customized                       including but not limited to any
          Equipment         Coverage,        minus      any                     additions     or    alterations     to    the
           applicable deductible shown in the                                   chassis, engine, exterior or interior of
           Declarations. If loss to more than one                               the auto.
           your covered auto or non-owned auto                                  This includes but is not limited to
           results from the same collision, only the                            ground      effects,     specialty      rims,
           highest applicable deductible will apply.                            performance tires, specialty paint or
           We will pay for loss to your covered auto                            dye, roll bars, running              boards,
           caused by:                                                           spoilers, special interior or exterior
              1.Other than collision only if the                                lighting, roof/trunk racks, and high
                  Declarations indicate that Other                              performance        engine    components.
                  Than Collision Coverage is provided                           However, such parts, equipment and
                  for that auto.                                                accessories that were installed by the
              2. Collision only if the Declarations                             automobile manufacturer or licensed
                  indicate that Collision Coverage is                           auto dealer are not considered
                  provided for that auto.                                       customized equipment.
              If there is a loss to a non-owned auto                            This also includes any electronic               ,
              we will provide the broadest coverage                             equipment that is not necessary for
              applicable to any your covered auto                               the normal operation of the auto or
              shown in the Declarations.                                        the    monitoring       of    the     auto's
        B. The following Customized Equipment                                   operating system that is used solely
           Coverage provision is added under Part                               for the reproduction of recorded
           D:                                                                   material or used for transmitting or
           CUSTOMIZED EQUIPMENT COVERAGE                                        receiving audio,        visual or data
           A. We will pay up to $500 for theft or                               signals.     However,       such       parts,
               damage to customized equipment if                                equipment and accessories that were
               the loss is caused by:                                           installed'     by      the      automobile
                1. Other than collision only if the                             manufacturer or licensed auto dealer
                   Declarations indicate that Other                             or in a location the automobile
                   Than      Collision      Coverage      is                    manufacturer       intended      for    such
                   provided for that auto.                                      equipment,       are    not      considered
                2. Collision only if the Declarations                           customized equipment.
                   indicate that Collision Coverage is                     C. If you have purchased additional
                   provided for that auto.                                      coverage for customized equipment
               Payments shall be reduced by the                                 we will pay up to the amount of
               applicable deductible. However, only                             coverage you have purchased in
               one deductible will be applied for any                           addition to the $500 limit provided
               one loss. If you or the owner of a                               by    the     policy.    This     additional
               non-owned auto keeps salvaged                                    coverage must be shown in the
               material, payments will also be                                 Declarations.
               reduced by the salvage value. In no                         D. The most we will pay for parts,
               way shall this coverage increase the                             equipment and accessories that are:
               limit of liability for your covered auto                        a. not      installed     by     the     auto
               or any non-owned auto.                                              manufacturer or dealer and
           B. "Customized equipment" means any                                 b. permanently installed in or upon
               parts, equipment and accessories                                    the auto
               including        devices,       extensions,                     is the actual.cash value of the vehicle
               furnishings, fixtures, finishings, and                          not including such parts, equipment
               other alterations that:                                         and accessories.
                1. are    permanently        installed   or             C. The Transportation Expenses provision of
                   attached by bolts or brackets;                          Part D is replaced by the following:
               2. are removable from a housing unit                        TRANSPORTATION EXPENSES
                   that is permanently installed inside                    In addition, we will pay up to $ 15 per
                   the auto;                                               day to a maximum of 30 days for any
               3. are permanently bonded to the                            temporary        transportation        expenses
                   vehicle by an adhesive or welding                       incurred by you. This applies in the event
                   procedure; or                                           of a loss to your covered auto if the loss
               4. change the appearance or                                 is caused by:
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    _                                                                                        _ Liberty
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                                                                                                 AS 2258 08 06
                 a. Other than collision only if the                   what is provided under Customized
                     Declarations indicate Other Than                  Equipment Coverage unless additional
                     Collision Coverage is provided for                coverage has been purchased by
                     that auto.                                        endorsement and is shown in the
                 b. Collision only if the Declarations                 Declarations.
                     indicate that Collision Coverage is            G. Exclusion 16. is added as follows:
                     provided for that auto.                           16. We will not pay for loss to tapes,
            If the loss is caused by a total theft of                      records, discs or other media used
            your covered auto, we will pay only                            with any sound reproducing or other
            transportation expenses incurred during                        electronic equipment.
            the period:                                             H. Paragraph B of the Limit of Liability
            1. Beginning 48 hours after the theft;                     provision of Part D is added as follows:
                and
                                                                       B. An adjustment for depreciation and
            2. Ending when your covered auto is                            physical condition will be made in
                returned to use or we pay for its loss.                    determining actual cash value in the
        D. Exclusion 4. is replaced by the following:                      event of a total loss. In this case, the
            4. We will not pay for loss to equipment                       actual cash value consists of the value
                 that is not permanently installed in                      of the vehicle not including any
                 or upon your covered auto or any                          customized equipment.
                 non-owned auto. This consists of any           V. PART E- DUTIES AFTER AN ACCIDENT OR
                 equipment that is either designed for              LOSS
                 the reproduction of sound or receives              Part E is amended as follows:
                 or transmits audio, visual or data                 A. Paragraph B. of Part E is replaced by the
                signals. This includes but is not                      following:
                limited to:
                                                                       B. A person seeking any coverage must:
                a. radios and stereos;
                                                                            1. Cooperate       with    us   in   the
                b. tape decks;
                                                                                investigation,      settlement    or
                c. compact disc players and burners;
                                                                                defense of any claim or suit. This
                d. digital video disc (DVD) players and
                                                                               -includes, but is not limited to,
                    burners;
                                                                                allowing us to inspect damage to a
                e. citizens band radios;
                                                                                vehicle covered by this policy.
                f. scanning monitor receivers;
                                                                            2. Promptly send us copies of any
                g. television monitor receivers;
                                                                                notices or legal papers received in
                h. global positioning system (GPS)
                                                                                connection with the accident or
                    receivers and/or components;
                                                                               loss.
                i. video      cassette     players    and
                    recorders;                                              3. Submit, as often as we reasonably
                j. audio cassette recorders; or                                require, within 30 days of our
                k. personal computers, which includes                          request:
                    laptops, desktops, and personal                            a. To physical and mental exams
                    digital assistants (PDA) or any                                 by physicians we select under
                    other handheld device.                                          terms we require. We will pay
                AII accessories used with the above or                              for these exams.
                similar equipment are also excluded.                           b. To interviews and recorded
        E. Exclusion       13. is replaced by the                                   statements without the need
           following:                                                               for us to conduct an
           13.Loss to your covered auto or any                                      examination under oath.
                  non-owned auto while the car is                              c. To examination under oath and
                  being used for:                                                   subscribe the same.
                  a. competing in; or                                       4. Authorize us to obtain, within 30
                  b. practicing or preparing for                               days of our request:
                  any     organized     racing,    speed,                      a. Medical reports; and
                  demolition, stunt or performance                             b. Other        pertinent    records,
                  contest or related activity whether or                            including but not limited to,
                  not for pay.                                                      information contained in or
        F. Exclusion 15. is added as follows:                                       transmitted by any device
            15. We will not pay for loss to                                         located in or on the motor
                  customized equipment in excess of                                 vehicle.
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;                                                                                          Mutual.
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                                                                                             AS 2258 08 06
        5. Submit a proof of loss when required by                  a. conceals     or    misrepresents any
            us within 30 days of our request.                          material fact or circumstance,
                                                                    b. makes false statements or
       VI. PART F- GENERAL PROVISIONS
                                                                    c. engages in fraudulent conduct,
    Part F is amended as follows:                                   any of which relate to a loss, an
    A. The Fraud provision is replaced by the                       accident, this insurance or the
       following:                                                   application for this policy.
       FRAUD
       This policy will not provide coverage under
       any part of this policy for any insured or any
       other person or entity seeking benefits under
       this policy (whether before or after a Ioss)
       who:




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             AMENDMENT OF POLICY DEFINITIONS

             THIS ENDORSEMENT CHANGES YOUR POLICY. IT REPLACES ALL OTHER REFERENCES TO
             THE SAME SECTIONS OF THE POLICY.


            The following is added to item A. under the policy DEFINITIONS:
                3. the partner in a civil union, registered domestic partnership or other similar union, with
                fhe "named insured" shown on the Declarations, if a resident of the same household.
                The above, only applies if the civil union or partnership was validly entered into under the
                laws of any state, municipality, or territory of the United States or any other country.
                If the spouse or partner defined above is no longer a resident in the same household during
                the policy period or prior to the inception of the policy, the spouse or partner will be
                considered "you" and "your" under this policy until the earlier of:
                     1. The end of 90 days following the change of residency;
                     2. The effective date of another policy listing the spouse or partner defined above as a
                        named insured; or
                     3. The end of the policy period.

            Paragraph A. of the TRANSFER OF YOUR INTEREST IN THIS POLICY is deleted. It is replaced
            with the following:

            A. Your rights and duties under this policy may not be assigned without our written consent.
               However, if a named insured shown in the Declarations becomes deceased, coverage will
               be provided for:
               1. the surviving spouse or partner in a civil union, registered domestic partnership or other
                  similar union, if a resident of the same household at the time of death. Coverage
                  applies to the spouse or partner as set forth herein, as if a named insured shown in the
                  declarations; and
               2. the legal representative of the deceased person as if a named insured shown in the
                  Declarations. This applies only with regard to the representative's legal responsibility
                  to maintain or use "your covered auto".
            Section 1. only applies if the union or partnership is validly entered into under the laws of any
            state, municipality, or territory of the United States or any other country.
            AII other terms and conditions of this policy remain the same.




    AS 2344 04 08                             Liberty Mutual Insurance Group

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    .                                                                                             -• Liberty
,                                                                                                        Mutual.
                                                                                                         INSURANCE




         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                                                         PERSONAL AUTO
         UNINSURED MOTORISTS COVERAGE - NEW MEXICO                                                          AS 3616 05 08

         I. PART C - UNINSURED MOTORISTS                            B."Insured" as used in this endorsement means:
            COVERAGE
                                                                           1. You or any "family member".
            Part C is replaced by the following:
                                                                           2. Any other person "occupying" "your
            INSURING AGREEMENT                                                 covered auto".
            A. We will pay damages which an "insured"                      3. Any person for damages that person
               is legally entitled to recover from the                        is entitled to recover because of
               owner or operator of an:                                       "bodily injury" to which this coverage
                1. "Uninsured       motor  vehicle"   or                      applies sustained by a person
                    "underinsured motor vehicle" because                      described in 1. or 2. above.
                    of "bodily injury":                                 C. "Property damage" as used in this
                   a. Sustained by an "insured"; and                       endorsement means injury to or
                                                                           destruction of the property of an
                   b. Caused by an accident; and                           "insured".
                2. "Uninsured motor vehicle" because of                D. "Underinsured motor vehicle" means a
                    "property damage" caused by an                        land motor vehicle or trailer of any type
                    accident.                                             for which the sum of the limits of liability
                The owner's or operator's liability for                   under all bodily injury liability bonds or
                these damages must arise out of the                       policies applicable at the time of the
                ownership; maintenance or use of the                      accident is less than the sum of the limits
                "uninsured        motor      vehicle"   or                of liability applicable to the "insured" for
                "underinsured motor vehicle". With                        Uninsured Motorists Coverage under this
                respect to damages an "insured" is                        policy or any other policy.
                legally entitled to recover from the owner                 However, "underinsured motor vehicle"
                or operator of an "underinsured motor                      does not include any vehicle or
                vehicle", we will pay under this coverage                  equipment:
                only if 1. or 2. below applies:
                                                                           1. Owned by or furnished or available for
                1. The limits of liability under any                          the regular use of you or any "family
                   applicable bodily injury liability bonds                   member". However, this exception
                   or policies have been exhausted by                         (1.) does not apply for damages
                   payment of judgments or settlements;                       sustained by you or any "family
                   or
                                                                              member" if the sum of the limits of
                2. A tentative settlement has been made                       liability under all bodily injury liability
                   between an "insured" and the insurer                       bonds or policies applicable at the
                   of the "underinsured motor vehicle"                        time of the accident is less than the
                   and we:                                                    sum of the limits of liability for
                   a. Have been given prompt written                          Uninsured Motorists Coverage under
                      notice of such tentative settlement;                    this policy or any other policy.
                        and                                                2. To which a bodily injury liability bond
                   b. Advance payment to the "insured"                        or policy applies at the time of the
                      in an amount equal to the tentative                     accident but the bonding or insuring
                                                                              company:
                      settlement within 30 days after
                      receipt of notification.                                 a. Denies coverage; or
                Any judgment for damages arising out of                       b. Is or becomes insolvent.
                a suit brought without our written                         3. Owned or operated by a self-insurer
                consent is not binding on us.                                 under any applicable motor vehicle
                                                                              law.




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                                                                                                      Liberty
;                                                                                                    Mutual.
                                                                                                       INSURANCE




              E. "Uninsured motor vehicle" means a land                        a fee. This exclusion (A.2.) does not
                 motor vehicle or trailer of any type:                         apply to a share-the-expense car pool.
                 1. To which no liability bond or policy                    3. Using a vehicle without a reasonable
                    applies at the time of the accident.                       belief that that "insured" is entitled to
                 2. Which is a hit-and-run vehicle whose                       do so.
                    operator or owner cannot be identified                 4. For the first $250 of the amount of
                    and which hits or which causes an                         "property damage" to the property of
                    accident resulting in "bodily injury" or                  each "insured" as the result of any
                    "property damage" without hitting:                        one accident.
                    a. You or any "family member";                         5. While traveling as a passenger in any
                    b. A vehicle which you or any "family                     motor vehicle operated by a named
                       member" are "occupying"; or                            excluded driver.

                    c. "Your covered auto".                             B. This coverage shall not apply directly or
                                                                           indirectly to benefit:
                 3. To which a liability bond or policy
                    applies at the time of the accident but                1. Any insurer or self-insurer under any
                    the bonding or insuring company:                          of the following or similar law:

                    a. Denies coverage; or                                     a. Workers' compensation law; or

                    b. Is or becomes insolvent.                                b. Disability benefits law.

                 However, "uninsured motor vehicle" does                   2• Any insurer of property.
                 not include any vehicle or equipment:                  LIMIT OF LIABILITY
                 1. Owned or operated by a self-insurer                A. If "bodily injury" or "property damage" is
                    under any applicable motor vehicle                    sustained in an accident by you or any
                    law, except a self-insurer which is or                "family member", our maximum limit of
                    becomes insolvent; or                                 liability for all damages in any such
                 2. Owned by or furnished or available for                accident is the sum of the limits of
                    the regular use of you or any "family                 liability for Uninsured Motorists Coverage
                    member".     However, this exception                  shown in the Declarations applicable to
                    (2.) does not apply for damages                       each vehicle. Subject to this maximum
                    sustained by you or any "family                       limit of liability for all damages:
                    member" if liability coverage       is                 1. The most we will pay for "bodily
                    excluded for such damages under this                      injury"   or    "property     damage"
                    policy or any other policy.                               sustained in such accident by an
                 In addition, neither "uninsured motor                        "insured" other than you or any
                 vehicle" nor "underinsured motor vehicle"                    "family member" is that "insured's"
                 includes any vehicle or equipment:                           pro rata share of the limit shown in
                                                                              the Declarations applicable to the
                 1. Operated on rails or crawler treads.                      vehicle    that     "insured"    was
                 2. Designed mainly for use off public                        "occupying" at the time of the
                    roads while not on public roads.                          accident;
                 3. While located for use as a residence                   2. You or any "family member" who
                    or premises.                                              sustains "bodily injury" or "property
              EXCLUSIONS                                                      damage" in such accident will also be
                                                                              entitled to a pro rata share of the limit
              A. We do not provide Uninsured Motorists                        described in paragraph 1. above.
                 Coverage for "property damage" or
                                                                           A person's pro - rata share shall be the
                 "bodily    injury" sustained by  any
                 "insured":                                                proportion that that person's damages
                                                                           bears to the total damages sustained by
                 1. If   that  "insured"  or   the   legal                 all "insureds".
                    representative settles the     "bodily
                    injury" or "property damage" claim                     The maximum limit of liability is the most
                    without our consent.                                   we will pay regardless of the number of:
                 2. When "your covered auto" is being                      1. "Insureds";
                    used to carry persons or property for                  2. Claims made;


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                                                                                                    Liberty
,                                                                                                  Mutual.
                                  ~                                                                  INSURANCE




                3. Vehicles or premiums shown in the                    With respect to "property damage", this
                  . Declarations; or                                    insurance shall apply only after the limits of
                                                                        any other collectible insurance applicable to
                4. Vehicles involved in the accident.
                                                                        the damaged property have been exhausted.
            B. If "bodily injury" or "property damage" is
                                                                        ARBITRATION
               sustained by any "insured" other than
               you or any "family member" in an                         A. If we and an "insured" do not agree:
               accident in which neither you nor any                        1. Whether that "insured" is legally
               "family      member"     sustained     "bodily                  entitled to recover damages; or
               injury" or "property damage" the limit of
                                                                           2, As to the amount of damages which
               liability    shown    in  the Declarations
                                                                              are recoverable by that "insured";
               applicable to the "your covered auto" the
               "insured" was "occupying" at the time of                    from the owner or operator of an
               the accident is our maximum limit of                        "uninsured    motor      vehicle"    or
               liability for all damages resulting from any                "underinsured motor vehicle", then the
               such accident.                                              matter may be arbitrated. However,
                                                                           disputes concerning coverage under this
                This is the most we will pay regardless of
                the number of:                                             endorsement may not be arbitrated.

                1. "Insureds";                                             Both parties must.agree to arbitration. If
                                                                           so agreed, each party will select an
                2. Claims made;                                            arbitrator. The two arbitrators will select
                3. Vehicles or premiums shown in the                       a third. If they cannot agree within 30
                   Declarations; or                                        days, either may request that selection be
                                                                           made by a judge of a court having
                4. Vehicles involved in the accident.
                                                                           jurisdiction.
            C. With respect to damages caused by an
                                                                        B. Each party will:
               accident with an "underinsured motor
               vehicle", the limit of liability shall be                   1. Pay the expenses it incurs; and
               reduced by all sums paid because of                         2. Bear the expenses        of   the   third
               "bodily injury" by or on behalf of persons                     arbitrator equally;
               or organizations who may be legally
                                                                           unless the arbitration costs are awarded
               responsible. This includes all sums paid
                                                                           to the prevailing party by the arbitrators.
               under Part A of the policy.
                                                                       C. Unless both parties agree otherwise,
            D. No one will be entitled to receive
               duplicate   payments                                       arbitration will take place in the county in
                                         for    the same
                                                                          which the "insured" lives. Local rules of
               elements of loss under this coverage and
                                                                          law as to procedure and evidence will
               Part A or Part B of this policy.
                                                                          apply. A decision agreed to by two of the
            E. We will not make a du Plicate PaYment                      arbitrators will be binding as to:
               under this coverage for any element of
                                                                           1. Whether the "insured" is legally
               loss for which payment has been made
               by                                                             entitled to recover damages; and
                    or    on  behalf  of  persons   or
               organizations   who   may   be   legally                    2. The amount of damages.
               responsible.                                            ADDITIONAL DUTY
            F. No payment will be made for loss paid or                A Person seeking Uninsured Motorists
               payable to the "insured" under Part D of                Coverage      under    the   definition   of
               the policy.                                             "underinsured motor vehicle" must also
            OTHER INSURANCE                                            promptly notify us in writing of a tentative
                                                                       settlement between the "insured" and the
            If there is other applicable similar insurance
                                                                       insurer of the "underinsured motor vehicle"
            we will pay only our share of the loss. Our
                                                                       and allow us 30 days to advance payment to
            share is the proportion that our limit of
                                                                       that "insured" in an amount equal to the
            liability bears to the total of all applicable
                                                                       tentative settlement to preserve our rights
            limits. However, any insurance we provide
                                                                       against the insurer, owner or operator of
            with respect to a vehicle you do not own
                                                                       such "underinsured motor vehicle".
            shall be excess over any other collectible
            insurance.



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    .                                                                                                Liberty
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                                                                                                        tu
                                                                                                       INSURANCE




              II. PART F- GENERAL PROVISIONS                                   2. Fail to advance payment to the
                                                                                  "insured" in an amount equal to the
                 Part F is amended as follows:
                                                                                  tentative settlement within 30 days
                 A. The following is added to the Our Right                       after receipt of notification.
                    To Recover Payment provision:
                                                                              If we advance payment to the "insured"
                    OUR RIGHT TO RECOVER PAYMENT                              in an amount equal to the tentative
                    Our rights do not apply under Paragraph                   settlement within 30 days after receipt of
                    A. with respect to coverage under the                     notification:
                    definition of "underinsured motor vehicle"                 1. That payment will be separate from
                    for Uninsured Motorists Coverage if we:                       any amount the "insured" is entitled
                    1. Have been given prompt written                             to recover under the provisions of
                       notice of a tentative settlement                           Uninsured Motorists Coverage; and
                       between an "insured" and the insurer                   2. We also have a right to recover the
                       of an "underinsured motor vehicle"                        advanced payment.
                       and




              This endorsement must be attached to the Change Endorsement when issued after the policy is written.




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                                                                                                           .
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                                                                                                         Liberty
                                                                                                         Mutual.
                                                                                                           INSURANCE




          SPLIT LIABILITY LIMITS                                                                           PP 03 09 04 86


                                                          SCHEDULE

                       Bodily Injury Liability                        $                    each person

                                                                      $                    each accident

                       Property Damage Liability                      $                    each accident



         The first paragraph of the Limit of Liability              accident. The limit of liability shown in the
         provision in Part A is replaced by the following:          Schedule or in the Declarations for each
                                                                    accident for Property Damage Liability is our
         LIMIT OF LIABILITY
                                                                    maximum limit of liability for all "property
         The limit of liability shown in the Schedule or in         damage" resulting from any one auto accident.
         the Declarations for each person for Bodily                This is the most we will pay regardless of the
         Injury Liability is our maximum limit of liability         number of:
         for all damages, including damages for care,
                                                                          1. "Insureds;"
         loss of services or death, arising out of "bodily
         injury" sustained by any one person in any one                   2. Claims made;
         auto accident. Subject to this limit for each
                                                                          3. Vehicles or premiums shown in the Decla-
         person, the limit of liability shown in the
                                                                             rations; or
         Schedule or in the Declarations for each
         accident for Bodily Injury Liability is our                      4. Vehicles involved in the auto accident.
         maximum limit of liability for all damages for
         "bodily injury" resulting from any one auto


         This endorsement must be attached to the Change Endorsement when issued after the policy is written.




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                                                                                                          _ Liberty
                                                                                                             Mutual.
                                                                                                              INSURANCE




                                                                                                             PERSONAL AUTO
          SPLIT UNINSURED MOTORISTS LIMITS - NEW MEXICO                                                       PP 04 33 12 89

                                                             SCHEDULE

            Uninsured Motorists                           Limit of                                       Premium
                    Coverage                              Liability                         Auto 1       Auto 2          Auto 3

          Bodily Injury Liability          $                          each person
                                           $                          each accident
          Property Damage Liability        $                          each accident     $            $               $


                                                                                                                                                r
         Paragraph A. or B. of the Limit of Liability                                        any "family member" is that
         provision for Uninsured Motorists Coverage is                                       "insured's" pro-rata share of
         replaced by A. or B. as follows:                                                    the each person or each
         LIMIT OF LIABILITY                                                                  accident limit of liability shown
                                                                                             in the Schedule or in the
            A. If "bodily injury" or "property damage" is
                                                                                             Declarations applicable to the
                sustained in an accident by you or any                                       vehicle that "insured" was
                "family member:"
                                                                                             "occupying" at the time of the
                  1. Our maximum limit of liability for all                                  accident, and
                     damages, including damages for care,                                b. you or any "family member"
                     loss of services or death, arising out                                 who sustains "bodily injury" or
                     of "bodily injury" sustained by any                                    "property damage" in such
                     one person in any such accident is the
                                                                                            accident will also be entitled to
                     sum of the limits of liability shown in
                                                                                            a pro-rata share of the each
                     the Schedule or in the Declarations for
                                                                                            person or each accident limit
                     each person for Bodily Injury Liability
                                                                                            described in paragraph 4.a.
                     Uninsured Motorists Coverage;
                                                                                            above.
                  2. Subject to the maximum limit for each
                                                                                      A person's pro-rata share shall be the
                     person described in 1. above, our
                                                                                      proportion that that person's damages
                     maximum limit of liability for all
                                                                                      bears to the total damages sustained
                     damages arising out of "bodily injury"
                                                                                      by all "insureds."
                     resulting from any one accident is the
                     sum of the limits of liability shown in                          The maximum limit of liability is the
                     the Schedule or in the Declarations for                          most we will pay regardless of the
                     each accident for Bodily Injury                                  number of:
                     Uninsured Motorists Coverage.                                    1. "Insureds;"
                  3. Our maximum limit of liability for all                           2. Claims made;
                      "property damage" resulting from any
                                                                                      3. Vehicles or premiums shown in the
                     such accident is the sum of the limits
                                                                                         Schedule or in the Declarations; or
                     of liability shown in the Schedule or in
                     the Declarations for each accident for                           4. Vehicles involved in the accident.
                     Property Damage Liability Uninsured                     B. If "bodily injury" or "property damage" is
                     Motorists Coverage.                                         sustained by an "insured" other than you
                 4. Subject to the maximum limits of                             or any "family member" in an accident in
                     liability set forth in 1., 2. or 3. above:                  which neither you nor any "family
                         a. the most we will pay for "bodily                    member" sustained "bodily injury" or
                            injury" or "property damage"                         "property damage:"
                            sustained in such accident by
                            an "insured" other than you or




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                                                                                                _ Liberty
                                                                                                   Mutual.
                                                                                                    INSURANCE




                1. Our maximum limit of liability for all                  3. Our maximum limit of liability for all
                   damages, including damages for care,                       "property damage" resulting from
                   loss of services or death, arising out                     such accident is the each accident
                   of "bodily injury" sustained by any                        limit of liability shown in the Schedule
                   one person in such accident will be                        or in the Declarations for Property
                   the each persoh limit of liability shown                   Damage Liability Uninsured Motorists
                   in the Schedule or in the Declarations                     Coverage applicable to the "your
                   for Bodily Injury Liability Uninsured                      covered auto" that "insured" was
                   Motorists Coverage applicable to the                       "occupying" at the time of the
                   "your covered auto" that "insured"                         accident.
                   was "occupying" at the time of that                     The maximum limit of liability is the most
                   accident.
                                                                           we will pay regardless of the number of:
                2. Subject to this limit for each person,
                                                                           1. "Insureds;"
                   our maximum limit of liability for all
                   damages arising out of "bodily injury"                  2. Claims made;
                   sustained in such accident is the each                  3. Vehicles or premiums shown in the
                   accident limit of liability shown in the                   Schedule or in the Declarations; or
                   Schedule or in the Declarations for
                                                                           4. Vehicles involved in the accident.
                   Bodily Injury Liability Uninsured
                   Motorists Coverage applicable to the
                   "your covered auto" that "insured"
                   was "occupying" at the time of the
                   accident.



          This endorsement must be attached to the Change Endorsement when issued after the policy is written.




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                                                                                                0      Liberty
                                                                                                       Mutual

          MEXICO EXTENSION ENDORSEMENT                                                              AS 1006 (Ed. 12-89)



          The coverage applying to "your covered auto" under Parts A, B and D of this policy also applies to
          accidents and losses while the automobile is in the Republic of Mexico, but not more than 75 miles
          from the United States border. Th
                                         is coverage is subject to these additional provisions:
          1. The insurance applies only if, at the time of accident or loss, the automobile has not been in the
             Republic of Mexico more than 10 consecutive days.

          2.   We have no obligation to defend any suit and the Supplementary Payments provisions of Part A and
               the Transportation Expense provision of Part D do not apply.

          3.   In addition to the applicable limit of liability, we will pay (a) expenses you incur for first aid to others
               at the time of an accident for bodily injury covered by this policy and (b) reasonable expenses,
               except loss of earnings, you incur at our request.

          4.   No settlement of any claim or suit will obligate us under this endorsement without our written
               consent.

          5.   Except for Medical Payments Coverage, this insurance shall be excess over any other collectible
               insurance available to you as an insured under a policy applying to the automobile or otherwise.
               The Medical Payments Coverage shall be excess over any other collectible automobile medical
               payments insurance.

          6.   If a loss to "your covered auto" requires repair or replacement while the automobile is in Mexico,
               the most we will pay is the cost of the repair or replacement at the nearest point in the United
               States where it can be made.

          WARNING - If you have an automobile accident in Mexico and don't have insurance written by an
          insurance company licensed in Mexico, you could spend many hours or days in jail. You should arrange
          for coverage from a licensed Mexican company to avoid complications and some other penalties
          possible under the laws of Mexico, including impounding of your car. (Liberty is not licensed to write
          insurance in Mexico.)
                                                  (See below for explanation)

                                                        IMPORTANT

          This endorsement extends LIMITED COVERAGE.

          Under Mexican law automobile insurance policies written by United States companies are not
          recognized or considered valid for accidents or losses occurring in Mexico. United States insurance
          companies are not permitted, directly or through Mexican agents, to assist their policyholders,
          investigate, settle or defend claims or suits in Mexico.

          Notwithstanding the above we have included limited Mexican coverage (limited to 75 miles of the U.S.
          border and 10 consecutive days in Mexico) in your automobile insurance policy. This extension is made
          to Liberty policyholders because your U.S. coverage is broader than that extended by Mexican
          companies and it is possible, under certain conditions, to reimburse you for a loss on your return to the
          states.

          If you are planning a motor trip into Mexico you should contact one of the many agents representing
          reliable Mexican insurance companies and purchase a short term "Special Automobile Policy for
          Tourists" to protect you during your stay in that country. You will find these agents in practically every
          American city or town near the border.




AS 1006 (Ed. 12-89)

                                                                                                                       '   1!
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         NUCLEAR, BIOLOGICAL, CHEMICAL & MOLD
         EXCLUSION ENDORSEMENT                                                                              AS 2228 07 05

         THIS EXCLUSION APPLIES TO ALL COVERAGES PROVIDED BY THIS POLICY
         INCLUDING ANY AND ALL ENDORSEMENTS

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



         We do not provide coverage for loss, damage, injury, liability, cost or expense, due to or as a
         consequence of, whether controlled or uncontrolled or however caused:

                a. Nuclear exposure, reaction or explosion including resulting fire, smoke, radiation or
                   contamination; and/or
                b. Biological or chemical attack or exposure to biological or chemical agents, or combination of
                   such agents, including resulting contamination or pollution.


         We do not provide coverage for loss, damage, injury, liability, cost or expense arising out of or
         aggravated by, in whole or in part, "mold, fungus, wet rot, dry rot, bacteria or virus."


         "Mold, fungus, wet rot, dry rot, bacteria or virus" means any type or form of fungus, rot, virus or
         bacteria. This includes mold, mildew and any mycotoxins, other microbes, spores, scents or
         byproducts produced or released by mold, mildew, fungus, rot, bacteria, or virus.




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                                                                                 _ Liberty
                                                                                   Mutual

AUTOMATIC TERMINATION ENDORSEMENT                                                AS 1046 (Ed. 12-89)


The AUTOMATIC TERMINATION Provision in Part F of the policy is replaced with the following:


       AUTOMATIC TERMINATION. If you obtain other insurance on "your covered auto,
       any similar insurance provided by this policy will terminate as to that auto on the
       effective date of the other insurance.
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                                                                                               _ Liberty
                                                                                                 Mutual.
                                                                                                   INSURANCE


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         COVERAGE FOR DAMAGE TO YOUR AUTO EXCLUSION                                               PERSONAL AUTo
         ENDORSEMENT                                                                               PP 13 01 12 99


         With respect to the coverage provided by this endorsement, the provisions of the policy apply unless
         modified by the endorsement.

          I. Definitions                                           II. Part D- Coverage For Damage To Your Auto

            The following definition is added:                         The following exclusion is added:
            "Diminution in value" means the actual or                  We will not pay for:
            perceived loss in market or resale value
            which results from a direct and accidental                 Loss to "your covered auto" or any
            loss.                                                      "non-owned auto" due to "diminution in
                                                                       value".

         This endorsement must be attached to the Change Endorsement when issued after the policy is written.

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                                                                              '0~ Liberty
                                                                                 Mutual.
NOTICE TO OTHERS IF CANCELLATION OCCURS                                            AS 1019 (Ed. 12-89)


We will not cancel Your Policy or reduce the insurance under any of its coverages until at least
     10         days after we have mailed a written notice of such cancellation or reduction to the
person(s) named below.




Name and Address*

    * As on file with the Company.

                                                                                               AS 1019 (Ed. 12-89)
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      ,                                                                                              _ Liberty
-                                                                                                           Mutual.
                                                                                                              INSURANCE


            Notice of Membership in Liberty Mutual Holding Company Inc.
            While this policy is in effect, the named insured first named in the Declarations is a member of Liberty
            Mutual Holding Company Inc. and is entitled to vote either in person or by proxy at any and all meetings
            of the members of said company. The Annual Meeting of Liberty Mutual Holding Company Inc. is in
            Boston, Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning.

            The named insured first named in the Declarations shall participate in the distribution of any dividends
            declared by us for this Policy. The amount of such Named Insured's participation is determined by the
            decision of our Board of Directors in compliance with any laws that apply.

            Any provisions in the policy relating to:
            1. Membership in Liberty Mutual Insurance Company or Liberty Mutual Fire Insurance Company; or
            2.   Entitlement to dividends as a member of Liberty Mutual Insurance Company or Liberty Mutual Fire
                 Insurance Company
            are deleted and replaced by the preceding paragraphs.

    2340e




                                                                                                            W          iT
                                                                                                                      t—.,,
                                                                                             .~a.._..._.;,....~.~. .... :................:....._:.:~.,.~.........~w.:........~;:
                                                                                                                                                                ~
                     Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 49 of 198


_-    "be . Mutual.                                                                                   Liberty Mutual Insurance
                                                                                                       350 E 96" Street
                     INSURANCE
                                                                                                       Indianapolis, [N 46240
                                                                                                      Telephone: 317-581-6804




               September 13, 2016

                Zach Weichman
                PO Box 7230
                London, KY 40742


               Insured Name:             MITCHELL WOODALL
                                         VIVIAN WOODALL
               Policy Number:            A0229825114810
               Claim Number:             034189020
               Date of Loss:             8/6/2016
               Effective Date:           4/12/2016

               I hereby certify that the attached is a true and accurate copy of the documents requested for the policy
               listed above as maintained by the Liberty Mutual Insurance Group Inc. in the usual and customary course
               of its business.



               Sincerely,



                    +'`~         ..~




               Luann Mueller
               Policy Copy
               Support


               LM
               Enclosures




 PL Policy/Dec Request                                                          ,


                                                       Attachment #2
                    Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 50 of 198

                                                                                                                                                                                                                                                  Liberty
-'                                                                                                                                                                                                                                                Mu~al-
            Policy Declarations                                                                                                                                                                                                                    INSURANCE

           A summary of your auto insurance coverage
           Thank you for renew ing w ith us.
           Your declarations are effective as of 04/12/2016 .


     ~ INSURANCE INFORMATION                                                                                                                                                                                                                  ,d. ACTION
           Named Insured:                                                Mitchell Woodall                                                                                                                                                          REQUIRED:
                                                                         Vivian Woodall
                                                                                                                                                                                                                                                  Please review and
           Policv Number:                                               A02-298-251148 -10 6 2
                                                                                                                                                                                                                                                  keep for your records.
           Policy Period:                                               04/12/2016-04/12/2017 12:01 AM
                                                                        standard time at the address of the
                                                                        Named Insured as stated below.
                                                                                                                                                                                                                                                  QUESTIONS ABOUT
           Mailing Address:                                             22 Firelizard Ln
                                                                        Edoewood NM 87015-8022                                                                                                                                                ~   YOUR POLICY?
                                                                                                                                                                                                                                                  By Phone
                                                                                                                                                                                                                                                  For Service:
           Vehicles Covered by Your Policy                                                                                                                                                                                                        1-800-225-7014
           VEH                 YEAR                          MAKE                                                        MODEL                                           VEHICLE ID NUMBER                                                        Liberty Mutual
           1           2007                         HARL                                                                 MOTORCYCLE 1HD1PR83X7Y954543                                                                                             PO Box 970
           2                   2015                          HARL                                                        MOTORCYCLE                                      1HD1PXN13FB958247                                                        Mishawaka, IN 46546


           Coverage Details
                                                                                                                                                                                                                                                  To report a claim
           Your total annual policy premium for all covered vehicles is shown below. A premium                                                                                                                                                    By Phone
           is shown for each type of coverage you have purchased for each vehicle. Where no                                                                                                                                                       1-800-2CLAIMS
           premium is shown, you have not purchased the indicated coverage for that vehicle.                                                                                                                                                      (1-800-225-2467)

           Coverage Information
                                                                                                                                                                                                                                                  THIS IS NOT YOUR
           .;4:;  >.'...;:fiii: $:•::..};'J:iC.:4i:.  1.::4.,:.;«;..::'
                                                               ..... ..4i}': }' .j:i.r':.i::          ... >:f~:<.. :m
                                                                                            yi;~$'rT?:;`v:~.........   ~;•:;:.;:.
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            v .::.:...:::......
           ::4  ...                          ., : ... . :.:::v.::....
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                                                                                             . .:.::.....•.:: ..,::.,...,...:.  .:..:..:                                                                                               ~::x       AUTO INSURANCE BILL.
             Tota         I,AnnualPoli cY:.P remi'                                um:: : :';' ,. : . ,. :                                   ; : :.: : < : :: ;:.:                                             ::$G 1' 128.00~,,                   YOU WILL BE BILLED
                            ..::::         ...          .                         ..:....:...:.:........::. :'.:....:.:":       ..:..,::.:::.::
                                                                                                                   :....: ::.:.:.         ;'.:::.:.:.: ..:.::.:.:..:.:..
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             Your:;di.scounts::and:behefts::tiave,been; applietl;<:;Includes:'state:;sales:.ta~i;and.:local<sutcharge                                                                                                                             SEPARATELY.
            :.where applicable  ..:........ . . ...
                                                                                                                                                                                             "
            ,4:::...:   .                                ....                        .:.¢}-~:              i'f~...v:::.iv::r:\.; v: i ii;i'i i~.:.iti•' in: i•. .:.
            ....: .........                 .:nw   ........ ...: :...                         ..;. •:::}.•                                                       .f::}i:'•,v\.:'N.:ti:i.::i}:4
            ..        ....':i::....4....:..
                                -:~:::...:~.:..                       . ....4•:..vW-
                                               ..:.....-::::.........:.x~                                                                                                   ::;::     '4::i::
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                         . ::..... :~. . ........... .........                     ...i.::4':i.:4:n.i.'i}.i:,n.}:::.'
                                                                              ....1..  .                                          i:'F.•i .
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                                                                                                                                             ,••nni...         ::v.     e:..:...:::.:..~iv~i{ ::.}'+•\i




           COVERAGE                                                        LIMITS                                                                                PREMIUM PER

                                                                                                                                                   VEHICLE VEH 1                                     VEH 2
           ~...-..,. ..:..   .rv : :..       ,..,.,...- r   ;.                                                                               ;*
                              4~r:~                          .,;:...
                                                                  i.~ ?•               •~:.Y : .fv ::~r. v
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                                             . ........                                           ..      . b . . ..                                                       M_ .,.....         •               . .. .>.
                  Bodily Injury                        $ 100,000 Each Person                                  Yes                                                                 Yes
                                                        $ 300,000 Each Accident
                  Property Damage                                    $          50,000                  Each Accident
              .:::. :.... .:.
           ...::.:.a:.:..~:.           . .:.t.:
                  ... .. .................       y:......    : ::: .•
                                            . ~.n:.:.,..~.~.::.:~.::
                                                    .. .....:...             .             ..,.k:::Y•:     :.:.:    :.                       ..dG:X:::.:?:."r.:;;:::~.^.`t                           ::i:.::~.:y,:;
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                                                                                                            :y::,}::r:;.;;:x;:::tr;;..:;.:::a:;}:o:}:~~::::~y:;::`:y:;::3::::}';:i>}:.3.:F::;?:F:;:;':~':,::;:::;i'
             G::U.ninsured<MotArlsts::Has>Been<Reected:;.::<:                               1..::.: :.:..:.:.              ,v..~.,z:.:.,,.::<;.;::.;:'.
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                  Co.e~9     a `e:~:for~
                                 ....   . ama~'e~:to~~sYour~`Auto~~•}Hri.                                                                     :{54::4~:j; y                                    $:•}.,.i         ii%h}:n
                                                      ;

                  Collision                                                                                                                            $189                      $213
                  Actual Cash Value Less Deductible Shown
                  Veh 1 $1000                 Veh 2 $1000
                  Other Than Collision                                                                                                                 $102                      $102
                  Actual Cash Value Less Deductible Shown
                  Veh 1 $1000                                                            Veh 2 $1000


           Annual Premium Per Vehicle:                                                                                                                 $576                      $552




AUTO 3079 10 09                                                                                                                                                                                                                                                       Page 1 of 3
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                                                                                                         Liberiy
                                                                                                         Mutual.
                                                                                                           INSURANCE


            Coverage Information (continued)



                                                                                                         Policy Number:
                                                                                                         A02-298-251148 -10 6 2
                                                                                                         Declarations effective:
                                                                                                         04/12/2016


           Discounts and Benefits
           Your discounts and benefits have been applied to your Total Annual Policy Premium.

           POLICY DISCOUNTS
           • Motorcycle Accident Prevention Course            • TruStageT"'Auto and Homeowners
                                                                 Insurance Program
           • Multi-Motorcycle                                 • Multi-Policy

           Additional Information for Vehicles Covered by Your Policy
           COST NEW VALUE
            VEH 1: $26,000
            VEH 2: $35,000

           CC
            VEH 1: 1800CC'S
            VEH 2: 1450CC'S

           Driver Information

           DRIVER NAME                              LICENSE NUMBER          DATE OF BIRTH        STATE

           Mitchell F Woodall                       107724257                03/03/1959         NM
           To ensure proper coverage, please contact us to add drivers not listed above.


           Safe Driver Insurance Plan

           No Charges Apply - SCO


           Endorsements - Chanaes to Your Polic
           Amendment of Policy Provisions - New Mexico AS2162 06 07
           Automobile Amendatory Endorsement AS2258 08 06
           Amendment of Policy Definitions AS2344 04 08
           Split Liability Limits PP 03 09 04 86
           Mexico Extension Endorsement AS1006 12 89
           New Vehicle Replacement Cost Coverage AS2112 10 99
           Nuclear, Bio-Chemical & Mold Exclusion Endorsement AS2228 07 05
           Automatic Termination Endorsement AS1046 12 89
           Coverage For Damage To Your Auto Exclusion Endorsement PP 13 01 12 99
           Miscellaneous Type Vehicle Endorsement PP 03 23 06 94
           Membership in LMHC Inc. 2340 E




AUTO 3079 10 09                                                                                                               Page 2 of 3
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                                                                                                           Liberty
                                                                                                           M.
                                                                                                           utual
                                                                                                            INSURANCE



            LibertyGuard Auto Policy Declarations provided and underwritten by
            Liberty Mutual Fire Insurance Company, Boston, MA.

                                                                                                           Policy Number:
                                                                                                           A02-298-251148 -10 6 2
                                                       This policy, including endorsements listed above,
                                                       is countersigned by:                                Declarations effective:
                                                                                                           04/12/2016



                                                      Authorized Representative




            President




                           ~
           Secretary




AUTO 3079 10 09                                                                                                                 Page 3 of 3
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                                                                                       Liberty
                                                                                     : Mutual.
                                                                                               INSURANCE




          LibertyGuard Auto Policy
          Please read your policy and each endorsement carefully.




          To serve you best...



          Liberty Mutual has over 300 offices throughout the United States.
          Please contact your service office shown on your Declarations Page
          to report losses, or for any changes or questions about your
          insurance. Payments should be sent to the office indicated on your
          bill.




          THIS POLICY IS NONASSESSABLE                                         Liberty Mutual Insurance Group


AUTO 3422 Ed. 6-94 R1

                                                                               ~..u.,._.............,._.....4....~...~.,...,_......a..........._...
                                                                                                                                                ~ ~:........~.
  w
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                                                                                                                       _• Liberty
- -   LIBERTYGUARD AUTO POLICY                                                                                              Mutual.
                                                                                                                              iNsuRaNce
      QUICK REFERENCE
      DECLARATIONS PAGE
      Your Name and Address
      Your Auto or Trailer
      Policy Period
      Coverages and Amounts of Insurance
                                                                                                           Beginning
                                                                                                           On Page
      Agreement.................... .........................                                                  1
      Definitions.................... ........................                                                 1
      PART A - LIABILITY COVERAGE
       Insuring Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          2
       Supplementary Payments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              2
       Exclusions .................... ........................                                                2
       Limit of Liability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    3
       Out of State Coverage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           3
       Financial Responsibility . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4
       Otherinsurance ........................................                                                 4
      PART B- MEDICAL PAYMENTS COVERAGE
       Insuring Agreement          .................... ................                                       4
       Exclusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      4
       Limit of Liability •••••••• ••••••••••••••••••••••••••••••••                                            4
       Other Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         5
      PART C- UNINSURED MOTORISTS COVERAGE
       Insuring Agreement .................... ................                                                5
       Exclusions       ........ ...................................                                           5
       Limit of Liability •••••••••••••••••••• ••••••.•••••••••••••                                            6
       Otherinsurance ........ ...........••.••••••••••••••••••                                                6
       Arbitration ........ ...................................                                                6
      PART D- COVERAGE FOR DAMAGE TO YOUR AUTO
       Insuring Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              7
       Transportation Expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           7
       Exclusions      ........ ...................................                                            8
       Limit of Liability . . . . . . . . . . . . . . . . . .   . . ....................                       g
       Payment of Loss . . . . . . . . . . . . . . . . .        ... ...................                        g
       No Benefit to Bailee • • . . • • • • • • • . • •         • • • • • • • • • • • • • • • • • • • • .•     g
       Other Sources of Recovery . . . . . . . . . .            . .. . . . . . . . . . . . . . . . . . . . .   g
       Appraisal.............................................                                                  g

      PART E - DUTIES AFTER AN ACCIDENT OR LOSS . . . . . . . . . . . . . . 10
      PART F - GENERAL PROVISIONS
       Bankruptcy       ........................................... 10
       Changes.............................................                                                    10
       Fraud...............................................                                                    10
       Legal Action Against Us . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
       Our Right To Recover Payment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
       Policy Period And Territory . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
       Termination        .......................................... 11
       Transfer Of Your Interest In This Policy . . . . . . . . . . . . . . . . . . . . . . . . 12
       Two Or More Auto Policies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
      *MUTUAL POLICY CONDITIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

         *These conditions apply only if Liberty Mutual Fire Insurance Company is
         shown in the Declarations as the insurer.



                                                                                                                    ,~...~..~:_;....~..:1 `.:.i~~..,...~._....~......~~~
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                                                                                        Liberty
                                                                                        M.utual
                                                                                        INSURANCE




AUTO POLICY                                                                                                 ,

AGREEMENT
In return for payment of the premium and subject to all the terms of this policy, we agree with you
as follows:
DEFINITIONS

A. Throughout this policy, "you" and "your"                  a. a private passenger auto; or
   refer to:                                                 b. a pickup or van that:
   1. The "named insured" shown in the                         (1) has a Gross Vehicle Weight of less
      Declarations; and                                            than 10,000 Ibs.; and
   2. The spouse if a resident of the same                     (2) is not used for the delivery or
      household.                                                   transportation of goods and
B. "We," "us" and "our" refer to the Company                       materials unless such use is:
   providing this insurance.                                       (a) incidental to your "business" of
                                                                       installing,    maintaining    or
C. For purposes of this policy, a private
  passenger type auto shall be deemed to be                            repairing     furnishings     or
  owned by a person if leased:                                         equipment; or

   1. Under a written agreement to that                            (b) for farming or ranching.
      person; and                                            This provision (J.2.) applies only if:
   2. For a continuous period of at least 6                  a. you acquire the vehicle during the
      months.                                                   policy period;
Other words and phrases are defined. They are                b. you ask us to insure it within 30 days
in quotation marks when used.                                   after you become the owner; and
D. "Bodily injury" means bodily harm, sickness               c. with respect to a pickup or van, no
   or disease, including death that results.                    other insurance policy provides
E. "Business" includes trade, profession or                     coverage for that vehicle.
   occupation.                                               If the vehicle you acquire replaces one
F. "Family member" means a person related to                 shown in the Declarations, it will have
    you by blood, marriage or adoption who is a              the same coverage as the vehicle it
    resident of your household. This includes a              replaced. You must ask us to insure a
    ward or foster child.                                    replacement vehicle within 30 days only
                                                             if you wish to add or continue Coverage
G. "Occupying" means in, upon, getting in, on,               for Damage to Your Auto.
   out or off.
                                                             If the vehicle you acquire is in addition to
H. "Property damage" means physical injury to,               any shown in the Declarations, it will
   destruction of or loss of use of tangible                 have the broadest coverage we now
   property.                                                 provide for any vehicle shown in the
I. "Trailer" means a vehicle designed to be                  Declarations.
    pulled by a:                                          3. Any "trailer" you own.
   1. Private passenger auto; or                          4. Any auto or "trailer" you do not own
   2. Pickup or van.                                         while used as a temporary substitute for
                                                             any other vehicle described in this
   It also means a farm wagon or farm
                                                             definition which is out of normal use
   implement while towed by a vehicle listed in
                                                             because of its:
   1 . or 2. above.
                                                              a. breakdown;     d. loss; or
J. "Your covered auto" means:                                 b. repair;        e. destruction.
   1. Any vehicle shown in the Declarations.                  c. servicing;
   2. Any of the following types of vehicles on              This provision (J.4.) does not apply to
      the date you become the owner:                         Coverage for Damage to Your Auto.




                                                                                                       Page 1 of 12
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    ,                                                                                          :• Liberly
.                                                                                                 Mutual.
                                                                                                          INSURANCE




          PART A - LIABILITY COVERAGE
          INSURING AGREEMENT                                           attendance at hearings or trials at our
                                                                       request.
          A. We will pay damages for "bodily injury" or
             "property damage" for which any "insured"              5. Other reasonable expenses incurred at
             becomes legally responsible because of an                 our request.
             auto accident.          Damages include pre-        EXCLUSIONS
             judgment interest awarded against the               A. We do not provide Liability Coverage for any
             "insured." We will settle or defend, as we
                                                                    "insured":
             consider appropriate, any claim or suit
                                                                    1. Who intentionally causes "bodily injury"
             asking for these damages. In addition to our
                                                                       or "property damage."
             limit of liability, we will pay all defense costs
             we incur. Our duty to settle or defend ends            2. For "property damage" to                                property
             when our limit of liability for this coverage             owned or being transported                              by that
             has been exhausted. We have no duty to                    "insured."
             defend any suit or settle any claim for                3. For "property damage" to property:
             "bodily injury" or "property damage" not                  a. rented to;
             covered under this policy.                               b. used by; or
          B. "Insured" as used in this Part means:                    c. in the care of;
              1. You or any "family member" for the                   that "insured."
                 ownership, maintenance or use of any
                                                                      This exclusion (A.3.) does not apply to
                 auto or "trailer."
                                                                      "property damage" to a residence or
             2. Any person using "your covered auto."                 private garage.
               3. For "your covered auto," any person or           4. For "bodily injury" to an employee of that
                  organization but only with respect to               "insured"      during   the     course     of
                  legal responsibility for acts or omissions          employment. This exclusion (A.4.) does
                  of a person for whom coverage is                    not apply to "bodily injury" to a domestic
                  afforded under this Part.                           employee unless workers' compensation
               4. For any auto or "trailer," other than "your         benefits are required or available for that
                  covered auto," any other person or                  domestic employee.
                  organization but only with respect to            5. For that "insured's" liability arising out of
                  legal responsibility for acts or omissions          the ownership or operation of a vehicle
                  of you or any "family member" for whom              while it is being used as a public or livery
                  coverage is afforded under this Part.               conveyance. This exclusion (A.5.) does
                  This provision (13.4.) applies only if the          not apply to a share-the-expense car
                  person or organization does not own or              pool.
                  hire the auto or "trailer."
                                                                   6. While employed or otherwise engaged in
          SUPPLEMENTARY PAYMENTS                                      the "business" of:
          In addition to our limit of liability, we will pay          a. selling;     d. storing; or
          on behalf of an "insured":                                  b. repairing;   e. parking;
             1. Up to $250 for the cost of bail bonds                 c. servicing;
                 required    because     of   an   accident,           vehicles designed for use mainly on
                 including related traffic law violations.             public highways. This includes road
                 The accident must result in "bodily                   testing and delivery. This exclusion (A.6.)
                 injury" or "property damage" covered                  does not apply to the ownership,
                 under this policy.                                    maintenance or use of "your covered
             2. Premiums on appeal bonds and bonds to                  auto" by:
                 release attachments in any suit we                    a. you;
                 defend.                                               b. any "family member;" or
             3. Interest accruing after a judgment is                  c. any partner, agent or employee of you
                 entered in any suit we defend. Our duty                  or any "family member."
                 to pay interest ends when we offer to             7, Maintaining or using any vehicle while
                 pay that part of the judgment which does
                                                                      that "insured" is employed or otherwise
                 not exceed our limit of liability for this
                                                                      engaged in any "business" (other than
                 coverage.
                                                                      farming or ranching) not described in
             4. Up to $50 a day for loss of earnings,                 exclusion A.6.
                  but not other income, .because of
                                                                      This exclusion (A.7.) does not apply to
Page 2 of 12

                                                                                         i.i ~ ,. ..... i.' ; i. M .'..... ,.~...a,.... ~ .,,.~ ...,.,~~i.w:...;.~.1:,!i! ..i:,'
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                                                                                     Liberty
                                                                                   _ Mutual.
                                                                                          INSURANCE




      the maintenance or use of a:                           "occupying" any vehicle which is:
      a. Private passenger auto;                             a. owned by a"family member;" or
      b. Pickup or van that:                                 b. furnished or available for the regular
                                                                use of a "family member."
         (1) You own; or
                                                          4. Any vehicle, located inside a facility
         (2) You do not own while used as a                  designed for racing, for the purpose of:
              temporary substitute for "your
                                                             a. Competing in; or
              covered auto" which is out of
              normal use because of its:                     b. Practicing or preparing for;
              a. breakdown;     d. loss; or                  any prearranged or organized racing or
              b. repair;        e. destruction; or           speed contest.
              c. servicing;                            LIMIT OF LIABILITY
       c. "Trailer" used with a vehicle described      A. The limit     of liability shown     in  the
          in a. or b. above.                              Declarations for this coverage is our
   8 Using a vehicle without a reasonable                 maximum limit of liability for all damages
      belief that that "insured" is entitled to do        resulting from any one auto accident. This is
      so.                                                 the most we will pay regardless of the
   9 For "bodily injury" or "property damage"             number of:
      for which that "insured:"                           1. "Insureds;"
      a. is an insured under a nuclear energy             2. Claims made;
          liability policy; or                            3. Vehicles or premiums shown in the
      b. would be an insured under a nuclear                 Declarations; or
          energy liability policy but for its             4. Vehicles involved in the auto accident.
          termination upon exhaustion of its
                                                       B. We will apply the limit of liability to provide
          limit of liability.
                                                          any separate limits required by law for bodily
      A nuclear energy liability policy is a policy       injury and property damage liability.
      issued by any of the following or their             However, this provision (B.) will not change
      successors:                                         our total limit of liability.
      a. American Nuclear Insurers;                    C. No one will be entitled to receive duplicate
      b. Mutual       Atomic    Energy     Liability      payments for the same elements of loss
          Underwriters; or                                under this coverage and:
     c. Nuclear Insurance Association of                  1. Part B or Part C of this policy; or
        Canada..                                          2. Any Underinsured Motorists Coverage
B. We do not provide Liability Coverage for the              provided by this policy.
   ownership, maintenance or use of:
                                                       OUT OF STATE COVERAGE
   1. Any vehicle which:
                                                       If an auto accident to which this policy applies
      a. Has fewer than four wheels; or
                                                       occurs in any state or province other than the
      b. Is designed mainly for use off public         one in which "your covered auto" is principally
         roads.                                        garaged, we will interpret your policy for that
      This exclusion (B.1 .) does not apply:           accident as follows:
      a. While such vehicle is being used by an        A. If the state or province has:
         "insured" in a medical emergency; or
                                                          1. A financial responsibility or similar law
      b. To any "trailer."
                                                             specifying limits of liability for "bodily
   2. Any vehicle, other than "your covered                  injury" or "property damage" higher than
      auto," which is:                                       the limit shown in the Declarations, your
      a. owned by you; or                                    policy will provide the higher specified
      b. furnished or available for your regular             limit.
         use.                                             2. A compulsory insurance or similar law
   3. Any vehicle, other than "your covered                  requiring a nonresident to maintain
      auto," which is:                                       insurance whenever the nonresident uses
      a. owned by any "family member;" or                    a vehicle in that state or province, your
                                                             policy will provide at least the required
     b. furnished or available for the regular               minimum amounts and types of coverage.
        use of any "family member."
                                                       B. No one will be entitled to duplicate
     However, this exclusion (B.3.) does not              payments for the same elements of loss.
     apply to you while you are maintaining or
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_ '                                                                                             Mutual.
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          FINANCIAL RESPONSIBILITY                              will pay only our share of the loss. Our share is
          When this policy is certified as future proof of      the proportion that our limit of liability bears to
          financial responsibility, this policy shall comply    the total of all applicable limits. However, any
          with the law to the extent required.                  insurance we provide for a vehicle you do not
                                                                own shall be excess over any other collectible
          OTHER INSURANCE                                       insurance.
          If there is other applicable liability insurance we

          PART B- MEDICAL PAYMENTS COVERAGE
          INSURING AGREEMENT                                           a. owned by any "family member;" or
          A. We will pay reasonable expenses incurred                  b. furnished or available for the regular
             for necessary medical and funeral services                   use of any "family member."
             because of "bodily injury:"                               However, this exclusion (6.) does not
               1. Caused by accident; and                              apply to you.
               2. Sustained by an "insured."                        7. Sustained while "occupying" a vehicle
                                                                       without a reasonable belief that that
               We will pay only those expenses incurred for
                                                                       "insured" is entitled to do so.
               services rendered within 3 years from the
               date of the accident.                                8. Sustained while "occupying" a vehicle
                                                                       when it is being used in the "business" of
          B. "Insured" as used in this Part means:
                                                                       an "insured." This exclusion (8.) does
               1. You or any "family member:"                          not apply to "bodily injury" sustained
                  a. while "occupying;" or                             while "occupying" a:
                  b. .as a pedestrian when struck by;                  a. private passenger auto;
                  a motor vehicle designed for use mainly              b. pickup or van that you own; or
                  on public roads or a trailer of any type.            c. "trailer" used with a vehicle described
               2. Any other person while "occupying"                      in a. or b. above.
                  "your covered auto."                              9. Caused by or as a consequence of:
          EXCLUSIONS                                                   a. discharge of a nuclear weapon (even if
          We do not provide Medical Payments Coverage                     accidental);
          for any "insured" for "bodily injury:"                       b. war (declared or undeclared);
               1. Sustained   while    "occupying"     any             c. civil war;
                  motorized vehicle having fewer than four             d. insurrection; or
                  wheels.
                                                                       e. rebellion or revolution.
               2. Sustained   while   "occupying"    "your
                                                                  10. From or as a consequence of the
                  covered auto" when it is being used as a
                                                                      following,    whether    controlled or
                  public or livery conveyance. This
                                                                      uncontrolled or however caused:
                  exclusion (2.) does not apply to a
                  share-the-expense car pool.                          a. nuclear reaction;
               3. Sustained while "occupying" any vehicle              b. radiation; or
                  located for use as a residence or                    c. radioactive contamination.
                  premises.                                       11. Sustained while "occupying" any vehicle
               4. Occurring     during  the    course      of         located inside a facility designed for
                  employment if workers' compensation                 racing, for the purpose of:
                  benefits are required or available for the           a. competing in; or
                  "bodily injury."
                                                                       b. practicing or preparing for;
               5. Sustained while "occupying," or when                 any prearranged or organized racing or
                  struck by, any vehicle (other than "your             speed contest.
                  covered auto") which is:
                                                                LIMIT OF LIABILITY
                  a. owned by you; or
                                                                A. The    limit of   liability shown     in the
                  b. furnished or available for your regular       Declarations for this coverage is our
                     use.                                          maximum limit of liability for each person
               6. Sustained while "occupying," or when             injured in any one accident. This is the most
                  struck by, any vehicle (other than "your         we will pay regardless of the number of:
                  covered auto") which is:                         1. "Insureds;"
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                                                                                              erty
                                                                                        INSURANCE




   2. Claims made;                                     OTHER INSURANCE
   3. Vehicles or premiums shown in the                If there is other applicable auto medical
      Declarations; or                                 payments insurance we will pay only our share
   4. Vehicles involved in the accident.               of the loss. Our share is the proportion that our
                                                       limit of liability bears to the total of all
B. No one will be entitled to receive duplicate        applicable limits. However, any insurance we
   payments for the same elements of loss              provide with respect to a vehicle you do not
   under this coverage and:                            own shall be excess over any other collectible
   1. Part A or Part C of this policy; or              auto insurance providing payments for medical
                                                       or funeral expenses.
   2. Any Underinsured Motorists Coverage
      provided by this policy.

PART C- UNINSURED MOTORISTS COVERAGE
INSURING AGREEMENT                                            c. "your covered auto."
A. We will pay compensatory damages which                 4. To which a bodily injury liability bond or
   an "insured" is legally entitled to recover               policy applies at the time of the accident
   from the owner or operator of an "uninsured               but the bonding or insuring company:
   motor vehicle" because of "bodily injury:"                a. denies coverage; or
   1. Sustained by an "insured;" and                         b. is or becomes insolvent.
   2. Caused by an accident.                              However, "uninsured motor vehicle" does
   The owner's or operator's liability for these          not include any vehicle or equipment:
   damages must arise out of the ownership,               1. Owned by or furnished or available for
   maintenance or use of the "uninsured motor                the regular use of you or any "family
   vehicle."                                                 member."
   Any judgment for damages arising out of a              2. Owned or operated by a self-insurer
   suit brought without our written consent is               under any applicable motor vehicle law,
   not binding on us.                                        except a self-insurer which is or becomes
B. "Insured" as used in this Part means:                     insolvent.
   1. You or any "family member."                         3. Owned by any governmental unit or
                                                             agency.
   2. Any other person "occupying" "your
      covered auto."                                      4. Operated on rails or crawler treads.

   3. Any person for damages that person is               5. Designed mainly for use off public roads
      entitled to recover because of "bodily                 while not on public roads.
      injury" to which this coverage applies              6. While located for use as a residence or
      sustained by a person described in 1. or               premises.
      2. above.                                        EXCLUSIONS
C. "Uninsured motor vehicle" means a land              A. We do not provide Uninsured Motorists
   motor vehicle or trailer of any type:                  Coverage for "bodily injury" sustained:
   1. To which no bodily injury liability bond or          1. By an "insured" while "occupying," or
      policy applies at the time of the accident.              when struck by, any motor vehicle
   2. To which a bodily injury liability bond or               owned by that "insured" which is not
      policy applies at the time of the accident.              insured for this coverage under this
      In this case its limit for bodily injury                 policy. This includes a trailer of any type
      liability must be less than the minimum                  used with that vehicle.
      limit for bodily injury liability specified by      2. By      any     "family   member"       while
      the financial responsibility law of the                 "occupying," or when struck by, any
      state in which "your covered auto" is                   motor vehicle you own which is insured
      principally garaged.                                    for this coverage on a primary basis
   3. Which is a hit-and-run vehicle whose                    under any other policy.
      operator or owner cannot be identified           B. We do not provide Uninsured Motorists
      and which hits:                                     Coverage for "bodily injury" sustained by any
      a. you or any "family member;"                      "insured:"
      b. a vehicle which you or any "family               1. If that "insured" or the legal
         member" are "occupying;" or
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                  representative settles the "bodily injury"         applicable limit for any one vehicle under
                  claim without our consent.                         any insurance providing coverage on
             2. While "occupying" "your covered auto"                either a primary or excess basis.
                when it is being used as a public or livery       2. Any insurance we provide with respect to
                conveyance. This exclusion (B.2.) does               a vehicle you do not own shall be excess
                not apply to a share-the-expense car                 over any collectible insurance providing
                pool.                                                coverage on a primary basis.
             3. Using a vehicle without a reasonable              3. If the coverage under this policy is
                belief that that "insured" is entitled to do         provided:
                so.                                                  a. On a primary basis, we will pay only
          C. This coverage shall not apply directly or                   our share of the loss that must be
             indirectly to benefit any insurer or                        paid under insurance providing
             self-insurer under any of the following or                  coverage on a primary basis. Our
             similar law:                                                share is the proportion that our limit
             1. Workers' compensation law; or                            of liability bears to the total of all
                                                                         applicable limits of liability for
             2. Disability benefits law.
                                                                         coverage provided on a primary basis.
          D. We do not provide Uninsured Motorists
                                                                     b. On an excess basis, we will pay only
             Coverage for punitive or exemplary
                                                                         our share of the loss that must be
             damages.
                                                                         paid under insurance providing
          LIMIT OF LIABILITY                                             coverage on an excess basis. Our
          A. The limit of liability       shown     in the               share is the proportion that our limit
             Declarations for this coverage is our                       of liability bears to the total of all
             maximum limit of liability for all damages                  applicable limits of liability for
             resulting from any one accident. This is the                coverage provided on an excess basis.
             most we will pay regardless of the number         ARBITRATION
             of:                                               A. If we and an "insured" do not agree:
             1. "Insureds;"
                                                                  1. Whether that "insured" is legally entitled
             2. Claims made;                                         to recover damages; or
             3. Vehicles or premiums shown in the
                                                                  2. As to the amount of damages which are
                 Declarations; or
                                                                      recoverable by that "insured;"
             4. Vehicles involved in the accident.
                                                                  from the owner or operator of an "uninsured
          B. No one will be entitled to receive duplicate
                                                                  motor vehicle," then the matter may be
             payments for the same elements of loss
                                                                  arbitrated. However, disputes concerning
             under this coverage and:
                                                                  coverage under this Part may not be
             1. Part A or Part B of this policy; or               arbitrated.
             2. Any Underinsured Motorists Coverage               Both parties must agree to arbitration. If so
                 provided by this policy.                         agreed, each party will select an arbitrator.
          C. We will not make a duplicate payment under           The two arbitrators will select a third. If they
             this coverage for any element of loss for            cannot agree within 30 days, either may
             which payment has been made by or on                 request that selection be made by a judge of
             behalf of persons or organizations who may           a court having jurisdiction.
             be legally responsible.                           B. Each party will:
          D. We will not pay for any element of loss if a         1. Pay the expenses it incurs; and
             person is entitled to receive payment for the        2. Bear the expenses of the third arbitrator
             same element of loss under any of the                    equally.
             following or similar law:
                                                               C. Unless both        parties agree otherwise,
               1. Workers' compensation law; or                   arbitration will take place in the county in
               2. Disability benefits law.                        which the "insured" lives. Local rules of law
                                                                  as to procedure and evidence will apply. A
          OTHER INSURANCE
                                                                  decision agreed to by two of the arbitrators
          If there is other applicable insurance available        will be binding as to:
          under one or more policies or provisions of
                                                                   1. Whether the "insured" is legally entitled
          coverage:
                                                                        to recover damages; and
               1. Any recovery for damages under all such
                                                                    2. The amount of damages. This applies
                  policies or provisions of coverage may
                                                                        only if the amount does not exceed the
                  equal but not exceed the highest
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   minimum limit for bodily injury liability             to a trial. This demand must be made within
   specified by the financial responsibility law         60 days of the arbitrators' decision. If this
   of the state in which "your covered auto" is          demand is not made, the amount of
   principally garaged. If the amount exceeds            damages agreed to by the arbitrators will be
   that limit, either party may demand the right         binding.

PART D- COVERAGE FOR DAMAGE TO YOUR AUTO
INSURING AGREEMENT                                          normal use because of its:
A. We will pay for direct and accidental loss to            a. breakdown;      d. loss; or
   "your covered auto" or any "non-owned                    b. repair;         e. destruction.
   auto," including their equipment, minus any              c. servicing;
   applicable deductible shown in the                 TRANSPORTATION EXPENSES
   Declarations. If loss to more than one "your
                                                      In addition, we will pay, without application of
   covered auto" or "non-owned auto" results
                                                      a deductible, up to $ 15 per day, to a maximum
   from the same "collision," only the highest
                                                      of $450, for:
   applicable deductible will apply.. We will pay
   for loss to "your covered auto" caused by:            1. Temporary     transportation     expenses
   1. Other than "collision"        only if the             incurred by you in the event of a loss to
       Declarations indicate that Other Than                 "your covered auto." We will pay for
       Collision Coverage is provided for that              such expenses if the loss is caused by:
       auto.                                                a. Other than "collision" only if the
   2. "Collision" only if the Declarations                     Declarations indicate that Other Than
       indicate that Collision Coverage is provide             Collision Coverage is provided for that
       d for that auto.                                        auto.
   If there is a loss to a"non-owned auto," we              b. "Collision" only if the Declarations
   will provide the broadest coverage applicable               indicate that Collision Coverage is
   to any "your covered auto" shown in the                     provided for that auto.
   Declarations.                                         2. Loss of use expenses for which you
B. "Collision" means the upset of "your                     become legally responsible in the event of
   covered auto" or a"non-owned auto" or                    loss to a"non-owned auto." We will pay
   their impact with another vehicle or object.             for loss of use expenses if the loss is
                                                            caused by:
   Loss caused by the following is considered
   other than "collision:"                                  a. Other than "collision" only if the
   1. Missiles or                                              Delcarations indicate that Other Than
                           6. Hail. Water or flood;
                                                               Collision Coverage is provided for any
      falling objects;      7. Malicious mischief
                                                               "your covered auto."
                               or vandalism
   2. Fire;                 8. Riot or civil commo-         b. "Collision" only if the Declarations
                               tion;                           indicate that Collision Coverage is
   3. Theft or larceny;     9. Contact with bird               provided for any "your covered auto."
   4. Explosion or earth-       or animal; or           If the loss is caused by a total theft of "your
       quake;                                           covered auto" or a"non-owned auto," we
                           10. Breakage of glass        will pay only expenses incurred during the
   5. Windstorm;                                        period:
   If breakage of glass is caused by a                   1. Beginning 48 hours after the theft; and
   "collision," you may elect to have it
                                                        2. Ending when "your covered auto" or the
   considered a loss caused by "collision."
                                                           "non-owned auto" is returned to use or
C. "Non-owned auto" means:                                 we pay for its loss.
    1. Any private passenger auto, pickup, van          If the loss is caused by other than theft of .a
        or "trailer" not owned by or furnished or       "your covered auto" or a"non-owned auto,"
        available for the regular use of you or         we will pay only expenses beginning when
        any "family member" while in the                the auto is withdrawn from use for more
        custody of or being operated by you or          than 24 hours.
        any "family member;" or                         Our payment will be limited to that period of
    2. Any auto or "trailer" you do not own              time reasonably required to repair or replace
        while used as a temporary substitute for         the "your covered auto" or the "non-owned
        "your covered auto" which is out of              auto."
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          EXCLUSIONS                                                  reproduction of sound and accessories
                                                                      used with such equipment, provided:
          We will not pay for:
                                                                      (1) The equipment is permanently
               1. Loss to "your covered auto" or any
                                                                          installed in "your covered auto" or
                  "non-owned auto" which occurs while it
                                                                          any "non-owned auto;" or
                  is being used as a public or livery
                  conveyance. This exclusion (1.) does not            (2) The equipment is:
                  apply to a share-the-expense car pool.                 (a) Removable from a housing unit
               2. Damage due and confined to:                                which is permanently installed
                  a. wear and tear;                                          in the auto;
                  b. freezing;                                           (b) Designed to be solely operated
                  c. mechanical or electrical breakdown or                   by use of the power from the
                     failure; or                                             auto's electrical system; and

                  d. road damage to tires.                               (c) In or upon "your covered auto"
                                                                             or any "non-owned auto;"
                  This exclusion (2.) does not apply if the
                  damage results from the total theft of                  at the time of the loss.
                  "your covered auto" or any "non-owned            b. any other electronic equipment that is:
                  auto. "
                                                                      (1) necessary for the normal operation
               3. Loss due to or as a consequence of:                     of the auto or the monitoring of
                  a. radioactive contamination;                           the auto's operating systems; or
                  b. discharge of any nuclear weapon                  (2) an integral part of the same unit
                     (even if accidental);                                housing any sound reproducing
                  c. war (declared or undeclared);                        equipment described in a. and
                                                                          permanently installed in the
                  d. civil war;
                                                                          opening of the dash or console of
                  e. insurrection; or                                     "your covered auto" or any
                  f. rebellion or revolution.                             "non-owned auto" normally used
               4. Loss to:                                                by the manufacturer for installation
                                                                          of a radio.
                  a. Any electronic equipment designed for
                     the reproduction of sound, including,      5. A total loss to "your covered auto" or
                     but not limited to:                           any "non-owned auto" due to destruction
                    (1) radios and stereos;                        or confiscation by governmental or civil
                                                                   authorities.
                    (2) tape decks; or
                                                                   This exclusion (5.) does not apply to the
                    (3) compact disc players;
                                                                   interests of Loss Payees in "your covered
                  b. Any other electronic equipment that           auto."
                     receives or transmits audio, visual or
                                                                6. Loss to a camper body or "trailer" you
                     data signals, including, but not limited
                                                                   own which is not shown in the
                     to:
                                                                   Declarations. This exclusion (6.) does not
                    (1) citizens band radios;                      apply to a camper body or "trailer" you:
                    (2) telephones;
                                                                   a. acquire during the policy period; and
                    (3) two-way mobile radios;
                                                                   b. ask us to insure within 30 days after
                    (4) scanning monitor receivers;                   you become the owner.
                    (5) television monitor receivers;           7. Loss to any "non-owned auto" when
                    (6) video cassette recorders;                  used by you or any "family member"
                    (7) audio cassette recorders; or               without a reasonable belief that you or
                                                                   that "family member" are entitled to do
                    (8) personal computers;
                                                                   so.
                  c. tapes, records, discs, or other media
                      used with equipment described in a.       8. Loss to:
                      or b.; or                                    a. awnings or cabanas; or
                  d. any other accessories used with               b. equipment       designed      to    create
                     equipment described in a. or b.                  additional living facilities.
                  This exclusion (4.) does not apply to:        9. Loss to equipment designed or used for
                  a. equipment designed solely for the             the detection or location of radar or laser.
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                                                                                                        INSURANCE




      10. Loss to any custom furnishings or                       However, the most we will pay for loss to
          equipment in or upon any pickup or van.                 any "non-owned auto" which is a trailer is
          Custom furnishings or equipment include                 $500.
          but are not limited to:
                                                               B. An adjustment for depreciation and physical
           a. special    carpeting        and   insulation,       condition will be made in determining actual
              furniture or bars;                                  cash value in the event of a total loss.
           b. facilities for cooking and sleeping;             C. If a repair or replacement results in better
           c. height-extending roofs; or                          than like kind or quality, we will not pay for
                                                                  the amount of the betterment.
           d. custom murals, paintings            or   other
              decals or graphics.                              PAYMENT OF LOSS
      11. Loss to any "non-owned auto" being                   We may pay for loss in money or repair or
          maintained or used by any person while               replace the damaged or stolen property. We
          employed or otherwise engaged in the                 may, at our expense, return any stolen property
          "business" of:                                       to:
           a. selling;           d. storing; or                   1. You; or
           b. repairing;        e. parking;                       2. The address shown in this policy.
           c. servicing;                                       If we return stolen property we will pay for any
           vehicles designed for use on public                 damage resulting from the theft. We may keep
           highways. This includes road testing and            all or part of the property at . an agreed or
           delivery.                                           appraised value.
      12. Loss to any "non-owned auto" being                   If we pay for loss in money, our payment will
          maintained or used by any person while               include the applicable sales tax for the damaged
          employed or otherwise engaged in any                 or stolen property.
          "business" not described in exclusion 1 1.
                                                               NO BENEFIT TO BAILEE
          This exclusion (12.) does not apply to the
          maintenance or use by you or any "family             This insurance shall not directly or indirectly
          member" of a"non-owned auto" which is                benefit any carrier or other bailee for hire.
          a private passenger auto or "trailer."               OTHER SOURCES OF RECOVERY
      13. Loss to "your covered auto" or any                   If other sources of recovery also cover the loss,
          "non-owned auto," located inside a                   we will pay only our share of the loss. Our
          facility designed for racing, for the                share is the proportion that our limit of liability
          purpose of:                                          bears to the total of all applicable limits.
           a. competing in; or                                 However, any insurance we provide with
                                                               respect to a"non-owned auto" shall be excess
           b. practicing or preparing for;
                                                               over any other collectible source of recovery
           any prearranged or organized racing or              including, but not limited to:
           speed contest.
                                                                  1. Any coverage provided by the owner of
      14. Loss to, or loss of use of, a"non-owned                    the "non-owned auto;"
          auto" rented by:
                                                                  2. Any other     applicable         physical damage
           a. you; or
                                                                     insurance;
           b. any "family member;"
                                                                  3. Any other source of recovery applicable
          if a rental vehicle company is precluded                   to the loss.
          from recovering such loss or loss of use,
                                                               APPRAISAL
          from you or that "family member,"
          pursuant to the provisions of any                    A. If we and you do not agree on the amount of
          applicable rental agreement or state law.               loss, either may demand an appraisal of the
    LIMIT OF LIABILITY                                            loss. In this event, each party will select a
                                                                  competent appraiser. The two appraisers will
    A. Our limit of liability for loss will be the lesser         select an umpire. The appraisers will state
       of the:                                                    separately the actual cash value and the
       1. Actual cash value          of   the   stolen   or       amount of loss. If they fail to agree, they will
          damaged property;                                       submit their differences to the umpire. A
       2. Amount necessary to repair or replace the               decision agreed to by any two will be
          property with other property of like kind               binding. Each party will:
          and quality.
                                                                                                                                        Page 9 of 12

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                                                                                           -• Liberty
                                                                                              Mutual    .
                                                                                                INSURANCE




                   Pay its chosen appraiser; and                B. We do not waive any of our rights under this
                2. Bear the expenses of the appraisal and          policy by agreeing to an appraisal.
                   umpire equally.
          PART E- DUTIES AFTER AN ACCIDENT OR LOSS
          We have no duty to provide coverage under this              b. other pertinent records.
          policy unless there has been full compliance
                                                                   5. Submit a proof of loss when required by
          with the following duties:
                                                                      us.
          A. We must be notified promptly of how, when
                                                                C. A person seeking Uninsured Motorists
             and where the accident or loss happened.
                                                                   Coverage must also:
             Notice should also include the names and
             addresses of any injured persons and of any           1. Promptly notify the police if a hit-and-run
             witnesses.                                               driver is involved.
          B. A person seeking any coverage must:                   2. Promptly send us copies of the legal
                1. Cooperate with us in the investigation,            papers if a suit is brought.
                   settlement or defense of any claim or        D. A person seeking Coverage for Damage to
                   suit.                                           Your Auto must also:
                2. Promptly send us copies of any notices or       1. Take reasonable steps after loss to
                   legal papers received in connection with           protect "your covered auto" or any
                   the accident or loss.                              "non-owned auto" and their equipment
                3. Submit, as often as we reasonably                  from further loss. We will pay reasonable
                   require:                                           expenses incurred to do this.
                   a. to physical exams by physicians we           2. Promptly notify the police if "your
                      select. We will pay for these exams.            covered auto" or any "non-owned auto"
                   b. to examination under oath and                   is stolen.
                      subscribe the same.                          3. Permit us to inspect and appraise the
                4. Authorize us to obtain:                            damaged property before its repair or
                    a. medical reports; and                           disposal.

          PART F - GENERAL PROVISIONS
          BANKRUPTCY                                            adjustment in accordance with our manual
                                                                rules.
          Bankruptcy or insolvency of the "insured" shall
          not relieve us of any obligations under this          C. If we make a chanbe which broadens
          policy.                                                  coverage under this edition of your policy
                                                                   without additional premium charge, that
          CHANGES
                                                                  change will automatically apply to your
          A. This policy contains all the agreements              policy as of the date we implement the
             between you and us. Its terms may not be             change in your state. This paragraph (C.)
             changed or waived except by endorsement              does not apply to changes implemented with
             issued by us.                                        a general program revision that includes both
          B. If there is a change to the information used         broadenings and restrictions in coverage,
               to develop the policy premium, we may              whether that general program revision is
               adjust your premium. Changes during the            implemented through introduction of:
              policy term that may result in a premium
                                                                  1. A subsequent edition of your policy; or
             increase or decrease include, but are not
              limited to, changes in:                             2. An Amendatory Endorsement.
                   The number, type or use classification of    FRAUD
                   insured vehicles;                            We do not provide coverage for any "insured"
                                                                who has made fraudulent statements or
                2. Operators using insured vehicles;
                                                                engaged in fraudulent conduct in connection
                3. The place of principal garaging of insured   with any accident or loss for vvhich coverage is
                   vehicles;                                    sought under this policy.
              4. Coverage, deductible or limits.                LEGAL ACTION AGAINST US
          If a change resulting from A. or B. requires a
                                                                A. No legal action may be brought against us
          premium adjustment, we will make the premium             until there has been full compliance with all
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                                                                                  : Mutual.
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   the terms of this policy. In addition, under           b. giving us advance written notice of
   Part A, no legal action may be brought                    the date cancellation is to take effect.
   against us until:                                   2. We may cancel by mailing to the named
   1. We agree in writing that the "insured"              insured shown in the Declarations at the
      has an obligation to pay; or                        address shown in this policy:

   2. The amount of that obligation has been               a. at least 10 days notice:
      finally determined by judgment after trial.             (1) if cancellation is for nonpayment of
B. No person or organization has any right                        premium; or
   under this policy to bring us into any action             (2) if notice is mailed during the first
   to determine the liability of an "insured."                   60 days this policy is in effect and
OUR RIGHT TO RECOVER PAYMENT                                     this is not a renewal or
                                                                 continuation policy; or
A. If we make a payment under this policy and
   the person to or for whom payment was                   b. at least 20 days notice in all other
   made has a right to recover damages from                   cases.
   another we shall be subrogated to that right.       3. After this policy is in effect for 60 days,
   That person shall do:                                  or if this is a renewal or continuation
   1. Whatever is necessary to enable us to               policy, we will cancel only:
      exercise our rights; and                             a. for nonpayment of premium; or
   2. Nothing after loss to prejudice them.                b. if your driver's license or that of:
   However, our rights in this paragraph (A.) do             (1) any driver who lives with you; or
   not apply under Part D, against any person
                                                             (2) any driver who customarily uses
   using "your covered auto" with a reasonable
                                                                 "your covered auto;"
   belief that that person is entitled to do so.
                                                           has been suspended or revoked. This
B. If we make a payment under this policy and
                                                           must have occurred:
   the person to or for whom payment is made
   recovers damages from another, that person                (1) during the policy period; or
   shall:                                                      (2) since the last anniversary of the
   1. Hold in trust for us the proceeds of the                      original effective date if the policy
      recovery; and                                                 period is other than 1 year; or
   2. Reimburse us to the extent of our                     c. if the policy was obtained through
      payment.                                                 material misrepresentation.
POLICY PERIOD AND TERRITORY                         B. Nonrenewal. If we decide not to renew or
                                                       continue this policy, we will mail notice to
A. This policy applies only to accidents and
                                                       the named insured shown in the Declarations
   losses which occur:
                                                       at the address shown in this policy. Notice
   1. During the policy period as shown in the         will be mailed at least 20 days before the
      Declarations; and                                end of the policy period. If the policy period
   2. Within the policy territory.                     is:
                                                       1. Less than 6 months, we will have the
B. The policy territory is:
                                                            right not to renew or continue this policy
   1. The United States of America, its                     every 6 months, beginning 6 months
      territories or possessions;                           after its original effective date.
   2. Puerto Rico; or                                  2. 1 year or longer, we will have the right
   3. Canada.                                              not to renew or continue this policy at
                                                           each anniversary of its original effective
   This policy also applies to loss to, or                 date.
   accidents involving, "your covered auto"
   while being transported between their ports.     C. Automatic Termination. If we offer to renew
                                                        or continue and you or your representative
TERMINATION                                             do not accept, this policy will automatically
A. Cancellation. This policy may be cancelled           terminate at the end of the current policy
   during the policy period as follows:                 period. Failure to pay the required renewal or
                                                        continuation premium when due shall mean
   1. The named insured shown in the
                                                        that you have not accepted our offer.
      Declarations may cancel by:
                                                       If you obtain other insurance on "your cove-
      a. returning this policy to us; or,
                                                       red auto," any similar insurance provided by
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                                                                                                         Liberty
                                                                                                        Mutual.
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             this policy will terminate as to that auto on               1. The surviving spouse if resident in the
             the effective date of the other insurance.                      same household at the time of death.
         D. Other Termination Provisions.                                    Coverage applies to the spouse as if a
            1. We may deliver any notice instead of                          named insured shown in the Declarations;
                mailing it. Proof of mailing of any notice                   and
                shall be sufficient proof of notice.                     2. The legal representative of the deceased
            2. If this policy is cancelled, you may be                       person as if a named insured shown in
                 entitled to a premium refund. If so, we                     the Declarations. This applies only with
                 will send you the refund. The premium                       respect to the representative's legal
                refund, if any, will be computed                             responsibility to maintain or use "your
                according to our manuals. However,                           covered auto."
                making or offering to make the refund is             B. Coverage will only be provided until the end
                not a condition of cancellation.                         of the policy period.
            3. The effective date of cancellation stated             TWO OR MORE AUTO POLICIES
                 in the notice shall become the end of the           If this policy and any other auto insurance
                 policy period.                                      policy issued to you by us apply to the same
         TRANSFER OF YOUR INTEREST IN THIS                           accident, the maximum limit of our liability
         POLICY                                                      under all the policies shall not exceed the
         A. Your rights and duties under this policy may             highest applicable limit of liability under any one
            not be assigned without our written consent.             policy.
            However, if a named insured shown in the
            Declarations dies, coverage will be provided
            for:



         *MUTUAL POLICY CONDITIONS
         You are a member of the Liberty Mutual Fire Insurance Company while this policy is in force.
         Membership entitles you to vote in person or by proxy at meetings of the company. The Annual
         Meeting is in Boston, Massachusetts, on the second Wednesday in April each year at 11 o'clock in the
         morning.
         Also, as a member, you will receive any dividends declared on this policy by the Directors.
         This policy is classified in Dividend Class IV-Automobile.
         This policy has been signed by our President and Secretary at Boston, Massachusetts, and
         countersigned on the Declarations Page by an authorized representative.




         *These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as
         the insurer.



           ~~i~                                                                                ~A*r e- 11,
                   PRESIDENT ~                                                                         SECRETARY




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                                                     AS 2162 06 07
     AMENDMENT OF POLICY PROVISIONS - NEW MEXICO                                                   (PP 01 96 06 94)
      Part A- Liability Coverage                                                      "family member":
      A. Paragraph A. of the Insuring Agreement                                      (a) For use as a temporary
         is replaced by the following:                                                     substitute    while    "your
          A. We will pay damages, other than                                              covered auto" is out of
             punitive or exemplary damages, for                                           normal use because of its
             "bodily injury" or "property damage"                                         breakdown,       repair    or
             for which any "insured" becomes                                              servicing;
             legally responsible because of an auto                                  (b) To        demonstrate      the
             accident.            Damages         include                                  vehicle; or
             prejudgment interest awarded against                                    (c) As      a    promotional    or
             the "insured".        We will settle or                                      courtesy vehicle; and
             defend, as we consider appropriate,                                   The vehicle is provided under a
             any claim or suit asking for these                                     written statement, signed by
             damages. In addition to our limit of                                  you or a"family member",
             liability, we will pay all defense costs                              which contains the following
             we incur. Our duty to settle or defend                                language:
             ends when our limit of liability for this                                 PRIMARY LIABILITY ASSIGN-
             coverage has been exhausted.             We                               MENT
             have no duty to defend any suit or                                        In consideration of the vehicle
             settle any claim for "bodily injury" or                                   owner entrusting the motor
             "property damage" not covered under                                       vehicle elsewhere described
             this policy.                                                              to me, I agree that my vehicle
      B. Exclusion A.3. is replaced by the                                             insurance or self-insurance
         following:                                                                    coverage shall be primarily
         We do not provide Liability Coverage for                                      responsible for any loss or
         any "insured":                                                                damage caused by or to the
         3. For "property damage" to property:                                         motor vehicle.
             a. Rented to;                                          C. The Other Insurance Provision is replaced
             b. Used by; or                                              by the following:
             c. In the care of;                                          OTHER INSURANCE
             that "insured":                                             If there is other applicable liability
             This Exclusion (A.3.) does not apply                        insurance, we will pay only our share of
             to "property damage" to a:                                  the loss. Our share is the proportion that
             a. Residence or private garage; or                          our limit of liability bears to the total of
             b. Vehicle you do not own if:                               all applicable limits. Any insurance we
                 (1) A licensed automobile dealer                        provide for a vehicle you do not own
                       provides the vehicle without                      shall be excess over any other collectible
                       charge to you or a"family                         insurance.
                       member":                                          However, we will provide              primary
                       (a) For use as a temporary                        insurance for a vehicle you do not own
                           substitute    while      "your                if:
                           covered auto" is out of                       1. A licensed automobile dealer provides
                           normal use because of its                         the vehicle without charge to you or a
                           breakdown,       repair     or                    "family member":
                           servicing;                                         a. For use as a temporary substitute
                       (b) To      demonstrate        the                         while "your covered auto" is out
                           vehicle; or                                            of normal use because of its
                       (c) As    a    promotional      or                         breakdown, repair or servicing;
                           courtesy vehicle; or                               b. To demonstrate the vehicle; or
                 (2) A licensed automobile dealer                             c. As a promotional or courtesy
                       provides the vehicle for a                                 vehicle; or
                       charge, or someone other than                      2. A licensed automobile dealer provides
                       a licensed automobile dealer                          the vehicle for a charge, or someone
                       provides the vehicle with or                          other than a licensed automobile
                       without charge, to you or a                           dealer provides the vehicle with or
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             without charge, to you or a"family                    2. A licensed automobile dealer provides
             member":                                                  the vehicle for a charge, or someone
             a. For use as a temporary substitute                      other than a licensed automobile dealer
                while "your covered auto" is out                       provides the vehicle with or without
                of normal use because of its                           charge, to you or a"family member":
                breakdown, repair or servicing;                        a. For use as a temporary substitute
             b. To demonstrate the vehicle; or                              while "your covered auto" is out of
             c. As a promotional or courtesy                                normal use because of its
                vehicle; and                                                breakdown, repair or servicing;
           The vehicle is provided under a                             b. To demonstrate the vehicle; or
           written statement, signed by you or a                       c. As a promotional or courtesy
            "family member", which contains the                             vehicle; and
           following language:                                         The vehicle is provided under a written
                PRIMARY LIABILITY ASSIGN-                              statement, signed by you or a"family
                MENT                                                   member", which contains the following
                In consideration of the vehicle                        language:
                owner entrusting the motor                                  PRIMARY LIABILITY ASSIGNMENT
                vehicle elsewhere described to                              In consideration of the vehicle
                me, I agree that my vehicle                                 owner entrusting the motor vehicle
                insurance      or     self-insurance                        elsewhere described to me, I agree
                coverage     shall   be      primarily                      that my vehicle insurance or
                responsible for any loss or damage                          self-insurance coverage shall be
                caused by or to the motor vehicle.                          primarily responsible for any loss or
II. Part D       Coverage For Damage To Your                                damage caused by or to the motor
     Auto                                                                   vehicle.
     Paragraph C. of the Insuring Agreement is               III. PART F- GENERAL PROVISIONS
     replaced by the following:                                    Part F is amended as follows:
     "Non-owned auto" means:                                       A. The Termination provision is amended
     1. Any private passenger auto, pickup, van                        as follows:
         or "trailer" not owned by or furnished or                     TERMINATION
         available for the regular use of you or                       The Nonrenewal section is replaced by
         any "family member" while in the                              the following:
         custody of or being operated by you or                        Nonrenewal. If we decide not to renew
         any "family member"; or                                       or continue this policy, we will mail
     2. Any auto or "trailer" you do not own                           notice to the named insured shown in
         while used as a temporary substitute for                      the Declarations at the address shown
         "your covered auto" which is out of                           in this policy. Notice will be mailed at
         normal use because of its:                                    least 30 days before the end of the
         a. Breakdown;                                                 policy period. If the policy period is less
         b. Repair;                                                    than 6 months, we will have the right
         c. Servicing;                                                 not to renew or continue every 6
         d. Loss; or                                                   months, beginning 6 months from its
         e. Destruction.                                               original effective date.
    However, "non-owned auto" does not
    include any vehicle you do not own if:                       B. The following is added to the Two Or
     1. A licensed automobile dealer provides                       More Auto Policies provision:
         the vehicle without charge to you or a                       TWO OR MORE AUTO POLICIES
         "family member":
         a. For use as a temporary substitute                         1. This provision does not apply to
              while "your covered auto" is out of                        Uninsured Motorists Coverage.
              normal use because of its                               2.   No one will be entitled to receive du-
              breakdown, repair or servicing;                              plicate payments for the same elem-
         b. To demonstrate the vehicle; or                                 ents of loss under Uninsured Motori-
         c. As a promotional or courtesy                                   sts Coverage.
              vehicle; or



This endorsement must be attached to the Change Endorsement when issued after the policy is written.


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                                               ~
     AUTOMOBILE AMENDATORY ENDORSEMENT                                                       AS 2258 08 06
     I.   DEFINITIONS                                                a. For any coverage provided in this
          The Definitions section is revised as                         policy     except     Coverage      For
          follows:                                                      Damage To Your Auto, a newly
          A. The definition of Your Covered Auto is                     acquired auto         will have the
               replaced with the following:                             broadest      coverage      we     now
               "Your Covered Auto" means:                               provide for any vehicle shown in
               1. Any vehicle shown in the Declara-                     the Declarations. Coverage begins
                  tions.                                                on the date you become the
               2. A newly acquired auto.                                owner.
               3. Any trailer you own.                                  However, for this coverage to
               4. Any auto or trailer you do not own                    apply to a newly acquired auto
                   while used as a temporary substitute                 that is in addition to any vehicle
                  for any other vehicle described in this               shown in the Declarations, you
                  definition which is out of normal use                 must ask us to insure it within 30
                  because of its:                                       days after you become the owner.
                   a. Breakdown;                                        If a newly acquired auto replaces a
                   b. Repair;                                           vehicle shown in the Declarations,
                   C. Servicing;                                        coverage is provided for this
                   d. Loss; or                                          vehicle without your having to ask
                   e. Destruction.                                      us to insure it.
               This provision (4.) does not apply to                 b. Collision Coverage for a newly
               Coverage For Damage To Your Auto.                        acquired auto begins on the date
          B. The definition of Newly Acquired Auto                      you become the owner. However,
               is added as follows:                                     for this coverage to apply, you
               "Newly acquired auto":                                   must ask us to insure it within:
               1. Newly acquired auto means any of                      (1) 30 days after you become the
                  the following types of vehicles you                        owner if the Declarations
                  become the owner of during the                             indicate      that       Collision
                  policy period:                                             Coverage applies to at least
                  a. A private passenger auto; or                            one auto. In this case, the
                   b. A pickup or van, for which no                          newly acquired auto will have
                      other insurance policy provides                        the broadest coverage we now
                      coverage, that:                                        provide for any auto shown in
                   (1) Has a Gross Vehicle Weight of                         the Declarations.
                       less than 10,000 Ibs.; and                       (2) Five days after you become
                   (2) Is not used for the delivery or                       the owner if the Declarations
                       transportation of goods and                           do not indicate that Collision
                       materials unless such use is:                         Coverage applies to at least
                                                                             one auto. If you comply with
                       (a) Incidental to your business
                                                                             the 5 day requirement and a
                           of installing, maintaining or
                                                                             loss    occurred     before   you
                           repairing     furnishings  or
                                                                             asked us to insure the newly
                           equipment; or
                                                                             acquired auto, a Collision
                       (b) For farming or ranching.                          deductible of $500 will aPPIY•
                For this definition to apply to a newly              c. Other Than Collision Coverage for
                acquired auto, which is in addition to                  a newly acquired auto begins on
                the vehicles listed in the Declarations,                the     date    you     become      the
                we must insure all other vehicles                       owner.However, for this coverage
                owned by you.                                           to apply, you must ask us to
                                                                        insure it within:
              2. Coverage for a newly acquired auto
                 is provided as described below. If                     (1) 30 days after you become the
                                                                             owner if the Declarations
                 you ask us to insure a newly
                 acquired auto after a specified time                        indicate    that    Other   Than
                 period described below has elapsed,                         Collision Coverage applies to
                 any coverage we provide for a newly                         at least one auto. In this case,
                 acquired auto will begin at the time                        the newly acquired auto will
                 you request the coverage.                                   have the broadest coverage


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                                                                                           AS 2258 08 06
               we now provide for any auto                             condition for which its use is
               shown in the Declarations.                              proposed.
           (2) Five days after you become                          3.In patient services or supplies
               the owner if the Declarations                          provided to the covered person when
               do not indicate that Other                             these could safely have been
               Than      Collision      Coverage                      provided to the covered person as an
               applies to at least one auto. If                       outpatient.
               you comply with the 5 day                      D. "reasonable expenses" - when applied to
               requirement and a loss                              medical services incurred by an insured
               occurred before you asked us                        under PART B- MEDICAL PAYMENTS
               to insure the newly acquired                        COVERAGE - means the least of:
               auto, an Other Than Collision                       1. The actual charge;
               deductible of $500 will apply.                      2. The charge negotiated with a
C. "necessary medical" - when applied to                               provider; or
    services incurred by an insured under                          3. The charge determined by us based
    PART B - MEDICAL PAYMENTS                                         on a methodology using a database
    COVERAGE - means services or                                      designed to reflect amounts charged
    supplies provided by a licensed hospital,                         by providers of inedical services or
    licensed physician, or other licensed                             supplies within the same or similar
    medical provider that, as determined by                           geographic region in which you
    us or someone on our behalf, are:                                 receive your medical services or
    1. Required to identify or treat an injury                        supplies. The database will reflect (a)
       caused by an accident covered by                               service charge data regardless of the
       this policy;                                                   provider's specialty and (b) in the
    2. Consistent        with         symptoms,                       case of new procedures, services or
       diagnosis, and treatment of the                                supplies, or existing procedures,
       covered      person's       injury    and                      services or supplies for which there
       appropriately documented in the                                is little or no charge data, a
       covered person's medical records;                              comparison to commonly used
    3. Provided      in    accordance       with                      procedures, services or supplies.
       recognized standards of care for the              11. PART A- LIABILITY COVERAGE
       covered person's injury at the time                    Exclusion 4. is under paragraph B. of the
       the charge is incurred;                                Exclusions section of Part A is replaced by
    4. Consistent with published practice                     the following:
       guidelines and technology, and                         4. Any vehicle, while being used for:
       assessment standards of national                            a. competing in; or
       organizations or multi-disciplinary                         b. practicing or preparing for
       medical groups;                                             any organized racing, speed, demolition,
    5. Not primarily for the convenience of                        stunt or performance contest or related
       the covered person, or his or her                           activity whether or not for pay.
       physician, hospital, or other health              III. PART B- MEDICAL PAYMENTS COVERAGE
       care provider;                                         Exclusion 11. is under the Exclusions
    6. The most appropriate supply or level                   section of Part B is replaced by the
       of service that can be safely provided                 following:
       to the covered person; and                             11. Sustained while occupying any vehicle
    7. Not excessive in terms of scope,                            while being used for:
       duration, or intensity of care needed                       a. competing in; or
       to provide safe, adequate, and                              b. practicing or preparing for
       appropriate diagnosis and treatment;                        any organized racing, speed, demolition,
However, necessary medical services do not                         stunt or performance contest or related
include expenses for any of the following:                         activity whether or not for pay.
    1. Nutritional       supplements          or         IV. PART D- COVERAGE FOR DAMAGE TO
       over-the-counter drugs;                                YOUR AUTO
    2. Experimental services or a supply,                     A. Paragraph A. of the Insuring Agreement
       which means services or supplies                           of Part D is replaced by the following:
       that we determine have not been                            INSURING AGREEMENT
       accepted by the majority of the                           A.We will pay for direct and accidental
       relevant medical specialty as safe and                        loss to your covered auto or any
       effective for treatment of the
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                                                                                       Mutual.
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  non-owned       auto,      including   their                       performance of the vehicle
  equipment,     subject      to   Customized                     including but not limited to any
   Equipment       Coverage,      minus   any                     additions    or   alterations    to the
   applicable deductible shown in the                             chassis, engine, exterior or interior of
   Declarations. If loss to more than one                         the auto.
   your covered auto or non-owned auto                            This includes but is not limited to
   results from the same collision, only the                      ground     effects,    specialty    rims,
   highest applicable deductible will apply.                      performance tires, specialty paint or
   We will pay for loss to your covered auto                      dye, roll bars, running           boards,
   caused by:                                                     spoilers, special interior or exterior
      1.Other than collision only if the                          lighting, roof/trunk racks, and high
          Declarations indicate that Other                        performance      engine    components.
          Than Collision Coverage is provided                     However, such parts, equipment and
          for that auto.                                          accessories that were installed by the
      2. Collision only if the Declarations                       automobile manufacturer or licensed
          indicate that Collision Coverage is                     auto dealer are not considered
          provided for that auto.                                 customized equipment.
      If there is a loss to a non-owned auto                     This also includes any electronic
      we will provide the broadest coverage                      equipment that is not necessary for
      applicable to any your covered auto                        the normal operation of the auto or
      shown in the Declarations.                                 the     monitoring     of   the   auto's
B. The following Customized Equipment                            operating system that is used solely
   Coverage provision is added under Part                        for the reproduction of recorded
   D:                                                            material or used for transmitting or
  CUSTOMIZED EQUIPMENT COVERAGE                                  receiving audio,       visual or data
  A. We will pay up to $500 for theft or                         signals.   However,        such    parts,
      damage to customized equipment if                          equipment and accessories that were
      the loss is caused by:                                     installed     by      the     automobile
       1. Other than collision only if the                       manufacturer or licensed auto dealer
          Declarations indicate that Other                       or in a location the automobile
          Than     Collision    Coverage     is                  manufacturer      intended    for   such
          provided for that auto.                                equipment,      are    not    considered
       2. Collision only if the Declarations                     customized equipment.
          indicate that Collision Coverage is                 C. If you have purchased additional
          provided for that auto.                                 coverage for customized equipment
      Payments shall be reduced by the                            we will pay up to the amount of
      applicable deductible. However, only                        coverage you have purchased in
      one deductible will be applied for any                      addition to the $500 limit provided
      one loss. If you or the owner of a                          by the policy. This additional
      non-owned auto          keeps salvaged                      coverage must be shown in the
      material, payments will also be                             Declarations.
      reduced by the salvage value. In no                     D. The most we will pay for parts,
      way shall this coverage increase the                        equipment and accessories that are:
      limit of liability for your covered auto                    a. not     installed  by    the   auto
      or any non-owned auto.                                          manufacturer or dealer and
  B. "Customized equipment" means any                             b. permanently installed in or upon
      parts, equipment and accessories                                the auto
      including        devices,     extensions,                   is the actual cash value of the vehicle
      furnishings, fixtures, finishings, and                      not including such parts, equipment
      other alterations that:                                     and accessories.
       1. are    permanently      installed  or            C. The Transportation Expenses provision of
          attached by bolts or brackets;                      Part D is replaced by the following:
      2. are removable from a housing unit                   TRANSPORTATION EXPENSES
          that is permanently installed inside               In addition, we will pay up to $15 per
          the auto;                                          day to a maximum of 30 days for any
      3. are permanently bonded to the                       temporary      transportation    expenses
          vehicle by an adhesive or welding                  incurred by you. This applies in the event
          procedure; or                                      of a loss to your covered auto if the loss
      4. change the appearance or                            is caused by:
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                                                                                      Liberty
                                                                                   :• Mutual.
                                                                                        INSURANCE




                                                                                        AS 2258 08 06
       a. Other than collision only if the                    what is provided under Customized
           Declarations indicate Other Than                   Equipment Coverage . unless additional
           Collision Coverage is provided for                 coverage has been purchased by
           that auto.                                         endorsement and is shown in the
       b. Collision only if the Declarations                  Declarations.
           indicate that Collision Coverage is             G. Exclusion 16. is added as follows:
           provided for that auto.                            16. We will not pay for loss to tapes,
   If the loss is caused by a total theft of                      records, discs or other media used
   your covered auto, we will pay only                            with any sound reproducing or other
   transportation expenses incurred during                        electronic equipment.
   the period:                                             H. Paragraph B of the Limit of Liability
   1. Beginning 48 hours after the theft;                     provision of Part D is added as follows:
       and                                                    B. An adjustment for depreciation and
   2. Ending when your covered auto is                            physical condition will be made in
       returned to use or we pay for its loss.                    determining actual cash value in the
D. Exclusion 4. is replaced by the following:                     event of a total loss. In this case, the
   4. We will not pay for loss to equipment                       actual cash value consists of the value
       that is not permanently installed in                       of the vehicle not including any
       or upon your covered auto or any                           customized equipment.
       non-owned auto. This consists of any           V    PART E- DUTIES AFTER AN ACCIDENT OR
       equipment that is either designed for               LOSS
       the reproduction of sound or receives               Part E is amended as follows:
       or transmits audio, visual or data                  A. Paragraph B. of Part E is replaced by the
       signals. This includes but is not                      following:
       limited to:                                            B. A person seeking any coverage must:
       a. radios and stereos;                                      1. Cooperate      with    us   in   the
       b. tape decks;                                                 investigation,      settlement    or
       c. compact disc players and burners;                           defense of any claim or suit. This
       d. digital video disc (DVD) players and                        includes, but is not limited to,
           burners;                                                   allowing us to inspect damage to a
       e. citizens band radios;                                       vehicle covered by this policy.
       f. scanning monitor receivers;
                                                                   2. Promptly send us copies of any
       g. television monitor receivers;
                                                                      notices or legal papers received in
       h. global positioning system (GPS)
                                                                      connection with the accident or
           receivers and/or components;
                                                                      loss.
       i. video      cassette    players    and
                                                                   3. Submit, as often as we reasonably
           recorders;
                                                                      require, within 30 days of our
       j. audio cassette recorders; or
                                                                      request:
       k. personal computers, which includes
                                                                      a. To physical and mental exams
           laptops, desktops, and personal
                                                                          by physicians we select under
           digital assistants (PDA) or any
                                                                          terms we require. We will pay
           other handheld device.
                                                                          for these exams.
       AII accessories used with the above or
       similar equipment are also excluded.                           b. To interviews and recorded
E. Exclusion 13. is replaced by the                                       statements without the need
   following:                                                             for, us to conduct an
   13. Loss to your covered auto or any                                   examination under oath.
         non-owned auto while the car is                              c. To examination under oath and
         being used for:                                                  subscribe the same.
         a. competing in; or                                       4. Authorize us to obtain, within 30
         b. practicing or preparing for                               days of our request:
         any     organized    racing,    speed,                       a. Medical reports; and
         demolition, stunt or performance                             b. Other       pertinent    records,
         contest or related activity whether or                           including but not limited to,
         not for pay.                                                     information contained in or
F Exclusion 15. is added as follows:                                      transmitted by any device
    15. We will not pay for loss to                                       located in or on the motor
          customized equipment in excess of                               vehicle.
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                                                                                    _ Liberty
                                                                                       Mutual.
                                                                                        INSURANCE



                                                                                         AS 2258 08 06
    5. Submit a proof of loss when required by                  a. conceals     or    misrepresents any
        us within 30 days of our request.                          material fact or circumstance,
                                                                b. makes false statements or
   VI. PART F- GENERAL PROVISIONS
                                                                c. engages in fraudulent conduct,
Part F is amended as follows:                                   any of which relate to a loss, an
A. The Fraud provision is replaced by the                       accident, this insurance or the
   following:                                                   application for this policy.
   FRAUD
   This policy will not provide coverage under
   any part of this policy for any insured or any
   other person or entity seeking benefits under
   this policy (whether before or after a loss)
   who:




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                                                                                     _• Liberty
                                                                                        Mutual.
                                                                                         INSURANCE




        AMENDMENT OF POLICY DEFINITIONS

        THIS ENDORSEMENT CHANGES YOUR POLICY. IT REPLACES ALL OTHER REFERENCES TO
        THE SAME SECTIONS OF THE POLICY.


        The following is added to item A. under the policy DEFINITIONS:
           3. the partner in a civil union, registered domestic partnership or other similar union, with
           the "named insured" shown on the Declarations, if a resident of the same household.
           The above, only applies if the civil union or partnership was validly entered into under the
           laws of any state, municipality, or territor.y of the United States or any other country.
           If the spouse or partner defined above is no -longer a resident in the same household during
           the policy period or prior to the inception of the policy, the spouse or partner will be
           considered "you" and "your" under this policy until the earlier of:
                1. The end of 90 days following the change of residency;
                2. The effective date of another policy listing the spouse or partner defined above as a
                   named insured; or
                3. The end of the policy period.
        Paragraph A. of the TRANSFER OF YOUR INTEREST IN THIS POLICY is deleted. It is replaced
        with the following:
        A. Your rights and du.ties under this policy may not be assigned without our written consent.
           However, if a named insured shown in the Declarations becomes deceased, coverage will
           be provided for:
           1. the surviving spouse or partner in a civil union, registered domestic partnership or other
              similar union, if a resident of the same household at the time of death. Coverage
              applies to the spouse or partner as set forth herein, as if a named insured shown in the
              declarations; and
           2. the legal representative of the deceased person as if a named insured shown in the
              Declarations. This applies only with regard to the representative's legal responsibility
              to maintain or use "your covered auto".
        Section 1. only applies if the union or partnership is validly entered into under the laws of any
        state, municipality, or territory of the United States or any other country.
        AII other terms and conditions of this policy remain the same.




AS 2344 04 08                            Liberty Mutual Insurance Group
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                                                                                                    _ Liberty
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                                                                                                           INSURANCE




         SPLIT LIABILITY LIMITS                                                                            PP 03 09 04 86


                                                          SCHEDULE

                       Bodily Injury Liability                        $                    each person

                                                                      $                    each accident

                       Property Damage Liability                      $                    each accident



         The first paragraph of the Limit of Liability              accident. The limit of liability shown in the
         provision in Part A is replaced by the following:          Schedule or in the Declarations for each
                                                                    accident for Property Damage Liability is our
         LIMIT OF LIABILITY
                                                                    maximum limit of liability for all "property
         The limit of liability shown in the Schedule or in         damage" resulting from any one auto accident.
         the Declarations for each person for Bodily                This is the most we will pay regardless of the
         Injury Liability is our maximum limit of liability         number of:
         for all damages, including damages for care,
                                                                          1. "Insureds;"
         loss of services or death, arising out of "bodily
         injury" sustained by any one person in any one                   2. Claims made;
         auto accident. Subject to this limit for each
                                                                          3. Vehicles or premiums shown in the Decla-
         person, the limit of liability shown in the
                                                                             rations; or
         Schedule or in the Declarations for each
         accident for Bodily Injury Liability is our                      4. Vehicles involved in the auto accident.
         maximum limit of liability for all damages for
         "bodily injury" resulting from any one auto


         This endorsement must be attached to the Change Endorsement when issued after the policy is written.




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                                                                                                         Liberty
                                                                                                         Mutual.

          MEXICO EXTENSION ENDORSEMENT                                                              AS 1006 (Ed. 12-89)



          The coverage applying to "your covered auto" under Parts A, B and D of this policy also applies to
          accidents and losses while the automobile is in the Republic of Mexico, but not more than 75 miles
          from the United States border. This coverage is subject to these additional provisions:
          1. The insurance applies only if, at the time of accident or loss, the automobile has not been in the
             Republic of Mexico more than 10 consecutive days.

          2.   We have no obligation to defend any suit and the Supplementary Payments provisions of Part A and
               the Transpbrtation Expense provision of Part D do not apply.

          3.   In addition to the applicable limit of liability, we will pay (a) expenses you incur for first aid to others
               at the time of an accident for bodily injury covered by this policy and (b) reasonable expenses,
               except loss of earnings, you incur at our request.

          4.   No settlement of any claim or suit will obligate us under this endorsement without our written
               consent.

          5.   Except for Medical Payments Coverage, this insurance shall be excess over any other collectible
               insurance available to you as an insured under a policy applying to the automobile or otherwise.
               The Medical Payments Coverage shall be excess over any other collectible automobile medical
               payments insurance.

          6.   If a loss to "your covered auto" requires repair or replacement while the automobile is in Mexico,
               the most we will pay is the cost of the repair or replacement at the nearest point in the United
               States where it can be made.

          WARNING - If you have an automobile accident in Mexico and don't have insurance written by an
          insurance company licensed in Mexico, you could spend many hours or days in jail. You should arrange
          for coverage from a licensed Mexican company to avoid complications and some other penalties
          possible under the laws of Mexico, including impounding of your car. (Liberty is not licensed to write
          insurance in Mexico.)
                                                  (See below for explanation)

                                                        IMPORTANT

          This endorsement extends LIMITED COVERAGE.

          Under Mexican law automobile insurance policies written by United States companies are not
          recognized or considered valid for accidents or losses occurring in Mexico. United States insurance
          companies are not permitted, directly or through Mexican agents, to assist their policyholders,
          investigate, settle or defend claims or suits in Mexico.

          Notwithstanding the above we have included limited Mexican coverage (limited to 75 miles of the U.S.
          border and 10 consecutive days in Mexico) in your automobile insurance policy. This extension is made
          to Liberty policyholders because your U.S. coverage is broader than that extended by Mexican
          companies and it'is possible, under certain conditions, to reimburse you for a loss on your return to the
          states.

          If you are planning a motor trip into Mexico you should contact one of the many agents representing
          reliable Mexican insurance companies and purchase a short term "Special Automobile Policy for
          Tourists" to protect you during your stay in that country. You will find these agents in practically every
          American city or town near the border.




AS 1006 (Ed. 12-89)

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                                                                                                 PERSONAL AUTO
NEW VEHICLE REPLACEMENT COST COVERAGE                                                             AS 2112 10 99

With respect to the coverage provided by this endorsement, the provisions of the policy apply unless
modified by the endorsement.
    In the event of a covered total loss to a new *"your covered auto" shown in the Declarations for
    which a specific premium charge indicates that "Collision" Coverage and/or Other Than Collision
    Coverage applies, the "covered auto" will be replaced at the Actual Cash Value (less any applicable
    deductible) without adjustments for depreciation that is referenced in the Limit of Liability B. Section
    of Part D of the policy.
         * A new vehicle as used in this endorsement is one that has not been previously titled under the
           motor vehicle laws of any state.
    Replacement Cost for a total loss on a new "your covered auto" applies as follows:
         a.   total loss must occur during the first 12 months of insurance coverage, and
         b.   within the vehicle's first 15,000 miles,
         whichever occurs first, we will pay, at our option, the full cost of repair or replacement, less the
         applicable deductible.
         This does not apply to a substitute automobile, a non-owned automobile or a vehicle leased
         under a long-term contract of 6 months or longer.
         The following conditions apply:
         1. Our liability for any loss will not be more than the cost to replace the damaged property
            with:
              a.   a previously untitled vehicle of the year, make, model and equipment of the damaged
                   automobile or, if unavailable
              b.   a vehicle that is most similar in class and body type to the year, make, model and
                   equipment of the damaged automobile.
         2. We will not pay for any loss before the actual repair or replacement is completed.
         3. We have the right to pay the loss in money or to repair or replace the damaged automobile.
         For purposes of this endorsement, Total Loss means a loss in which the cost to replace or repair
         the vehicle to its pre-loss condition plus salvage value, equals or exceeds the actual cost value.
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                                                                                                _ Liberty.
                                                                                                  Mutual.

         NUCLEAR, BIOLOGICAL, CHEMICAL & MOLD
         EXCLUSION ENDORSEMENT                                                                        AS 2228 07 05

         THIS EXCLUSION APPLIES TO ALL COVERAGES PROVIDED BY THIS POLICY
          INCLUDING ANY AND ALL ENDORSEMENTS

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



         We do not provide coverage for loss, damage, injury, liability, cost or expense, due to or as a
         consequence of, whether controlled or uncontrolled or however caused:

                a. Nuclear exposure, reaction or explosion including resulting fire, smoke, radiation or
                   contamination; and/or
                b. Biological or chemical attack or exposure to biological or chemical agents, or combination of
                   such agents, including resulting contamination or pollution.


         We do not provide coverage for loss, damage, injury, liability, cost or expense arising out of or
         aggravated by, in whole or in part, "mold, fungus, wet rot, dry rot, bacteria or virus."


         "Mold, fungus, wet rot, dry rot, bacteria or virus" means any type or form of fungus, rot, virus or
         bacteria. This includes mold, mildew and any mycotoxins, other microbes, spores, scents or
         byproducts produced or released by mold, mildew, fungus, rot, bacteria, or virus.




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                                                                         '0      ~ Liberty
                                                                                   Mutual.

AUTOMATIC TERMINATION ENDORSEMENT                                               As 1046      (Ed. 12-89)


The AUTOMATIC TERMINATION Provision in Part F of the policy is replaced with the following:


       AUTOMATIC TERMINATION. If you obtain other insurance on "your covered auto,"
       any similar insurance provided by this policy will terminate as to that auto on the
       effective date of the other insurance.




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                                                                                                  Liberty
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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         COVERAGE FOR DAMAGE TO YOUR AUTO EXCLUSION                                               PERSONAL AUTO
         ENDORSEMENT                                                                               PP 13 01 12 99


         With respect to the coverage provided by this endorsement, the provisions of the policy apply unless
         modified by the endorsement.

          I. Definitions                                           II. Part D- Coverage For Damage To Your Auto

            The following definition is added:                         The following exclusion is added:
            "Diminution in value" means the actual or                  We will not pay for:
            perceived loss in market or resale value
            which results from a direct and accidental                 Loss to "your covered auto" or any
            loss.                                                      "non-owned auto" due to "diminution in
                                                                       value".

         This endorsement must be attached to the Change Endorsement when issued after the policy is written.

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          POLICY NUMBER:                                                                                 Liberty .
                                                                                                       • Mutual
                                                                                                                INSURANCE



          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                                                                            PERSONAL AUTO
          MISCELLANEOUS TYPE VEHICLE ENDORSEMENT                                                             PP G3 23 06 94


                                                           SCHEDULE
           Description and Type of Vehicle                     Passenger Hazard Excluded .

            1.                                               Yes ❑                              No ❑
            2.                                               Yes ❑                              No ❑
            3.                                               Yes ❑                              No ❑
            Covera e is provided where a premium and a limit of liability is shown for the covera e.
                                                                                                Premium
            Coverages                                  Limit Of Liability                   Veh. 1          Veh. 2              Veh. 3
                                                       $                    Each Accident $
            Liability                                                                            -                        —•—
                                                       $                    Each Accident                  S
                                                       $                    Each Accident                                      $
                                                       $                    Each Person     $
           Medical Payments                            $                    Each Person                    S
                                                       $                    Each Person                                       $
           Uninsured Motorists                         $                    Each Accident $
                                                       $                    Each Accident                  S
                                                       5                    Each Accident                                      S
           Collision                                   $         Less       $     Ded.      $
                                                       $         Less       $     Ded.                     S
                                                       $         Less       $     Ded.                                         5

           Other Than                                  $         Less       $     Ded.      $
           Collision                                   $        . Less      $     Ded.                     S
                                                       $         Less       $     Ded.                                         S
                                                                 Total Premium              g

          NOTICE
          For the Collision and Other Than Collision Coverages, the amount shown in the Schedule or in the
          Declarations is not necessarily the amount you will receive at the time of loss or damage for the
          described property. PLEASE refer to the Limit of Liability provision below.

          With respect to the "miscellaneous type vehicles" and coverages described in the Schedule or in the
          Declarations, the provisions of the policy apply unless modified by this endorsement.

             DEFINITIONS
             The Definitions Section is amended as                          2. Any of the following types of vehicles
             follows:                                                          on the date you become the owner:
             A. For the purpose of the coverage provided                        a. a private passenger auto;
                by this endorsement "miscellaneous type                         b. a pickup or van that:
                vehicle" means a motor home, motorcycle
                or other similar type vehicle, all-terrain                        (1) Has a Gross Vehicle Weight of
                vehicle, dune buggy or golf cart.                                     less than 10,000 Ibs.; and
             B. The definition of "your covered auto" is                          (2) Is not used for the delivery or
                replaced by the following:                                            transportation of goods and
                 "Your covered auto" means:                                           materials unless such use is:
               1. Any "miscellaneous type vehicle"                              (a) Incidental to your "business"
                  shown in the Schedule or in the                                   of maintaining or repairing
                  Declarations.                                                     furnishings or equipment; or
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                                                                                                     _ Liberty
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                          (b) For farming or ranching.                       2. Any person using "your covered auto".
                    c. any "miscellaneous type vehicle" of                   3. For "your covered auto", any person or
                       the same type shown in the                               organization but only with respect to
                       Schedule or in the Declarations.                         legal responsibility for acts or
                                                                                omissions of a person for whom
                    This provision applies only if:
                                                                                coverage is afforded under this Part.
                    a. You acquire the vehicle during the                 B. The Exclusions Section is amended as
                       policy period;                                        follows:
                    b. You ask us to insure it within 30
                                                                             1. Exclusion B.1.      is replaced by the
                       days after you become the owner;
                                                                                following:
                       and
                                                                                We do not provide Liability Coverage
                    c. With respect to a picicup or van, no                     for the ownership, maintenance or use
                       other insurance policy provides                          of any vehicle which:
                       coverage for that vehicle.
                                                                                a.   Has fewer than four wheels; or
                    If the vehicle you acquire replaces one
                                                                                b.   Is designed mainly for use off
                    of the same type shown in the
                                                                                     public roads.
                    Schedule or in the Declarations, it will
                    have the same coverage as the vehicle                       This exclusion (13.1.) does not apply:
                    it replaced. You must ask us to insure                      a.   While such vehicle is being used by
                    a replacement vehicle within 30 days                             an "insured" in a medical
                    only if you wish to add or continue                              emergency; or
                    Coverage for Damage to Your Auto.                           b.   To any "trailer"; or
                   If the vehicle you acquire is in addition                    c.   To a vehicle having fewer than four
                   to any of the same type shown in the                              wheels if it is insured for Liability
                   Schedule or in the Declarations, it will                          Coverage under this endorsement.
                   have' the broadest coverage we now                        2. The following exclusion applies under
                   provide for any vehicle of that type                         Section A to any vehicle for which the
                   shown in the Schedule or in the                              Schedule or Declarations indicates that
                   Declarations.
                                                                                the passenger hazard is excluded:
                 3. Any "trailer".
                                                                                We do not provide Liability Coverage
                 4. Any "miscellaneous type vehicle" or                         for any "insured" for "bodily injury" to
                    auto you do not own while used as a                         any "insured" while "occupying" the
                    temporary substitute for any other                          described "miscellaneous type vehicle".
                    vehicle described in this definition              III. PART B- MEDICAL PAYMENTS COVERAGE
                    which is out of normal use because of
                    its:                                                 Exclusion 1. of Part B is replaced by the
                                                                         following:
                   a. Breakdown;
                                                                         We do not provide Medical Payments
                   b. Repair;                                            Coverage for any "insured" for "bodily
                   c. Servicing;                                         injury" sustained while "occupying" any
                   d. Loss; or                                           motorized vehicle having fewer than four
                                                                         wheels. However, this exclusion (1.) does
                   e. Destruction.                                       not apply to a motorized vehicle having
                   This provision (4.) does not apply to                 fewer than four wheels if it is insured for
                   Coverage for Damage to Your Auto.                     Medical Payments Coverage under this
          II. PART A- LIABILITY COVERAGE                                 endorsement.

              Part A is amended as follows:
              A. The definition of "insured" is replaced by
                 the following:
                "Insured" means:
                 1. You or any "family member" for the
                    ownership, maintenance or use of
                    "your covered auto".


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                                                                                                    : Liberty
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                                                                                                        INSURANCE




          IV.PART _D - COVERAGE FOR DAMAGE TO                                 2. Actual cash value of the stolen or
             YOURAUTO                                                            damaged property; or
            Part D is amended as follows:                                     3. Amount necessary to repair or replace
            A.The following is added to the definition of                        the property with other property of like
              "non-owned auto":                                                  kind and quality.

                 3. Any motor home, motorcycle or other                       Our payment for loss will be reduced by
                    similar type vehicle, all-terrain vehicle,                any applicable deductible shown in the
                    dune buggy or golf cart you do not                        Schedule or in the Declarations. If loss to
                    own while used as a temporary                             more than one "your covered auto"
                    substitute for "your covered auto"                        results from the same "collision", only the
                    which is out of normal use because of                     highest applicable deductible will apply.
                    its:                                                   B. An adjustment for depreciation and physi-
                    a. Breakdown;         d. Loss; or                         cal condition will be made in determining
                    b. Repair;            e. Destruction.                     actual cash value in the event of a total
                    c. Servicing;                                             loss.

            B. With respect to the Coverage(s) shown as                    C. If a repair or replacement results in better
               applicable to a vehicle described in the                       than like kind or quality, we will not pay
               Schedule or in the Declarations, the Limit                     for the amount of the betterment.
               of Liability provision is replaced by the
               following:
                 LIMIT OF LIABILITY
                 A. Our limit of liability for loss will be the
                    lesser of the:
                    1. Amount shown in the Schedule or in
                       the Declarations;


         This endorsement must be attached to the Change Endorsement when issued after the policy is written.




PP 03 23 06 94                             Copyright, Insurance Services Office, Inc., 1993                              Page 3 of 3
                   Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 84 of 198
      r

 ~<                                                                                                 - Liberty
 t-
ti                                                                                                         Mutual.
                                                                                                              INSURANCE


             Notice of Membership in Liberty Mutual Holding Company Inc.
             While this policy is in effect, the named insured first named in the Declarations is a member of Liberty
             Mutual Holding Company Inc. and is entitled to vote either in person or by proxy at any and all meetings
             of the members of said company. The Annual Meeting of Liberty Mutual Holding Company Inc. is in
             Boston, Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning.

             The named insured first named in the Declarations shall participate in the distribution of any dividends
             declared by us for this Policy. The amount of such Named Insured's participation is determined by the
             decision of our Board of Directors in compliance with any laws that apply.

             Any provisions in the policy relating to:
             1. Membership in Liberty Mutual Insurance Company or Liberty Mutual Fire Insurance Company; or
             2.   Entitlement to dividends as a member of Liberty Mutual Insurance Company or Liberty Mutual Fire
                  Insurance Company
             are deleted and replaced by the preceding paragraphs.

     2340e




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            Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 85 of 198 COURT CLERK
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      STATE OF NEW MEXICO
      COUNTY OF SANTA FE
      FIRST NDICIAL DISTRICT COURT

      MITCHELL WOODALL,

                      Plaintiff,

      vs.                                                    No. D-101-CV-2017-01727

      LIBERTY MUTUAL GROUP, INC.,
      d/b/a LIBERTY MUTUAL INSURANCE,

                      Defendant.

                               AMENDED COMPLAINT FOR UNINSURED/
                                UNDERINSURED MOTORIST BENEFITS

               COMES NOW the Plaintiff, Mitchell Woodall, by and through his attorneys of record, Will

      Ferguson & Associates (Robert C. Gutierrez) and for his Complaint for Uninsured/Underinsured

      Motorist BeneEts against Defendant Liberty Mutual Group, Inc., states as follows:

                                        JURISDICTION AND VENUE

      1.       Plaintiff Mitchell Woodall is a resident of Edgewood, New Mexico, Santa Fe County and is

      an adult over 18 years of age and is otherwise competent to bring this lawsuit.

      2.      Defendant Liberty Mutual Group, Inc., doing business as "Liberty Mutual Insurance"

      (hereinafter "Defendant Liberty Mutual") is a foreign insurance company incorporated in

      Massachusetts doing business throughout the State of New Mexico and is otherwise subject to the

      jurisdiction of this Court pursuant to § 38-3-1 (A), (F) NMSA 1978 (2005).

      3.       The automobile accident that is the subj ect of this complaint occurred on August 6, 2016, on

      NM State Road 22 at approximately Milepost # 5.5 in New Mexico.

      4.       This Court has jurisdiction to hear these claims and venue is properly before this Court.
     Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 86 of 198




                          GENERAL ALLEGATIONS COMMON TO
                           ALL COUNTS OF THIS COMPLAINT

        On August 6, 2016, a motorist hit Plaintiff while he was riding his 2015 Harley motorcycle,

Vin # 1HD1PXN13FB958247. The impact knocked him off his motorcycle and he sustained

significant injuries as a result of being struck by the underinsured driver.

6.      As a direct and proximate result of the underinsured motorist's negligence, Plaintiff suffered

personal injuries, damage and loss, including but not limited to, past and future medical expenses,

permanent loss of function, emotional distress, loss of ability to enjoy life and participate in hobbies

and recreational activities, pain and suffering, discomfort, inconvenience and other damages.

        At the time of the subj ect accident the underinsured motorist was driving at a recklessly high

rate of speed calculated to be 102 MPH in a 55 MPH zone, when she lost control of her car sliding

into Plaintiff's motorcycle. On February 17`h, 2017 the Sandoval County Grand Jury of the State of

New Mexico returned a nine count criminal indictment against said underinsured motorist including

Count#2 being a 3`d degree felony for great bodily injury by vehicle in the unlawful operation of a

motor vehicle while under the influence of intoxicating liquor or any drug or in a reckless manner

because of the underinsured motorist's outrageous reckless behavior that directly caused Plaintiff's

injuries. Under New Mexico law Liberty Mutual is also legally responsible for punitive damages,

based upon said underinsured motorist's outrageous and reckless conduct.

8.      At the time of the subject motor vehicle crash, the underinsured motorist did have liability

insurance coverage but it was inadequate to fully compensate Plaintiff.

                   COUNT I: UNDERINSURED MOTORIST CLAIM
                AGAINST DEFENDANT LIBERTY MUTUAL INSURANCE

9.      Plaintiffre-alleges all preceding paragraphs of this complaint as though set forth fully herein.

                                              Page 2 of 5
      Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 87 of 198




10.      Defendant Liberty Mutual is properly joined as a party by its insured, the Plaintiff, and is

otherwise subject to the jurisdiction of this Court pursuant to § 38-3-1 (A), (F) NMSA 1978 (2004).

11.      At all times material hereto, Defendant Liberty Mutual was the insurance company that

provided uninsured/underinsured motorist coverage to its insured, Plaintiff Woodall, under policy

number #A02-298-021072-60 6 8 issued pursuant to § 66-5-301 et seq NMSA (1978). The certified

copy of said policy was emailed on September 13, 2016 to Plaintiff's counsel's office by Ms. Luann

Mueller of Liberty Mutual's "Policy Copy Support" and is Attachment #1 attached hereto.

12.      Said Policy #A02-298-021072-60 6 8 provides liability coverage at "100,000 each person

/ 300,000 each accident" on both of Plaintiff's cars with liability coverage billed separately for each

car. On the same "Policy Declaration" page the certified policy also state the insured has Uninsured

Motorists coverage of "$25,000 each person/$50,000 each accident" with a separate premium for

such UM coverage charged/billed separately for each car.

13.      However, this certified Liberty Mutual Policy #A02-298-021072-60 6 8 also does NOT

contain any written and knowing signed rejection/waiver ofUM/UIM coverage equal to the liability

limits of "100,000 each person / 300,000 each accident", which is required under New Mexico law.

Accordingly, Plaintiff requests the Court reform said Policy's UM/UIM limits to match the liability

coverage limits of "100,000 each person / 300,000 each accident" AND such UM coverage of both

cars also stacks. Thus, the Plaintiff has $200,000 of UM/UIM coverage under his cars Policy #A02-

298-021072-60 6 8, Attachment #1.

14.      At all times material hereto, Defendant Liberty Mutual was the insurance company that

provided uninsured/underinsured motorist.coverage to its insured, Plaintiff Woodall, under policy#

A-02-298-251148-10 6 2 issued pursuant to § 66-5-301 et seq NMSA (1978). The certified copy


                                             Page 3 of 5
    r
           Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 88 of 198


    ~



        of said policy was emailed on September 13, 2016 to Plaintiff's counsel's office by Ms. Luann

        Mueller of Liberty Mutual's "Policy Copy Support" and is Attachment #2 attached hereto.

        15.     Said Policy #A02-298-251148-10 6 2 provides for liability coverage at"100,000 each person

        / 300,000 each accident" on both of Plaintiff's motorcycles with liability coverage charged separately

        to each bike. The "Policy Declarations" of the Liberty Mutual certified policy also simply states

^       that: "Uninsured Motorists has Been Reject".

        16.     However, there is NO valid signed rejection/waiver of UM coverage form attached to said

        certified Policy as required byNew Mexico law. Accordingly, New Mexico's UM/UIM law requires

        the Court reform said motorcycle policy #A-02-298-251148-10 6 2 so that the UM limits of

        coverage match the $100,000 per person liability limits AND the UM coverage of both motorcycles

        stack, resulting in $200,000 of UM/UIM coverage for Mr. Woodall under Policy #A02-298-251148-

        1062.

        17.     The above described policies were effective on August 6, 2016, the date of the subj ect motor

        vehicle crash when a car negligently crashed into Plaintiff's motorcycle.

        18.     Plaintiff was a first party insured. There were two vehicles insured under the subject policy

        #A-02-298-021072-60 6 8 and two motorcycles insuredunderthe subject policy #A-02-298-251148-

        10 6 2 on August 6, 2016, carrying liability and uninsured/underinsured motorist coverage of

        $100,000 each vehicle for a total combined "stacked" coverage of $400,000 in

        uninsured/underinsured motorist coverage for the subject motor vehicle crash.

        19.     On the date of the subject motor vehicle crash, the underinsured motorist had liability

        insurance coverage of $25,000 available to compensate Plaintiff and other injured parties for injuries

        and damages. The amount of $4,100 was recovered with the permission of Liberty Mutual.


                                                     Page 4 of 5
v         Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 89 of 198




    20.      Underinsured motorist is an uninsured motorist as described and defined in the

    uninsured/underinsured motorist policies issued by Defendant Liberty Mutual to Plaintiff Woodall.

    21.      Under the terms of the subj ect insurance policies, Defendant Liberty Mutual is liable to pay

    Plaintiff's damages, which Plaintiff is legally entitled to recover from the underinsured motorist

    because Plaintiff sustained bodily injuries caused by an accident, said accident having been caused

    by the underinsured motorist.

    22.      Defendant Liberty Mutual has failed to tender the undisputed value of the case in violation

    of New Mexico law.

             WHEREFORE, Plaintiff prays for an Order of the Court giving judgment against Defendant

    Liberty Mutual in an amount reasonable to compensate Plaintiff for his injuries, damage and loss,

    for punitive damages and awarding Plaintiff the costs of this litigation, pre and post judgment

    interest and granting such further relief as may be deemed just and proper.

                                                           Respectfully submitted;

                                                           WILL FERGUSON & ASSOCIATES

                                                           /s/Robert C. GutieYrez
                                                           ROBERT C. GUTIERREZ
                                                           10090 Coors Blvd NW Ste A
                                                           Albuquerque, NM 87114
                                                           Phone: (505)243-5566
                                                           Fax: (505)897-2279
                                                               a,ferQusonlaw.com
                                                           bob(~




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                   Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 90 of 198


           Li§erty Mutual.                                                                           Liberty Mutual Insurance
                                                                                                     350 E 96' Street
                    INSURANCE
                                                                                                     Indianapolis, IN 46240
                                                                                                     Telephone:317-581-6804




              September 13, 2016

               Zach Weichman
               PO Box 7230
               London, KY 40742


              Insured Name:             VIVIAN L WOODALL
                                        MITCHELL F WOODALL
              Policy Number:            A0229802107260
              Claim Number:             034189020
              Effective Date:           5/26/2016

              I hereby certify that the attached is a true and accurate copy of the documents requested for the policy
              listed above as maintained by the Liberty Mutual Insurance Group Inc. in the usual and customary course
              of its business.



              Sincerely,




              Luann Mueller
              Policy Copy
              Support


              LM
              Enclosures




PL Policy/Dec Request




                                                      Attachment # 1
    ti
                       Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 91 of 198


•   v
                                                                                                                                                                                                                                Liberty
~                Policy Declarations                                                                                                                                                                                            iyial.
                                                                                                                                                                                                                                  uru
                                                                                                                                                                                                                                  INSURANCE


                A summary of your auto insurance coverage
                 Reason for your new declarations page: Policy Change 01
                • Eliminate Vehicle 2

                 Effective date of this change: 05/26/2016                                                                                                                                                               ,., ACTION
                                                                                                                                                                                                                             ~ •RFOUIRFD -
         ~ INSURANCE INFORMATION
                                                                                                                                                                                                                                 Please review and
                 Named Insured:                                           Vivian L Woodall
                                                                          Mitchell F Woodall                                                                                                                                     keep for your records.

                 Policy Number:                                           A02-298-021072 -60 6 8

                 Policy Period:                                           05/09/2016-05/09/2017 12:01 AM
                                                                                                                                                                                                                                QUESTIONS ABOUT
                                                                          standard time at the address of the
                                                                          Named Insured as stated below.                                                                                                                 ~      YOUR POLICY?
                                                                                                                                                                                                                                By Phone
                 Mailing Address:                                         22 Fire Lizard Lane                                                                                                                                   For Service:
                                                                          Edgewood NM 87015-8022                                                                                                                                1-800 -225 -7014
                 Affinity Affiliation:                                    Sandia Laboratory Federal Credit                                                                                                                      Liberty Mutual
                                                                          Union
                                                                                                                                                                                                                                PO Box 970
                                                                                                                                                                                                                                Mishawaka, IN 46546
                Vehicles Covered by Your Policy
                VEH                YEAR                        MAKE                                                   MODEL                                    VEHICLE ID NUMBER

                1                  2006                       BUICK                                                  LACROSSE                                  2G4WD582761268859                                                To report a claim
                3                  2007                       VOLVO                                                  XC90                                      YV4CZ852771394013                                                By Phone
                                                                                                                                                                                                                                1-800-2CLAIMS
                Coverage Details                                                                                                                                                                                                (1-800-225-2467)

                Your total annual policy premium for all covered vehicles is shown below. A premium
                is shown for each type of coverage you have purchased for each vehicle. Where no
                                                                                                                                                                                                                                THIS IS NOT YOUR
                premium is shown, you have not purchased the indicated coverage for that vehicle.
                                                                                                                                                                                                                                AUTO INSURANCE BILL.
                 Coverage Information                                                                                                                                                                                           YOU WILL BE BILLED
                                                                                                                                                                                                                                SEPARATELY.
                Premium Adjustment from 05/26/2016 to 05/09/2017
                                         VEH 2
                                      $663 CR

                Total Adjustment: $663.00CR
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                       Bodily Injury                                  $ 100,000 Each Person                                                        Yes                  Yes
                                                                      $ 300,000 Each Accident
                       Property Damage                                $         50,000 Each Accident
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                                                                     $             5,000 Each Person                                              $85                 $67




     AUTO 3079 10 09                                                                                                                                                                                                                                Page 1 of 3
~                 Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 92 of 198

                                                                                                                                                                                                                                     Liberty
                                                                                                                                                                                                                                     Mutual.
                                                                                                                                                                                                                                      INSURANCE

            Coverage Information (continued)
           COVERAGE                                                      LIMITS                                                                            PREMIUM PER

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                  Uninsured Motorists $                                       25,000                Each Person                                 $165                  $165                                                           Declarations effective:
                  Bodily Injury                                    $          50,000                Each Accident                                                                                                                    05/26/2016

                  Property Damage                                  $          25,000                Each Accident




                 Collision                                                                                                                                            $250

                 Actual Cash Value Less Deductible Shown
                 Veh 3 $1000
                 Other Than Collision                                                                                                           $117                  $101
                 Actual Cash Value Less Deductible Shown
                 Veh 1 $250                                                           Veh 3 $1000


           Annual Premium Per Vehicle:                                                                                                          $947 $1,038




           Discounts and Benefits
           Your discounts and benefits have been applied,to your Total Annual Policy Premium.

           VEHICLE DISCOUNTS

                                                                                                                                            VEH 1                 VEH 3

           Anti-Lock Braking System                                                                                                                Yes                    Yes
           Passive Restraint - Requires Med Pay (Motorized Seat                                                                                    Yes                    Yes
           Belts and/or Air Bags)
           Anti-Theft Device(s)                                                                                                                    Yes                    Yes

           POLICY DISCOUNTS

           . TruStageT""Auto and Homeowners                                                                                 • Preferred Auto Rating Plan (Preferred
              Insurance Program                                                                                               Driver)
           . Multi-Car

           Driver Information

           DRIVER NAME                                                                                LICENSE NUMBER                                          DATE OF BIRTH                                  STATE

           Vivian L Woodall                                                                           108730056                                               08/11 /1958                                    NM
           Mitchell F Woodall                                                                         107724257                                               03/03/1959                                     NM

           To ensure proper coverage, please contact us to add drivers not listed above




AUTO 3079 10 09                                                                                                                                                                                                                                           Page 2 of 3


                                                                                                                                                                                                                                                                        ___j
               Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 93 of 198

                                                                                                               Liberty
                                                                                                           ~
                                                                                                               Mutual.
                                                                                                                INSURANCE

           Safe Driver Insurance Plan
            No Charges Apply - SCO


           Endorsements - Chanaes to Your Policv                                                               Policy Number:
            Amendment of Policy Provisions - New Mexico AS2162 06 07                                      ~ A02-298-021072 -60 6 8
            Automobile Amendatory Endorsement AS2258 08 06                                                     Declarations effective:
            Amendment of Policy Definitions AS2344 04 08                                                       05/26/2016
            Uninsured Motorists Coverage - New Mexico AS3616 05 08
            Split Liability Limits PP 03 09 04 86
            Split Uninsured Motorists Limits - New Mexico PP 04 33 12 89
            Mexico Extension Endorsement AS1006 12 89
            Nuclear, Bio-Chemical & Mold Exclusion Endorsement AS2228 07 05
            Automatic Termination Endorsement AS1046 12 89
            Coverage For Damage To Your Auto Exclusion Endorsement PP 13 01 12 99
            Notice to Others if Cancellation Occurs AS1019 12 89
            Membership in Liberty Mutual Holding Company Inc. 2340e


           LibertyGuard Auto Policy Declarations provided and underwritten by
           Liberty Mutual Fire Insurance Company, Boston, MA.



                                                      This policy, including endorsements listed above,
                                                      is countersigned by:




                                                      Authorized Representative




            President




           Secretary




AUTO 3079 10 09                                                                                                                     Page 3 of 3
             Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 94 of 198

                                                                                 _ Liberty
                                                                                    Mal.
                                                                                     utu
                                                                                     INSURANCE




          LibertyGuard Auto Policy
          Please read your policy and each eridorsement carefully.




          To serve you best...


          Liberty Mutual has over 300 offices throughout the United States.
          Please contact your service office shown on your Declarations Page
          to report losses, or for any changes or questions about your
          insurance. Payments should be sent to the office indicated on your
          bill.




          THIS POLICY IS NONASSESSABLE                                         Liberty Mutual Insurance Group


AUTO 3422 Ed. 6-94 R1
              Case 1:17-cv-00783-KK-JHR Document 1-1 Filed 07/31/17 Page 95 of 198

    !                                                                                                                -, Liberty
'       LIBERTYGUARD AUTO POLICY                                                                                        Mutual.
                                                                                                                        INSURANCE
        QUICK      REFERENCE
        DECLARATIONS PAGE
        Your Name and Address
        Your Auto or Trailer
        Policy Period
        Coverages and Amounts of Insurance
                                                                Beginning
                                                                On Page
        Agreement ..................... ........................ 1
        Definitions .................... ........................ 1
        PART A - LIABILITY COVERAGE
         Insuring Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         2
         Supplementary Payments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             2
         Exclusions .................... ........................                                               2
         Limit of Liability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   3
         Out of State Coverage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          3
         Financial Responsibility . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         4
         Otherinsurance .....••.•••••••.•••• ••••••••••••.........                                              4
        PART B- MEDICAL PAYMENTS COVERAGE
         Insuring Agreement       .................... ................                                         4
         Exclusions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .,. . . .      4
         Limit of Liability •••••••• ••••••••••••••••••••••••••••••••                                           4
         Other Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        5
        PART C- UNINSURED MOTORISTS COVERAGE
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    !                                                                                           Liberty
•                                                                                               Mutual.
                                                                                         -         INSURANCE




        AUTO POLICY
        AGREEMENT
        In return for payment of the premium and subject to all the terms of this policy, we agree with you
        as follows:
        DEFINITIONS

        A. Throughout this policy, "you" and "your"                  a. a private passenger auto; or
           referto:                                                  b. a pickup or van that:
           1. The "named insured" shown in the                         (1) has a Gross Vehicle Weight of less
              Declarations; and                                            than 10,000 Ibs.; and
           2. The spouse if a resident of the same                     (2) is not used for the delivery or
              household.                                                   transportation of goods and
        B. "We," "us" and "our" refer to the Company                       materials unless such use is:
           providing this insurance.                                       (a) incidental to your "business" of
        C. For purposes of this policy, a private                              installing,    maintaining    or
          passenger type auto shall be deemed to be                            repairing      furnishings    or
          owned by a person if leased:                                         equipment; or

           1. Under a written agreement to that                            (b) for farming or ranching.
              person; and                                            This provision (J.2.) applies only if:
           2. For a continuous period of at least 6                  a. you acquire the vehicle during the
              months.                                                   policy period;
        Other words and phrases are defined. They are                b. you ask us to insure it within 30 days
        in quotation marks when used.                                   after you become the owner; and
        D. "Bodily injury" means bodily harm, sickness               c. with respect to a pickup or van, no
           or disease, including death that results.                    other insurance policy provides
        E. "Business" includes trade, profession or                     coverage for that vehicle.
           occupation.                                               If the vehicle you acquire replaces one
        F. "Family member" means a person related to                 shown in the Declarations, it will have
            you by blood, marriage or adoption who is a              the same coverage as the vehicle it
           resident of your household. This includes a               replaced. You must ask us to insure a
            ward or foster child.                                    replacement vehicle within 30 days only
                                                                     if you wish to add or continue Coverage
        G. "Occupying" means in, upon, getting in, on,               for Damage to Your Auto.
           out or off.
                                                                     If the vehicle you acquire is in addition to
        H. "Property damage" means physical injury to,               any shown in the Declarations, it will
           destruction of or loss of use of tangible                 have the broadest coverage we now
           property.                                                 provide for any vehicle shown in the
        1. "Trailer" means a vehicle designed to be                  Declarations.
           pulled by a:                                           3. Any "trailer" you own.
           1. Private passenger auto; or                          4. Any auto or "trailer" you do not own
           2. Pickup or van.                                         while used as a temporary substitute for
                                                                     any other vehicle described in this
           It also means a farm wagon or farm
                                                                     definition which is out of normal use
           implement while towed by a vehicle listed in
                                                                     because of its:
           1. or 2. above.
                                                                      a. breakdown;     d. loss; or
        J. "Your covered auto" means:                                 b. repair;        e. destruction.
           1. Any vehicle shown in the Declarations.                  c. servicing;
           2. Any of the following types of vehicles on              This provision (J.4.) does not apply to
              the date you become the owner:                         Coverage for Damage to Your Auto.




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                                                                                                     INSURANCE



              PART A - LIABILITY COVERAGE
              INSURING AGREEMENT                                           attendance at hearings or trials at our
                                                                           request.
              A. We will pay damages for "bodily injury" or
                 "property damage" for which any "insured"              5. Other reasonable expenses incurred at
                 becomes legally responsible because of an                 our request.
                 auto accident.          Damages include pre-        EXCLUSIONS
                 judgment interest awarded against the
                                                                     A. We do not provide Liability Coverage for any
                 "insured." We will settle or defend, as we
                                                                        "insured":
                 consider appropriate, any claim or suit
                 asking for these damages. In addition to our           1. Who intentionally causes "bodily injury"
                 limit of liability, we will pay all defense costs         or "property damage."
                 we incur. Our duty to settle or defend ends            2. For "property damage" to property
                 when our limit of liability for this coverage             owned or being transported by that
                 has been exhausted. We have no duty to                     "insured."
                 defend any suit or settle any claim for                3. For "property damage" to property:
                 "bodily injury" or "property damage" not                   a. rented to;
                 covered under this policy.
                                                                           b. used by; or
              B. "Insured" as used in this Part means:                    C. in the care of;
                   1. You or any "family member" for the                  that "insured."
                      ownership, maintenance or use of any
                                                                          This exclusion (A.3.) does not apply to
                      auto or "trailer."
                                                                           "property damage" to a residence or
                   2. Any person using "your covered auto."               private garage.
                   3. For "your covered auto," any person or           4. For "bodily injury" to an employee of that
                      organization but only with respect to                "insured" during the course of
                      legal responsibility for acts or omissions          employment. This exclusion (A.4.) does
                      of a person for whom coverage is                    not apply to "bodily injury" to a domestic
                      afforded under this Part.                           employee unless workers' compensation
                   4. For any auto or "trailer," other than "your         benefits are required or available for that
                      covered auto," any other person or                  domestic employee.
                      organization but only with respect to            5. For that "insured's" liability arising out of
                      legal responsibility for acts or omissions          the ownership or operation of a vehicle
                      of you or any "family member" for whom              while it is being used as a public or livery
                      coverage is afforded under this Part.               conveyance. This exclusion (A.5.) does
                      This provision (6.4.) applies only if the           not apply to a share-the-expense car
                      person or organization does not own or              pool.
                      hire the auto or "trailer."
                                                                       6. While employed or otherwise engaged in
              SUPPLEMENTARY PAYMENTS                                      the "business" of:
              In addition to our limit of liability, we will pay           a. selling;      d. storing; or
              on behalf of an "insured":                                   b. repairing;    e. parking;
                 1. Up to $250 for the cost of bail bonds                  c. servicing;
                    required because of an accident,                      vehicles designed for use mainly on
                    including related traffic law violations.             public highways. This includes road
                    The accident must result in "bodily                   testing and delivery. This exclusion (A.6.)
                    injury" or "property damage" covered                  does not apply to the ownership,
                    under this policy.                                    maintenance or use of "your covered
                 2. Premiums on appeal bonds and bonds to                 auto" by:
                    release attachments in any suit we                    a. you;
                    defend.                                               b. any "family member;" or
                 3. Interest accruing after a judgment is                 c. any partner, agent or employee of you
                    entered in any suit we defend. Our duty                  or any "family member."
                    to pay interest ends when we offer to
                                                                       7. Maintaining or using any vehicle while
                    pay that part of the judgment which does
                                                                          that "insured" is employed or otherwise
                    not exceed our limit of liability for this
                                                                          engaged in any "business" (other than
                    coverage.
                                                                          farming or ranching) not described in
                 4. Up to $50 a day for loss of earnings,                 exclusion A.6.
                    but not other income, because of
                                                                          This exclusion (A.7.) does not apply to
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                                                                                                                          -----~
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                                                                                          Mutual.
                                                                                          INSURANCE




       the maintenance or use of a:                          "occupying" any vehicle which is:
       a. Private passenger auto;                            a. owned by a"family member;" or
       b. Pickup or van that:                                b. furnished or available for the regular
                                                                use of a "family member."
         (1) You own; or
                                                          4. Any vehicle, located inside a facility
         (2) You do not own while used as a                  designed for racing, for the purpose of:
              temporary substitute for "your
                                                             a. Competing in; or
              covered auto" which is out of
              normal use because of its:                     b. Practicing or preparing for;
              a. breakdown;     d. loss; or                  any prearranged or organized racing or
              b. repair;        e. destruction; or           speed contest.
              c. servicing;                            LIMIT OF LIABILITY
       c. "Trailer" used with a vehicle described      A. The limit     of  liability shown    in the
          in a. or b. above.                              Declarations for this coverage is our
   8. Using a vehicle without a reasonable                maximum limit of liability for all damages
      belief that that "insured" is entitled to do        resulting from any one auto accident. This is
      so.                                                 the most we will pay regardless of the
   9. For "bodily injury" or "property damage"            number of:
      for which that "insured:"                           1. "Insureds;"
      a. is an insured under a nuclear energy             2. Claims made;
          liability policy; or                            3. Vehicles or premiums shown in the
      b. would be an insured under a nuclear                 Declarations; or
          energy liability policy but for its             4. Vehicles involved in the auto accident.
          termination upon exhaustion of its
                                                       B. We will apply the limit of liability to provide
          limit of liability.
                                                          any separate limits required by law for bodily
      A nuclear energy liability policy is a policy       injury and property damage liability.
      issued by any of the following or their             However, this provision (B.) will not change
      successors:                                         our total limit of liability.
      a. American Nuclear Insurers;                    C. No one will be entitled to receive duplicate
      b. Mutual       Atomic    Energy     Liability      payments for the same elements of loss
          Underwriters; or                                under this coverage and:
      c. Nuclear Insurance Association of                 1. Part B or Part C of this policy; or
          Canada.                                         2. Any Underinsured Motorists Coverage
B. We do not provide Liability Coverage for the              provided by this policy.
   ownership, maintenance or use of:
                                                       OUT OF STATE COVERAGE
   1. Any vehicle which:
                                                       If an auto accident to which this policy applies
      a. Has fewer than four wheels; or
                                                       occurs in any state or province other than the
      b. Is designed mainly for use off public         one in which "your covered auto" is principally
         roads.                                        garaged, we will interpret your policy for that
      This exclusion (13.1 .) does not apply:          accident as follows:
      a. While such vehicle is being used by an        A. If the state or province has:
         "insured" in a medical emergency; or
                                                          1. A financial responsibility or similar law
      b. To any "trailer."
                                                             specifying limits of liability for "bodily
   2. Any vehicle, other than "your covered                  injury" or "property damage" higher than
      auto," which is:                                       the limit shown in the Declarations, your
      a. owned by you; or                                    policy will provide the higher specified
      b. furnished or available for your regular             limit.
         use.                                            2. A compulsory insurance or similar law
   3. Any vehicle, other than "your covered                 requiring a nonresident to maintain
      auto," which is:                                      insurance whenever the nonresident uses
      a. owned by any "family member;" or                   a vehicle in that state or province, your
                                                            policy will provide at least the required
      b. furnished or available for the regular             minimum amounts and types of coverage.
         use of any "family member."
                                                       B. No one will be entitled to duplicate
      However, this exclusion (B.3.) does not             payments for the same elements of loss.
      apply to you while you are maintaining or
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                                                                                                Liberty
                                                                                              ^ Mutual.
                                                                                                 INSURANCE




          FINANCIAL RESPONSIBILITY                              will pay only our share of the loss. Our share is
          When this policy is certified as future proof of      the proportion that our limit of liability bears to
          financial responsibility, this policy shall comply    the total of all applicable limits. However, any
          with the law to the extent required.                  insurance we provide for a vehicle you do not
                                                                own shall be excess over any other collectible
          OTHER INSURANCE                                       insurance.
          If there is other applicable liability insurance we

          PART B- MEDICAL PAYMENTS COVERAGE
          INSURING AGREEMENT                                           a. owned by any "family member;" or
          A. We will pay reasonable expenses incurred                  b. furnished or available for the regular
             for necessary medical and funeral services                   use of any "family member."
             because of "bodily injury:"                               However, this exclusion (6.) does not
               1. Caused by accident; and                              apply to you.
               2. Sustained by an "insured."                        7. Sustained while "occupying" a vehicle
                                                                       without a reasonable belief that that
               We will pay only those expenses incurred for
                                                                       "insured" is entitled to do so.
               services rendered within 3 years from the
               date of the accident.                                8. Sustained while "occupying" a vehicle
                                                                       when it is being used in the "business" of
          B. "Insured" as used in this Part means:
                                                                       an "insured." This exclusion (8.) does
               1. You or any "family member:"                          not apply to "bodily injury" sustained
                  a. while "occupying;" or                             while "occupying" a:
                  b. as a pedestrian when struck by;                   a. private passenger auto;
                  a motor vehicle designed for use mainly              b. pickup or van that you own; or
                  on public roads or a trailer of any type.            c. "trailer" used with a vehicle described
               2. Any other person while "occupying"                      in a. or b. above.
                  "your covered auto."                              9. Caused by or as a consequence of:
          EXCLUSIONS                                                   a. discharge of a nuclear weapon (even if
          We do not provide Medical Payments Coverage                     accidental);
          for any "insured" for "bodily injury:"                       b. war (declared or undeclared);
               1. Sustained   while    "occupying"     any             c. civil war;
                  motorized vehicle having fewer than four             d. insurrection; or
                  wheels.
                                                                       e. rebellion or revolution.
               2. Sustained   while   "occupying"    "your
                                                                  10. From or as a consequence of the
                  covered auto" when it is being used as a
                                                                      following,    whether    controlled or
                  public or livery conveyance. This
                                                                      uncontrolled or however caused:
                  exclusion (2.) does not apply to a
                  share-the-expense car pool.                          a. nuclear reaction;
               3. Sustained while "occupying" any vehicle              b. radiation; or
                  located for use as a residence or                    c. radioactive contamination.
                  premises.                                       11. Sustained while "occupying" any vehicle
               4. Occurring     during  the    course     of          located inside a facility designed for
                  employment if workers' compensation                 racing, for the purpose of:
                  benefits are required or available for the           a. competing in; or
                  "bodily injury."
                                                                       b. practicing or preparing for;
               5. Sustained while "occupying," or when                 any prearranged or organized racing or
                  struck by, any vehicle (other than "your
                                                                       speed contest.
                  covered auto") which is:
                                                                LIMIT OF LIABILITY
                  a. owned by you; or
                                                                A. The    limit of liability    shown    in  the
                  b. furnished or available for your regular       Declarations for this coverage is our
                     use.                                          maximum limit of liability for each person
               6. Sustained while "occupying," or when             injured in any one accident. This is the most
                  struck by, any vehicle (other than "your         we will pay regardless of the number of:
                  covered auto") which is:                         1. "Insureds;"
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                                                                                       Liberty
                                                                                      Mutual.
                                                                                       INSURANCE




   2. Claims made;                                     OTHER INSURANCE
   3. Vehicles or premiums shown in the                If there is other applicable auto medical
      Declarations; or                                 payments insurance we will pay only our share
   4. Vehicles involved in the accident.               of the loss. Our share is the proportion that our
                                                       limit of liability bears to the total of all
B. No one will be entitled to receive duplicate        applicable limits. However, any insurance we
   payments for the same elements of loss              provide with respect to a vehicle you do not
   under this coverage and:                            own shall be excess over any other collectible
   1. Part A or Part C of this policy; or              auto insurance providing payments for medical
                                                       or funeral expenses.
   2. Any Underinsured Motorists Coverage
      provided by this policy.

PART C- UNINSURED MOTORISTS COVERAGE
INSURING AGREEMENT                                           c. "your covered auto."
A. We will pay compensatory damages which                 4. To which a bodily injury liability bond or
   an "insured" is legally entitled to recover               policy applies at the time of the accident
   from the owner or operator of an "uninsured               but the bonding or insuring company:
   motor vehicle" because of "bodily injury:"                a. denies coverage; or
      Sustained by an "insured;" and                         b. is or becomes insolvent.
   2. Caused by an accident                               However, "uninsured motor vehicle" does
   The owner's or operator's liability for these          not include any vehicle or equipment:
   damages must arise out of the ownership,               1. Owned by or furnished or available for
   maintenance or use of the "uninsured motor                the regular use of you or any "family
   vehicle."                                                 member."
   Any judgment for damages arising out of a              2. Owned or operated by a self-insurer
   suit brought without our written consent is               under any applicable motor vehicle law,
   not binding on us.                                        except a self-insurer which is or becomes
B. "Insured" as used in this Part means:                     insolvent.
   1. You or any "family member."                         3. Owned by any governmental unit or
                                                             agency.
   2. Any other person "occupying" "your
      covered auto."                                      4. Operated on rails or crawler treads.

   3. Any person for damages that person is               5. Designed mainly for use off public roads
      entitled to recover because of "bodily                 while not on public roads.
      injury" to which this coverage applies              6. While located for use as a residence or
      sustained by a person described in 1. or               premises.
      2. above.                                        EXCLUSIONS
C. "Uninsured motor vehicle" means a land              A. We do not provide Uninsured Motorists
   motor vehicle or trailer of any type:                  Coverage for "bodily injury" sustained:
   1. To which no bodily injury liability bond or         1. By an "insured" while "occupying," or
      policy applies at the time of the accident.             when struck by, any motor vehicle
   2. To which a bodily injury liability bond or              owned by that "insured" which is not
      policy applies at the time of the accident.             insured for this coverage under this
      In this case its limit for bodily injury                policy. This includes a trailer of any type
      liability must be less than the minimum                 used with that vehicle.
      limit for bodily injury liability specified by      2. By     any     "family   member"       while
      the financial responsibility law of the                "occupying," or when struck by, any
      state in which "your covered auto" is                  motor vehicle you own which is insured
      principally garaged.                                   for this coverage on a primary basis
   3. Which is a hit-and-run vehicle whose                   under any other policy.
      operator or owner cannot be identified           B. We do not provide Uninsured Motorists
      and which hits:                                     Coverage for "bodily injury" sustained by any
      a. you or any "family member;"                      "insured:"
      b. a vehicle which you or any "family               1. If that "insured" or the legal
         member" are "occupying;" or
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    -                                                                                               _ Liberty
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                                                                                                            INSURANCE




                      representative settles the "bodily injury"           applicable limit for any one vehicle under
                      claim without our consent.                           any insurance providing coverage on
                 2. While "occupying" "your covered auto"                  either a primary or excess basis.
                     when it is being used as a public or livery        2. Any insurance we provide with respect to
                     conveyance. This exclusion (13.2.) does               a vehicle you do not own shall be excess
                     not apply to a share-the-expense car                  over any collectible insurance providing
                     pool.                                                 coverage on a primary basis.
                 3. Using a vehicle without a reasonable                3. If the coverage under this policy is
                     belief that that "insured" is entitled to do          provided:
                     so.                                                   a. On a primary basis, we will pay only
              C. This coverage shall not apply directly or                    our share of the loss that must be
                 indirectly   to    benefit   any   insurer     or            paid    under      insurance     providing
                 self-insurer under any of the following or                   coverage on a primary basis. Our
                 similar law:                                                 share is the proportion that our limit
                 1. Workers' compensation law; or                             of liability bears to the total of all
                                                                              applicable    limits    of   liability  for
                 2. Disability benefits law.
                                                                              coverage provided on a primary basis.
              D. We do not provide Uninsured Motorists
                 Coverage     for   punitive or exemplary                  b. On an excess basis, we will pay only
                 damages.                                                     our share of the loss that must be
                                                                              paid    under      insurance     providing
              LIMIT OF LIABILITY                                              coverage on an excess basis. Our
              A. The limit of liability     shown    in the                   share is the proportion that our limit
                 Declarations for this coverage is our                        of liability bears to the total of all
                 maximum limit of liability for all damages                   applicable    limits    of   liability  for
                 resulting from any one accident. This is the                 coverage provided on an excess basis.
                 most we will pay regardless of the number           ARBITRATION
                 of:
                                                                     A. If we and an "insured" do not agree:
                 1. "Insureds;"
                                                                        1. Whether that "insured" is legally entitled
                 2. Claims made;
                                                                           to recover damages; or
                 3. Vehicles or premiums shown in the
                                                                        2. As to the amount of damages which are
                     Declarations; or
                                                                             recoverable by that "insured;"
                 4. Vehicles involved in the accident.
                                                                        from the owner or operator of an "uninsured
              B. No one will be entitled to receive duplicate
                                                                        motor vehicle," then the matter may be
                 payments for the same elements of loss
                                                                        arbitrated. However, disputes concerning
                 under this coverage and:
                                                                        coverage under this Part may not be
                 1. Part A or Part B of this policy; or                 arbitrated.
                 2. Any Underinsured Motorists Coverage                 Both parties must agree to arbitration. If so
                     provided by this policy.                           agreed, each party will select an arbitrator.
              C. We will not make a duplicate payment under             The two arbitrators will select a third. If they
                 this coverage for any element of loss for              cannot agree within 30 days, either may
                 which payment has been made by or on                   request that selection be made by a judge of
                 behalf of persons or organizations who may             a court having jurisdiction.
                 be legally responsible.                             B. Each party will:
              D. We will not pay for any element of loss if a           1. Pay the expenses it incurs; and
                 person is entitled to receive payment for the          2. Bear the expenses of the third arbitrator
                 same element of loss under any of the                       equally. ,
                 following or similar law:
                                                                     C. Unless     both    parties   agree  otherwise,
                   1. Workers' compensation law; or                     arbitration will take place in the county in
                   2. Disability benefits law.                          which the "insured" lives. Local rules of law
                                                                        as to procedure and evidence will apply. A
              OTHER INSURANCE
                                                                        decision agreed to by two of the arbitrators
              If there is other applicable insurance available          will be binding as to:
              under one or more policies or provisions of
                                                                         1. Whether the "insured" is legally entitled
              coverage:
                                                                              to recover damages; and
                   1. Any recovery for damages under all such
                      policies or provisions of coverage may              2 • The amount of damages. This applies
                      equal but not exceed the highest                        only if the amount does not exceed the

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                                                                                        INSURANCE




   minimum limit for bodily injury liability             to a trial. This demand must be made within
   specified by the financial responsibility law         60 days of the arbitrators' decision. If this
   of the state in which "your covered auto" is          demand is not made, the amount of
   principally garaged. If the amount exceeds            damages agreed to by the arbitrators will be
   that limit, either party may demand the right         binding.

PART D- COVERAGE FOR DAMAGE TO YOUR AUTO
INSURING AGREEMENT                                          normal use because of its:
A. We will pay for direct and accidental loss to            a. breakdown;      d. loss; or
   "your covered auto" or any "non-owned                    b. repair;         e. destruction.
   auto," including their equipment, minus any              c. servicing;
   applicable deductible shown in the                 TRANSPORTATION EXPENSES
   Declarations. If loss to more than one "your
                                                      In addition, we will pay, without application of
   covered auto" or "non-owned auto" results
                                                      a deductible, up to $ 15 per day, to a maximum
   from the same "collision," only the highest
                                                      of $450, for:
   applicable deductible will apply. We will pay
   for loss to "your covered auto" caused by:            1. Temporary     transportation     expenses
   1. Other than "collision"        only if the             incurred by you in the event of a loss to
       Declarations indicate that Other Than                "your covered auto." We will pay for
       Collision Coverage is provided for that              such expenses if the loss is caused by:
       auto.                                                a. Other than "collision" only if the
   2. "Collision" only if the Declarations                     Declarations indicate that Other Than
       indicate that Collision Coverage is provide             Collision Coverage is provided for that
       d for that auto.                                        auto.
   If there is a loss to a"non-owned auto," we              b. "Collision" only if the Declarations
   will provide the broadest coverage applicable               indicate that Collision Coverage is
   to any "your covered auto" shown in the                     provided for that auto.
   Declarations.                                         2. Loss of use expenses for which you
B. "Collision" means the upset of "your                     become legally responsible in the event of
   covered auto" or a"non-owned auto" or                    loss to a"non-owned auto." We will pay
   their impact with another vehicle or object.             for loss of use expenses if the loss is
                                                            caused by:
   Loss caused by the following is considered
   other than "collision:"                                  a. Other than "collision" only if the
   1. Missiles or                                              Delcarations indicate that Other Than
                           6. Hail. Water or flood;
      falling objects;      7. Malicious mischief              Collision Coverage is provided for any
                               or vandalism                    "your covered auto."
   2. Fire;                 8. Riot or civil commo-         b. "Collision" only if the Declarations
                               tion;                           indicate that Collision Coverage is
   3. Theft or larceny;     9. Contact with bird               provided for any "your covered auto."
   4. Explosion or earth-       or animal; or           If the loss is caused by a total theft of "your
       quake;                                           covered auto" or a"non-owned auto," we
                           10. Breakage of glass.       will pay only expenses incurred during the
   5. Windstorm;                                        period:
   If breakage of glass is caused by a                  1. Beginning 48 hours after the theft; and
   "collision," you may elect to have it
                                                        2. Ending when "your covered auto" or the
   considered a loss caused by "collision."
                                                           "non-owned auto" is returned to use or
C. "Non-owned auto" means:                                 we pay for its loss.
   1. Any private passenger auto, pickup, van           If the loss is caused by other than theft of a
        or "trailer" not owned by or furnished or       "your covered auto" or a, "non-owned auto,"
        available for the regular use of you or         we will pay only expenses beginning when
        any "family member" while in the                the auto is withdrawn from use for more
        custody of or being operated by you or          than 24 hours.
        any "family member;" or                         Our payment will be limited to that period of
    2. Any auto or "trailer" you do not own              time reasonably required to repair or replace
        while used as a temporary substitute for         the "your covered auto" or the "non-owned
        "your covered auto" which is out of              auto."
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                                                                                             Liberty
                                                                                             Mutual.
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          EXCLUSIONS                                                  reproduction of sound and accessories
                                                                      used with such equipment, provided:
          We will not pay for:
                                                                      (1) The equipment is permanently
               1. Loss to "your covered auto" or any
                                                                          installed in "your covered auto" or
                  "non-owned auto" which occurs while it
                                                                          any "non-owned auto;" or
                  is being used as a public or livery
                  conveyance. This exclusion (1.) does not            (2) The equipment is:
                  apply to a share-the-expense car pool.                 (a) Removable from a housing unit
               2. Damage due and confined to:                                which is permanently installed
                  a. wear and tear;                                          in the auto;
                  b. freezing;                                           (b) Designed to be solely operated
                                                                             by use of the power from the
                  c. mechanical or electrical breakdown or
                                                                             auto's electrical system; and
                     failure; or
                  d. road damage to tires.                               (c) In or upon "your covered auto"
                                                                             or any "non-owned auto;"
                  This exclusion (2.) does not apply if the
                  damage results from the total theft of                  at the time of the loss.
                  "your covered auto" or any "non-owned            b. any other electronic equipment that is:
                  auto. "
                                                                      (1) necessary for the normal operation
               3. Loss due to or as a consequence of:                     of the auto or the monitoring of
                  a. radioactive contamination;                           the auto's operating systems; or
                  b. discharge of any nuclear weapon                  (2) an integral part of the same unit
                     (even if accidental);                                housing any sound reproducing
                  c. war (declared or undeclared);                        equipment described in a. and
                                                                          permanently installed in the
                  d. civil war;
                                                                          opening of the dash or console of
                  e. insurrection; or                                     "your covered auto" or any
                  f. rebellion or revolution.                             "non-owned auto" normally used
               4. Loss to:                                                by the manufacturer for installation
                                                                          of a radio.
                  a. Any electronic equipment designed for
                     the reproduction of sound, including,      5. A total loss to "your covered auto" or
                     but not limited to:                           any "non-owned auto" due to destruction
                    (1) radios and stereos;                        or confiscation by governmental or civil
                                                                   authorities.
                    (2) tape decks; or
                                                                   This exclusion (5.) does not apply to the
                    (3) compact disc players;
                                                                   interests of Loss Payees in "your covered
                  b. Any other electronic equipment that           auto."
                     receives or transmits audio, visual or
                                                                6. Loss to a camper body or "trailer" you
                     data signals, including, but not limited
                                                                   own which is not shown in the
                     to:
                                                                   Declarations. This exclusion (6.) does not
                    (1) citizens band radios;                      apply to a camper body or "trailer" you:
                    (2) telephones;
                                                                   a. acquire during the policy period; and
                    (3) two-way mobile radios;
                                                                   b. ask us to insure within 30 days after
                    (4) scanning monitor receivers;                   you become the owner.
                    (5) television monitor receivers;           7. Loss to any "non-owned auto" when
                    (6) video cassette recorders;                  used by you or any "family member"
                    (7) audio cassette recorders; or               without a reasonable belief that you or
                                                                   that "family member" are entitled to do
                    (8) personal computers;
                                                                   so.
                  c. tapes, records, discs, or other media
                      used with equipment described in a.       8. Loss to:
                      or b.; or                                    a. awnings or cabanas; or
                  d. any other accessories used with               b. equipment       designed      to    create
                     equipment described in a. or b.                  additional living facilities.
                  This exclusion (4.) does not apply to:        9. Loss to equipment designed or used for
                  a. equipment designed solely for the             the detection or location of radar or laser.
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  10. Loss to any custom furnishings or                       However, the most we will pay for loss to
      equipment in or upon any pickup or van.                 any "non-owned auto" which is a trailer is
      Custom furnishings or equipment include                 $500.
      but are not limited to:
                                                        B. An adjustment for depreciation and physical
       a. special carpeting        and    insulation,      condition will be made in determining actual
          furniture or bars;                               cash value in the event of a total loss.
       b. facilities for cooking and sleeping;          C. If a repair or replacement results in better
       c. height-extending roofs; or                       than like kind or quality, we will not pay for
                                                           the amount of the betterment.
       d. custom murals, paintings or other
          decals or graphics.                           PAYMENT OF LOSS
  11. Loss to any "non-owned auto" being                We may pay for loss in money or repair or
      maintained or used by any person while            replace the damaged or stolen property. We
      employed or otherwise engaged in the              may, at our expense, return any stolen property
      "business" of:                                    to:
       a. selling;           d. storing; or                   1. You; or
       b. repairing;        e. parking;                       2. The address shown in this policy.
       c. servicing;                                    If we return stolen property we will pay for any
       vehicles designed for use on public              damage resulting from the theft. We may keep
       highways. This includes road testing and         all or part of the property at an agreed or
       delivery.                                        appraised value.
  12. Loss to any "non-owned auto" being                If we pay for loss in money, our payment will
      maintained or used by any person while            include the applicable sales tax for the damaged
      employed or otherwise engaged in any              or stolen property.
      "business" not described in exclusion 11 .        NO BENEFIT TO BAILEE
      This exclusion (12.) does not apply to the
      maintenance or use by you or any "family          This insurance shall not directly or indirectly
      member" of a"non-owned auto" which is             benefit any carrier or other bailee for hire.
      a private passenger auto or "trailer."            OTHER SOURCES OF RECOVERY
  13. Loss to "your covered auto" or any                If other sources of recovery also cover the loss,
       "non-owned auto," located inside a               we will pay only our share of the loss. Our
       facility designed for racing, for the            share is the proportion that our limit of liability
       purpose of:                                      bears to the total of all applicable limits.
       a. competing in; or                              However, any insurance we provide with
                                                        respect to a"non-owned auto" shall be excess
       b. practicing or preparing for;
                                                        over any other collectible source of recovery
      any prearranged or organized racing or            including, but not limited to:
      speed contest.
                                                              1. Any coverage provided by the owner of
  14. Loss to, or loss of use of, a"non-owned                    the "non-owned auto;"
      auto" rented by:
                                                              2. Any other applicable physical damage
       a. you; or
                                                                 insurance;
       b. any "family member;"
                                                              3. Any other source of recovery applicable
      if a rental vehicle company is precluded                   to the loss.
      from recovering such loss or loss of use,
                                                        APPRAISAL
      from you or that "family member,"
      pursuant to the provisions of any                 A. If we and you do not agree on the amount of
      applicable rental agreement or state law.            loss, either may demand an appraisal of the
LIMIT OF LIABILITY                                         loss. In this event, each party will select a
                                                           competent appraiser. The two appraisers will
A. Our limit of liability for loss will be the lesser      select an umpire. The appraisers will state
   of the:                                                 separately the actual cash value and the
   1. Actual cash value of the stolen or                   amount of loss. If they fail to agree, they will
      damaged property;                                    submit their differences to the umpire. A
   2. Amount necessary to repair or replace the            decision agreed to by any two will be
      property with other property of like kind            binding. Each party will:
      and quality.
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                1. Pay its chosen appraiser; and                B. We do not waive any of our rights under this
                2. Bear the expenses of the appraisal and          policy by agreeing to an appraisal.
                   umpire equally.
          PART E- DUTIES AFTER AN ACCIDENT OR LOSS
          We have no duty to provide coverage under this              b. other pertinent records.
          policy unless there has been full compliance
                                                                   5. Submit a proof of loss when required by
          with the following duties:
                                                                      us.
          A. We must be notified promptly of how, when
                                                                C. A person seeking Uninsured Motorists
             and where the accident or loss happened.
                                                                   Coverage must also:
             Notice should also include the names and
             addresses of any injured persons and of any           1. Promptly notify the police if a hit-and-run
             witnesses.                                               driver is involved.
          B. A person seeking any coverage must:                   2. Promptly send us copies of the legal
                1. Cooperate with us in the investigation,            papers if a suit is brought.
                   settlement or defense of any claim or        D. A person seeking Coverage for Damage to
                   suit.                                           Your Auto must also:
                2. Promptly send us copies of any notices or       1. Take reasonable steps after loss to
                   legal papers received in connection with           protect "your covered auto" or any
                   the accident or loss.                              "non-owned auto" and their equipment
                3. Submit, as often as we reasonably                  from further loss. We will pay reasonable
                   require:                                           expenses incurred to do this.
                   a. to physical exams by physicians we           2. Promptly notify the police if "your
                      select. We will pay for these exams.            covered auto" or any "non-owned auto"
                   b. to examination under oath and                   is stolen.
                      subscribe the same.                          3. Permit us to inspect and appraise the
                4. Authorize us to obtain:                            damaged property before its repair or
                    a. medical reports; and                           disposal.

          PART F - GENERAL PROVISIONS
          BANKRUPTCY                                            adjustment in accordance with our manual
                                                                rules.
          Bankruptcy or insolvency of the "insured" shall
          not relieve us of any obligations under this          C. If we make a change which broadens
          policy.                                                  coverage under this edition of your policy
                                                                   without additional premium charge, that
          CHANGES
                                                                   change will automatically apply to your
          A. This policy contains all the agreements               policy as of the date we implement the
             between you and us. Its terms may not be              change in your state. This paragraph (C.)
             changed or waived except by endorsement               does not apply to changes implemented with
             issued by us.                                        a general program revision that includes both
          B. If there is a change to the information used         broadenings and restrictions in coverage,
              to develop the policy premium, we may                whether that general program revision is
              adjust your premium. Changes during the             implemented through introduction of:
             policy term that may result in a premium
                                                                  1. A subsequent edition of your policy; or
             increase or decrease include, but are not
             limited to, changes in:                              2. An Amendatory Endorsement.
                1. The number, type or use classification of    FRAUD
                   insured vehicles;                            We do not provide coverage for any "insured"
                                                                who has made fraudulent statements or
                2. Operators using insured vehicles;
                                                                engaged in fraudulent conduct in connection
                3. The place of principal garaging of insured   with any accident or loss for which coverage is
                   vehicles;                                    sought under this policy.
              4. Coverage, deductible or limits.                LEGAL ACTION AGAINST US
          If a change resulting from A. or B. requires a
                                                                A. No legal action may be brought against us
          premium adjustment, we will make the premium             until there has been full compliance with all
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   the terms of this policy. In addition, under           b. giving us advance written notice of
   Part A, no legal action may be brought                    the date cancellation is to take effect.
   against us until:                                   2. We may cancel by mailing to the named
   1. We agree in writing that the "insured"              insured shown in the Declarations at the
      has an obligation to pay; or                        address shown in this policy:

   2. The amount of that obligation has been                 a. at least 10 days notice:
      finally determined by judgment after trial.              (1) if cancellation is for nonpayment of
B. No person or organization has any right                         premium; or
   under this policy to bring us into any action               (2) if notice is mailed during the first
   to determine the liability of an "insured."                     60 days this policy is in effect and
OUR RIGHT TO RECOVER PAYMENT                                       this is not a renewal or
                                                                   continuation policy; or
A. If we make a payment under this policy and
   the person to or for whom payment was                     b. at least 20 days notice in all other
   made has a right to recover damages from                     cases.
   another we shall be subrogated to that right.       3. After this policy is in effect for 60 days,
   That person shall do:                                  or if this is a renewal or continuation
   1. Whatever is necessary to enable us to               policy, we will cancel only:
      exercise our rights; and                               a. for nonpayment of premium; or
   2. Nothing after loss to prejudice them.                  b. if your driver'.s license or that of:
   However, our rights in this paragraph (A.) do               (1) any driver who lives with you; or
   not apply under Part D, against any person                  (2) any driver who customarily uses
   using "your covered auto" with a reasonable                     "your covered auto;"
   belief that that person is entitled to do so.
                                                             has been suspended or revoked. This
B. If we make a payment under this policy and                must have occurred:
   the person to or for whom payment is made
   recovers damages from another, that person                  (1) during the policy period; or
   shall:                                                     (2) since the last anniversary of the
   1. Hold in trust for us the proceeds of the                     original effective date if the policy
      recovery; and                                                period is other than 1 year; or
   2. Reimburse us to the extent of our                    c. if the policy was obtained through
      payment.                                               material misrepresentation.
POLICY PERIOD AND TERRITORY                         B. Nonrenewal. If we decide not to renew or
                                                       continue this policy, we will mail notice to
A. This policy applies only to accidents and
                                                       the named insured shown in the Declarations
   losses which occur:
                                                       at the address shown in this policy. Notice
   1. During the policy period as shown in the         will be mailed at least 20 days before the
      Declarations; and                                end of the policy period. If the policy period
   2. Within the policy territory.                     is:
                                                       1. Less than 6 months, we will have the
B. The policy territory is:
                                                           right not to renew or continue this policy
   1. The United States of America, its                    every 6 months, beginning 6 months
      territories or possessions;                          after its original effective date.
   2. Puerto Rico; or                                  2. 1 year or longer, we will have the right
   3. Canada.                                             not to renew or continue this policy at
                                                          each anniversary of its original effective
   This policy also applies to loss to, or                date.
   accidents involving, "your covered auto"
   while being transported between their ports.     C. Automatic Termination. If we offer to renew
                                                       or continue and you or your representative
TERMINATION                                            do not accept, this policy will automatically
A. Cancellation. This policy may be cancelled          terminate at the end of the current policy
   during the policy period as follows:                period. Failure to pay the required renewal or
                                                       continuation premium when due shall mean
   1. The named insured shown in the
                                                       that you have not accepted our offer.
      Declarations may cancel by:
                                                      If you obtain other insurance on "your cove-
      a. returning this policy to us; or
                                                       red auto," any similar insurance provided by
                                                                                                    Page 11 of 12
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             this policy will terminate as to that auto on               1. The surviving spouse if resident in the
             the effective date of the other insurance.                     same household at the time of death.
         D. Other Termination Provisions.                                   Coverage applies to the spouse as if a
            1. We may deliver any notice instead of                         named insured shown in the Declarations;
                mailing it. Proof of mailing of any notice                  and
                shall be sufficient proof of notice.                      2. The legal representative of the deceased
            2. If this policy is cancelled, you may be                        person as if a named insured shown in
                 entitled to a premium refund. If so, we                      the Declarations. This applies only with
                 will send you the refund. The premium                        respect to the representative's legal
                refund, if any, will be computed                              responsibility to maintain or use "your
                according to our manuals. However,                            covered auto."
                making or offering to make the refund is              B. Coverage will only be provided until the end
                not a condition of cancellation.                          of the policy period.
            3. The effective date of cancellation stated              TWO OR MORE AUTO POLICIES
                 in the notice shall become the end of the            If this policy and any other auto insurance
                 policy period.                                       policy issued to you by us apply to the same
         TRANSFER OF YOUR INTEREST IN THIS                            accident, the maximum limit of our liability
         POLICY                                                       under all the policies shall not exceed the
         A. Your rights and duties under this policy may              highest applicable limit of liability under any one
            not be assigned without our written consent.              policy.
            However, if a named insured shown in the
            Declarations dies, coverage will be provided
            for:



         *MUTUAL POLICY CONDITIONS
         You are a member of the Liberty Mutual Fire Insurance Company while this policy is in force.                       l
         Membership entitles you to vote in person or by proxy at meetings of the company. The Annual
         Meeting is in Boston, Massachusetts, on the second Wednesday in April each year at 11 o'clock in the
         morning.
         Also, as a member, you will receive any dividends declared on this policy by the Directors.
         This policy is classified in Dividend Class IV-Automobile.
         This policy has been signed by our President and Secretary at Boston, Massachusetts, and
         countersigned on the Declarations Page by an authorized representative.




         *These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as
         the insurer.



           ~~~                                                                                 ~*r f- I
                ~
            PRESIDENT              ~
                                                                                                         t
                                                                                                 SECRETARY




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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                                                                            AS 2162 06 07
AMENDMENT OF POLICY PROVISIONS - NEW MEXICO                                                                               (PP 01 96 06 94)
 Part A - Liability Coverage                                                     "family member":
 A. Paragraph A. of the Insuring Agreement                                       (a) For use as a temporary
    is replaced by the following:                                                     substitute while "your
     A. We will pay damages, other than                                              covered auto" is out of
        punitive or exemplary damages, for                                            normal use because of its
        "bodily injury" or "property damage"                                          brealcdown,                     repair                or
        for which any "insured" becomes                                               servicing;
        legally responsible because of an auto                                   (b) To             demonstrate                          the
        accident.            Damages         include                                  vehicle; or
        prejudgment interest awarded against                                     (c) As         a          promotional                      or
        the "insured".        We will settle or                                      courtesy vehicle; and
        defend, as we consider appropriate,                                   The vehicle is provided under a
        any claim or suit asking for these                                     written statement, signed by
        damages. In addition to our limit of                                  you or a "family member",
        liability, we will pay all defense costs                               which contains the following
        we incur. Our duty to settle or defend                                language:
        ends when our limit of liability for this                                 PRIMARY LIABILITY ASSIGN-
        coverage has been exhausted. We                                           MENT
        have no duty to defend any suit or                                        In consideration of the vehicle
        settle any claim for "bodily injury" or                                   owner entrusting the motor
        "property damage" not covered under                                       vehicle elsewhere described
        this policy.                                                              to me, I agree that my vehicle
 B. Exclusion A.3. is replaced by the                                             insurance or self-insurance
    following:                                                                    coverage shall be primarily
    We do not provide Liability Coverage for                                      responsible for any loss or
    any "insured":                                                                damage caused by or to the
    3. For "property damage" to property:                                         motor vehicle.
        a. Rented to;                                         C. The Other Insurance Provision is replaced
        b. Used by; or                                             by the following:
        c. In the care of;                                         OTHER INSURANCE
        that "insured":                                            If there is other applicable liability
        This Exclusion (A.3.) does not apply                       insurance, we will pay only our share of
        to "property damage" to a:                                 the loss. Our share is the proportion that
        a. Residence or private garage; or                         our limit of liability bears to the total of
        b. Vehicle you do not own if:                              all applicable limits. Any insurance we
            (1) A licensed automobile dealer                       provide for a vehicle you do not own
                  provides the vehicle without                     shall be excess over any other collectible
                  charge to you or a"family                        insurance.
                  member":                                         However, we will provide primary
                  (a) For use as .a temporary                      insurance for a vehicle you do not own
                      substitute while "your                       if:
                      covered auto" is out of                      1. A licensed automobile dealer provides
                      normal use because of its                        the vehicle without charge to you or a
                      breakdown,      repair      or                   "family member":
                      servicing;                                        a. For use as a temporary substitute
                  (b) To      demonstrate        the                         while ."your covered auto" is out
                      vehicle; or                                            of normal use because of its
                  (c) As    a    promotional      or                         breakdown, repair or servicing;
                      courtesy vehicle; or                              b. To demonstrate the vehicle; or
            (2) A licensed automobile dealer                            c. As a promotional or courtesy
                  provides the vehicle for a                                 vehicle; or
                  charge, or someone other than                     2. A licensed automobile dealer provides
                 a licensed automobile dealer                          the vehicle for a charge, or someone
                  provides the vehicle with or                         other than a licensed automobile
                  without charge, to you or a                          dealer provides the vehicle with or
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            without charge, to you or a"family                   2. A licensed automobile dealer provides
            member":                                                 the vehicle for a charge, or someone
            a. For use as a temporary substitute                     other than a licensed automobile dealer
               while "your covered auto" is out                      provides the vehicle with or without
               of normal use because of its                          charge, to you or a"family member":
               breakdown, repair or servicing;                       a. For use as a temporary substitute
            b. To demonstrate the vehicle; or                             while "your covered auto" is out of
            c. As a promotional or courtesy                               normal use because of its
               vehicle; and                                               breakdown, repair or servicing;
          The vehicle is provided under a                            b. To demonstrate the vehicle; or
          written statement, signed by you or a                      c. As a promotional or courtesy
           "family member", which contains the                            vehicle; and
          following language:                                        The vehicle is provided under a written
               PRIMARY LIABILITY ASSIGN-                             statement, signed by you or a"family
               MENT                                                  member", which contains the following
               In consideration of the vehicle                       language:
               owner entrusting the motor                                 PRIMARY LIABILITY ASSIGNMENT
               vehicle elsewhere described to                            In consideration of the vehicle
               me, I agree that my vehicle                                owner entrusting the motor vehicle
               insurance      or     self-insurance                       elsewhere described to me, I agree
               coverage shall be primarily                                that my vehicle insurance or
               responsible for any loss or damage                         self-insurance coverage shall be
               caused by or to the motor vehicle.                         primarily responsible for any loss or
11. Part D- Coverage For Damage To Your                                   damage caused by or to the motor
    Auto                                                                  vehicle.
    Paragraph C. of the Insuring Agreement is              III. PART F- GENERAL PROVISIONS
    replaced by the following:                                   Part F is amended as follows:
    "Non-owned auto" means:                                      A. The Termination provision is amended
    1. Any private passenger auto, pickup, van                       as follows:
        or "trailer" not owned by or furnished or                    TERMINATION
        available for the regular use of you or                      The Nonrenewal section is replaced by
        any "family member" while in the                             the following:
        custody of or being operated by you or                       Nonrenewal. If we decide not to renew
        any "family member"; or                                      or continue this policy, we will mail
    2. Any auto or "trailer" you do not own                          notice to the named insured shown in
        while used as a temporary substitute for                     the Declarations at the address shown
        "your covered auto" which is out of                          in this policy. Notice will be mailed at
        normal use because of its:                                   least 30 days before the end of the
        a. Breakdown;                                                policy period. If the policy period is less
        b. Repair;                                                   than 6 months, we will have the right
        c. Servicing;                                                not to renew or continue every 6
        d. Loss; or                                                  months, beginning 6 months from its
        e. Destruction.                                              original effective date.
   However, "non-owned auto" does not
    include any vehicle you do not own if:                     B. The following is added to the Two Or
    1. A licensed automobile dealer provides                      More Auto Policies provision:
        the vehicle without charge to you or a                      TWO OR MORE AUTO POLICIES
        "family member":
        a. For use as a temporary substitute                        1. This provision does not apply to
             while "your covered auto" is out of                       Uninsured Motorists Coverage.
             normal use because of its                              2.   No one will be entitled to receive du-
             breakdown, repair or servicing;                             plicate payments for the same elem-
        b. To demonstrate the vehicle; or                                ents of loss under Uninsured Motori-
        c. As a promotional or courtesy                                  sts Coverage.
             vehicle; or



This endorsement must be attached to the Change Endorsement when issued after the policy is written.


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    .                                                                                          - Liberly
'                                                                                                     Mutual.
                                                                                                        INSURANCE




        AUTOMOBILE AMENDATORY ENDORSEMENT                                                                 AS 2258 08 06
        I.   DEFINITIONS                                                  a. For any coverage provided in this
             The Definitions section is revised as                            policy     except    Coverage        For
             follows:                                                         Damage To Your Auto, a newly
             A. The definition of Your Covered Auto is                        acquired auto        will have the
                  replaced with the following:                                broadest     coverage      we      now
                  "Your Covered Auto" means:                                  provide for any vehicle shown in
                  1. Any vehicle shown in the Declara-                        the Declarations. Coverage begins
                     tions.                                                   on the date you become the
                  2. A newly acquired auto.                                   owner.
                  3. Any trailer you own.                                     However, for this coverage to
                  4. Any auto or trailer you do not own                       apply to a newly acquired auto
                      while used as a temporary substitute                   that is in addition to any vehicle
                     for any other vehicle described in this                  shown in the Declarations, you
                     definition which is out of normal use                   must ask us to insure it within 30
                     because of its:                                          days after you become the owner.
                      a. Breakdown;                                          If a newly acquired auto replaces a
                      b. Repair;                                              vehicle shown in the Declarations,
                      c. Servicing;                                           coverage is provided for this
                      d. Loss; or                                             vehicle without your having to ask
                      e. Destruction.                                        us to insure it.                 '
                  This provision (4.) does not apply to                   b. Collision Coverage for a newly
                 Coverage For Damage To Your Auto.                           acquired auto begins on the date
             B. The definition of Newly Acquired Auto                        you become the owner. However,
                  is added as follows:                                       for this coverage to apply, you
                  "Newly acquired auto":                                     must ask us to insure it within:
                  1. Newly acquired auto means any of                        (1) 30 days after you become the
                     the following types of vehicles you                          owner if the Declarations
                     become the owner of during the                               indicate       that      Collision
                     policy period:                                               Coverage applies to at least
                     a. A private passenger auto; or                              one auto. In this case, the
                     b. A pickup or van, for which no                             newly acquired auto will have
                         other insurance policy provides                          the broadest coverage we now
                         coverage, that:                                          provide for any auto shown in
                         (1) Has a Gross Vehicle Weight of                        the Declarations.
                             less than 10,000 Ibs.; and                      (2) Five days after you become
                         (2) Is not used for the delivery or                      the owner if the Declarations
                             transportation of goods and                          do not indicate that Collision
                             materials unless such use is:                        Coverage applies to at least
                                                                                  one auto. If you comply with
                             (a) Incidental to your business
                                                                                  the 5 day requirement and a
                                 of installing, maintaining or
                                                                                  loss    occurred     before    you
                                 repairing    furnishings   or
                                                                                  asked us to insure the newly
                                 equipment; or
                                                                                  acquired auto, a Collision
                             (b) For farming or ranching.                         deductible of $500 will apply.
                     For this definition to apply to a newly              c. Other Than Collision Coverage for
                     acquired auto, which is in addition to                  a newly acquired auto begins on
                     the vehicles listed in the Declarations,                the     date    you     become       the
                     we must insure all other vehicles                       owner.However, for this coverage
                     owned by you.                                           to apply, you must ask us to
                 2. Coverage for a newly acquired auto                       insure it within:
                    is provided as described below. If                       (1) 30 days after you become the
                    you ask us to insure a newly                                  owner if the Declarations
                    acquired auto after a specified time                          indicate    that    Other     Than
                    period described below has elapsed,                           Collision Coverage applies to
                    any coverage we provide for a newly                           at least one auto. In this case,
                    acquired auto will begin at the time                          the newly acquired auto will
                    you request the coverage.                                     have the broadest coverage


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                                                                                      -• Liberty
                                                                                         Mutual.
                                                                                           INSURANCE




                                                                                            AS 2258 08 06
                we now provide for any auto                             condition for which its use is
                shown in the Declarations.                              proposed.
            (2) Five days after you become                          3.In patient services or supplies
                the owner if the Declarations                          provided to the covered person when
                do not indicate that Other                             these could safely have been
                Than      Collision      Coverage                      provided to the covered person as an
                applies to at least one auto. If                       outpatient.
                you comply with the 5 day                       D. "reasonable expenses" - when applied to
                requirement and a loss                              medical services incurred by an insured
                occurred before you asked us                        under PART B- MEDICAL PAYMENTS
                to insure the newly acquired                        COVERAGE - means the least of:
                auto, an Other Than Collision                       1. The actual charge;
                deductible of $500 will apply.                      2. The charge negotiated with a
 C. "necessary medical" - when applied to                               provider; or
     services incurred by an insured under                          3. The charge determined by us based
     PART B - MEDICAL PAYMENTS                                          on a methodology using a database
     COVERAGE - means services or                                       designed to reflect amounts charged
     supplies provided by a licensed hospital,                          by providers of inedical services or
     licensed physician, or other licensed                              supplies within the same or similar
     medical provider that, as determined by                           geographic region in which you
     us or someone on our behalf, are:                                 receive your medical services or
     1. Required to identify or treat an injury                        supplies. The database will reflect (a)
        caused by an accident covered by                               service charge data regardless of the
        this policy;                                                   provider's specialty and (b) in the
     2. Consistent        with         symptoms,                       case of new procedures, services or
        diagnosis, and treatment of the                                supplies, or existing procedures,
        covered      person's       injury    and                      services or supplies for which there
        appropriately documented in the                                is little or no charge data, a
        covered person's medical records;                              comparison to commonly used
     3. Provided      in    accordance       with                      procedures, services or supplies.
        recognized standards of care for the              II. PART A- LIABILITY COVERAGE
        covered person's injury at the time                    Exclusion 4. is under paragraph B. of the
        the charge is incurred;                                Exclusions section of Part A is replaced by
     4. Consistent with published practice                     the following:
        guidelines and technology, and                         4. Any vehicle, while being used for:
        assessment standards of national                            a. competing in; or
        organizations or multi-disciplinary                         b. practicing or preparing for
        medical groups;                                             any organized racing, speed, demolition,
     5. Not primarily for the convenience of                        stunt or performance contest or related
        the covered person, or his or her                           activity whether or not for pay.
        physician, hospital, or other health              III. PART B- MEDICAL PAYMENTS COVERAGE
        care provider;                                         Exclusion 11. is under the Exclusions
     6. The most appropriate supply or level                   section of Part B is replaced by the
        of service that can be safely provided                 following:
        to the covered person; and                             11. Sustained while occupying any vehicle
     7. Not excessive in terms of scope,                            while being used for:
        duration, or intensity of care needed                       a. competing in; or
        to provide safe, adequate, and                              b. practicing or preparing for
        appropriate diagnosis and treatment;                        any organized racing, speed, demolition,
However, necessary medical services do not                          stunt or performance contest or related
include expenses for any of the following:                          activity whether or not for pay.
     1. Nutritional       supplements          or         IV. PART D- COVERAGE FOR DAMAGE TO
        over-the-counter drugs;                                YOUR AUTO
     2. Experimental services or a supply,                     A. Paragraph A. of the Insuring Agreement
        which means services or supplies                           of Part D is replaced by the following:
        that we determine have not been                            INSURING AGREEMENT
        accepted by the majority of the                           A.We will pay for direct and accidental
        relevant medical specialty as safe and                        loss to your covered auto or any
        effective for treatment of the
                                                Page 2 of 5
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                                                                                                Liberty
                                                                                                Mutual.
                                                                                                   INSURANCE



                                                                                              AS 2258 08 06
  non-owned         auto,      including      their                       performance of the vehicle
  equipment, subject to Customized                                     including but not limited to any
  Equipment Coverage, minus any                                        additions or alterations to the
  applicable deductible shown in the                                   chassis, engine, exterior or interior of
  Declarations. If loss to more than one                               the auto.
  your covered auto or non-owned auto                                  This includes but is not limited to
  results from the same collision, only the                            ground effects, specialty rims,
  highest applicable deductible will apply.                            performance tires, specialty paint or
  We will pay for loss to your covered auto                            dye, roll bars, running boards,
  caused by:                                                           spoilers, special interior or exterior
      1.Other than collision only if the                               lighting, roof/trunk racks, and high
          Declarations indicate that Other                             performance engine components.
          Than Collision Coverage is provided                          However, such parts, equipment and
          for that auto.                                               accessories that were installed by the
      2. Collision only if the Declarations                            automobile manufacturer or licensed
          indicate that Collision Coverage is                          auto dealer are not considered
          provided for that auto.                                      customized equipment.
      If there is a loss to a non-owned auto                           This also includes any electronic
      we will provide the broadest coverage                            equipment that is not necessary for
      applicable to any your covered auto                             the normal operation of the auto or
      shown in the Declarations.                                      the monitoring of the auto's
B. The following Customized Equipment                                 operating system that is used solely
   Coverage provision is added under Part                              for the reproduction of recorded
   D:                                                                 material or used for transmitting or
   CUSTOMIZED EQUIPMENT COVERAGE                                      receiving audio, visual or data
  A. We will pay up to $500 for theft or                              signals. However, such parts,
       damage to customized equipment if                              equipment and accessories that were
       the loss is caused by:                                         installed      by    the    automobile
        1.Other than collision only if the                            manufacturer or licensed auto dealer
           Declarations indicate that Other                           or in a location the automobile
           Than Collision Coverage is                                 manufacturer intended for such
           provided for that auto.                                    equipment, are not considered
        2. Collision only if the Declarations                         customized equipment.
           indicate that Collision Coverage is                    C. If you have purchased additional
           provided for that auto.                                    coverage for customized equipment
       Payments shall be reduced by the                                we will pay up to the amount of
       applicable deductible. However, only                           coverage you have purchased in
       one deductible will be applied for any                         addition to the $500 limit provided
       one loss. If you or the owner of a                             by the policy. This additional
       non-owned auto keeps salvaged                                  coverage must be shown in the
       material, payments will also be                                Declarations.
       reduced by the salvage value. In no                        D. The most we will pay for parts,
       way shall this coverage increase the                           equipment and accessories that are:
       limit of liability for your covered auto                       a. not     installed   by   the     auto
       or any non-owned auto.                                             manufacturer or dealer and
  B. "Customized equipment" means any                                 b. permanently installed in or upon
       parts, equipment and accessories                                   the auto
       including        devices,      extensions,                     is the actual cash value of the vehicle
       furnishings, fixtures, finishings, and                         not including such parts, equipment
       other alterations that:                                        and accessories.
        1. are    permanently       installed   or             C. The Transportation Expenses provision of
           attached by bolts or brackets;                         Part D is replaced by the following:
        2. are removable from a housing unit                      TRANSPORTATION EXPENSES
           that is permanently installed inside                   In addition, we will pay up to $ 15 per
           the auto;                                              day to a maximum of 30 days for any
        3. are permanently bonded to the                          temporary       transportation    expenses
           vehicle by an adhesive or welding                      incurred by you. This applies in the event
           procedure; or                                          of a loss to your covered auto if the loss
        4. change the appearance or                               is caused by:
                                                 Page 3 of 5

                                                                                     C''   ..,.,....0 ......~..a..wL.:..~~.......li.~.1S.:....1_...,.~ .............1J.:,.__..~i,.
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                                                                                        _ Liberty
'                                                                                              Mutual.
                                                                                                 INSURANCE



                                                                                            AS 2258 08 06
           a. Other than collision only if the                    what is provided under Customized
               Declarations indicate Other Than                   Equipment Coverage unless additional
               Collision Coverage is provided for                 coverage has been purchased by
               that auto.                                         endorsement and is shown in the
            b. Collision only if the Declarations                 Declarations.
               indicate that Collision Coverage is             G. Exclusion 16. is added as follows:
               provided forthat auto.                             16. We will not pay for loss to tapes,
       If the loss is caused by a total theft of                      records, discs or other media used
       your covered auto, we will pay only                            with any sound reproducing or other
       transportation expenses incurred during                        electronic equipment.
       the period:                                             H. Paragraph B of the Limit of Liability
       1. Beginning 48 hours after the theft;                     provision of Part D is added as follows:
           and                                                   B. An adjustment for depreciation and
       2. Ending when your covered auto is                           physical condition will be made in
           returned to use or we pay for its loss.                   determining actual cash value in the
    D. Exclusion 4. is replaced by the following:                    event of a total loss. In this case, the
       4. We will not pay .for loss to equipment                     actual cash value consists of the value
           that is not permanently installed in                      of the vehicle not including any
           or upon your covered auto or, any                         customized equipment.
           non-owned auto. This consists of any           V. PART E- DUTIES AFTER AN ACCIDENT OR
           equipment that is either designed for              LOSS
           the reproduction of sound or receives              Part E is amended as follows:
           or transmits audio, visual or data                 A. Paragraph B. of Part E is replaced by the
           signals. This includes but is not                     following:
           limited to:                                           B. A person seeking any coverage must:
           a. radios and stereos;
                                                                      1. Cooperate      with    us   in   the
           b. tape decks;                                                investigation,      settlement    or
           c. compact disc players and burners;
                                                                         defense of any claim or suit. This
           d. digital video disc (DVD) players and
                                                                         includes, but is not limited to,
               burners;
                                                                         allowing us to inspect damage to a
           e. citizens band radios;
                                                                         vehicle covered by this policy.
           f. scanning monitor receivers;
                                                                      2. Promptly send us copies of any
           g. television monitor receivers;
                                                                         notices or legal papers received in
           h. global positioning system (GPS)
                                                                         connection with the accident or
               receivers and/or components;
                                                                         loss.
           i. video      cassette    players    and
                                                                      3. Submit, as often as we reasonably
               recorders;
                                                                         require, within 30 days of our
           j. audio cassette recorders; or
                                                                        request:
           k. personal computers, which includes
                                                                       a.  To physical and mental exams
               laptops, desktops, and personal
               digital assistants (PDA) or any                             by physicians we select under
                                                                           terms we require. We will pay
               other handheld device.
           AII accessories used with the above or                          for these exams.
           similar equipment are also excluded.                         b. To interviews and recorded
    E. Exclusion 13. is replaced by the                                    statements without the need
       following:                                                          for us to conduct an
       13. Loss to your covered auto or any                                examination under oath.
             non-owned auto while the car is                            c. To examination under oath and
             being used for:                                               subscribe the same.
             a. competing in; or                                     4. Authorize us to obtain, within 30
             b. practicing or preparing for                             days of our request:
             any     organized    racing,    speed,                     a. Medical reports; and
             demolition, stunt or performance                           b. Other      pertinent  records,
             contest or related activity whether or                        including but not limited to,
             not for pay.                                                  information contained in or
    F. Exclusion 15. is added as follows:                                  transmitted by any device
        15. We will not pay for loss to                                    located in or on the motor
              customized equipment in exce'ss of                           vehicle.
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                                                                                                 AS 2258 08 06
    5. Submit a proof of loss when required by                  a. conceals     or    misrepresents any
        us within 30 days of our request.                          material fact or circumstance,
                                                                b. makes false statements or
   VI. PART F- GENERAL PROVISIONS
                                                                c. engages in fraudulent conduct,
Part F is amended as follows:                                   any of which relate to a loss, an
A. The Fraud provision is replaced by the                       accident, this insurance or the
   following:                                                   application for this policy.
   FRAUD
   This policy will not provide coverage under
   any part of this policy for any insured or any
   other person or entity seeking benefits under
   this policy (whether before or after a loss)
   who:




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                                                                                                 INSURANCE




        AMENDMENT OF POLICY DEFINITIONS

        THIS ENDORSEMENT CHANGES YOUR POLICY. IT REPLACES ALL OTHER REFERENCES TO
        THE SAME SECTIONS OF THE POLICY.


        The following is added to item A. under the policy DEFINITIONS:
           3. the partner in a civil union, registered domestic partnership or other similar union, with
           the "named insured" shown on the Declarations, if a resident of the same household.
           The above, only applies if the civil union or partnership was validly entered into under the
           laws of any state, municipality, or territory of the United States or any other country.
           If the spouse or partner defined above is no longer a resident in the same household during
           the policy period or prior to the inception of the policy, the spouse or partner will be
           considered "you" and "your" under this policy until the earlier of:
                1. The end of 90 days following the change of residency;
                2. The effective date of another policy listing the spouse or partner defined above as a
                   named insured; or
                3. The end of the -policy period.
        Paragraph A. of the TRANSFER OF YOUR INTEREST IN THIS POLICY is deleted. It is replaced
        with the following:
        A. Your rights and duties under this policy may not be assigned without our written consent.
           However, if a named insured shown in the Declarations becomes deceased, coverage will
           be provided for:
           1. the surviving spouse or partner in a civil union, registered domestic partnership or other
              similar union, if a resident of the same household at the time of death. Coverage
              applies to the spouse or partner as set forth herein, as if a named insured shown in the
              declarations; and
           2. the legal representative of the deceased person as if a named insured shown in the
              Declarations. This applies only with regard to the representative's legal responsibility
              to maintain or use "your covered auto".
        Section 1. only applies if the union or partnership is validly entered into under the laws of any
        state, municipality, or territory of the United States or any other country.
        AII other terms and conditions of this policy remain the same.




AS 2344 04 08                             Liberty Mutual Insurance Group
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                                                                                                      Liberty
                                                                                                   -• Mutual.
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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                                                      PERSONAL AUTO
         UNINSURED MOTORISTS COVERAGE - NEW MEXICO                                                      AS 3616 05 08

         I. PART C   -         UNINSURED MOTORISTS                   B."Insured" as used in this endorsement means:
            COVERAGE
                                                                            1. You or any "family member".
            Part C is replaced by the following:
                                                                            2. Any other person "occupying" "your
            INSURING AGREEMENT                                                 covered auto".
            A. We will pay damages which an "insured"                       3. Any person for damages that person
               is legally entitled to recover from the                         is entitled to recover because of
               owner or operator of an:                                        "bodily injury" to which this coverage
                 1. "Uninsured       motor  vehicle"   or                      applies sustained by a person
                     "underinsured motor vehicle" because                      described in 1. or 2. above.
                     of "bodily injury":                                C. "Property damage" as used in this
                    a. Sustained by an "insured"; and                      endorsement means injury to or
                                                                           destruction of the property of an
                    b. Caused by an accident; and                          "insured".
                 2. "Uninsured motor vehicle" because of                D. "Underinsured motor vehicle" means a
                     "property damage" caused by an                        land motor vehicle or trailer of any type
                     accident.                                             for which the sum of the limits of liability
                 The owner's or operator's liability for                   under all bodily injury liability bonds or
                 these damages must arise out of the                       policies applicable at the time of the
                 ownership, maintenance or use of the                      accident is less than the sum of the limits
                 "uninsured        motor      vehicle"   or                of liability applicable to the "insured" for
                 "underinsured motor vehicle". With                        Uninsured Motorists Coverage under this
                 respect to damages an "insured" is                        policy or any other policy.
                 legally entitled to recover from the owner                 However, "underinsured motor vehicle"
                 or operator of an "underinsured motor                      does not include any vehicle or
                 vehicle", we will pay under this coverage                  equipment:
                 only if 1. or 2. below applies:
                                                                            1. Owned by or furnished or available for
                 1. The limits of liability under any                          the regular use of you or any "family
                    applicable bodily injury liability bonds                   member". However, this exception
                    or policies have been exhausted by                         (1.) does not apply for damages
                    payment of judgments or settlements;                       sustained by you or any "family
                    or                                                         member" if the sum of the limits of
                 2. A tentative settlement has been made                       liability under all bodily injury liability
                    between an "insured" and the insurer                       bonds or policies applicable at the
                    of the "underinsured motor vehicle"                        time of the accident is less than the
                    and we:                                                    sum of the limits of liability for
                                                                               Uninsured Motorists Coverage under
                    a. Have been given prompt written
                                                                               this policy or any other policy.
                       notice of such tentative settlement;
                       and                                                  2. To which a bodily injury liability bond
                    b. Advance payment to the "insured"                        or policy applies at the time of the
                       in an amount equal to the tentative                     accident but .the bonding or insuring
                                                                               company:
                       settlement within 30 days after
                       receipt of notification.                                a. Denies coverage; or
                 Any judgment for damages arising out of                       b. Is or becomes insolvent.
                 a suit brought without our written                         3. Owned or operated by a self-insurer
                 consent is not binding on us.                                 under any applicable motor vehicle
                                                                               law.




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                                                                                                  : Liberty
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                                                                                                       INSURANCE




              E. "Uninsured motor vehicle" means a land                         a fee. This exclusion (A.2.) does not
                 motor vehicle or trailer of any type:                          apply to a share-the-expense car pool.
                 1: To which no liability bond or policy                    3. Using a vehicle without a reasonable
                    applies at the time of the accident.                       belief that that "insured" is entitled to
                 2. Which is a hit-and-run vehicle whose                       do so.
                    operator or owner cannot be identified                  4. For the first $250 of the amount of
                    and which hits or which causes an                          "property damage" to the property of
                    accident resulting in "bodily injury" or                   each "insured" as the result of any
                    "property damage" without hitting:                         one accident.
                    a. You or any "family member";                          5. While traveling as a passenger in any
                    b. A vehicle which you or any "family                      motor vehicle operated by a named
                       member" are "occupying"; or                             excluded driver.

                    c. "Your covered auto".                             B. This coverage shall not apply directly or
                                                                           indirectly to benefit:
                 3. To which a liability bond or policy
                    applies at the time of the accident but                 1. Any insurer or self-insurer under any
                    the bonding or insuring company:                           of the following or similar law:

                    a. Denies coverage; or                                      a. Workers' compensation law; or

                    b. Is or becomes insolvent.                                 b. Disability benefits law.

                 However, "uninsured motor vehicle" does                    2. Any insurer of property.
                 not include any vehicle or equipment:                  LIMIT OF LIABILITY
                 1. Owned or operated by a self-insurer                 A. If "bodily injury" or "property damage" is
                    under any applicable motor vehicle                      sustained in an accident by you or any
                    law, except a self-insurer which is or                  "family member", our maximum limit of
                    becomes insolvent; or                                   liability for all damages in any such
                 2. Owned by or furnished or available for                  accident is the sum of the limits of
                    the regular use of you or any "family                   liability for Uninsured Motorists Coverage
                    member". However, this exception                        shown in the Declarations applicable to
                    (2.) does not apply for damages                         each vehicle. Subject to this maximum
                    sustained by you or any "family                         limit of liability for all damages:
                    member" if liability coverage is                        1. The most we will pay for "bodily
                    excluded for such damages under this                       injury"   or    "property     damage"
                    policy or any other policy.                                sustained in such accident by an
                 In addition, neither "uninsured motor                         "insured" other than you or any
                 vehicle" nor "underinsured motor vehicle"                     "family member" is that "insured's"
                 includes any vehicle or equipment:                            pro rata share of the limit shown in
                                                                               the Declarations applicable to the
                 1. Operated on rails or crawler treads:                       vehicle    that     "insured"    was
                 2. Designed mainly for use off public                         "occupying" at the time of the
                    roads while not on public roads.                           accident;
                 3. While located for use as a residence                    2. You or any "family member" who
                    or premises.                                               sustains "bodily injury" or "property
                                                                               damage" in such accident will also be
              EXCLUSIONS
                                                                               entitled to a pro rata share of the limit
              A. We do not provide Uninsured Motorists                         described in paragraph 1. above.
                 Coverage for "property damage" or
                                                                            A person's pro rata share shall be the
                 "bodily injury" sustained by any
                                                                            proportion that that person's damages
                 "insured":
                                                                            bears to the total damages sustained by
                 1. If that "insured"     or the legal                      all "insureds".
                    representative settles the "bodily
                                                                            The maximum limit of liability is the most
                    injury" or "property damage" claim
                                                                            we will pay regardless of the number of:
                    without our consent.
                 2. When "your covered auto" is being                       1. "Insureds";
                    used to carry persons or property for                   2. Claims made;


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                                                                                                    Liberty
                                                                                                    Mutual.
                                                                                                      INSURANCE




                 3. Vehicles or premiums shown in the                    With respect to "property damage", this
                    Declarations;, or                                    insurance shall apply only after the limits of
                                                                         any other collectible insurance applicable to
                 4. Vehicles involved in the accident.
                                                                         the damaged property have been exhausted.
            B. If "bodily injury" or "property damage" is
                                                                         ARBITRATION
               sustained by any "insured" other than
                you or any "family member" in an                        A. If we and an "insured" do not agree:
               accident in which neither you nor any                        1. Whether that "insured" is legally
                "family member" sustained "bodily                              entitled to recover damages; or
               injury" or "property damage" the limit of
                                                                            2. As to the amount of damages which
               liability shown in the Declarations
                                                                               are recoverable by that "insured";
               applicable to the "your covered auto" the
                "insured" was "occupying" at the time of                    from the owner or operator of an
               the accident is our maximum limit of                         "uninsured    motor      vehicle"    or
               liability for all damages resulting from any                 "underinsured motor vehicle", then the
               such accident.                                               matter may be arbitrated. However,
                                                                            disputes concerning coverage under this
                 This is the most we will pay regardless of
                                                                            endorsement may not be arbitrated.
                 the number of:
                                                                            Both parties must agree to arbitration. If
                 1. "Insureds";
                                                                            so agreed, each party will select an
                 2. Claims made;                                            arbitrator. The two arbitrators will select
                 3. Vehicles or premiums shown in the                       a third. If they cannot agree within 30
                    Declarations; or                                        days, either may request that selection be
                                                                            made by a judge of a court having
                 4. Vehicles involved in the accident.
                                                                            jurisdiction.
            C. With respect to damages caused by an
                                                                        B. Each party will:
               accident with an "underinsured motor
               vehicle", the limit of liability shall be                    1. Pay the expenses it incurs; and
               reduced by all sums paid because of                          2. Bear the expenses of the third
               "bodily injury" by or on behalf of persons                      arbitrator equally;
               or organizations who may be legally
                                                                            unless the arbitration costs are awarded
               responsible. This includes all sums paid
                                                                            to the prevailing party by the arbitrators.
               under Part A of the policy.
                                                                        C. Unless both parties agree otherwise,
           D. No one will be entitled to receive
                                                                           arbitration will take place in the county in
              duplicate payments for the same
                                                                           which the "insured" lives. Local rules of
              elements of loss under this coverage and
                                                                           law as to procedure and evidence will
              Part A or Part B of this policy.
                                                                           apply. A decision agreed to by two of the
            E. We will not make a duplicate payment                        arbitrators will be binding as to:
               under this coverage for any element of
                                                                            1. Whether the "insured" is legally
               loss for which payment has been made
                                                                               entitled to recover damages; and
               by or on behalf of persons or
               organizations who may be legally                             2. The amount of damages.
               responsible.                                             ADDITIONAL DUTY
            F. No payment will be made for loss paid or                 A person seeking Uninsured Motorists
               payable to the "insured" under Part D of                 Coverage      under    the   definition   of
               the policy.                                              "underinsured motor vehicle" must also
            OTHER INSURANCE                                             promptly notify us in writing of a tentative
                                                                        settlement between the "insured" and the
            If there is other applicable similar insurance
                                                                        insurer of the "underinsured motor vehicle"
            we will pay only our share of the loss. Our
                                                                        and allow us 30 days to advance payment to
            share is the proportion that our limit of
                                                                        that "insured" in an amount equal to the
            liability bears to the total of all applicable
                                                                        tentative settlement to preserve our rights
            limits. However, any insurance we provide
                                                                        against the insurer, owner or operator of
            with respect to a vehicle you do not own
                                                                        such "underinsured motor vehicle".
            shall be excess over any other collectible
            insurance.



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                                                                                                    Liberty
                                                                                                    Mutual.
                                                                                                      INSURANCE




              II. PART F- GENERAL PROVISIONS                                 2. Fail to advance payment to the
                                                                                "insured" in an amount equal to the
                Part F is amended as follows:
                                                                                tentative settlement within 30 days
                A. The following is added to the Our Right                      after receipt of notification.
                   To Recover Payment provision:
                                                                             If we advance payment to the "insured"
                   OUR RIGHT TO RECOVER PAYMENT                              in an amount equal to the tentative
                   Our rights do not apply under Paragraph                   settlement within 30 days after receipt of
                   A. with respect to coverage under the                     notification:
                   definition of "underinsured motor vehicle"                1. That payment will be separate from
                   for Uninsured Motorists Coverage if we:                      any amount the "insured" is entitled
                   1. Have been given prompt written                            to recover under the provisions of
                      notice of a tentative settlement                          Uninsured Motorists Coverage; and
                      between an "insured" and the insurer                   2. We also have a right to recover the
                      of an "underinsured motor vehicle"                        advanced payment.
                      and .




          This endorsement must be attached to the Change Endorsement when issued after the policy is written.




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                                                                                                        : Liberty
                                                                                                           Mutual.
                                                                                                                  INSURANCE




          SPLIT LIABILITY LIMITS                                                                                   ~~I~?<i~sZiL~sTT•~

                                                           SCHEDULE

                        Bodily Injury Liability                        $                    each person

                                                                       $                    each accident

                         Property Damage Liability                     $                    each accident



          The first paragraph of the Limit of Liability              accident. The limit of liability shown in the
          provision in Part A is replaced by the following:          Schedule or in the Declarations for each
                                                                     accident for Property Damage Liability is our
          LIMIT OF LIABILITY
                                                                     maximum limit of liability for all "property
          The limit of liability shown in the Schedule or in         damage" resulting from any one auto accident.
          the Declarations for each person for Bodily                This is the most we will pay regardless of the
          Injury Liability is our maximum limit of liability         number of:
          for all damages, including damages for care,
                                                                           1. "Insureds;"
          loss of services or death, arising out of "bodily
          injury" sustained by any one person in any one                   2. Claims made;
          auto accident. Subject to this limit for each
                                                                           3. Vehicles or premiums shown in the Decla-
          person, the limit of liability shown in the
                                                                              rations; or
          Schedule or in the Declarations for each
          accident for Bodily Injury Liability is our                      4. Vehicles involved in the auto accident.
          maximum limit of liability for all damages for
          "bodily injury" resulting from any one auto


         This endorsement must be attached to the Change Endorsement when'issued after the policy is written.




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                                                                                                                  Liberty
                                                                                                                  Mutual.
                                                                                                                    INSURANCE




                                                                                                                  PERSONAL AUTO
          SPLIT UNINSURED MOTORISTS LIMITS - NEW MEXICO                                                            PP 04 33 12 89

                                                             SCHEDULE

            Uninsured Motorists                          Limit of                                            Premium
                    Coverage                             Liability                         Auto 1            Auto 2                    Auto 3

          Bodily Injury Liability          $                         each person
                                           $                         each accident
          Property Damage Liability        $                         each accident     $             $                             $



         Paragraph A. or B. of the Limit of Liability                                       any "family member" is that
         provision for Uninsured Motorists Coverage is                                      "insured's" pro-rata share of
         replaced by A. or B. as follows:                                                   the each person or each
         LIMIT OF LIABILITY                                                                 accident limit of liability shown
                                                                                            in the Schedule or in the
            A. If "bodily injury" or "property damage" is
                                                                                            Declarations applicable to the
                sustained in an accident by you or any                                      vehicle that "insured" was
                "family member:"                                                            "occupying" at the time of the
                  1. Our maximum limit of liability for all                                 accident, and
                     damages, including damages for care,                               b. you or any "family member"
                     loss of services or death, arising out                                who sustains "bodily injury" or
                     of "bodily injury" sustained by any                                   "property damage" in such
                     one person in any such accident is the
                                                                                           accident will also be entitled to
                     sum of the limits of liability shown in
                                                                                            a pro-rata share of the each
                     the Schedule or in the Declarations for
                                                                                            person or each accident limit
                     each person for Bodily Injury Liability
                                                                                            described in paragraph 4.a.
                     Uninsured Motorists Coverage;
                                                                                            above.
                  2. Subject to the maximum limit for each                           A person's pro-rata share shall be the
                     person described in 1. above, our
                                                                                     proportion that that person's damages
                     maximum limit of liability for all                              bears to the total damages sustained
                     damages arising out of "bodily injury"                          by all "insureds."
                     resulting from any one accident is the
                     sum of the limits of liability shown in                         The maximum limit of liability is the
                     the Schedule or in the Declarations for                         most we will pay regardless of the
                     each accident for Bodily Injury                                 number of:
                     Uninsured Motorists Coverage.                                   1. "Insureds;
                  3. Our maximum limit of liability for all                          2. Claims made;
                      "property damage" resulting from any
                                                                                     3. Vehicles or premiums shown in the
                     such accident is the sum of the limits
                                                                                        Schedule or in the Declarations; or
                     of liability shown in the Schedule or in
                     the Declarations for each accident for                          4. Vehicles involved in the accident.
                     Property Damage Liability Uninsured                    B. If "bodily injury" or "property damage" is
                     Motorists Coverage.                                        sustained by an "insured" other than you
                 4. Subject to the maximum limits of                            or any "family member" in an accident in
                     liability set forth in 1., 2. or 3. above:                 which neither you nor any "family
                         a. the most we will pay for "bodily                   member" sustained "bodily injury" or
                            injury" or "property damage"                        "property damage:"
                            sustained in such accident by
                            an "insured" other than you or




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                                                                                                                 Liberty
                                                                                                                 Mutual.
                                                                                                                    INSURANCE




                    1. Our maximum limit of liability for all                  3. Our maximum limit of liability for all
                       damages, including damages for care,                       "property damage" resulting from
                       loss of services or death, arising out                     such accident is the each accident
                       of "bodily injury" sustained by any                        limit of liability shown in the Schedule
                       one person in such accident will be                        or in the Declarations for Property
                       the each person limit of liability shown                   Damage Liability Uninsured Motorists
                       in the Schedule or in the Declarations                     Coverage applicable to the "your
                       for Bodily Injury Liability Uninsured                      covered auto" that "insured" was
                       Motorists Coverage applicable to the                       "occupying" at the time of the
                       "your covered auto" that "insured"                         accident.
                       was "occupying" at the time of that
                                                                              The maximum limit of liability is the most
                       accident.
                                                                              we will pay regardless of the number of:
                    2. Subject to this limit for each person,
                                                                              1. "Insureds;"
                       our maximum limit of liability for all
                       damages arising out of "bodily injury"                 2. Claims made;
                       sustained in such accident is the each                 3. Vehicles or premiums shown in the
                       accident limit of liability shown in the                  Schedule or in the Declarations; or
                       Schedule or in the Declarations for
                                                                              4. Vehicles involved in the accident.
                       Bodily Injury Liability Uninsured
                       Motorists Coverage applicable to the
                       "your covered auto" that "insured"
                       was "occupying" at the time of the
                       accident.



              This endorsement must be attached to the Change Endorsement when issued after the• policy is written.




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                                                                                                             Liberty
                                                                                                             Mutual.

          MEXICO EXTENSION ENDORSEMENT                                                                  AS 1006 (Ed. 12-89)


          The coverage applying to "your covered auto" under Parts A, B and D of this policy also applies to
          accidents and losses while the automobile is in the Republic of Mexico, but not more than 75 miles
          from the United States border. This coverage is subject to these additional provisions:
          1. The insurance applies only if, at the time of accident or loss, the automobile has not been in the
             Republic of Mexico more than 10 consecutive days.

          2.   We have no obligation to defend any suit and the Supplementary Payments provisions of Part A and
               the Transportation Expense provision of Part D do not apply.

          3.   In addition to the applicable limit of liability, we will pay (a) expenses you incur for first aid to others
               at the time of an accident for bodily injury covered by this policy and (b) reasonable expenses,
               except loss of earnings, you incur at our request.

          4.   No settlement of any claim or suit will obligate us under this endorsement without our written
               consent.

          5.   Except for Medical Payments Coverage, this insurance shall be excess over any other collectible
               insurance available to you as an insured under a policy applying to the automobile or otherwise.
               The Medical Payments Coverage shall be excess over any other collectible automobile medical
               payments insurance.

          6.   If a loss to "your covered auto" requires repair or replacement while the automobile is in Mexico,
               the most we will pay is the cost of the repair or replacement at the nearest point in the United
               States where it can be made.

          WARNING - If you have an automobile accident in Mexico and don't have insurance written by an
          insurance company licensed in Mexico, you could spend many hours or days in jail. You should arrange
          for coverage from a licensed Mexican company to avoid complications and some other penalties
          possible under the laws of Mexico, including impounding of your car. (Liberty is not licensed to write
          insurance in Mexico.)

                                                  (See below for explanation)

                                                        IMPORTANT

          This endorsement extends LIMITED COVERAGE.

          Under Mexican law automobile insurance policies written by United States companies are not
          recognized or considered valid for accidents or losses occurring in Mexico. United States insurance
          companies are not permitted, directly or through Mexican agents, to assist their policyholders,
          investigate, settle or defend claims or suits in Mexico.

          Notwithstanding the above we have included limited Mexican coverage (limited to 75 miles of the U.S.
          border and 10 consecutive days in Mexico) in your automobile insurance policy. This extension is made
          to Liberty policyholders because your U.S. coverage is broader than that extended by Mexican
          companies and it is possible, under certain conditions, to reimburse you for a loss on your return to the
          states.

          If you are planning a motor trip into Mexico you should contact one of the many agents representing
          reliable Mexican insurance companies and purchase a short term "Special Automobile Policy for
          Tourists" to protect you during your stay in that country. You will find these agents in practically every
          American city or town near the border.




AS 1006 (Ed. 12-89)

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         NUCLEAR, BIOLOGICAL, CHEMICAL & MOLD
         EXCLUSION ENDORSEMENT                                                                        AS 2228 07 05

         THIS EXCLUSION APPLIES TO ALL COVERAGES PROVIDED BY THIS POLICY
         INCLUDING ANY AND ALL ENDORSEMENTS

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



         We do not provide coverage for loss, damage, injury, liability, cost or expense, due to or as a
         consequence of, whether controlled or uncontrolled or however caused:

                a. Nuclear exposure, reaction or explosion including resulting fire, smoke, radiation or
                   contamination; and/or                                                              ,
                b. Biological or chemical attacl< or exposure to biological or chemical agents, or combination of
                   such agents, including resulting contamination or pollution.


         We do not provide coverage for loss, damage, injury, liability, cost or expense arising out of or
         aggravated by, in whole or in part, "mold, fungus, wet rot, dry rot, bacteria or virus."

                                                          0
         "Mold, fungus, wet rot, dry rot, bacteria or virus" means any type or form of fungus, rot, virus or
         bacteria. This includes mold, mildew and any mycotoxins, other microbes, spores, scents or
         byproducts produced or released by mold, mildew, fungus, rot, bacteria, or virus.




AS 2228 07 05                                                                               © 2005 Liberty Mutual Insurance Group

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AUTOMATIC TERMINATION ENDORSEMENT                                               AS 1046 (Ed. 12-89)


The AUTOMATIC TERMINATION Provision in Part F of the policy is replaced with the following:


       AUTOMATIC TERMINATION. If you obtain'other insurance on "your covered auto,"
       any similar insurance provided by this policy will terminate as to that auto on the
       effective date of the other insurance.




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                                                                                                  _ Liberty
                                                                                                       Mutual.
                                                                                                          INSURANCE


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         COVERAGE FOR DAMAGE TO YOUR AUTO EXCLUSION                                                    PERSOIVAL AUTO
         ENDORSEMENT                                                                                    PP 13 01 12 99

         With respect to the coverage provided by this endorsement, the provisions of the policy apply unless
         modified by the endorsement.

          I. Definitions                                           II. Part D- Coverage For Damage To Your Auto
            The following definition is added:                         The following exclusion is added:
            "Diminution in value" means the actual or                  We will not pay for:
            perceived loss in market or resale value
            which results from a direct and accidental                 Loss to "your covered auto" or any
            loss.                                                      "non-owned auto" due to "diminution in
                                                                       value".

         This endorsement must be attached to the Change Endorsement when issued after the policy is written.

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                                                                                 o~
NOTICE TO OTHERS IF CANCELLATION OCCURS                                              AS 1019 (Ed. 12-89)

We will not cancel Your Policy or reduce the insurance under any of its coverages until at least
     10         days after we have mailed a written notice of such cancellation or reduction to the
person(s) named below.




Name and Address*

    * As on file with the Company.

                                                                                                              AS 1019 (Ed. 12-89)




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                                                                                                       Liberty
                                                                                                       Mutual.
                                                                                                             INSURANCE


        Notice of Membership in Liberty Mutual Holding Company Inc.
        While this policy is in effect, the named insured first named in the Declarations is a member of Liberty
        Mutual Holding Company Inc. and is entitled to vote either in person or by proxy at any and all meetings
        of the members of said company. The Annual Meeting of Liberty Mutual Holding Company Inc. is in
        Boston, Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning.

        The named insured first named in the Declarations shall participate in the distribution of any dividends
        declared by us for this Policy. The amount of such Named Insured's participation is determined by the
        decision of our Board of Directors in compliance with any laws that apply.

        Any provisions in the policy relating to:
        1. Membership in Liberty Mutual Insurance Company or Liberty Mutual Fire Insurance Company; or
        2.   Entitlement to dividends as a member of Liberty Mutual Insurance Company or Liberty Mutual Fire
             Insurance Company
        are deleted and replaced by the preceding paragraphs.

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            Liberty Mutual.                                                                          Liberty Mutual Insurance
                                                                                                      350 E 96' Street
                    INSURANCE                                                                        Indianapolis, IN 46240
                                                                                                     Telephone: 317-581-6804




              September 13, 2016

               Zach Weichman
               PO Box 7230
               London, KY 40742


              Insured Name:             MITCHELL WOODALL
                                        VIVIAN WOODALL
              Policy Number:            A0229825114810
              Claim Number:             034189020
              Date of Loss:             8/6/2016
              Effective Date:           4/ 12/2016

              I hereby certify that the attached is a true and accurate copy of the documents requested for the policy
              listed above as maintained by the Liberty Mutual Insurance Group Inc. in the usual and customary course
              of its business.



              Sincerely,


                        ~




              Luann Mueller
              Policy Copy
              Support


              LM
              Enclosures




PL Policy/Dec Request                                ,


                                                      Attachment #2
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                                                                                                                                                                                                                                                Liberty
            Policy Declarations                                                                                                                                                                                                                 Mutual.
                                                                                                                                                                                                                                                 INSURANCE

            A summary of your auto insurance coverage
            Thank you for renewing with us.

            Your declarations are effective as of 04/12/2016.


    ~ INSURANCE INFORMATION                                                                                                                                                                                                                 ;.- ACTION
          Named Insured: Mitchell Woodall                                                                                                                                                                                                      ~ REQUIRED:
                         Vivian Woodall
                                                                                                                                                                                                                                                Please review and
            Policy Number:                                               A02-298-251148 -10 6 2
                                                                                                                                                                                                                                                keep for your records.
            Policy Period:                                               04/12/2016 -04/12/2017 12:01 AM
                                                                         standard time at the address of the
                                                                         Named Insured as stated below.
                                                                                                                                                                                                                                               QUESTIONS ABOUT
            Mailing Address:                                             22 Firelizard Ln
                                                                         Edgewood NM 87015-8022                                                                                                                                             ~  YOUR POLICY?
                                                                                                                                                                                                                                               By Phone
                                                                                                                                                                                                                                               For Service:
            Vehicles Covered by Your Policy                                                                                                                                                                                                    1-800-225-7014
            VEH                  YEAR                         MAKE                                                       MODEL                                         VEHICLE ID NUMBER                                                       Liberty Mutual
            1          2007                          HARL                                                                MOTORCYCLE 1HD1PR83X7Y954543                                                                                          PO Box 970
            2            2015                          HARL                                                              MOTORCYCLE   1HD1PXN13FB958247                                                                                        Mishawaka, IN 46546

            Coverage Details
                                                                                                                                                                                                                                               To report a claim
            Your total annual policy premium for all covered vehicles is shown below. A premium                                                                                                                                                By Phone
            is shown for each type of coverage you have purchased for each vehicle. Where no                                                                                                                                                   1-800-2CLAIMS
            premium is shown, you have not purchased the indicated coverage for that vehicle.                                                                                                                                                  (1-800-225-2467)

            Coverage Information

            ,..      r.......       ...-. ...in.:.:i-.
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            :.:.-.Total:.Annual.:
                   ;                      ::P...olic
                                              .         Y.... ...Premium..                                .:. . .. ....                                   ;::;:<: : : :..:;::;:..:.:..::'
                                                                       . .. .: . ..:..........                                                                                                                                                 YOU WILL BE BILLED
                                           .::.:::.:. :.. .;..:. :. :.:. ..: : . ..:::                          .. .... . ... . ;;:..                       ... . .. ... '.....::..... .., .:.. .         :
             Yout discounts arid; benefits have been. a.pplied.;,ln;cludes.'state:',sales:;tax and::local;:surcliarge                                                                                                                          SEPARATELY.
            :where. .:....    applicable                                                                        ::; .
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           COVERAGE                                                        LIMITS                                                                               PREMIUM PER

                                                                                                                                    VEHICLE VEH 1                             VEH 2
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                                                                                                    :~f:.i:f.:                                                                                                       .a2c'.)~'-~d:::a>
                  Bodily Injury                                      $       100,000                    Each Person                                      Yes                   Yes
                                                                     $       300,000                    Each Accident
                  Property Damage                                    $          50,000                  Each Accident

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                                :.h::h:..........i:.                                                    e.::`::R~: :•.:.....                      L . . .....     . . ....... '~>: ^:-..... ..•.SY::::: 3if::.. ,,.:.. ;.; .     ... .

                  Collision                                                                                                                             $189               $213
                  Actual Cash Value Less Deductible Shown
                  Veh 1 $1000                                                           Veh 2 $1000
                  Other Than Collision                                                                                                                  $102               $102
                  Actual Cash Value Less Deductible Shown
                 Veh 1 $1000                                                            Veh 2 $1000


           Annual Premium Per Vehicle:                                                                                                              $576                   $552




AUTO 3079 10 09                                                                                                                                                                                                                                                    Page 1 of 3
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                                                                                                                                                                                                                    Liberty
                                                                                                                                                                                                                    M.
                                                                                                                                                                                                                    utual
                                                                                                                                                                                                                     INSURANCE

            Coverage Information (continued)

             :•:..:   ....
             .. ........    . :::::..:;;:.: .:..:.... .... .. . . ..,.: ~::.::
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             Total• Annual Pollcy;Pre.mium                                                                                   `                                                     $1,128i00,.'.
             i our ,discounts and benefits have                                                                                                                                                                     PolicY Number:
                                                                              ; been applied. Includes state sales tax and local surcharge
             N:here, applicable.                        : •. :                     :.. : :                                                                                                                          A02-298-251148 -10 6 2
                                                                                                                                                                                                                ~
             ...iF        ..                                  .                                      ~. :
             ......,:.t.- .E.h:~:.~;.'                                       :~: :.Sr:v•
                                       ';::~::•:<:: `~: ..... ::.t . . ...,..: •:.....:.
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                                                                                                          •"4 .'.:E•n. :j:t
                                                                                                                                                        ...
                                                                                                                                                                                                           f        Declarations effective:
                                                                                                                                                                                                                    04/12/2016


            Discounts and Benefits
            Your discounts and benefits have been applied to your Total Annual Policy Premium

            POLICY DISCOUNTS
           . Motorcycle Accident Prevention Course                                                                  . TruStageT"'Auto and Homeowners
                                                                                                                         Insurance Program
           • Multi-Motorcycle                                                                                       • Multi-Policy

            Additional Information for Vehicles Covered by Your Policy

            COST NEW VALUE
             VEH 1: $26,000
             VEH 2: $35,000

            CC

             VEH 1: 1800 CC' S
             VEH 2: 1450 CC' S

           Driver Information

           DRIVER NAME                                                                       LICENSE NUMBER                                      DATE OF BIRTH                              STATE

            Mitchell F Woodall                                                                107724257                                          03/03/1959                                 NM
           To ensure proper coverage, please contact us to add drivers not listed above.


           Safe Driver Insurance Plan

           No Charges Apply - SCO


           Endorsements - Chanqes to Your Polic
            Amendment of Policy Provisions - New Mexico AS2162 06 07
            Automobile Amendatory Endorsement AS2258 08 06
            Amendment of Policy Definitions AS2344 04 08
            Split Liability Limits PP 03 09 04 86
            Mexico Extension Endorsement AS1006 12 89
            New Vehicle Replacement Cost Coverage AS2112 10 99
            Nuclear, Bio-Chemical & Mold Exclusion Endorsement AS2228 07 05
           Automatic Termination Endorsement AS1046 12 89
           Coverage For Damage To Your Auto Exclusion Endorsement PP 13 01 12 99
            Miscellaneous Type Vehicle Endorsement PP 03 23 06 94
            Membership in LMHC Inc. 2340 E




AUTO 3079 10 09                                                                                                                                                                                                                          Page 2 of 3
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                                                                                                               Liberty.
                                                                                                               Mutual.
                                                                                                                INSURANCE



            LibertyGuard Auto Policy Declarations provided and underwritten by
            Liberty Mutual Fire Insurance Company, Boston, MA.



                                                       This policy, including endorsements listed above
                                                       is countersigned by:
                                                                                                          19   Policy Number:
                                                                                                           , A02-298-251148 -10 6 2
                                                                                                               Declarations effective:
                                                                                                               04/12/2016
                                                             ~      x       ~"

                                                      Authorized Representative




            4!~
            President


                    lR

                           44re
            Secretary




AUTO 3079 10 09                                                                                                                     Page 3 of 3
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                                                                                 _. Liberty
                                                                                    Mutual.
                                                                                     INSURANCE




          LibertyGuard A.uto Policy
          Please read your policy and each endorsement carefully.




          To serve you best...


          Liberty Mutual has over 300 offices throughout the United States.
          Please contact your service office shown on your Declarations Page
          to report losses, or for any changes or questions about your
          insurance. Payments should be sent to the office indicated on your
          bill.




          THIS POLICY IS NONASSESSABLE                                         Liberty Mutual Insurance Group


AUTO 3422 Ed. 6-94 R1
                                                                               ~
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"   LIBERTYGUARD AUTO POLICY
    QUICK REFERENCE
                                                                                                              0   Liberty
                                                                                                                  Mutual.
                                                                                                                   INSURANCE


    DECLARATIONS PAGE
    Your Name and Address
    Your Auto or Trailer
    Policy Period
    Coverages and Amounts of Insurance
                                                            Beginning
                                                            On Page
    Agreement .................... ........................ 1
    Definitions .................... ........................ 1
    PART A - LIABILITY COVERAGE
     Insuring Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       2
     Supplementary Payments , , , , , , , , , , , , , , , , , , , , ..............                        2
     Exclusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2
     Limit of Liability . . . . . . . . . . . . . . . . . . . . .....................                     3
     Out of State Coverage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        3
     Financial Responsibility . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       4
     Other Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      4
    PART B- MEDICAL PAYMENTS COVERAGE
     Insuring Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           4
     Exclusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   4
     Limit of Liability • • • • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   4
     Other Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      5
    PART C- UNINSURED MOTORISTS COVERAGE
     Insuring Agreement         ....................................                                      5
     Exclusions ........ ...................................                                              5
     Limit of Liability • • • • • • • • • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   6
     Other Insurance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      6
     Arbitration ........ ...................................                                             g
    PART D- COVERAGE FOR DAMAGE TO YOUR AUTO
     Insuring Agreement . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   7
     Transportation Expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .7
     Exclusions ........ ...................................                                      8
     Limit of Liability .................... ....................                                 9
     Payment of Loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .9
     No Benefit to Bailee •••••••••••• •••••••••••• ••••••••••••                                  g
     Other Sources of Recovery . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . .   9
     Appraisal.............................................                                       g
    PART E - DUTIES AFTER AN ACCIDENT OR LOSS . . . . . . . . . . . . . . 10
    PART F - GENERAL PROVISIONS
     Bankruptcy ........................................... 10
     Changes.............................................. 10
     Fraud........................... ................... 10
     Legal Action Against Us . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
     Our Right To Recover Payment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
     Policy Period And Territory . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
     Termination .......................................... 11
     Transfer Of Your Interest In This Policy . . . . . . . . . . . . . . . . . . . . . . . . 12
     Two Or More Auto Policies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
    *MUTUAL POLICY CONDITIONS . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

       *These conditions apply only if Liberty Mutual Fire Insurance Company is
       shown in the Declarations as the insurer.
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                                                                                         _ Liberly
-                                                                                             Mutual.
                                                                                                   INSURANCE




    AUTO POLICY
    AGREEMENT                                              ,

    In return for payment of the premium and subject to all the terms of this policy, we agree with you
    as follows:
    DEFINITIONS

    A. Throughout this policy, "you" and "your"                   a. a private passenger auto; or
       referto:                                                   b. a pickup or van that:
       1. The "named insured" shown in the                           (1) has a Gross Vehicle Weight of less
          Declarations; and                                              than 10,000 Ibs.; and
       2. The spouse if a resident of the same                       (2) is not used for the delivery or
          household.                                                     transportation of goods and
    B. "We," "us" and "our" refer to the Company                         materials unless such use is:
       providing this insurance.                                        (a) incidental to your "business" of
    C. For purposes of this policy, a private                               installing,    maintaining    or
      passenger type auto shall be deemed to be                             repairing     furnishings     or
      owned by a person if leased:                                          equipment; or

       1. Under a written agreement to that                             (b) for farming or ranching.
          person; and                                             This provision (J.2.) applies only if:
       2. For a continuous period of at least 6                   a. you acquire the vehicle during the
          months.                                                    policy period;
    Other words and phrases are defined. They are                 b. you ask us to insure it within 30 days
    in quotation marks when used.                                    after you become the owner; and
    D. "Bodily injury" means bodily harm, sickness                c. with respect to a pickup or van, no
       or disease, including death that results.                     other insurance policy provides
    E. "Business" includes trade, profession or                      coverage for that vehicle.
       occupation.                                                If the vehicle you acquire replaces one
    F. "Family member" means a person related to                  shown in the Declarations, it will have
       you by blood, marriage or adoption who is a                the same coverage as the vehicle it
       resident of your household. This includes a                replaced. You must ask us to insure a
        ward or foster child.                                     replacement vehicle within 30 days only
                                                                  if you wish to add or continue Coverage
    G. "Occupying" means in, upon, getting in, on,                for Damage to Your Auto.
       out or off.
                                                                  If the vehicle you acquire is in addition to
    H. "Property damage" means physical injury to,                any shown in the Declarations, it will
       destruction of or loss of use of tangible                  have the broadest coverage we now
       property.                                                  provide for any vehicle shown in the
    I. "Trailer" means a vehicle designed to be                   Declarations.
        pulled by a:                                           3. Any "trailer" you own.
       1. Private passenger auto; or                           4. Any auto or "trailer" you do not own
      2. Pickup or van.                                           while used as a temporary substitute for
      It also means a farm wagon or farm                          any other vehicle described in this
      implement while towed by a vehicle listed in                definition which is out of normal use ,
      1. or 2. above.                                             because of its:
                                                                   a. breakdown;     d. loss; or
    J. "Your covered auto" means:                                  b. repair;        e. destruction.
      1. Any vehicle shown in the Declarations.                    c. servicing;
      2. Any of the following types of vehicles on                This provision (J.4.) does not apply to
         the date you become the owner:                           Coverage for Damage to Your Auto.




                                                                                                               Page 1 of 12
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                                                                                                d,iberty
                                                                                                Mutual.
                                                                                                 INSURANCE




           PART A - LIABILITY COVERAGE
           INSURING AGREEMENT                                          attendance at hearings or trials at our
                                                                       request.
          A. We will pay damages for "bodily injury" or
             "property damage" for which any "insured"              5. Other reasonable expenses incurred at
             becomes legally responsible because of an                 our request.
             auto accident.          Damages include pre-        EXCLUSIONS
             judgment interest awarded against the
                                                                 A. We do not provide Liability Coverage for any
             "insured." We will settle or defend, as we
                                                                    "insured":
             consider appropriate, any claim or suit
             asking for these damages. In addition to our           1. Who intentionally causes "bodily injury"
             limit of liability, we will pay all defense costs         or "property damage."
             we incur. Our duty to settle or defend ends            2. For "property damage" to property
             when our limit of liability for this coverage             owned or being transported by that
             has been exhausted. We have no duty to                     "insured."
             defend any suit or settle any claim for               3. For "property damage" to property:
             "bodily injury" or "property damage" not                  a. rented to;
             covered under this policy.
                                                                       b. used by; or
          B. "Insured" as used in this Part means:                     c. in the care of;
             1. You or any "family member" for the                     that "insured."
                ownership, maintenance or use of any
                                                                      This exclusion (A.3.) does not apply to
                auto or "trailer."
                                                                       "property damage" to a residence or
             2. Any person using "your covered auto."                 private garage.
             3. For "your covered auto," any person or             4. For "bodily injury" to an employee of that
                organization but only with respect to                  "insured" during the course of
                legal responsibility for acts or omissions            employment. This exclusion (A.4.) does
                of a person for whom coverage is                      not apply to "bodily injury" to a domestic
                afforded under this Part.                             employee unless workers' compensation
             4. For any auto or "trailer," other than "your           benefits are required or available for that
                covered auto," any other person or                    domestic employee.
                organization but only with respect to              5. For that "insured's" liability arising out of
                legal responsibility for acts or omissions            the ownership or operation of a vehicle
                of you or any "family member" for whom                while it is being used as a public or livery
                coverage is afforded under this Part.                 conveyance. This exclusion (A.5.) does
                This provision (13.4.) applies only if the            not apply to a share-the-expense car
                person or organization does not own or                pool.
                hire the auto or "trailer."
                                                                   6. While employed or otherwise engaged in
          SUPPLEMENTARY PAYMENTS                                      the "business" of:
          In addition to our limit of liability, we will pay          a. selling;       d. storing; or
          on behalf of an "insured":                                  b. repairing;     e. parking;
             1. Up to $250 for the cost of bail bonds                 c. servicing;
                required because of an accident,                      vehicles designed for use mainly on
                including related traffic law violations.             public highways. This includes road
                The accident must result in "bodily                   testing and delivery. This exclusion (A.6.)
                injury" or "property damage" covered                  does not apply to the ownership,
                under this policy.                                    maintenance or use of "your covered
             2. Premiums on appeal bonds and bonds to                 auto" by:
                release attachments in any suit we                    a. you;
                defend.                                               b. any "family member;" or
             3. Interest accruing after a judgment is                 c. any partner, agent or employee of you
                entered in any suit we defend. Our duty                  or any "family member."
                to pay interest ends when we offer to
                                                                   7. Maintaining or using any vehicle while
                pay that part of the judgment which does
                                                                      that "insured" is employed or otherwise
                not exceed our limit of liability for this
                                                                      engaged in any "business" (other than
                coverage.
                                                                      farming or ranching) not described in
             4. Up to $50 a day for loss of earnings,                 exclusion A.6.
                but not other income, because of
                                                                      This exclusion (A.7.) does not apply to
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                                                                                            Liberty
                                                                                            Mutual.
                                                                                            INSURANCE




       the maintenance or use of a:                            "occupying" any vehicle which is:
       a. Private passenger auto;                              a. owned by a"family member;" or
       b. Pickup or van that:                                  b. furnished or available for the regular
                                                                  use of a "family member."
          (1) You own; or
                                                            4. Any vehicle, located inside a facility
          (2) You do not own while used as a                   designed for racing, for the purpose of:
               temporary substitute for "your
                                                               a. Competing in; or
               covered auto" which is out of
               normal use because of its:                       b. Practicing or preparing for;
               a. breakdown;      d. loss; or                  any prearranged or organized racing or
               b. repair;        e. destruction; or            speed contest.
               c. servicing;                             LIMIT OF LIABILITY
        c. "Trailer" used with a vehicle described       A. The limit of liability       shown    in the
           in a. or b. above.                               Declarations for this coverage is our
   8. Using a vehicle without a reasonable                  maximum limit of liability for all damages
       belief that that "insured" is entitled to do         resulting from any one auto accident. This is
       so.                                                  the most we will pay regardless of the
   9. For "bodily injury" or "property damage"              number of:
       for which that "insured:"                            1. "Insureds;"
       a. is an insured under a nuclear energy              2. Claims made;
           liability policy; or                             3. Vehicles or premiums shown in the
       b. would be an insured under a nuclear                  Declarations; or
           energy liability policy but for its              4. Vehicles involved in the auto accident.
           termination upon exhaustion of its
                                                         B. We will apply the limit of liability to provide
           limit of liability.
                                                            any separate limits required by law for bodily
      A nuclear energy liability policy is a policy         injury and property damage liability.
      issued by any of the following or their               However, this provision (B.) will not change
      successors:                                           our total limit of liability.
       a. American Nuclear Insurers;
                                                         C. No one will be entitled to receive duplicate
      b. Mutual        Atomic    Energy      Liability      payments for the same elements of loss
           Underwriters; or                                 under this coverage and:
      c. Nuclear Insurance Association of                   1. Part B or Part C of this policy; or
           Canada.
                                                            2. Any Underinsured Motorists Coverage
B. We do not provide Liability Coverage for the                provided by this policy.
   ownership, maintenance or use of:
                                                         OUT OF STATE COVERAGE
   1. Any vehicle which:
                                                         If an auto accident to which this policy applies
      a. Has fewer than four wheels; or
                                                         occurs in any state or province other than the
      b. Is designed mainly for use off public
                                                         one in which "your covered auto" is principally
         roads.                                          garaged, we will interpret your policy for that
      This exclusion (13.1 .) does not apply:            accident as follows:
      a. While such vehicle is being used by an          A. If the state or province has:
         "insured" in a medical emergency; or
                                                            1. A financial responsibility or similar law
      b. To any "trailer."
                                                               specifying limits of liability for "bodily
   2. Any vehicle, other than "your covered                    injury" or "property damage" higher than
      auto," which is:                                         the limit shown in the Declarations, your
       a. owned by you; or                                     policy will provide the higher specified
       b. furnished or available for your regular              limit.
          use.                                              2. A compulsory insurance or similar law
   3. Any vehicle, other than "your covered                    requiring a nonresident to maintain
      auto," which is:                                         insurance whenever the nonresident uses
       a. owned by any "family member;" or                     a vehicle in that state or province, your
                                                               policy will provide at least the required
      b. furnished or available for the regular
                                                               minimum amounts and types of coverage.
         use of any "family member."
                                                         B. No one will be entitled to duplicate
      However, this exclusion (B.3.) does not
                                                            payments for the same elements of loss.
      apply to you while you are maintaining or
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                                                                                                 Liberty
                                                                                                 Mutual.
                                                                                                  INSURANCE




           FINANCIAL RESPONSIBILITY                              will pay only our share of the loss. Our share is
           When this policy is certified as future proof of      the proportion that our limit of liability bears to
           financial responsibility, this policy shall comply    the total of all applicable limits. However, any
           with the law to the extent required.                  insurance we provide for a vehicle you do not
                                                                 own shall be excess over any other collectible
           OTHER INSURANCE                                       insurance.
           If there is other applicable liability insurance we

           PART B- MEDICAL PAYMENTS COVERAGE
           INSURING AGREEMENT                                           a. owned by any "family member;" or
           A. We will pay reasonable expenses incurred                  b. furnished or available for the regular
              for necessary medical and funeral services                   use of any "family member."
              because of "bodily injury:"                               However, this exclusion (6.) does not
               1. Caused by accident; and                               apply to you.
               2. Sustained by an "insured."                        7. Sustained while "occupying" a vehicle
               We will pay only those expenses incurred for            without a reasonable belief that that
               services rendered within 3 years from the               "insured" is entitled to do so.
               date of the accident.                                8. Sustained while "occupying" a vehicle
          B. "Insured" as used in this Part means:                     when it is being used in the "business" of
                                                                       an "insured." This exclusion (8.) does
               1. You or any "family member:"                          not apply to "bodily injury" sustained
                  a. while "occupying;" or                             while "occupying" a:
                  b. as a pedestrian when struck by;                    a. private passenger auto;
                  a motor vehicle designed for use mainly               b. pickup or van that you own; or
                  on public roads or a trailer of any type.             c. "trailer" used with a vehicle described
               2. Any other person while "occupying"                       in a. or b. above.
                  "your covered auto."                              9. Caused by or as a consequence of:
          EXCLUSIONS                                                    a. discharge of a nuclear weapon (even if
          We do not provide Medical Payments Coverage                      accidental);
          for any "insured" for "bodily injury:"                        b. war (declared or undeclared);
               1. Sustained   while    "occupying"     any              c. civil war;
                  motorized vehicle having fewer than four              d. insurrection; or
                  wheels.
                                                                        e. rebellion or revolution.
               K Sustained while "occupying" "your
                                                                   10. From or as a consequence of the
                 covered auto" when it is being used as a
                                                                       following,    whether    controlled or
                 public or livery conveyance. This
                                                                       uncontrolled or however caused:
                 exclusion (2.) does not apply to a
                 share-the-expense car pool.                            a. nuclear reaction;
               3 Sustained while "occupying" any vehicle                b. radiation; or
                  located for use as a residence or                     c. radioactive contamination.
                  premises.                                        11. Sustained while "occupying" any vehicle
               4 Occurring during the course of                        located inside a facility designed for
                 employment if workers' compensation                   racing, for the purpose of:
                 benefits are required or available for the             a. competing in; or
                 "bodily injury."
                                                                        b. practicing or preparing for;
               5 Sustained while "occupying," or when
                                                                       any prearranged or organized racing or
                  struck by, any vehicle (other than "your
                                                                       speed contest.
                  covered auto") which is:
                                                                 LIMIT OF LIABILITY
                  a. owned by you; or
                                                                 A. The limit of liability       shown    in the
                  b. furnished or available for your regular
                                                                    Declarations for this coverage is our
                     use.                                           maximum limit of liability for each person
               6. Sustained while "occupying," or when              injured in any one accident. This is the most
                  struck by, any vehicle (other than "your          we will pay regardless of the number of:
                  covered auto") which is:                          1. "Insureds;"
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                                                                                      Liberty
                                                                                    _ Mutual.
                                                                                        INSURANCE




   2. Claims made;                                     OTHER INSURANCE
   3. Vehicles or premiums shown in the                If there is other applicable auto medical
      Declarations; or                                 payments insurance we will pay only our share
   4. Vehicles involved in the accident.               of the loss. Our share is the proportion that our
                                                       limit of liability bears to the total of all
B. No one will be entitled to receive duplicate        applicable limits. However, any insurance we
   payments for the same elements of loss              provide with respect to a vehicle you do not
   under this coverage and:                            own shall be excess over any other collectible
   1. Part A or Part C of this policy; or              auto insurance providing payments for medical
                                                       or funeral expenses.
   2. Any Underinsured Motorists Coverage
      provided by this policy.

PART C- UNINSURED MOTORISTS COVERAGE
INSURING AGREEMENT                                            c. "your covered auto."
A. We will pay compensatory damages which                 4. To which a bodily injury liability bond or
   an "insured" is legally entitled to recover               policy applies at the time of the accident
   from the owner or operator of an "uninsured               but the bonding or insuring company:
   motor vehicle" because of "bodily injury:"
                                                              a. denies coverage; or
   1. Sustained by an "insured;" and
                                                              b. is or becomes insolvent.
   2. Caused by an accident.
                                                          However, "uninsured motor vehicle" does
   The owner's or operator's liability for these          not include any vehicle or equipment:
   damages must arise out of the ownership,
                                                          1. Owned by or furnished or available for
   maintenance or use of the "uninsured motor
                                                             the regular use of you or any "family
   vehicle."
                                                             member."
   Any judgment for damages arising out of a
                                                          2. Owned or operated by a self-insurer
   suit brought without our written consent is
                                                             under any applicable motor vehicle law,
   not binding on us.
                                                             except a self-insurer which is or becomes
B. "fnsured" as used in this Part means:                     insolvent.
   1. You or any "family member."                         3. Owned by any governmental unit or
                                                             agency.
   2. Any other person "occupying" "your
      covered auto."                                      4. Operated on rails or crawler treads.

   3. Any person for damages that person is               5. Designed mainly for use off public roads
      entitled to recover because of "bodily                 while not on public roads.
      injury" to which this coverage applies              6. While located for use as a residence or
      sustained by a person described in 1. or               premises.
      2. above.
                                                       EXCLUSIONS
C. "Uninsured motor vehicle" means a land              A. We do not provide Uninsured Motorists
   motor vehicle or trailer of any type:                  Coverage for "bodily injury" sustained:
   1. To which no bodily injury liability bond or          1. By an "insured" while "occupying," or
      policy applies at the time of the accident.              when struck by, any motor vehicle
   2. To which a bodily injury liability bond or               owned by that "insured" which is not
      policy applies at the time of the accident.              insured for this coverage under this
      In this case its limit for bodily injury                 policy. This includes a trailer of any type
      liability must be less than the minimum                  used with that vehicle.
      limit for bodily injury liability specified by      2. By      any     "family   member"       while
      the financial responsibility law of the                 "occupying," or when struck by, any
      state in which "your covered auto" is                  motor vehicle you own which is insured
      principally garaged.                                    for this coverage on a primary basis
   3. Which is a hit-and-run vehicle whose                   under any other policy.
      operator or owner cannot be identified           B. We do not provide Uninsured Motorists
      and which hits:                                     Coverage for "bodily injury" sustained by any
      a. you or any "family member;"                      "insured:"
      b. a vehicle which you or any "family              1. If that "insured" or the legal
         member" are "occupying;" or
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                                                                                                 _ Liberty
                                                                                                   Mutual.
                                                                                                          INSURANCE



                     representative settles the "bodily injury"         applicable limit for any one vehicle under
                     claim without our consent.                         any insurance providing coverage on
               2. While "occupying" "your covered auto"                 either a primary or excess basis.
                  when it is being used as a public or livery        2. Any insurance we provide with respect to
                  conveyance. This exclusion (B.2.) does                a vehicle you do not own shall be excess
                  not apply to a share-the-expense car                  over any collectible insurance providing
                  pool.                                                 coverage on a primary basis.
               3. Using a vehicle without a reasonable               3. If the coverage under this policy is
                  belief that that "insured" is entitled to do          provided:
                     so.                                                a. On a primary basis, we will pay only
          C. This coverage shall not apply directly or                      our share of the loss that must be
             indirectly to benefit any insurer or                           paid under insurance providing
             self-insurer under any of the following or                     coverage on a primary basis. Our
             similar law:                                                   share is the proportion that our limit
             1. Workers' compensation law; or                               of liability bears to the total of all
                                                                            applicable limits of liability for
             2. Disability benefits law.
                                                                            coverage provided on a primary basis.
          D. We do not provide Uninsured Motorists
             Coverage for punitive or exemplary                         b. On an excess basis, we will pay only
             damages.                                                      our share of the loss that must be
                                                                           paid under insurance providing
          LIMIT OF LIABILITY                                               coverage on an excess basis. Our
          A. The      limit of liability shown      in the                 share is the proportion that our limit
               Declarations for this coverage is our                       of liability bears to the total of all
               maximum limit of liability for all damages                  applicable limits of liability for
               resulting from any one accident. This is the                coverage provided on an excess basis.
               most we will pay regardless of the number          ARBITRATION
               of:
                                                                  A. If we and an "insured" do not agree:
             1. "Insureds;"
                                                                     1. Whether that "insured" is legally entitled
            2. Claims made;
                                                                        to recover damages; or
            3. Vehicles or premiums shown in the
                                                                     2. As to the amount of damages which are
                Declarations; or
                                                                        recoverable by that "insured;"
            4. Vehicles involved in the accident.
                                                                     from the owner or operator of an "uninsured
          B No one will be entitled to receive duplicate
                                                                     motor vehicle," then the matter may be
            payments for the same elements of loss
                                                                     arbitrated. However, disputes concerning
            under this coverage and:
                                                                     coverage under this Part may not be
            1. Part A or Part B of this policy; or                   arbitrated.
             2. Any Underinsured Motorists Coverage                  Both parties must agree to arbitration. If so
                 provided by this policy.                            agreed, each party will select an arbitrator.
          C We will not make a duplicate payment under               The two arbitrators will select a third. If they
             this coverage for any element of loss for               cannot agree within 30 days, either may
             which payment has been made by or on                    request that selection be made by a judge of
             behalf of persons or organizations who may              a court having jurisdiction.
             be legally responsible.                              B. Each party will:
          ~] We will not pay for any element of loss if a            1. Pay the expenses it incurs; and
             person is entitled to receive payment for the           2. Bear the expenses of the third arbitrator
             same element of loss under any of the                      equally.
             following or similar law:
                                                                  C. Unless both        parties agree otherwise,
               1. Workers' compensation law; or                      arbitration will take place in the county in
               2. Disability benefits law.                           which the "insured" lives. Local rules of law
                                                                     as to procedure and evidence will apply. A
          OTHER INSURANCE
                                                                     decision agreed to by two of the arbitrators
          If there is other applicable insurance available           will be binding as to:
          under one or more policies or provisions of
                                                                      1. Whether the "insured" is legally entitled
          coverage:
                                                                           to recover damages; and
               1. Any recovery for damages under all such
                  policies or provisions of coverage may              2. The amount of damages. This applies
                                                                           only if the amount does not exceed the
                  equal but not exceed the highest
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                                                                                   Mutual.
                                                                                    INSURANCE




   minimum limit for bodily injury liability            to a trial. This demand must be made within
   specified by the financial responsibility law        60 days of the arbitrators' decision. If this
   of the state in which "your covered auto" is         demand is not made, the amount of
   principally garaged. If the amount exceeds           damages agreed to by the arbitrators will be
   that limit, either party may demand the right        binding.

PART D- COVERAGE FOR DAMAGE TO YOUR AUTO

INSURING AGREEMENT                                         normal use because of its:
A. We will pay for direct and accidental loss to           a. breakdown;      d. loss; or
    "your covered auto" or any "non-owned                  b. repair;         e. destruction.
   auto," including their equipment, minus any             c. servicing;
   applicable deductible shown in the                TRANSPORTATION EXPENSES
   Declarations. If loss to more than one "your
                                                     In addition, we will pay, without application of
   covered auto" or "non-owned auto" results
                                                     a deductible, up to $15 per day, to a maximum
   from the same "collision," only the highest
                                                     of $450, for:
   applicable deductible will apply. We will pay
   for loss to "your covered auto" caused by:           1. Temporary     transportation     expenses
   1. Other than "collision"        only if the            incurred by you in the event of a loss to
       Declarations indicate that Other Than               "your covered auto." We will pay for
        Collision Coverage is provided for that            such expenses if the loss is caused by:
       auto.                                               a. Other than "collision" only if the
   2. "Collision" only if the Declarations                    Declarations indicate that Other Than
       indicate that Collision Coverage is provide            Collision Coverage is provided for that
       d for that auto.                                       auto.
   If there is a loss to a"non-owned auto," we            b. "Collision" only if the Declarations
   will provide the broadest coverage applicable             indicate that Collision Coverage is
   to any "your covered auto" shown in the                   provided for that auto.
   Declarations.                                       2. Loss of use expenses for which you
B. "Collision" means the upset of "your                   become legally responsible in the event of
   covered auto" or a"non-owned auto" or                  loss to a"non-owned auto." We will pay
   their impact with another vehicle or object.           for loss of use expenses if the loss is
                                                          caused by:
  Loss caused by the following is considered
  other than "collision:"                                  a. Other than "collision" only if the
  1. Missiles or          6. Hail. Water or flood;            Delcarations indicate that Other Than
     falling objects;      7. Malicious mischief              Collision Coverage is provided for any
                              or vandalism                    "your covered auto."
  2. Fire;                 8. Riot or civil commo-         b. "Collision" only if the Declarations
                              tion;                           indicate that Collision Coverage is
  3. Theft or larceny;     9. Contact with bird               provided for any "your covered auto."
  4. Explosion or earth-       or animal; or           If the loss is caused by a total theft of "your
      quake;                                           covered auto" or a"non-owned auto," we
                          10. Breakage of glass        will pay only expenses incurred during the
  5. Windstorm;                                        period:
   If breakage of glass is caused by a                 1. Beginning 48 hours after the theft; and
   "collision," you may elect to have it
                                                       2. Ending when "your covered auto" or the
   considered a loss caused by "collision."
                                                           "non-owned auto" is returned to use or
C. "Non-owned auto" means:                                 we pay for its loss.
   1. Any private passenger auto, pickup, van          If the loss is caused by other than theft of a
       or "trailer" not owned by or furnished or       "your covered auto" or a"non-owned auto,"
       available for the regular use of you or         we will pay only expenses beginning when
       any "family member" while in the                the auto is withdrawn from use for more
       custody of or being operated by you or          than 24 hours.
       any "family member;" or                         Our payment will be limited to that period of
    2. Any auto or "trailer" you do not own             time reasonably required to repair or replace
       while used as a temporary substitute for         the "your covered auto" or the "non-owned
       "your covered auto" which is out of              auto."
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                                                                                               Liberty
                                                                                               Mutual.
                                                                                                INSURANCE




          EXCLUSIONS                                                     reproduction of sound and accessories
                                                                         used with such equipment, provided:
          We will not pay for:
               1. Loss to "your covered auto" or any                    (1) The equipment is permanently
                                                                            installed in "your covered auto" or
                  "non-owned auto" which occurs while it
                                                                            any "non-owned auto;" or
                  is being used as a public or livery
                  conveyance. This exclusion (1.) does not              (2) The equipment is:
                  apply to a share-the-expense car pool.                   (a) Removable from a housing unit
               2. Damage due and confined to:                                  which is permanently installed
                  a. wear and tear;                                            in the auto;
                  b. freezing;                                             (b) Designed to be solely operated
                  c. mechanical or electrical breakdown or                     by use of the power from the
                     failure; or                                               auto's electrical system; and

                  d. road damage to tires.                                 (c) In or upon "your covered auto"
                                                                               or any "non-owned auto;"
                  This exclusion (2.) does not apply if the
                  damage results from the total theft of                    at the time of the loss.
                  "your covered auto" or any "non-owned              b. any other electronic equipment that is:
                  auto."
                                                                        (1) necessary for the normal operation
               3. Loss due to or as a consequence of:                       of the auto or the monitoring of
                   a. radioactive contamination;                            the auto's operating systems; or
                  b. discharge of any        nuclear   weapon           (2) an integral part of the same unit
                     (even if accidental);                                  housing any sound reproducing
                  c. war (declared or undeclared);                          equipment described in a. and
                  d. civil war;                                             permanently     installed  in    the
                                                                            opening of the dash or console of
                  e. insurrection; or                                       "your    covered    auto"  or   any
                  f. rebellion or revolution.                               "non-owned auto" normally used
               4. Loss to:                                                  by the manufacturer for installation
                                                                            of a radio.
                  a. Any electronic equipment designed for
                     the reproduction of sound, including,        5. A total loss to "your covered auto" or
                     but not limited to:                             any "non-owned auto" due to destruction
                    (1) radios and stereos;                          or confiscation by governmental or civil
                                                                     authorities.
                    (2) tape decks; or
                                                                     This exclusion (5.) does not apply to the
                    (3) compact disc players;
                                                                     interests of Loss Payees in "your covered
                  b. Any other electronic equipment that             auto."
                     receives or transmits audio, visual or
                     data signals, including, but not limited     6. Loss to a camper body or "trailer" you
                                                                     own which is not shown in the
                     to:
                                                                     Declarations. This exclusion (6.) does not
                    (1) citizens band radios;                        apply to a camper body or "trailer" you:
                    (2) telephones;
                                                                     a. acquire during the policy period; and
                    (3) two-way mobile radios;
                                                                     b. ask us to insure within 30 days after
                    (4) scanning monitor receivers;                     you become the owner.
                    (5) television monitor receivers;             7. Loss to any "non-owned auto" when
                    (6) video cassette recorders;                    used by you or any "family member"
                    (7) audio cassette recorders; or                 without a reasonable belief that you or
                                                                     that "family member" are entitled to do
                    (8) personal computers;
                                                                     so.
                  c. tapes, records, discs, or other media
                     used with equipment described in a.          8• Loss to:
                     or b.; or                                       a. awnings or cabanas; or
                  d. any other accessories used            with      b. equipment       designed      to    create
                     equipment described in a. or b.                    additional living facilities.
                  This exclusion (4.) does not apply to:          9. Loss to equipment designed or used for
                  a. equipment designed solely for the               the detection or location of radar or laser.
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                                                                                    _ Liberty
                                                                                      Mutual.
                                                                                         INSURANCE




  10. Loss to any custom furnishings or                    However, the most we will pay for loss to
      equipment in or upon any pickup or van.              any "non-owned auto" which is a trailer is
      Custom furnishings or equipment include              $500.
      but are not limited to:
                                                        B. An adjustment for depreciation and physical
       a. special    carpeting     and    insulation,      condition will be made in determining actual
          furniture or bars;                               cash value in the event of a total loss.
       b. facilities for cooking and sleeping;          C. If a repair or replacement results in better
       c. height-extending roofs; or                       than like kind or quality, we will not pay for
                                                           the amount of the betterment.
       d. custom murals, paintings or other
          decals or graphics.                           PAYMENT OF LOSS
  11. Loss to any "non-owned auto" being                We may pay for loss in money or repair or
      maintained or used by any person while            replace the damaged or stolen property. We
      employed or otherwise engaged in the              may, at our expense, return any stolen property
      "business" of:                                    to:
       a. selling;           d. storing; or                1. You; or
       b. repairing;        e. parking;                    2. The address shown in this policy.
       c. servicing;                                    If we return stolen property we will pay for any
       vehicles designed for use on public              damage resulting from the theft. We may keep
       highways. This includes road testing and         all or part of the property at an agreed or
       delivery.                                        appraised value.
  12. Loss to any "non-owned auto" being                If we pay for loss in money, our payment will
      maintained or used by any person while            include the applicable sales tax for the damaged
      employed or otherwise engaged in any              or stolen property.
      "business" not described in exclusion 1 1.        NO BENEFIT TO BAILEE
      This exclusion (12.) does not apply to the
      maintenance or use by you or any "family          This insurance shall not directly or indirectly
      member" of a"non-owned auto" which is             benefit any carrier or other bailee for hire.
      a private passenger auto or "trailer."            OTHER SOURCES OF RECOVERY
  13. Loss to "your covered auto" or any                If other sources of recovery also cover the loss,
      "non-owned auto," located inside a                we will pay only our share of the loss. Our
      facility designed for racing, for the             share is the proportion that our limit of liability
      purpose of:                                       bears to the total of all applicable limits.
       a. competing in; or                              However, any insurance we provide with
                                                        respect to a"non-owned auto" shall be excess
       b. practicing or preparing for;
                                                        over any other collectible source of recovery
      any prearranged or organized racing or            including, but not limited to:
      speed contest.
                                                           1. Any coverage provided by the owner of
  14. Loss to, or loss of use of, a"non-owned                 the "non-owned auto;"
      auto" rented by:
                                                           2. Any other applicable physical damage
       a. you; or
                                                              insurance;
       b. any "family member;"
                                                           3. Any other source of recovery applicable
      if a rental vehicle company is precluded                to the loss.
      from recovering such loss or loss of use,
                                                        APPRAISAL
      from you or that "family member,"
      pursuant to the provisions of any                 A. If we and you do not agree on the amount of
      applicable rental agreement or state law.            loss, either may demand an appraisal of the
LIMIT OF LIABILITY                                         loss. In this event, each party will select a
                                                           competent appraiser. The two appraisers will
A. Our limit of liability for loss will be the lesser      select an umpire. The appraisers will state
   of the:                                                 separately the actual cash value and the
   1. Actual cash value of the stolen or                   amount of loss. If they fail to agree, they will
      damaged property;                                    submit their differences to the umpire. A
   2. Amount necessary to repair or replace the            decision agreed to by any two will be
      property with other property of like kind            binding. Each party will:
      and quality.
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                                                                                            : Liberty
                                                                                               Mutual.
                                                                                                INSURANCE




                1. Pay its chosen appraiser; and                B. We do not waive any of our rights under this
                2. Bear the expenses of the appraisal and          policy by agreeing to an appraisal.
                   umpire equally.
          PART E- DUTIES AFTER AN ACCIDENT OR LOSS
          We have no duty to provide coverage under this               b. other pertinent records.
          policy unless there has been full compliance
                                                                   5. Submit a proof of loss when required by
          with the following duties:
                                                                      us.
          A. We must be notified promptly of how, when
                                                                C. A person seeking Uninsured Motorists
             and where the accident or loss happened.
                                                                   Coverage must also:
             Notice should also include the names and
             addresses of any injured persons and of any           1. Promptly notify the police if a hit-and-run
             witnesses.                                               driver is involved.
          B. A person seeking any coverage must:                   2. Promptly send us copies of the legal
                1. Cooperate with us in the investigation,            papers if a suit is brought.
                   settlement or defense of any claim or        D. A person seeking Coverage for Damage to
                   suit.                                           Your Auto must also:
                2. Promptly send us copies of any notices or       1. Take reasonable steps after loss to
                   legal papers received in connection with           protect "your covered auto" or any
                   the accident or loss.                              "non-owned auto" and their equipment
                3. Submit, as often as we reasonably                  from further loss. We will pay reasonable
                   require:                                           expenses incurred to do this.
                   a. to physical exams by physicians we           2. Promptly notify the police if "your
                      select. We will pay for these exams.            covered auto" or any "non-owned auto"
                   b. to examination under oath and                   is stolen.
                      subscribe the same.                          3. Permit us to inspect and appraise the
                4. Authorize us to obtain:                            damaged property before its repair or
                    a. medical reports; and                           disposal.

          PART F - GENERAL PROVISIONS
          BANKRUPTCY                                            adjustment in accordance with our manual
                                                                rules.
          Bankruptcy or insolvency of the "insured" shall
          not relieve us of any obligations under this          C. If we make a change which broadens
          policy.                                                  coverage under this edition of your policy
                                                                   without additional premium charge, that
          CHANGES
                                                                  change will automatically apply to your
          A. This policy contains all the agreements              policy as of the date we implement the
              between you and us. Its terms may not be            change in your state. This paragraph (C.)
              changed or waived except by endorsement             does not apply to changes implemented with
             issued by us.                                        a general program revision that includes both
          B. If there is a change to the information used         broadenings and restrictions in coverage,
               to develop the policy premium, we may               whether that general program revision is
               adjust your premium. Changes during the            implemented through introduction of:
             policy term th'at may result in a premium
                                                                  1. A subsequent edition of your policy; or
             increase or decrease include, but are not
             limited to, changes in:                              2. An Amendatory Endorsement.
                1. The number, type or use classification of    FRAUD
                   insured vehicles;                            We do not provide coverage for any "insured"
                                                                who has made fraudulent statements or
                2. Operators using insured vehicles;
                                                                engaged in fraudulent conduct in connection
                3. The place of principal garaging of insured   with any accident or loss for which coverage is
                   vehicles;                                    sought under this policy.
              4. Coverage, deductible or limits.                LEGAL ACTION AGAINST US
          If a change resulting from A. or B. requires a
                                                                A. No legal action may be brought against us
          premium adjustment, we will make the premium
                                                                    until there has been full compliance with all
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   the terms of this policy. In addition, under           b. giving us advance written notice of
   Part A, no legal action may be brought                    the date cancellation is to take effect.
   against us until:                                   2. We may cancel by mailing to the named
   1. We agree in writing that the "insured"              insured shown in the Declarations at the
      has an obligation to pay; or                        address shown in this policy:

   2. The amount of that obligation has been                 a. at least 10 days notice:
      finally determined by judgment after trial.              (1) if cancellation is for nonpayment of
B. No person or organization has any right                         premium; or
   under this policy to bring us into any action               (2) if notice is mailed during the first
   to determine the liability of an "insured."                     60 days this policy is in effect and
OUR RIGHT TO RECOVER PAYMENT                                       this is not a renewal or
                                                                   continuation policy; or
A. If we make a payment under this policy and
   the person to or for whom payment was                     b. at least 20 days notice in all other
   made has a right to recover damages from                     cases.
   another we shall be subrogated to that right.       3. After this policy is in effect for 60 days,
   That person shall do:                                  or if this is a renewal or continuation
   1. Whatever is necessary to enable us to               policy, we will cancel only:
      exercise our rights; and                               a. for nonpayment of premium; or
   2. Nothing after loss to prejudice them.                  b. if your driver's license or that of:
   However, our rights in this paragraph (A.) do               (1) any driver who lives with you; or
   not apply under Part D, against any person                  (2) any driver who customarily uses
   using "your covered auto" with a reasonable                     "your covered auto;"
   belief that that person is entitled to do so.
                                                             has been suspended or revoked. This
B. If we make a payment under this policy and                must have occurred:
   the person to or for whom payment is made
   recovers damages from another, that person                  (1) during the policy period; or
   shall:                                                     (2) since the last anniversary of the
   1. Hold in trust for us the proceeds of the                     original effective date if the policy
      recovery; and                                                period is other than 1 year; or
   2. Reimburse us to the extent of our                    c. if the policy was obtained through
      payment.                                               material misrepresentation.
POLICY PERIOD AND TERRITORY                         B. Nonrenewal. If we decide not to renew or
                                                       continue this policy, we will mail notice to
A. This policy applies only to accidents and
                                                       the named insured shown in the Declarations
   losses which occur:
                                                       at the address shown in this policy. Notice
   1. During the policy period as shown in the         will be mailed at least 20 days before the
      Declarations; and                                end of the policy period. If the policy period
   2. Within the policy territory.                     is:
                                                       1. Less than 6 months, we will have the
B. The policy territory is:
                                                           right not to renew or continue this policy
   1. The United States of America, its                    every 6 months, beginning 6 months
      territories or possessions;                          after its original effective date.
   2. Puerto Rico; or                                  2. 1 year or longer, we will have the right
   3. Canada.                                             not to renew or continue this policy at
                                                          each anniversary of its original effective
   This policy also applies to loss to, or                date.
   accidents involving, "your covered auto"
   while being transported between their ports.     C. Automatic Termination. If we offer to renew
                                                       or continue and you or your representative
TERMINATION                                            do not accept, this policy will automatically
A. Cancellation. This policy may be cancelled          terminate at the end of the current policy
   during the policy period as follows:                period. Failure to pay the required renewal or
                                                       continuation premium when due shall mean
   1. The named insured shown in the
                                                       that you have not accepted our offer.
      Declarations may cancel by:
                                                      If you obtain other insurance on "your cove-
       a. returning this policy to us; or              red auto," any similar insurance provided by
                                                                                                    Page 11 of 12

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             this policy will terminate as to that auto on               1. The surviving spouse if resident in the
             the effective date of the other insurance.                     same household at the time of death.
         D. Other Termination Provisions..                                  Coverage applies to the spouse as if a
            1. We may deliver any notice instead of                         named insured shown in the Declarations;
                 mailing it. Proof of mailing of any notice                  and
                 shall be sufficient proof of notice.                     2. The legal representative of the deceased
            2. If this policy is cancelled, you may be                        person as if a named insured shown in
                 entitled to a premium refund. If so, we                      the Declarations. This applies only with
                 will send you the refund. The premium                        respect to the representative's legal
                 refund, if any, will be computed                             responsibility to maintain or use "your
                 according to our manuals. However,                           covered auto."
                making or offering to make the refund is              B. Coverage will only be provided until the end
                not a condition of cancellation.                          of the policy period.
            3. The effective date of cancellation stated              TWO OR MORE AUTO POLICIES
                 in the notice shall become the end of the            If this policy and any other auto insurance
                 policy period.                                       policy issued to you by us apply to the same
         TRANSFER OF YOUR INTEREST IN THIS                            accident, the maximum limit of our liability
         POLICY                                                       under all the policies shall not exceed the
         A. Your rights and duties under this policy may              highest applicable limit of liability under any one
            not be assigned without our written consent.              policy.
            However, if a named insured shown in the
            Declarations dies, coverage will be provided
            for:



         *MUTUAL POLICY CONDITIONS
         You are a member of the Liberty Mutual Fire Insurance Company while this policy is in force.
         Membership entitles you to vote in person or by proxy at meetings of the company. The Annual
         Meeting is in Boston, Massachusetts, on the second Wednesday in April each year at 11 o'clock in the
         morning.
         Also, as a member, you will receive any dividends declared on this policy by the Directors.
         This policy is classified in Dividend Class IV-Automobile.
         This policy has been signed by our President and Secretary at Boston, Massachusetts, and
         countersigned on the Declarations Page by an authorized representative.




         *These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as
         the insurer.




                                                                                               ~*( e- ~jj
                   PRESIDENT                                                                     SECRETARY




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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                                                AS 2162 06 07
AMENDMENT OF POLICY PROVISIONS - NEW MEXICO                                                   (PP 01 96 06 94)
 Part A - Liability Coverage                                                     "family member":
 A. Paragraph A. of the Insuring Agreement                                       (a) For use as a temporary
    is replaced by the following:                                                     substitute while "your
     A. We will pay damages, other than                                               covered auto" is out of
         punitive or exemplary damages, for                                           normal use because of its
         "bodily injury" or "property damage"                                         breakdown,      repair   or
         for which any "insured" becomes                                              servicing;
         legally responsible because of an auto                                  (b) To       demonstrate     the
         accident.            Damages        include                                  vehicle; or
        prejudgment interest awarded against                                     (c) As     a    promotional   or
        the "insured".         We will settle or                                      courtesy vehicle; and
        defend, as we consider appropriate,                                    The vehicle is provided under a
        any claim or suit asking for these                                     written statement, signed by
        damages. In addition to our limit of                                   you or a "family member",
        liability, we will pay all defense costs                               which contains the following
        we incur. Our duty to settle or defend                                 language:
        ends when our limit of liability for this                                 PRIMARY LIABILITY ASSIGN-
        coverage has been exhausted. We                                           MENT
        have no duty to defend any suit or                                        In consideration of the vehicle
        settle any claim for "bodily injury" or                                   owner entrusting the motor
        "property damage" not covered under                                       vehicle elsewhere described
        this policy.                                                              to me, I agree that my vehicle
 B. Exclusion A.3. is replaced by the                                             insurance or self-insurance
    following:                                                                    coverage shall be primarily
    We do not provide Liability Coverage for                                      responsible for any loss or
    any "insured":                                                                damage caused by or to the
    3. For "property damage" to property:                                         motor vehicle. •
        a. Rented to;                                          C. The Other Insurance Provision is replaced
        b. Used by; or                                              by the following:
        c. In the care of;                                          OTHER INSURANCE
        that "insured":                                             If there is other applicable liability
        This Exclusion (A.3.) does not apply                        insurance, we will pay only our share of
        to "property damage" to a:                                  the loss. Our share is the proportion that
        a. Residence or private garage; or                          our limit of liability bears to the total of
        b. Vehicle you do not own if:                               all applicable limits. Any insurance we
             (1) A licensed automobile dealer                       provide for a vehicle you do not own
                 provides the vehicle without                       shall be excess over any other collectible
                 charge to you or a"family                          insurance.
                 member":                                           However, we will provide primary
                 (a) For use as a temporary                         insurance for a vehicle you do not own
                      substitute while "your                        if:
                      covered auto" is out of                       1. A licensed automobile dealer provides
                      normal use because of its                         the vehicle without charge to you or a
                      breakdown,       repair     or                    "family member":
                      servicing;                                         a. For use as a temporary substitute
                 (b) To       demonstrate        the                         while "your covered auto" is out
                      vehicle; or                                            of normal use because of its
                 (c) As     a    promotional      or                         breakdown, repair or servicing;
                      courtesy vehicle; or                               b. To demonstrate the vehicle; or
            (2) A licensed automobile dealer                             c. As a promotional or courtesy
                 provides the vehicle for a                                  vehicle; or
                 charge, or someone other than                       2. A licensed automobile dealer provides
                 a licensed automobile dealer                           the vehicle for a charge, or someone
                 provides the vehicle with or                           other than a licensed automobile
                 without charge, to you or a                            dealer provides the vehicle with or
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             without charge, to you or a"family                   2. A licensed automobile dealer provides
             member":                                                  the vehicle for a charge, or someone
             a. For use as a temporary substitute                      other than a licensed automobile dealer
                 while "your covered auto" is out                      provides the vehicle with or without
                 of normal use because of its                          charge, to you or a"family member":
                 breakdown, repair or servicing;                       a. For use as a temporary substitute
             b. To demonstrate the vehicle; or                             while "your covered auto" is out of
             c. As a promotional or courtesy                               normal use because of its
                 vehicle; and                                              breakdown, repair or servicing; •
            The vehicle is provided under a                           b. To demonstrate the vehicle; or
            written statement, signed by you or a                     c. As a promotional or courtesy
            "family member", which contains the                            vehicle; and
            following language:                                       The vehicle is provided under a written
                 PRIMARY LIABILITY ASSIGN-                            statement, signed by you or a"family
                 MENT                                                 member", which contains the following
                 In consideration of the vehicle                      language:
                 owner entrusting the motor                                PRIMARY LIABILITY ASSIGNMENT
                 vehicle elsewhere described to                            In consideration of the vehicle
                 me, I agree that my vehicle                               owner entrusting the motor vehicle
                 insurance      or     self-insurance                      elsewhere described to me, I agree
                 coverage shall be primarily                               that my vehicle insurance or
                 responsible for any loss or damage                        self-insurance coverage shall be
                 caused by or to the motor vehicle.                        primarily responsible for any loss or
II. Part D- Coverage For Damage To Your                                    damage caused by or to the motor
     Auto                                                                  vehicle.
     Paragraph C. of the Insuring Agreement is              III. PART F- GENERAL PROVISIONS
     replaced by the following:                                   Part F is amended as follows:
     "Non-owned auto" means:                                      A. The Termination provision is amended
     1. Any private passenger auto, pickup, van                       as follows:
         or "trailer" not owned by or furnished or                    TERMINATION
         available for the regular use of you or                      The Nonrenewal section is replaced by
         any "family member" while in the                             the following:
         custody of or being operated by you or                      Nonrenewal. If we decide not to renew
         any "family member"; or                                      or continue this policy, we will mail
     2. Any auto or "trailer" you do not own                         notice to the named insured shown in
         while used as a temporary substitute for                    the Declarations at the address shown
         "your covered auto" which is out of                         in this policy. Notice will be mailed at
         normal use because of its:                                  least 30 days before the end of the
         a. Breakdown;                                               policy period. If the policy period is less
         b. Repair;                                                  than 6 months, we will have the right
         c. Servicing;                                               not to renew or continue every 6
         d. Loss; or                                                 months, beginning 6 months from its
         e. Destruction.                                             original effective date.
    However, "non-owned auto" does not
    include any vehicle you do not own if:                      B. The following is added to the Two Or
    1. A licensed automobile dealer provides                       More Auto Policies provision:
         the vehicle without charge to you or a                      TWO OR MORE AUTO POLICIES
         "family member":
         a. For use as a temporary substitute                        1. This provision does not apply to
              while "your covered auto" is out of                       Uninsured Motorists Coverage.
              normal use because of its                              2.   No one will be entitled to receive du-
              breakdown, repair or servicing;                             plicate payments for the same elem-
         b. To demonstrate the vehicle; or                                ents of loss under Uninsured Motori-
         c. As a promotional or courtesy                                  sts Coverage.
              vehicle; or



This endorsement must be attached to the Change Endorsement when issued after the policy is written.


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AUTOMOBILE AMENDATORY ENDORSEMENT                                                        AS 2258 08 06
I.   DEFINITIONS                                                  a. For any coverage provided in this
     The Definitions section is revised as                           policy     except     Coverage     For
     follows:                                                        Damage To Your Auto, a newly
     A. The definition of Your Covered Auto is                       acquired auto        will have the
          replaced with the following:                               broadest      coverage     we     now
          "Your Covered Auto" means:                                 provide for any vehicle shown in
          1. Any vehicle shown in the Declara-                       the Declarations. Coverage begins
             tions.                                                  on the date you become the
          2. A newly acquired auto.                                  owner.
          3. Any trailer you own.                                    However, for this coverage to
          4. Any auto or trailer you do not own                      apply to a newly acquired auto
              while used as a temporary substitute                   that is in addition to any vehicle
             for any other vehicle described in this                 shown in the Declarations, you
             definition which is out of normal use                   must ask us to insure it within 30
             because of its:                                         days after you become the owner.
              a. Breakdown;                                          If a newly acquired auto replaces a
              b. Repair;                                             vehicle shown in the Declarations,
              c. Servicing;                                          coverage is provided for this
              d. Loss; or                                            vehicle without your having to ask
              e. Destruction.                                        us to insure it.
          This provision (4.) does not apply to                   b. Collision Coverage for a newly
          Coverage For Damage To Your Auto.                          acquired auto begins on the date
     B. The definition of Newly Acquired Auto                        you become the owner. However,
          is added as follows:                                       for this coverage to apply, you
          "Newly acquired auto":                                     must ask us to insure it within:
          1. Newly acquired auto means any of                        (1) 30 days after you become the
             the following types of vehicles you                          owner if the Declarations
             become the owner of during the                               indicate      that      Collision
             policy period:                                               Coverage applies to at least
              a. A private passenger auto; or                             one auto. In this case, the
              b. A pickup or van, for which no                            newly acquired auto will have
                 other insurance policy provides                          the broadest coverage we now
                 coverage, that:                                          provide for any auto shown in
                 (1) Has a Gross Vehicle Weight of                        the Declarations.
                     less than 10,000 Ibs.; and                      (2) Five days after you become
                 (2) Is not used for the delivery or                      the owner if the Declarations
                     transportation of goods and                          do not indicate that Collision
                     materials unless such use is:                        Coverage applies to at least
                                                                          one auto. If you comply with
                     (a) Incidental to your business
                                                                          the 5 day requirement and a
                         of installing, maintaining or
                                                                          loss    occurred    before   you
                         repairing    furnishings   or
                                                                          asked us to insure the newly
                         equipment; or
                                                                          acquired auto, a Collision
                     (b) For farming or ranching.                         deductible of 5500 will apply.
            For this definition to apply to a newly               c. Other Than Collision Coverage for
            acquired auto, which is in addition to                   a newly acquired auto begins on
            the vehicles listed in the Declarations,                 the     date    you    become      the
            we must insure all other vehicles                        owner.However, for this coverage
            owned by you.                                            to apply, you must ask us to
                                                                     insure it within:
         2. Coverage for a newly acquired auto
                                                                     (1) 30 days after you become the
            is provided as described below. If
                                                                          owner if the Declarations
            you ask us to insure a newly
                                                                          indicate    that   Other   Than
            acquired auto after a specified time
                                                                          Collision Coverage applies to
            period described below has elapsed,
                                                                          at least one auto. In this case,
            any coverage we provide for a newly
                                                                          the newly acquired auto will
            acquired auto will begin at the time
                                                                          have the broadest coverage
            you request the coverage.

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                                                                                                   AS 2258 08 06
                we now provide for any auto                              condition for which its use is
                shown in the Declarations.                               proposed.
            (2) Five days after you become                           3.In patient services or supplies
                the owner if the Declarations                           provided to the covered person when
                do not indicate that Other                              these could safely have been
                Than      Collision.    Coverage                        provided to the covered person as an
                applies to at least one auto. If                        outpatient.
                you comply with the 5 day                       D. "reasonable expenses" - when applied to
                requirement and a loss                              medical services incurred by an insured
                occurred before you asked us                        under PART B- MEDICAL PAYMENTS
                to insure the newly acquired                        COVERAGE - means the least of:
                auto, an Other Than Collision                       1. The actual charge;
                deductible of $500 will apply.                      2. The charge negotiated with a
 C. "necessary medical" - when applied to                                provider; or
     services incurred by an insured under                          3. The charge determined by us based
     PART B - MEDICAL PAYMENTS                                          on a methodology using a database
     COVERAGE - means services or                                       designed to reflect amounts charged
     supplies provided by a licensed hospital,                          by providers of inedical services or
     licensed physician, or other licensed                              supplies within the same or similar
     medical provider that, as determined by                            geographic region in which you
     us or someone on our behalf, are:                                  receive your medical services or
     1. Required to identify or treat an injury                         supplies. The database will reflect (a)
        caused by an accident covered by                                service charge data regardless of the
        this policy;                                                    provider's specialty and (b) in the
     2. Consistent        with        symptoms,                        case of new procedures, services or
        diagnosis, and treatment of the                                 supplies, or existing procedures,
        covered      person's      injury    and                        services or supplies for which there
        appropriately documented in the                                 is little or no charge data, a
        covered person's medical records;                               comparison to commonly used
     3. Provided      in    accordance      with                        procedures, services or supplies.
        recognized standards of care for the             II. PART A- LIABILITY COVERAGE
        covered person's injury at the time                    Exclusion 4. is under paragraph B. of the
        the charge is incurred;                                Exclusions section of Part A is replaced by
     4. Consistent with published practice                     the following:
        guidelines and technology, and                         4. Any vehicle, while being used for:
        assessment standards of national                            a. competing in; or
        organizations or multi-disciplinary                         b. practicing or preparing for
        medical groups;                                             any organized racing, speed, demolition,
     5. Not primarily for the convenience of                        stunt or performance contest or related
        the covered person, or his or her                           activity whether or not for pay.
        physician, hospital, or other health             III. PART B- MEDICAL PAYMENTS COVERAGE
        care provider;                                         Exclusion 11. is under the Exclusions •
    6. The most appropriate supply or level                    section of Part B is replaced by the
        of service that can be safely provided                 following:
        to the covered person; and                             11. Sustained while occupying any vehicle
    7. Not excessive in terms of scope,                             while being used for:
        duration, or intensity of care needed                       a. competing in; or
        to provide safe, adequate, and                              b. practicing or preparing for
        appropriate diagnosis and treatment;                        any organized racing, speed, demolition,
However, necessary medical services do not                          stunt or performance contest or related
include expenses for any of the following:                          activity whether or not for pay.
    1. Nutritional        supplements         or         IV. PART D- COVERAGE FOR DAMAGE TO
        over-the-counter drugs;                                YOUR AUTO
    2. Experimental services or a supply,                     A. Paragraph A. of the Insuring Agreement
        which means services or supplies                          of Part D is replaced by the following:
        that we determine have not been                           INSURING AGREEMENT
        accepted by the majority of the                           A.We will pay for direct and accidental
        relevant medical specialty as safe and                        loss to your covered auto or any
        effective for treatment of the
                                               Page 2 of 5
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   non-owned         auto,     including      their                    performance of the vehicle
   equipment,       subject     to    Customized                    including but not limited to any
   Equipment        Coverage,       minus      any                  additions    or    alterations     to the
   applicable deductible shown in the                               chassis, engine, exterior or interior of
   Declarations. If loss to more than one                           the auto.
   your covered auto or non-owned auto                              This includes but is not limited to
   results from the same collision, only the                        ground     effects,     specialty     rims,
   highest applicable deductible will apply.                        performance tires, specialty paint or
   We will pay for loss to your covered auto                        dye, roll bars, running             boards,
   caused by:                                                       spoilers, special interior or exterior
      1.Other than collision only if the                            lighting, roof/trunk racks, and high
          Declarations indicate that Other                          performance      engine     components.
          Than Collision Coverage is provided                       However, such parts, equipment and
          for that auto.                                            accessories that were installed by the
      2. Collision only if the Declarations                         automobile manufacturer or licensed
          indicate that Collision Coverage is                       auto dealer are not considered
          provided for that auto.                                   customized equipment.
      If there is a loss to a non-owned auto                        This also includes any electronic
      we will provide the broadest coverage                         equipment that is not necessary for
      applicable to any your covered auto                           the normal operation of the auto or
      shown in the Declarations.                                    the     monitoring     of    the     auto's
B. The following Customized Equipment                               operating system that is used solely
   Coverage provision is added under Part                           for the reproduction of recorded
   D:                                                               material or used for transmitting or
   CUSTOMIZED EQUIPMENT COVERAGE                                    receiving audio,       visual or data
   A. We will pay up to $500 for theft or                           signals.    However,       such      parts,
       damage to customized equipment if                            equipment and accessories that were
       the loss is caused by:                                       installed     by      the      automobile
        1. Other than collision only if the                         manufacturer or licensed auto dealer
           Declarations indicate that Other                         or in a location the automobile
           Than      Collision     Coverage      is                manufacturer       intended      for   such
           provided for that auto.                                  equipment,      are    not      considered
        2. Collision only if the Declarations                       customized equipment.
           indicate that Collision Coverage is                 C. If you have purchased additional
           provided for that auto.                                  coverage for customized equipment
       Payments shall be reduced by the                             we will pay up to the amount of
       applicable deductible. However, only                         coverage you have purchased in
       one deductible will be applied for any                      addition to the $500 limit provided
       one loss. If you or the owner of a                           by    the    policy.    This     additional
       non-owned auto keeps salvaged                                coverage must be shown in the
       material, payments will also be                             Declarations.
       reduced by the salvage value. In no '                   D. The most we will pay for parts,
       way shall this coverage increase the                        equipment and accessories that are:
       limit of liability for your covered auto                    a. not     installed     by     the     auto
       or any non-owned auto.                                          manufacturer or dealer and
   B. "Customized equipment" means any                             b. permanently installed in or upon
       parts, equipment and accessories                                the auto
       including        devices,      extensions,                  is the actual cash value of the vehicle
       furnishings, fixtures, finishings, and                      not including such parts, equipment
       other alterations that:                                     and accessories.
        1. are    permanently       installed   or          C. The Transportation Expenses provision of
           attached by bolts or brackets;                      Part D is replaced by the following:
       2. are removable from a housing unit                    TRANSPORTATION EXPENSES
           that is permanently installed inside                In addition, we will pay up to $ 15 per
           the auto;                                           day to a maximum of 30 days for any
       3. are permanently bonded to the                        temporary       transportation        expenses
           vehicle by an adhesive or welding                   incurred by you. This applies in the event
           procedure; or                                       of a loss to your covered auto if the loss
       4. change the appearance or                             is caused by:
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                                                                                  : Liberty
                                                                                     Mutual.
                                                                                       INSURANCE




                                                                                        AS 2258 08 06
        a. Other than collision only if the                   what is provided under Customized
           Declarations indicate Other Than                   Equipment Coverage unless additional
            Collision Coverage is provided for                coverage has been purchased by
           that auto.                                         endorsement and is shown in the
        b. Collision only if the Declarations                 Declarations.
           indicate that Collision Coverage is             G. Exclusion 16. is added as follows:
            provided for that auto.                           16. We will not pay for loss to tapes,
   If the loss is caused by a total theft of                      records, discs or other media used
   your covered auto, we will pay only                            with any sound reproducing or other
   transportation expenses incurred during                        electronic equipment.
   the period:                                             H. Paragraph B of the Limit of Liability
    1. Beginning 48 hours after the theft;                    provision of Part D is added as follows:
       and                                                   B. An adjustment for depreciation and
   2. Ending when your covered auto is                           physical condition will be made in
       returned to use or we pay for its loss.                   determining actual cash value in the
D. Exclusion 4. is replaced by the following:                    event of a total loss. In this case, the
    4. We will not pay for loss to equipment                     actual cash value consists of the value
        that is not permanently installed in                     of the vehicle not including any
        or upon your covered auto or any                         customized equipment.
       non-owned auto. This consists of any           V. PART E- DUTIES AFTER AN ACCIDENT OR
       equipment that is either designed for              LOSS
       the reproduction of sound or receives              Part E is amended as follows:
       or transmits audio, visual or data                 A. Paragraph B. of Part E is replaced by the
       signals. This includes but is not                     following:
       limited to:
                                                             B. A person seeking any coverage must:
       a. radios and stereos;
                                                                  1. Cooperate      with    us   in   the
       b. tape decks;
                                                                     investigation,      settlement    or
       c. compact disc players and burners;
                                                                     defense of any claim or suit. This
       d. digital video disc (DVD) players and
                                                                     includes, but is not limited to,
           burners;
                                                                     allowing us to inspect damage to a
       e. citizens band radios;
                                                                     vehicle covered by this policy.
       f. scanning monitor receivers;
                                                                  2. Promptly send us copies of any
       g. television monitor receivers;
                                                                     notices or legal papers received in
       h. global positioning system (GPS)
                                                                     connection with the accident or
           receivers and/or components;
                                                                     loss.
       i. video      cassette     players    and
                                                                  3. Submit, as often as we reasonably
           recorders;
       j. audio cassette recorders; or                               require, within 30 days of our
                                                                     request:
       k. personal computers, which includes
           laptops, desktops, and personal                           a. To physical and mental exams
           digital assistants (PDA) or any                               by physicians we select under
           other handheld device.                                        terms we require. We will pay
       AII accessories used with the above or                            for these exams.
       similar equipment are also excluded.                          b. To interviews and recorded
E. Exclusion 13. is replaced by the                                      statements without the need
   following:                                                            for us to conduct an
   13.Loss to your covered auto or any                                   examination under oath.
         non-owned auto while the car is                             c. To examination under oath and
         being used for:                                                 subscribe the same.
         a. competing in; or                                      4. Authorize us to obtain, within 30
         b. 'practicing or preparing for                             days of our request:
         any     organized     racing,    speed,                     a. Medical reports; and
         demolition, stunt or performance                            b. Other       pertinent    records,
         contest or related activity whether or                          including but not limited to,
         not for pay.                                                    information contained in or
F. Exclusion 15. is added as follows:                                    transmitted by any device
    15. We will not pay for loss to                                      located in or on the motor
          customized equipment in excess of                              vehicle.
                                             Page 4 of 5
                                                                                                            i

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                                                                                   : Liberty
                                                                                            Mutual.
                                                                                                INSURANCE




    5. Submit a proof of loss when required by                 a. conceals     or    misrepresents any
        us within 30 days of our request.                         material fact or circumstance,
                                                               b. makes false statements or
   VI. PART F- GENERAL PROVISIONS
                                                               c. engages in fraudulent conduct,
Part F is amended as follows:                                  any of which relate to a loss, an
A. The Fraud provision is replaced by the                      accident, this insurance or the
   following:                                                  application for this policy.
   FRAUD
   This policy will not provide coverage under
   any part of this policy for any insured or any
   other person or entity seeking benefits under
   this policy (whether before or after a loss)
   who:




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                                                                                      • Liberty
                                                                                        Mutual.
                                                                                         INSURANCE




         AMENDMENT OF POLICY DEFINITIONS

         THIS ENDORSEMENT CHANGES YOUR POLICY. IT REPLACES ALL OTHER REFERENCES TO
         THE SAME SECTIONS OF THE POLICY.


        The following is added to item A. under the policy DEFINITIONS:
            3. the partner in a civil union, registered domestic partnership or other similar union, with
            the "named insured" shown on the Declarations, if a resident of the same household.
            The above, only applies if the civil union or partnership was validly entered into under the
            laws of any state, municipality, or territory of the United States or any other country.
            If the spouse or partner defined above is no longer a resident in the same household during
            the policy period or prior to the inception of the policy, the spouse or partner will be
            considered "you" and "your" under this policy until the earlier of:
                1. The end of 90 days following the change of residency;
                2. The effective date of another policy listing the spouse or partner defined above as a
                   named insured; or
                3. The end of the policy period.
        Paragraph A. of the TRANSFER OF YOUR INTEREST IN THIS POLICY is deleted. It is replaced
        with the following:
        A. Your rights and duties under this policy may not be assigned without our written consent.
           However, if a named insured shown in the Declarations becomes deceased, coverage will
           be provided for:
           1. the surviving spouse or partner in a civil union, registered domestic partnership or other
              similar union, if a resident of the same household at the time of death. Coverage
              applies to the spouse or partner as set forth herein, as if a named insured shown in the
              declarations; and
           2. the legal representative of the deceased person as if a named insured shown in the
              Declarations. This applies only with regard to the representative's legal responsibility
              to maintain or use "your covered auto".
        Section 1. only applies if the union or partnership is validly entered into under the laws of any
        state, municipality, or territory of the United States or any other country.
        AII other terms and conditions of this policy remain the same.




AS 2344 04 08                            Liberty Mutual Insurance Group
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                                                                                                       0 Lib erty
                                                                                                           Mutual.
                                                                                                             INSURANCE




          SPLIT LIABILITY LIMITS                                                                                PP 03 09 04 86


                                                            SCHEDULE

                        Bodily Injury Liability                         $                    each person

                                                                       $                     each accident

                        Property Damage Liability                      $                     each accident



          The first paragraph of the Limit of Liability               accident. The limit of liability shown in the
          provision in Part A is replaced by the following:           Schedule or in the . Declarations for each
                                                                      accident for Property Damage Liability is our
          LIMIT OF LIABILITY
                                                                      maximum limit of liability for all "property
          The limit of liability shown in the Schedule or in          damage" resulting from any one auto accident.
          the Declarations for each person for Bodily                 This is the most we will pay regardless of the
          Injury Liability is our maximum limit of liability          number of:
          for all damages, including damages for care,
                                                                            1. "Insureds;"
          loss of services or death, arising out of "bodily
          injury" sustained by any one person in any one                    2. Claims made;
          auto accident. Subject to this limit for each
                                                                            3. Vehicles or premiums shown in the Decla-
          person, the limit of liability shown in the
                                                                               rations; or
          Schedule or in the Declarations for each
          accident for Bodily Injury Liability is our                       4. Vehicles involved in the auto accident.
          maximum limit of liability for all damages for
          "bodily injury" resulting from any one auto


          This endorsement must be attached to the Change Endorsement when issued after the policy is written.




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          MEXICO EXTENSION ENDORSEMENT                                                                  AS 1006 (Ed. 12-89)



          The coverage applying to "your covered auto" under Parts A, B and D of this policy also applies to
          accidents and losses while the automobile is in the Republic of Mexico, but not more than 75 miles
          from the United States border. This coverage is subject to these additional provisions:
          1. The insurance applies only if, at the time of accident or loss, the automobile has not been in the
             Republic of Mexico more than 10 consecutive days.

          2.   We have no obligation to defend any suit and the Supplementary Payments provisions of Part A and
               the Transportation Expense provision of Part D do not apply.

          3.   In addition to the applicable limit of liability, we will pay (a) expenses you incur for first aid to others
               at the time of an accident for bodily injury covered by this policy and (b) reasonable expenses,
               except loss of earnings, you incur at our request.

          4.   No settlement of any claim or suit will obligate us under this endorsement without our written
               consent.

          5.   Except for Medical Payments Coverage, this insurance shall be excess over any other collectible
               insurance available to you as an insured under a policy applying to the automobile or otherwise.
               The Medical Payments Coverage shall be excess over any other collectible automobile medical
               payments insurance.

          6.   If a loss to "your covered auto" requires repair or replacement while the automobile is in Mexico,
               the most we will pay is the cost of the repair or replacement at the nearest point in the United
               States where it can be made.

          WARNING - If you have an automobile accident in Mexico and don't have insurance written by an
          insurance company licensed in Mexico, you could spend many hours or days in jail. You should arrange
          for coverage from a licensed Mexican company to avoid complications and some other penalties
          possible under the laws of Mexico, including impounding of your car. (Liberty is not licensed to write
          insurance in Mexico.)
                                                  (See below for explanation)

                                                        IMPORTANT

          This endorsement extends LIMITED COVERAGE.

          Under Mexican law automobile insurance policies written by United States companies are not
          recognized or considered valid for accidents or losses occurring in Mexico. United States insurance
          companies are not permitted, directly or through Mexican agents, to assist their policyholders,
          investigate, settle or defend claims or suits in Mexico.

          Notwithstanding the above we have included limited Mexican coverage (limited to 75 miles of the U.S.
          border and 10 consecutive days in Mexico) in your automobile insurance policy. This extension is made
          to Liberty policyholders because your U.S. coverage is broader than that extended by Mexican
          companies and it is possible, under certain conditions, to reimburse you for a loss on your return to the
          states.

          If you are planning a motor trip into Mexico you should contact one of the many agents representing
          reliable Mexican insurance companies and purchase a short term "Special Automobile Policy for
          Tourists" to protect you during your stay in that country. You will find these agents in practically every
          American city or town near the border.




AS 1006 (Ed. 12-89)
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                                                                                               Liberty
                                                                                               Mutual.
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                                                               PERSONAL AUTO
NEW VEHICLE REPLACEMENT COST COVERAGE                                                           AS 2112 10 99

With respect to the coverage provided by this endorsement, the provisions of the policy apply unless
modified by the endorsement.
   In the event of a covered total loss to a new *"your covered auto" shown in the Declarations for
   which a specific premium charge indicates that "Collision" Coverage and/or Other Than Collision
   Coverage applies, the "covered auto" will be replaced at the Actual Cash Value (less any applicable
   deductible) without adjustments for depreciation that is referenced in the Limit of Liability B. Section
   of Part D of the policy.

       * A new vehicle as used in this endorsement is one that has not been previously titled under the
         motor vehicle laws of any state.
   Replacement Cost for a total loss on a new "your covered auto" applies as follows:
       a.   total loss must occur during the first 12 months of insurance coverage, and
       b.   within the vehicle's first 15,000 miles,

       whichever occurs first, we will pay, at our option, the full cost of repair or replacement, less the
       applicable deductible.
       This does not apply to a substitute automobile, a non-owned automobile or a vehicle leased
       under a long-term contract of 6 months or longer.
       The following conditions apply:
        1. Our liability for any loss will not be more than the cost to replace the damaged property
           with:
            a.   a previously untitled vehicle of the year, make, model and equipment of the damaged
                 automobile or, if unavailable
            b.   a vehicle that is most similar in class and body type to the year, make, model and
                 equipment of the damaged automobile.
        2. We will not pay for any loss before the actual repair or replacement is completed.
        3. We have the right to pay the loss in money or to repair or replace the damaged automobile.
       For purposes of this endorsement, Total Loss means a loss in which the cost to replace or repair
       the vehicle to its pre-loss condition plus salvage value, equals or exceeds the actual cost value.




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                                                                                                  Liberty
                                                                                                • Mutual.

         NUCLEAR, BIOLOGICAL, CHEMICAL & MOLD
         EXCLUSION ENDORSEMENT                                                                        AS 2228 07 05

         THIS EXCLUSION APPLIES TO ALL COVERAGES PROVIDED BY THIS POLICY
          INCLUDING ANY AND ALL ENDORSEMENTS

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



         We do not provide coverage for loss, damage, injury, liability, cost or expense, due to or as a
         consequence of, whether controlled or uncontrolled or however caused:

                a. Nuclear exposure, reaction or explosion including resulting fire, smoke, radiation or
                   contamination; and/or
                b. Biological or chemical attack or exposure to biological or chemical agents, or combination of
                   such agents, including resulting contamination or pollution.


         We do not provide coverage for loss, damage, injury, liability, cost or expense arising out of or
         aggravated by, in whole or in part, "mold, fungus, wet rot, dry rot, bacteria or virus."


         "Mold, fungus, wet rot, dry rot, bacteria or virus" means any type or form of fungus, rot, virus or
         bacteria. This includes mold, mildew and any mycotoxins, other microbes, spores, scents or
         byproducts produced or released by mold, mildew, fungus, rot, bacteria, or virus.




AS 2228 07 05                                                                               © 2005 Liberty Mutual Insurance Group
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                                                                                - Liberty
                                                                                  Mutual

AUTOMATIC TERMINATION ENDORSEMENT                                               AS 1046 (Ed. 12-89)


The AUTOMATIC TERMINATION Provision in Part F of the policy is replaced with the following:


       AUTOMATIC TERMINATION. If you obtain other insurance on "your covered auto,"
       any similar insurance provided by this policy will terminate as to that auto on the
       effective date of the other insurance.
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                                                                                                    -- Liberty
                                                                                                       Mutual.
                                                                                                               INSURANCE


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         COVERAGE FOR DAMAGE TO YOUR AUTO EXCLUSION                                                         PERSONAL AUTO
         ENDORSEMENT                                                                                         PP 13 01 12 99

         With respect to the coverage provided by this endorsement, the provisions of the policy apply unless
         modified by the endorsement.

          I. Definitions                                           II. Part D- Coverage For Damage To Your Auto
            The following definition is added:                         The following exclusion is added:
            "Diminution in value" means the actual or                  We will not pay for:
            perceived loss in market or resale value
            which results from a direct and accidental                 Loss to "your covered auto" or any
            loss.                                                      "non-owned auto" due to "diminution in
                                                                       value".

         This endorsement must be attached to the Change Endorsement when issued after the policy is written.

PP 13 01 12 99                         Copyright, Insurance Services Office, Inc., 1999                                                               Page 1 of 1




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;         POLICY NUMBER:                                                                             Liberty
                                                                                                   : Mutual.
                                                                                                            INSURANCE




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                                                                        PERSONAL AUTO
          MISCELLANEOUS TYPE VEHICLE ENDORSEMENT                                                         PP43230694


                                                           SCHEDULE

           Description and Type of Vehicle                      Passenger Hazard Excluded

           1.                                                Yes ❑                               No ❑
           2.                                                Yes ❑                               No ❑
           3.                                                Yes ❑                               No ❑
           Covera e is provided where a premium and a limit of liability is shown for the covera e.
                                                                                                        Premium
           Coverages                                   Limit Of Liability                    Veh. 1     Veh. 2      Veh. 3

                                                       $                    Each Accident $
           Liability
                                                       $                    Each Accident               S
                                                       $                    Each Accident                          $
                                                       $                    Each Person      $
           Medical Payments                            g                    Each Person               5
                                                       $                    Each Person                            5
           Uninsured Motorists                         $                    Each Accident g
                                                       $                    Each Accident             S
                                                       $                    Each Accident                          5
           Collision                                   $         Less       $     Ded.      $
                                                       $         Less       g     Ded.                $
                                                       $         Less       g     Ded.                             $
           Other Than                                  $         Less       $     Ded.      $
           Collision                                   $         Less       $     Ded.                $
                                                       $         Less       $Ded.                                  S
                                                                 Total Premium              Is
         NOTICE
         For the Collision and Other Than Collision Coverages, the amount shown in the Schedule or in the
         Declarations is not necessarily the amount you will receive at the time of loss or damage for the
         described property. PLEASE refer to the Limit of Liability provision below.

         With respect to the "miscellaneous type vehicles" and coverages described in the Schedule or in the
         Declarations, the provisions of the policy apply unless modified by this endorsement.

            DEFINITIONS
            The Definitions Section is amended as                           2. Any of the following types of vehicles
            follows:                                                           on the date you become the owner:
            A. For the purpose of the coverage provided                         a. a private passenger auto;
               by this endorsement "miscellaneous type
                                                                                b. a pickup or van that:
               vehicle" means a motor home, motorcycle
               or other similar type vehicle, all-terrain                         (1) Has a Gross Vehicle Weight of
               vehicle, dune buggy or golf cart.                                      less than 10,000 Ibs.; and
            B. The definition of "your covered auto" is                           (2) Is not used for the delivery or
               replaced by the following:                                             transportation of goods and
                 "Your covered auto" means:                                           materials unless such use is:
                 1. Any "miscellaneous type vehicle"                                 (a) Incidental to your "business"
                    shown in the Schedule or in the                                      of maintaining or repairing
                    Declarations.                                                        furnishings or equipment; or
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                                                                                                         0   Liberty
                                                                                                             Mutual.
                                                                                                                INSURANCE



                              (b) For farming or ranching.                        2. Any person using "your covered auto".
                        c. any "miscellaneous type vehicle" of                   3. For "your covered auto", any person or
                           the same type shown in the                               organization but only with respect to
                           Schedule or in the Declarations.                         legal responsibility for acts or
                                                                                    omissions of a person for whom
                        This provision applies only if:
                                                                                    coverage is afforded under this Part.
                        a. You acquire the vehicle during the                 B. The Exclusions Section is amended as
                           policy period;                                        follows:
                        b. You ask us to insure it within 30
                                                                                 1. Exclusion B.1. is replaced by the
                           days after you become the owner;
                                                                                    following:
                           and
                                                                                    We do not provide Liability Coverage
                        c. With respect to a pickup or van, no
                                                                                    for the ownership, maintenance or use
                           other insurance policy provides                          of any vehicle which:
                           coverage for that vehicle.
                                                                                    a.   Has fewer than four wheels; or
                        If the vehicle you acquire replaces one
                                                                                    b.   Is designed mainly for use off
                        of the same type shown in the
                                                                                         public roads.
                        Schedule or in the Declarations, it will
                        have the same coverage as the vehicle                       This exclusion (B.1.) does not apply:
                        it replaced. You must ask us to insure                      a.   While such vehicle is being used by
                        a replacement vehicle within 30 days                             an "insured" in a medical
                        only if you wish to add or continue                              emergency; or
                        Coverage for Damage to Your Auto.                           b.   To any "trailer"; or
                       If the vehicle you acquire is in addition                    c.   To a vehicle having fewer than four
                       to any of the same type shown in the                              wheels if it is insured for Liability
                       Schedule or in the Declarations, it will                          Coverage under this endorsement.
                       have the broadest coverage we now
                                                                                 2. The following exclusion applies under
                       provide for any vehicle of that type
                                                                                    Section A to any vehicle for which the
                       shown in the Schedule or in the
                                                                                    Schedule or Declarations indicates that
                       Declarations.
                                                                                    the passenger hazard is excluded:
                     3. Any "trailer".
                                                                                    We do not provide Liability Coverage
                     4. Any "miscellaneous type vehicle" or                         for any "insured" for "bodily injury" to
                        auto you do not own while used as a                         any "insured" while "occupying" the
                        temporary substitute for any other                          described "miscellaneous type vehicle".
                        vehicle described in this definition
                                                                          III. PART B- MEDICAL PAYMENTS COVERAGE
                        which is out of normal use because of
                        its:                                                 Exclusion 1. of Part B is replaced by the
                                                                             following:
                       a. Breakdown;
                                                                             We do not provide Medical Payments
                       b. Repair;
                                                                             Coverage for any "insured" for "bodily
                       c. Servicing;                                         injury" sustained while "occupying" any
                       d. Loss; or                                           motorized vehicle having fewer than four
                                                                             wheels. However, this exclusion (1.) does
                       e. Destruction.
                                                                             not apply to a motorized vehicle having
                       This provision (4.) does not apply to                 fewer than four wheels if it is insured for
                       Coverage for Damage to Your Auto.                     Medical Payments Coverage under this
              II. PART A- LIABILITY COVERAGE                                 endorsement.

                  Part A is amended as follows:
                  A. The definition of "insured" is replaced by
                     the following:
                    "Insured" means:
                     1. You or any "family member" for the
                        ownership, maintenance or use of
                        "your covered auto".


    Page 2 of 3                               Copyright, Insurance Services Office, Inc., 1993                                       PP 03 23 06 94
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                                                                                                       Liberty
                                                                                                       Mutual.
                                                                                                        INSURANCE




          IV.PART D- COVERAGE FOR DAMAGE TO                                   2. Actual cash value of the stolen or
             YOUR AUTO                                                           damaged property; or
            Part D is amended as follows:                                     3. Amount necessary to repair or replace
             A.The following is added to the definition of                       the property with other property of lil<e
               "non-owned auto":                                                 kind and quality.

                 3. Any motor home, motorcycle or other                       Our payment for loss will be reduced by
                    similar type vehicle, all-terrain vehicle,                any applicable deductible shown in the
                    dune buggy or golf cart you do not                        Schedule or in the Declarations. If loss to
                    own while used as a temporary                             more than one "your covered auto"
                    substitute for "your covered auto"                        results from the same "collision", only the
                    which is out of normal use because of                     highest applicable deductible will apply.
                    its:                                                   B. An adjustment for depreciation and physi-
                    a. Breakdown;          d. Loss; or                        cal condition will be made in determining
                    b. Repair;             e. Destruction.                    actual cash value in the event of a total
                    c. Servicing;                                             loss.

            B. With respect to the Coverage(s) shown as                    C. If a repair or replacement results in better
               applicable to a vehicle described in the                       than like kind or quality, we will not pay
               Schedule or in the Declarations, the Limit                     for the amount of the betterment.
               of Liability provision is replaced by the
               following:
                 LIMIT OF LIABILITY
                 A. Our limit of liability for loss will be the
                    lesser of the:
                    1. Amount shown in the Schedule or in
                       the Declarations;


         This endorsement must be attached to the Change Endorsement when issued after the policy is written.




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    ;                                                                                              Mutual.
                                                                                                    INSURANCE


            Notice of Membership in Liberty Mutual Holding Company Inc.
            While this policy is in effect, the named insured first named in the Declarations is a member of Liberty
            Mutual Holding Company Inc. and is entitled to vote either in person or by proxy at any and all meetings
            of the members of said company. The Annual Meeting of Liberty Mutual Holding Company Inc. is in
            Boston, Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning.

            The named insured first named in the Declarations shall participate in the distribution of any dividends
            declared by us for this Policy. The amount of such Named Insured's participation is determined by the
            decision of our Board of Directors in compliance with any laws that apply.

            Any provisions in the policy relating to:
            1. Membership in Liberty Mutual Insurance Company or Liberty Mutual Fire Insurance Company; or
            2.   Entitlement to dividends as a member of Liberty Mutual Insurance Company or Liberty Mutual Fire
                 Insurance Company
            are deleted and replaced by the preceding paragraphs.

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STATE OF NEW MEXICO
COUNTY OF SANTA FE
FIRST JUDICIAL DISTRICT COURT

MITCHELL WOODALL,

                Plaintiff,

vs.                                                    No. D-101-CV-2017-01727

LIBERTY MUTUAL GROUP, INC.,
d/b/a LIBERTY MUTUAL INSURANCE,

                Defendant.

           PLAINTIFF'S FIRST SET OF INTERROGATORIES AND REQUEST
           FOR PRODUCTION OF DOCUMENTS TO DEFENDANT LIBERTY
             MUTUAL GROUP INC d/b/a LIBERTY MUTUAL INSURANCE

        COMES NOW Plaintiff Mitchell Woodall, by and through his attorne,y Will Ferguson &

Associates (Robert C. Gutierrez), and pursuant to the New Mexico Rules of Civil Procedure and

particularly Rule 1-033 NMRA and Rule 1-034 NMRA, and propounds his first set of interrogatories

and requests for production to Defendant Liberty Mutual Group, Inc. d/b/a Liberty Mutual Insurance,

to be answered within forty-five (45) days from the date of service with the corresponding summons

and complaint being served concurrently herewith. Through out this discovery pleading, the

Defendant Liberty Mutual Group, Inc. d/b/a Liberty Mutual Insurance maybe referred to as Liberty

Mutual.

                                     INTERROGATORIES

       INTERROGATORY NO. 1. For each person answering these Interrogatories on behalf of

Liberty Mutual, please state the person's name, current address and position with (or relationship to)

Liberty Mutual. If more than one person answers or assists in answering these Interrogatories, please

identify each person, giving the person's name, address and position with (or relationship to) Liberty
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Mutual. In addition, identify in your answers when that person has provided assistance and what

assistance or information that person supplied.

        ANfiWF,R -




        INTERROGATORY NO. 2. Did Liberty Mutual provide insurance coverage to Plaintiff

Mitchell Woodall which is triggered by the crash that is more fully described in Plaintiff's

Complaint? If so, please fully describe the policy or policies and all coverages that are triggered by

this accident.

        ANSWER:




        INTERROGATORY NO.              3. Is Liberty Mutual presenting any defenses that would

prohibit, limit, prevent or otherwise curtail any coverages that would otherwise be available under

the policy or policies of insurance that are triggered by the subj ect crash? If so, please fully describe

each and every such policy or coverage defense, including but not limited to a precise representation

of the policy language upon which you rely for each such defense.

       ANSWER:




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       INTERROGATORY NO. 4. Is Defendant Liberty Mutual Group, Inc. d/b/a Liberty Mutual

Insurance(herein also Liberty Mutual) being sued in its proper corporate name? If not, please

identify the correct name of the entity, its legal nature (e.g. corporation or partnership) state of

organization/incorporation and its principal place of business.

       ANSWER:




       INTERROGATORY NO. 5. If you maintain that Liberty Mutual is not a proper_defendant

in this lawsuit, please explain in detail the reason(s) you believe Liberty Mutual is not a proper

defendant.

       ANSWER:




       INTERROGATORY NO. 6. Please list the names, addresses and telephone numbers or

each person believe or known by you, your agents, or your attorneys, to have any knowledge

concerning the August 6"', 2016 motor vehicle crash as described in Plaintiff's Complaint, or any

of the issues raised in the Complaint and specify the area in which each person has knowledge.

       ANSWER:




                                                3
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        INTERROGATORY NO.            7. If you intend to call any law witnesses at trial, state their
names, addresses, telephone numbers and the expected substance of their testimony.

               ANSWER:




        INTERROGATORY NO. 8. Have you, your attorneys or any persons acting on your

behalf, obtained statements from anyone concerning any matter pertaining to the incident or any

issues in this lawsuit? If yes, please state the name and address of each person giving a statement;

the name and address of the person(s) taking the statement; whether the statement was written, oral

or recorded; the date and location at which the statement was obtained; and summarize the contents

of each statement.

       ANSWER:




       INTERROGATORY NO. 9. List each person you know or believe either heard or

purportedly heard any party make any statement, remark or comment concerning the August 6, 2016

motor vehicle crash. List the name, home address, business address and telephone number of each

person and state the substance of each statement, remark or comment attributed to Plaintiff.

       ANSWER:




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        INTERROGATORY NO.10. If you contend that Plaintiff committed any act or omission

that contributed to causing the accident that is the subject of this complaint, describe in detail any

such act or omission.

        ANCWF.R -




        INTERROGATORY NO. 11. Do you or does anyone acting on your behalf know of any

photographs, films, or videotapes depicting any place, object or individual relating to the accident

or Plaintiff's injuries? If yes, identify the number of photographs or feet of film or videotape the

places, objects or persons photographed, filmed or videotaped; the date the photographs, films or

videtapes were taken; the name, address and telephone number of the individual taking the

photographs, films or videotapes; and the name, address and telephone number of each person who

has the original or a copy.

        ANCWF.R•




       INTERROGATORY N0.12. Give a short summary of the contents of every document or

exhibit you intend to use as a basis for your defense or which you intend to offer into evidence at

trial. A Request for Production asking for these documents accompanies this Interrogatory. If you

object to producing any document, describe in detail and recite verbatim the contents of each and

every such document and give the date and circumstances for preparation of each document.

       ANSWER:


                                                 5
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         INTERROGATORY NO. 13. Have you or your attorneys retained any expert witnesses

who will or may testify at the trial of this matter regarding the facts and circumstances of the

accident? If yes, please identify the names and addresses of any and all such experts; the date each

such expert was consulted; the exact nature of each individual's expertise; all photographs, drawings,

sketches, charts and/or physical evidence supplied to each such expert; and provide a brief summary

of the facts and opinions to which each expert is expected to testify with the grounds for each

opinion.

         ANSWF,R_




         INTERROGATORY NO. 14. Please describe in detail any other incidents, accidents or

claims made by the Plaintiff against any policy of insurance that he held with you either before or

after the crash that is the subject of this lawsuit and regardless of whether a claim payment was made

by you to Plaintiff. If Liberty Mutual has insured Plaintiff for more than five years, this Interrogatory

is limited to the past five years plus all such incident going forward from the date of the subject

crash.

         ANSWFR -




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       INTERROGATORY NO. 15. If you contend that the injuries alleged by Plaintiff to have

been caused by the instant motor vehicle crash were in fact caused by some other accident or medical

condition, please state, with specificity, which of the injuries alleged by Plaintiff have been caused

by the instant automobile crash were in fact caused by some other accident or medical condition.

       ANSWF,R_




       INTERROGATORY NO. 16. Please identify by name, address, position, immediate

supervisor, all individuals who handled, were consulted with, supervised, reviewed or otherwise

were responsible for the handling of the claim(s) submitted by Plaintiff pertaining to the subject

accident of August 6`h, 2016.

       ANSWER-
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        INTERROGATORY NO. 17. Please state whether an investigation or report has been

made by or on behalf of Defendant Liberty Mutual relating to any of the occurrences described in

Plaintiff's Complaint and, if so, for each such investigation or report, please state:

                 a.    the name, address and job description of the person who conducted the

        investigation or made the report;

                 b.    whether a written report was prepared with regard to the investigation; and

                 C.    the name, address and job descriptioin of the person who currentlyhas custody

        or control of any written report or other documentation of the investigation.

        ANSWER:




        INTERROGATORY NO. 18. Please identify each person who, on behalf of Defendant

Liberty Mutual, communicated with Plaintiff about his complaints and state whether any notes,

memos, or other documents were created as a result of these communications and,. if so, please

identify each such note, memo or document and state the name and address of the person who has

custody of it.

        ANSWER:




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       INTERROGATORY NO. 19. Please state whether Defendant Liberty Mutual utilized, in

any manner, any computerized evaluation or review system to evaluate or review Plaintiff's

underinsured motorist bodily injury claim and, if so, please identify:

                 a.    the computerized evaluation or review system;

                 b.    each person who reviewed the file for entry into the computerized evaluation

       or review system;

                 C.    each person responsible for deciding what types of information were entered

       or not entered into the computerized evaluation or review system;

                 d.    each person who entered the data into the computerized evaluation or review

       system;

               e.     each person who reviewed the data processed by the computerized evaluation

       or review system;

               f      each injury code - such as an International Classification of Diseases (ICD)

       code - entered into the computerized evaluation or review system to evaluate or review
                                                                                         ~
       Plaintiff's underinsured motorist bodily injury claim; and

               g.     each Current Procedural Terminology (CPT) code entered into the

       computerized evaluation or review system to evaluate or review Plaintiff s underinsured

       motorist bodily injury claim.

       ANSWER:




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          INTERROGATORY NO. 20. If Defendant Liberty Mutual utilized in any manner, any

computerized evaluation or review system to evaluate or review Plaintiffs underinsured motorist

bodily injury claim, please state whether Defendant Liberty Mutual failed to enter into such system

any International Classification of Diseases (ICD) code listed in Plaintiff's medical records and bills

and, if so, then please state each such ICD code, the medical provider in whose bills it appears and

the reason Defendant Liberty Mutual failed to enter it into the computerized evaluation or review

system.

       ANSWER:




       INTERROGATORY NO. 21. If Defendant Liberty Mutual utilized, in any manner, any

computerized evaluation or review system to evaluate or review Plaintiff's underinsured motorist

bodily injury claim, please state whether Defendant failed to enter into such system any Current

Procedural Terminology (CPT) code listed in Plaintiff's medical records arid bill and, if so, then

please state each such CPT code, the medical provider in whose bills it appears, and the reason

Defendant Liberty Mutual failed to enter it into the computerized evaluation or review system.

       ANSWER:




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       INTERROGATORY NO. 22. Please state whether Defendant Liberty Mutual utilized, in

any manner, a computerized medical bill review system to evaluate or review Plaintiff's

underinsured motorist bodily injury claim and, if so, please identify:

               a.       the computerized medical bill review system used;

               b.       eachperson who reviewed the file for entry into the computerized medical bill

       review system;

               C.       each person responsible for deciding what types of information were entered

       or not entered into the computerized medical bill review system;

               d.      each person who entered the data into the computerized medical bill review

       system; and

               e.     each person who reviewed the data processed by the computerized medical

       bill review system.

       ANSWER:




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                                 REQUEST FOR PRODUCTION

        REQUEST NO. 1. Please provide copies of any document that you may or will rely upon

to prove any affirmative defense raised in your Answer to Plaintiff's Complaint.

        RESPONSE:




        REQUEST NO.        2. Please provide complete copies of all insurance policies that may

provide coverage for this incident and include the declarations page for each policy.

        RESPONSE:




        REQUEST NO. 3. Please provide copies of statements of any witnesses to either the subj ect

accident of August 6`'', 2016 or Plaintiff's injuries, or any statements of persons having knowledge

of the circumstances of the incident. This request encompasses nay accident reports, statements,

whether written, recorded or otherwise taken by you or anyone acting on your behalf, including

copies of any statements of Plairitiff.

       RESPONSE:




                                                12
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        REQUEST NO. 4. Please produce copies of any reports or other materials arising from any

investigations performed regarding the incident, including but not limited to reconstructions,

calculations and consultations regarding the liability issues.

        RESPONSE:




        REQUEST NO. 5. Please provide copies of any surveillance, movies or photographs that

have been made of Plaintiff. This request is ongoing and shall be supplemented pursuant to the New

Mexico Rules of Civil procedure.

        RESPONSE:




       REQUEST NO. 6. Please produce copies, including laser color copies, of any photographs,

of the complete investigation and/or adjustment of the property damage sustained by Plaintiff,

including but not limited to, all collision damage appraisals, all photographs of physical damage, all

total loss evaluations, all research regarding any total loss evaluation, and any and all correspondence

to Plaintiff regarding the investigation, adjustment, settlement and/or conclusion of his property

damage claim.

       RESPONSE:




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        REQUEST NO.         7. Please provide copies of any photographs, videotapes, or other

photographic material of the scene of the crash which is the subject of this lawsuit.

        RESPONSE:




        REQUEST NO. 8. Please provide copies of all documents or tangible things prepared by

any expert you may call at trial, including but not limited to, reports, factual observations, opinions,

conclusions, photographs, field notes, calculations, models and exhibits. If a report has not been

prepared, the preparation of the report is hereby requested pursuant to the New Mexico Rules of

Civil Procedure to comply with the requirements of Rule 1-026B (6)(a) NMRA.

       RESPONSE:




       REQUEST NO. 9. Please produce all documentation related in any manner to any claims

or demands submitted on Plaintiff's behalf arising from the subject crash, including but not limited

to all medical documentation of PlaintifPs injuries and damages.

       RESPONSE:




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        REQUEST NO. 10: Please provide copies of all exhibits you may or will introduce as an

exhibit at trial in this matter.

        RESPONSE:




        REQUEST NO. 11: Produce copies of all records and computerized data including

documents, notes, emails, correspondence, manuals, screenshots and policies or procedures

involving any computerized evaluation or review systems which were utilized to review Plaintiff's

underinsured bodily injury claim.

        RESPONSE:




        REQUEST NO. 12: Please produce copies of all documents relating to the investigation

and/or adjustment of this claim, including but not limited to all correspondence, notes, emails and

supporting documents regarding the investigation, adjustment and/or conclusion of Plaintiff's claim.

        RESPONSE:




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        REQUEST NO. 13: Please produce copies of all documentation related in any manner to

any claims, demands, responses, counter-demands, responses and replies regarding Plaintiff's

underinsured claim arising from the subject claim.

        RF+'.CPf1NCF.•




        REQUEST N0.14: Please produce a complete copy of any claim file maintained by Liberty

Mutual with respect to Plaintiff's claim. This request includes all correspondence from their

attorneys, correspondence from attorneys and professionals working on behalf of Liberty Mutual and

all electronic notes from the file.

        RF.CP(INCF.-




       REQUEST N0.15: Please produce complete copies of any and all claims files for any claim

filed by the Plaintiff to or against you or any other entity related to the "Liberty Mutual" corporate

group or family of companies at any time during the last five (5) years.

       RESPONSE:




                                                 16
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       R.EQUEST NO. 16: Please provide copies of any documents that were used, viewed or

relied on in preparing your Answers to Plaintiff's First Set of Interrogatories, if not previously

produced in response to other requests herein.

       RFSPONSF-




                                                      Respectfully Submitted:

                                                      WILL FERGUSON & ASSOCIATES

                                                       /s/Robert C. Gutierrez
                                                      ROBERT C. GUTIERREZ
                                                      Attorney for Plaintiff
                                                      10090 Coors Blvd NW Ste A
                                                      Albuquerque, NM 87114
                                                      Telephone:     (505) 243-5566
                                                      Telecopier:    (505) 897-2279




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     STATE OF NEW MEXICO
     COUNTY OF SANTA FE
     FIRST JUDICIAL DISTRICT COURT

     MITCHELL WOODALL,

                    Plaintiff,

     vs.                                                    No. D-101-CV-2017-01727

     LIBERTY MUTUAL GROUP, INC.,
     d/b/a LIBERTY MUTUAL INSURANCE,

                    Defendant.

                PLAINTIFF'S FIRST SET OF INTERROGATORIES AND REQUEST
                FOR PRODUCTION OF DOCUMENTS TO DEFENDANT LIBERTY
                  MUTUAL GROUP INC d/b/a LIBERTY MUTUAL INSURANCE

              COMES NOW Plaintiff Mitchell Woodall, by and through his attorney Will Ferguson &

     Associates (Robert C. Gutierrez), and pursuant to the New Mexico Rules of Civil Procedure and

     particularly Rule 1-033 NMRA and Rule 1-034 NMRA, and propounds his first set of interrogatories

     and requests for production to Defendant Liberty Mutual Group, Inc. d/b/a Liberty Mutual Insurance,

     to be answered within forty-five (45) days from the date of service with the corresponding summons

     and complaint being served concurrently herewith. Through out this discovery pleading, the

     Defendant Liberty Mutual Group, Inc. d/b/a Liberty Mutual Insurance maybe referred to as Liberty

     Mutual.

                                          INTERROGATORIES

              INTERROGATORY NO.1. For each person answering these Interrogatories on behalf of

     Liberty Mutual, please state the person's name, current address and position with (or relationship to)

     Liberty Mutual. If more than one person answers or assists in answering these Interrogatories, please

     identify each person, giving the person's name, address and position with (or relationship to) Liberty
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Mutual. In addition, identify in your answers when that person has provided assistance and what

assistance or information that person supplied.

        ANSWER:




        INTERROGATORY NO. 2. Did Liberty Mutual provide insurance coverage to Plaintiff

Mitchell Woodall which is triggered by the crash that is more fully described in Plaintiff's

Complaint? If so, please fully describe the policy or policies and all coverages that are triggered by

this accident.

        ANCWF.R •




        INTERROGATORY NO. 3. Is Liberty Mutual presenting any defenses that would

prohibit, limit, prevent or otherwise curtail any coverages that would otherwise be available under

the policy or policies of insurance that are triggered by the subj ect crash? If so, please fully describe

each and every such policy or coverage defense, including but not limited to a precise representation

of the policy language upon which you rely for each such defense.

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       INTERROGATORY NO. 4. Is Defendant Liberty Mutual Group, Inc. d/b/a Liberty Mutual

Insurance(herein also Liberty Mutual) being sued in its proper corporate name? If not, please

identify the correct name of the entity, its legal nature (e.g. corporation or partnership) state of

organization/incorporation and its principal place of business.

       ANSWER:




       INTERROGATORY NO. 5. If you maintain that Liberty Mutual is not a proper defendant

in this lawsuit, please explain in detail the reason(s) you believe Liberty Mutual is not a proper

defendant.

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       INTERROGATORY NO. 6. Please list the names, addresses and telephone numbers or

each person believe or known by you, your agents, or your attorneys, to have any knowledge

concerning the August 6`h, 2016 motor vehicle crash as described in Plaintiff's Complaint, or any

of the issues raised in the Complaint and specify the area in which each person has knowledge.

       ANSWER:




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       INTERROGATORY NO.             7. If you intend to call any law witnesses at trial, state their

names, addresses, telephone numbers and the expected substance of their testimony.

               ANSWER:




       INTERROGATORY NO. 8. Have you, your attorneys or any persons acting on your

behalf, obtained statements from anyone concerning any matter pertaining to the incident or any

issues in this lawsuit? If yes, please state the name and address of each person giving a statement;

the name and address of the person(s) taking the statement; whether the statement was written, oral

or recorded; the date and location at which the statement was obtained; and summarize the contents

of each statement.

       ANSWER:




       INTERROGATORY NO. 9. List each person you know or believe either heard or

purportedly heard any parry make any statement, remark or comment concerning the August 6, 2016

motor vehicle crash. List the name, home address, business address and telephone number of each

person and state the substance of each statement, remark or comment attributed to Plaintiff.

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        INTERROGATORY NO. 10. If you contend that Plaintiff committed any act or omission

that contributed to causing the accident that is the subject of this complaint, describe in detail any

such act or omission.

        ANCWF.R •




        INTERROGATORY NO. 11. Do you or does anyone acting on your behalf know of any

photographs, films, or videotapes depicting any place, object or individual relating to the accident

or Plaintiff's injuries? If yes, identify the number of photographs or feet of film or videotape the

places, objects or persons photographed, filmed or videotaped; the date the photographs, films or

videtapes were taken; the name, address and telephone number of the individual taking the

photographs, films or videotapes; and the name, address and telephone number of each person who

has the original or a copy.

       ANSWER:




       INTERROGATORY N0.12. Give a short summary of the contents of every document or

exhibit you intend to use as a basis for your defense or which you intend to offer into evidence at

trial. A Request for Production asking for these documents accompanies this Interrogatory. If you

object to producing any document, describe in detail and recite verbatim the contents of each and

every such document and give the date and circumstances for preparation of each document.

       ANSWER:


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         INTERROGATORY NO. 13. Have you or your attorneys retained any expert witnesses

who will or may testify at the trial of this matter regarding the facts and circumstances of the

accident? If yes, please identify the names and addresses of any and all such experts; the date each

such expert was consulted; the exact nature of each individual's expertise; all photographs, drawings,

sketches, charts and/or physical evidence supplied to each such expert; and provide a brief summary

of the facts and opinions to which each expert is expected to testify with the grounds for each

opinion.

         ANCWF.R -




         INTERROGATORY NO. 14. Please describe in detail any other incidents, accidents or

claims made by the Plaintiff against any policy of insurance that he held with you either before or

after the crash that is the subj ect of this lawsuit and regardless of whether a claim payment was made

by you to Plaintiff. If Liberty Mutual has insured Plaintiff for more than ftve years, this Interrogatory

is limited to the past five years plus all such incident going forward from the date of the subject

crash.

         ANSWER:




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       INTERROGATORY NO. 15. If you contend that the injuries alleged by Plaintiff to have

been caused by the instant motor vehicle crash were in fact caused by some other accident or medical

condition, please state, with specificity, which of the injuries alleged by Plaintiff have been caused

by the instant automobile crash were in fact caused by some other accident or medical condition.

       ANSWER:




       INTERROGATORY NO. 16. Please identify by name, address, position, immediate

supervisor, all individuals who handled, were consulted with, supervised, reviewed or otherwise

were responsible for the handling of the claim(s) submitted by Plaintiff pertaining to the subject

accident of August 6`h, 2016.

       ANSWER:




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        INTERROGATORY NO. 17. Please state whether an investigation or report has been

made by or on behalf of Defendant Liberty Mutual relating to any of the occurrences described in

Plaintiff s Complaint and, if so, for each such investigation or report, please state:

                 a.    the name, address and job description of the person who conducted the

        investigation or made the report;

                 b.    whether a written report was prepared with regard to the investigation; and

                 C.    the name, address and j ob description of the person who currently has custody

        or control of any written report or other documentation of the investigation.

        ANSWER:




        INTERROGATORY NO. 18. Please identify each person who, on behalf of Defendant

Liberty Mutual, communicated with Plaintiff about his complaints and state whether any notes,

memos, or other documents were created as a result of these communications and, if so, please

identify each such note, memo or document and state the name and address of the person who has

custody of it.

        ANSWER:




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       INTERROGATORY NO. 19. Please state whether Defendant Liberty Mutual utilized, in

any manner, any computerized evaluation or review system to evaluate or review Plaintiff's

underinsured motorist bodily injury claim and, if so, please identify:

                 a.    the computerized evaluation or review system;

               b.      each person who reviewed the file for entry into the computerized evaluation

       or review system;

                 C.    each person responsible for deciding what types of information were entered

       or not entered into the computerized evaluation or review system;

                 d.    each person who entered the data into the computerized evaluation or review

       system;

               e.      each person who reviewed the data processed by the computerized evaluation

       or review system;

               f.     each injury code - such as an International Classification of Diseases (ICD)

       code - entered into the computerized evaluation or review system to evaluate or review

       Plaintiff's underinsured motorist bodily injury claim; and

               g.     each Current Procedural Terminology (CPT) code entered into the

       computerized evaluation or review system to evaluate or review Plaintiff's underinsured

       motorist bodily injury claim.
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          INTERROGATORY NO. 20. If Defendant Liberty Mutual utilized in any manner, any

computerized evaluation or review system to evaluate or review Plaintiff's underinsured motorist

bodily injury claim, please state whether Defendant Liberty Mutual failed to enter into such system

any International Classification of Diseases (ICD) code listed in Plaintiff's medical records and bills

and, if so, then please state each such ICD code, the medical provider in whose bills it appears and

the reason Defendant Liberty Mutual failed to enter it into the computerized evaluation or review

system.

          ANSWER:




       INTERROGATORY NO. 21. If Defendant Liberty Mutual utilized, in any manner, any

computerized evaluation or review system to evaluate or review Plaintiff's underinsured motorist

bodily injury claim, please state whether Defendant failed to enter into such system any Current

Procedural Terminology (CPT) code listed in Plaintiff's medical records and bill and, if so, then

please state each such CPT code, the medical provider in whose bills it appears, and the reason

Defendant Liberty Mutual failed to enter it into the computerized evaluation or review system.

       ANSWER:




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       INTERROGATORY NO. 22. Please state whether Defendant Liberty Mutual utilized, in

any manner, a computerized medical bill review system to evaluate or review Plaintiff's

underinsured motorist bodily injury claim and, if so, please identify:

               a.       the computerized medical bill review system used;

               b.       each person who reviewed the file for entry into the computerized medical bill

       review system;

               C.       each person responsible for deciding what types of information were entered

       or not entered into the computerized medical bill review system;

               d.      each person who entered the data into the computerized medical bill review

       system; and

               e.     each person who reviewed the data processed by the computerized medical

       bill review system.

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                                REQUEST FOR PRODUCTION

       REQUEST NO. 1. Please provide copies of any document that you may or will rely upon

to prove any affirmative defense raised in your Answer to Plaintiff's Complaint.

       RESPONSE:




       REQUEST NO.        2. Please provide complete copies of all insurance policies that may
provide coverage for this incident and include the declarations page for each policy.

       RESPONSE:




       REQUEST NO. 3. Please provide copies of statements of any witnesses to either the subj ect

accident of August 6`", 2016 or Plaintiff's injuries, or any statements of persons having knowledge

of the circumstances of the incident. This request encompasses nay accident reports, statements,

whether written, recorded or otherwise taken by you or anyone acting on your behalf, including

copies of any statements of Plaintiff.

       RESPONSE:




                                                12
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        REQUEST NO. 4. Please produce copies of any reports or other materials arising from any

investigations performed regarding the incident, including but not limited to reconstructions,

calculations and consultations regarding the liability issues.

        RESPONSE:




        REQUEST NO. 5. Please provide copies of any surveillance, movies or photographs that

have been made of Plaintiff. This request is ongoing and shall be supplemented pursuant to the New

Mexico Rules of Civil procedure.

        RESPONSE:




        REQUEST NO. 6. Please produce copies, including laser color copies, of any photographs,

of the complete investigation and/or adjustment of the property damage sustained by Plaintiff,

including but not limited to, all collision damage appraisals, all photographs of physical damage, all

total loss evaluations, all research regarding any total loss evaluation, and any and all correspondence

to Plaintiff regarding the investigation, adjustment, settlement and/or conclusion of his property

damage claim.

       RESPONSE:




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        REQUEST NO.         7. Please provide copies of any photographs, videotapes, or other
photographic material of the scene of the crash which is the subject. of this lawsuit.

        RF.fiPfINCF•




        REQUEST NO. 8. Please provide copies of all documents or tangible things prepared by

any expert you may call at trial, including but not limited to, reports, factual observations, opinions,

conclusions, photographs, field notes, calculations, models and.exhibits. If a report has not been

prepared, the preparation of the report is hereby requested pursuant to the New Mexico Rules of

Civil Procedure to comply with the requirements of Rule 1-026B (6)(a) NMRA.

       RESPONSE -




       REQUEST NO. 9. Please produce all documentation related in any manner to any claims

or demands submitted on Plaintiff's behalf arising from the subject crash, including but not limited

to all medical documentation of Plaintiff's injuries and damages.

       RF.CP(INCF.•




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        REQUEST NO. 10: Please provide copies of all exhibits you may or will introduce as an

exhibit at trial in this matter.

        RESPONSE:




        REQUEST NO. 11: Produce copies of all records and computerized data including

documents, notes, emails, correspondence, manuals, screenshots and policies or procedures

involving any computerized evaluation or review systems which were utilized to review Plaintiff's

underinsured bodily injury claim.

        RESPONSE:




        REQUEST NO. 12: Please produce copies of all documents relating to the investigation

and/or adjustment of this claim, including but not limited to all correspondence, notes, emails and

supporting documents regarding the investigation, adjustment and/or conclusion of Plaintiff's claim.

        RF.CP(1NCF.•




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        REQUEST NO. 13: Please produce copies of all documentation related in any manner to

any claims, demands, responses, counter-demands, responses and replies regarding Plaintiff's

underinsured claim arising from the subject claim.

        RF.Cp()NCFi'..




        REQUEST N0.14: Please produce a complete copy of any claim file maintained by Liberty

Mutual with respect to Plaintiff's claim. This request includes all correspondence from their

attorneys, correspondence from attorneys and professionals working on behalf of Liberty Mutual and

all electronic notes from the file.

        RESPONSE:




       REQUEST N0.15: Please produce complete copies of any and all claims files for any claim

filed by the Plaintiff to or against you or any other entity related to the "Liberty Mutual" corporate

group or family of companies at any time during the last five (5) years.

        RF.CPf1NCTi.-




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       REQUEST NO. 16: Please provide copies of any documents that were used, viewed or

relied on in preparing your Answers to Plaintiff's First Set of Interrogatories, if not previously

produced in response to other requests herein.

       RF.SPnNSF.-




                                                      Respectfully Submitted:

                                                      WILL FERGUSON & ASSOCIATES

                                                       /s/Robert C. Gutierrez
                                                      ROBERT C. GUTIERREZ
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